Case: 22-10312, 04/25/2023, ID: 12702996, DktEntry: 36-18, Page 1 of 286




                 EXHIBIT 17
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1281 DktEntry:  36-18, Page
                                               Filed 01/18/22   Page 12 of
                                                                        of 285
                                                                           286
                                                                                 4903


 1

 2                           UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                                  SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,                )   CR-18-00258-EJD
 6                                                )
                             PLAINTIFF,           )   SAN JOSE, CALIFORNIA
 7                                                )
                      VS.                         )   VOLUME 36
 8                                                )
         ELIZABETH A. HOLMES,                     )   NOVEMBER 2, 2021
 9                                                )
                             DEFENDANT.           )   PAGES 4903 - 5186
10                                                )

11
                           TRANSCRIPT OF TRIAL PROCEEDINGS
12                      BEFORE THE HONORABLE EDWARD J. DAVILA
                             UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:          UNITED STATES ATTORNEY'S OFFICE
15                                  BY: JOHN C. BOSTIC
                                         JEFFREY B. SCHENK
16                                  150 ALMADEN BOULEVARD, SUITE 900
                                    SAN JOSE, CALIFORNIA 95113
17
                                    BY:  ROBERT S. LEACH
18                                       KELLY VOLKAR
                                    1301 CLAY STREET, SUITE 340S
19                                  OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1281 DktEntry:  36-18, Page
                                               Filed 01/18/22   Page 23 of
                                                                        of 285
                                                                           286
                                                                                 4904


 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:       WILLIAMS & CONNOLLY LLP
                                    BY: KEVIN M. DOWNEY
 4                                       LANCE A. WADE
                                         KATHERINE TREFZ
 5                                       J.R. FLEURMONT
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 7                                  725 TWELFTH STREET, N.W.
                                    WASHINGTON, D.C. 20005
 8
                                    LAW OFFICE OF JOHN D. CLINE
 9                                  BY: JOHN D. CLINE
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10                                  SAN FRANCISCO, CALIFORNIA 94111

11
        ALSO PRESENT:               FEDERAL BUREAU OF INVESTIGATION
12                                  BY: ADELAIDA HERNANDEZ

13                                  OFFICE OF THE U.S. ATTORNEY
                                    BY: LAKISHA HOLLIMAN, PARALEGAL
14                                       MADDI WACHS, PARALEGAL

15                                  WILLIAMS & CONNOLLY
                                    BY: TIMIKA ADAMS-SHERMAN, PARALEGAL
16
                                    TBC
17                                  BY:   BRIAN BENNETT, TECHNICIAN

18
        TELEPHONICALLY FOR
19      ROGER PARLOFF:              JOSHUA KOLTUN
                                    DAVID KORZENIK
20

21

22

23

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                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1281 DktEntry:  36-18, Page
                                               Filed 01/18/22   Page 34 of
                                                                        of 285
                                                                           286
                                                                                 4905


 1
                                  INDEX OF PROCEEDINGS
 2
        GOVERNMENT'S:
 3

 4      LISA PETERSON
        CROSS-EXAM BY MR. WADE (RES.)                            P. 4931
 5      REDIRECT EXAM BY MR. LEACH                               P. 4982
        RECROSS-EXAM BY MR. WADE                                 P. 5016
 6
        CONSTANCE CULLEN
 7      DIRECT EXAM BY MR. SCHENK                                P. 5018
        CROSS-EXAM BY MR. CLINE                                  P. 5048
 8

 9      DANIEL MOSLEY
        DIRECT EXAM BY MR. SCHENK                                P. 5070
10      CROSS-EXAM BY MR. WADE                                   P. 5154

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1281 DktEntry:  36-18, Page
                                               Filed 01/18/22   Page 45 of
                                                                        of 285
                                                                           286
                                                                                 4906


 1                                 INDEX OF EXHIBITS

 2
                                                   IDENT.        EVIDENCE
 3      GOVERNMENT'S:

 4      1992                                                     4945
        200                                                      5029
 5      201                                                      5032
        192                                                      5033
 6      223                                                      5037
        259                                                      5039
 7      262                                                      5042
        4163                                                     5074
 8      4173                                                     5078
        3387                                                     5086
 9      3844                                                     5116
        4202                                                     5118
10      4221                                                     5138
        4284                                                     5141
11      4286                                                     5145
        4303                                                     5149
12      2172                                                     5150

13

14      DEFENDANT'S:

15      14212                                                    4942
        14076                                                    4947
16      10588                                                    4975
        10570                                                    5050
17      10571                                                    5052
        7079                                                     5055
18      10572                                                    5062
        10573                                                    5064
19      10574                                                    5066
        14129                                                    5170
20      14130                                                    5172
        14206                                                    5175
21

22

23

24

25



                             UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 56 of
                                                                                  of 285
                                                                                     286
                                                                                           4907


           1      SAN JOSE, CALIFORNIA                              NOVEMBER 2, 2021

           2                                P R O C E E D I N G S

08:25AM    3              (COURT CONVENED AT 8:25 A.M.)

08:25AM    4            (JURY OUT AT 8:25 A.M.)

08:25AM    5                   THE COURT:    THANK YOU.    PLEASE BE SEATED.     WE'RE ON

08:25AM    6      THE RECORD IN THE HOLMES MATTER.        ALL COUNSEL ARE PRESENT.

08:25AM    7      MS. HOLMES IS PRESENT.

08:25AM    8            WE'RE OUTSIDE OF THE PRESENCE OF THE JURY.          I THOUGHT WE

08:25AM    9      WOULD TAKE UP SOME MATTERS BEFORE THE JURY IS CALLED.

08:25AM   10            LET'S SEE.    LET ME JUST CALL OUT WHAT I HAVE ON MY NOTES

08:25AM   11      FOR AGENDA.     WE HAVE DOCKET 1103, WHICH IS A MOTION TO EXCLUDE

08:25AM   12      WITNESS PARLOFF; DOCKET 1116, WHICH IS A MOTION TO EXCLUDE

08:25AM   13      WITNESS INITIALS BB.       I THINK WE WERE GOING TO TALK ABOUT THOSE

08:25AM   14      TWO THINGS TODAY.

08:25AM   15            ANYTHING ELSE WE SHOULD ADD TO THE AGENDA FROM EITHER

08:25AM   16      SIDE?

08:25AM   17            MR. SCHENK?

08:25AM   18                   MR. SCHENK:    GOOD MORNING.     YES, THANK YOU.

08:26AM   19            TODAY AFTER MS. PETERSON, THE NEXT WITNESS IS DR. CULLEN.

08:26AM   20      WE DON'T EXPECT DR. CULLEN TO TAKE TOO LONG.

08:26AM   21            AFTER DR. CULLEN, THE GOVERNMENT WILL CALL DANIEL MOSLEY.

08:26AM   22      MR. MOSLEY WAS AN INVESTOR.        MR. MOSLEY INVESTED IN ABOUT

08:26AM   23      OCTOBER OF 2014.

08:26AM   24            AND I MET AND CONFERRED WITH THE DEFENSE REGARDING CERTAIN

08:26AM   25      2015 DOCUMENTS.     MR. MOSLEY HAD EMAIL EXCHANGES WITH OTHER



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 67 of
                                                                                  of 285
                                                                                     286
                                                                                           4908


08:26AM    1      POTENTIAL INVESTORS, ONE IN PARTICULAR, IN 2015.           AND I ASKED

08:26AM    2      THE DEFENSE IF THEY WERE PLANNING TO SEEK TO USE THOSE OR ADMIT

08:26AM    3      THOSE DURING CROSS, AND THEY, WHILE NOT IDENTIFYING SPECIFIC

08:26AM    4      DOCUMENTS FOR ME, SAID THAT THEY DID ANTICIPATE OFFERING

08:26AM    5      EVIDENCE FROM 2015.

08:26AM    6            AND I THINK WE WOULD BENEFIT FROM SOME GUIDANCE FROM THE

08:26AM    7      COURT ON THIS ISSUE OF COMMUNICATIONS BY INVESTORS AFTER

08:26AM    8      THEY'VE INVESTED, BUT NOT WITH THE DEFENDANT.

08:26AM    9            THE COURT WILL RECALL THAT WE TALKED ABOUT THE ISSUE WITH

08:27AM   10      REGARD TO POST-INVESTMENT CONDUCT THAT INVOLVES THE DEFENDANT,

08:27AM   11      THE DEFENDANT'S STATE OF MIND.

08:27AM   12            BUT I THINK THIS IS AN INSTANCE WHERE THE ONLY RELEVANCE

08:27AM   13      WOULD BE AN INVESTOR'S KNOWLEDGE AFTER THE INVESTOR INVESTED,

08:27AM   14      AND I THINK IT'S BEEN THE GOVERNMENT'S POSITION THROUGHOUT

08:27AM   15      TRIAL, AND WE MADE THIS ARGUMENT TO YOUR HONOR DURING

08:27AM   16      MR. TOLBERT'S TESTIMONY, THAT THE INVESTOR'S KNOWLEDGE AFTER,

08:27AM   17      IN THIS CASE SIX MONTHS OR SO AFTER, INVESTING JUST ISN'T

08:27AM   18      RELEVANT, AND INSTEAD OF RAISING THIS ISSUE THROUGH AN

08:27AM   19      OBJECTION AT THE MOMENT THE DOCUMENT WAS OFFERED, I HAVE COPIES

08:27AM   20      OF THE DOCUMENTS, AT LEAST SOME OF THE ONES THAT I'VE

08:27AM   21      IDENTIFIED.

08:27AM   22            I'D BE HAPPY TO PASS THOSE UP, AND WE CAN TAKE IT UP

08:27AM   23      WHENEVER IT IS CONVENIENT FOR THE COURT, A BREAK BEFORE

08:27AM   24      MR. MOSLEY OR NOW, WHATEVER WORKS FOR THE COURT.

08:27AM   25                   THE COURT:    ALL RIGHT.    THANK YOU.    I'M HAPPY TO



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 78 of
                                                                                  of 285
                                                                                     286
                                                                                           4909


08:27AM    1      RECEIVE THOSE JUST TO HAVE THEM IN ADVANCE.

08:27AM    2            MR. WADE, ARE YOU SPEAKING TO THIS?

08:28AM    3            ADRIANA.

08:28AM    4                   MR. SCHENK:    (HANDING.)

08:28AM    5                   MR. WADE:    I AM, YOUR HONOR.

08:28AM    6            MAYBE IT MAKES SENSE FOR THE COURT TO LOOK AT THE

08:28AM    7      DOCUMENTS.    WE CAN ADDRESS THESE DURING THE BREAK SO EVERYONE

08:28AM    8      IS ON THE SAME PAGE AND IT WOULD BE MOST EFFICIENT.

08:28AM    9            WE DON'T KNOW EXACTLY WHAT MR. MOSLEY WILL TESTIFY TO.

08:28AM   10            I DID INDICATE TO THE GOVERNMENT THAT WE MAY SEEK TO OFFER

08:28AM   11      THESE DOCUMENTS, AND OBVIOUSLY WE WOULD NEED TO LAY A

08:28AM   12      FOUNDATION FOR THEM TO BE ADMISSIBLE.

08:28AM   13            I'M NOT SURE IF THE GOVERNMENT'S POSITION IS THAT WITH

08:28AM   14      RESPECT TO THE INVESTOR CONSPIRACY, NO EVENTS RELATING TO THIS

08:28AM   15      SPECIFIC INVESTOR'S IDENTIFIED, OTHER THAN THOSE IDENTIFIED

08:28AM   16      SPECIFICALLY, IN THE INDICTMENT.

08:28AM   17            AND SUBSTANTIVE COUNTS ARE RELEVANT, BUT THEIR CONSPIRACY

08:28AM   18      COUNT IS OBVIOUSLY BROADER THAN THAT.         MAYBE TO THE EXTENT THAT

08:28AM   19      THEY'RE NARROWING THAT, THAT WOULD BE -- THAT WOULD CERTAINLY

08:28AM   20      BE RELEVANT FOR THE DEFENSE TO KNOW.

08:28AM   21            I THINK MR. MOSLEY, JUST TO GIVE THE COURT A LITTLE BIT OF

08:29AM   22      CONTEXT, I THINK YOU HEARD A LITTLE BIT THROUGH MS. PETERSON,

08:29AM   23      HE WAS A PARTNER AT CRAVATH IN NEW YORK.          A NUMBER OF HIS

08:29AM   24      CLIENTS ENDED UP INVESTING IN THERANOS, MANY OF THEM THROUGH AN

08:29AM   25      INTRODUCTION PROVIDED BY MR. MOSLEY.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 89 of
                                                                                  of 285
                                                                                     286
                                                                                           4910


08:29AM    1             MR. MOSLEY CONTINUED TO INTERACT WITH BOTH OF THOSE

08:29AM    2      INVESTORS AND HIS CLIENTS, THOSE INVESTORS WHO ARE HIS CLIENTS.

08:29AM    3             AND IN THIS CASE MR. SLACK, WHO IS A REPRESENTATIVE OF THE

08:29AM    4      OPPENHEIMER FAMILY, IT'S MR. OPPENHEIMER -- MR. SLACK IS NOT A

08:29AM    5      CLIENT OF MR. MOSLEY, BUT HE WAS A FRIEND OF                   HENRY

08:29AM    6      KISSINGER, AND SECRETARY KISSINGER WAS A CLIENT OF --

08:29AM    7                   THE COURT:    LET ME JUST -- I THINK WE JUST HEARD

08:29AM    8      SOMEBODY COUGH ON A TELEPHONE.

08:29AM    9             IF ANYONE WHO IS ON A PHONE, IF YOU WOULD PLEASE MUTE YOUR

08:30AM   10      PHONE, WE ALL HERE IN CALIFORNIA WOULD APPRECIATE IT.            THANK

08:30AM   11      YOU.

08:30AM   12             I'M SORRY, MR. WADE, FOR THE INTERRUPTION.

08:30AM   13                   MR. WADE:    NO PROBLEM AT ALL, YOUR HONOR.

08:30AM   14             DR. KISSINGER WAS A CLIENT OF MR. MOSLEY, AND I BELIEVE AT

08:30AM   15      DR. KISSINGER'S REQUEST MR. MOSLEY WAS INTERACTING WITH

08:30AM   16      MR. SLACK OF THE OPPENHEIMER FAMILY.

08:30AM   17             THERE WERE A LOT OF INTERACTIONS THAT MR. MOSLEY HAS

08:30AM   18      THROUGHOUT THE FALL OF 2014 THAT I THINK ARE RELEVANT BOTH

08:30AM   19      BECAUSE HE PERSONALLY MAKES AN INVESTMENT DECISION, SOME OF HIS

08:30AM   20      CLIENTS MAKE INVESTMENTS, AND HE SORT OF IS PICKING INFORMATION

08:30AM   21      UP THROUGHOUT THE FALL.

08:30AM   22             AND SO SOME OF THOSE INTERACTIONS RELATED TO THE FINANCIAL

08:30AM   23      PROJECTIONS THAT THE COURT HAS HEARD EVIDENCE COME IN ABOUT,

08:30AM   24      AND SOME OF THE EMAILS THAT WE MAY SEEK TO OFFER REFLECT

08:30AM   25      MR. MOSLEY'S VIEW OF WHAT WAS REALISTIC IN TERMS OF THE



                                       UNITED STATES COURT REPORTERS
               Case:
                Case 22-10312, 04/25/2023,
                     5:18-cr-00258-EJD     ID: 12702996,
                                        Document   1281 DktEntry: 36-18, Page
                                                         Filed 01/18/22  Page 10
                                                                              9 ofof285
                                                                                     286
                                                                                           4911


08:31AM    1       FINANCIAL NUMBERS AND THE PROJECTIONS THAT WERE PROVIDED AS

08:31AM    2       COMMUNICATED TO MR. SLACK.

08:31AM    3             SO IT REFLECTS MR. MOSLEY'S UNDERSTANDING OF INFORMATION

08:31AM    4       HE WAS OBTAINING ABOUT THE FINANCES OF THE COMPANY AS HE WAS

08:31AM    5       DEALING WITH THERANOS THROUGHOUT THE FALL OF 2014.

08:31AM    6             SO THAT'S A LITTLE BIT OF CONTEXT.

08:31AM    7                   THE COURT:    IS THAT POST-INVESTMENT THEN?

08:31AM    8                   MR. WADE:    IT'S POST-INVESTMENT, BUT WE THINK IT

08:31AM    9       REFLECTS HIS UNDERSTANDING AS TO LIMITATIONS ON THE

08:31AM   10       PROJECTIONS, WHICH IT'S HARD TO SEGREGATE JUST HIS INVESTMENT

08:31AM   11       DECISION HERE, YOUR HONOR, BECAUSE I THINK AS YOU'LL HEAR,

08:31AM   12       THERE ARE A LOT OF INTERACTIONS THAT MR. MOSLEY HAS STARTING IN

08:31AM   13       AUGUST OF 2014 AND CONTINUING THROUGHOUT THE FALL.

08:31AM   14             HE ULTIMATELY MAKES A PERSONAL INVESTMENT DECISION IN LATE

08:31AM   15       OCTOBER 2014, BUT THERE ARE -- THERE ARE A VARIETY OF

08:32AM   16       INTERACTIONS THAT HAPPEN THROUGHOUT THAT PERIOD, INCLUDING SOME

08:32AM   17       OF THE FINANCIAL PROJECTIONS AND THINGS RELATED TO THE COMPANY.

08:32AM   18             SO WHEN HE'S COMMUNICATING WITH MR. SLACK IN THE FUTURE,

08:32AM   19       WE THINK THAT'S EVIDENCE OF WHAT HE UNDERSTOOD EARLIER IN TIME

08:32AM   20       BECAUSE HE'S SUGGESTING THAT THERE ARE LIMITATIONS ON THE

08:32AM   21       ABILITY TO PROJECT FIVE YEARS OUT, FOR EXAMPLE, THAT

08:32AM   22       MR. BALWANI WOULD NOT BE IN A POSITION TO DO THAT, ET CETERA.

08:32AM   23             SO WE THINK THAT --

08:32AM   24                   THE COURT:    I'M SORRY.    I APOLOGIZE.    BUT JUST SO I

08:32AM   25       CAN KEEP IT BEFORE I LOSE IT --



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 10
                                                                               11 of
                                                                                  of 285
                                                                                     286
                                                                                           4912


08:32AM    1                   MR. WADE:    YEAH.

08:32AM    2                   THE COURT:    -- SO HIS POST-INVESTMENT COMMENTS VIA

08:32AM    3       EMAIL AND OTHERS WOULD BE RELEVANT BECAUSE IT SHOWS HIS

08:32AM    4       CONTINUED THOUGHTS OR PROJECTIONS ABOUT HIS INVESTMENT IN 2014

08:32AM    5       LOOKING BACKWARDS?

08:32AM    6             I GUESS IS THAT HOW --

08:32AM    7                   MR. WADE:    THERE'S NO INDICATION THAT HE GOT

08:32AM    8       ADDITIONAL INFORMATION ABOUT THE FINANCES AFTER HIS INVESTMENT

08:32AM    9       DECISION.

08:32AM   10             SO I THINK IT'S EVIDENCE OF WHAT HE UNDERSTOOD ABOUT THE

08:33AM   11       FINANCES AT THE TIME HE MADE THE INVESTMENT DECISION, BUT WE

08:33AM   12       CAN CERTAINLY -- IF THE UNDERSTANDING OF THAT IS NOT RIGHT, THE

08:33AM   13       WITNESS CAN CERTAINLY CLARIFY THAT.

08:33AM   14             IT WOULD BE, FOR EXAMPLE, IF I HAD INTERACTIONS WITH THE

08:33AM   15       COURT AND ONE OF MY COLLEAGUES WAS GOING TO COME OUT AND ARGUE

08:33AM   16       WITH YOU, AND ARGUE IN FRONT OF YOU AND I SAID TO ONE OF MY

08:33AM   17       COLLEAGUES, JUDGE DAVILA IS A VERY PLEASANT JUDGE, HE GIVES YOU

08:33AM   18       A CHANCE TO MAKE YOUR ARGUMENT, HE ASKS A LOT OF QUESTIONS,

08:33AM   19       HE'S WELL PREPARED.

08:33AM   20             EVEN THOUGH I'M COMMUNICATING THAT THREE MONTHS IN THE

08:33AM   21       FUTURE, THAT IS AN INDICATION OF THE INFORMATION I'VE OBTAINED

08:33AM   22       AS A RESULT OF MY EXPERIENCE, YOU KNOW, HERE TODAY.

08:33AM   23             AND SO I THINK IT'S SIMILAR EVIDENCE THAT RELATES TO THAT.

08:33AM   24             BUT MAYBE THE COURT CAN LOOK AT THE EMAILS AND I THINK

08:33AM   25       YOU'LL GET A SENSE OF, YOU KNOW, A SENSE OF THAT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 11
                                                                               12 of
                                                                                  of 285
                                                                                     286
                                                                                           4913


08:33AM    1              ONE OTHER ISSUE THAT I WANT TO FLAG FOR THE COURT WITH

08:33AM    2       RESPECT TO MR. MOSLEY.      HE IS A LAWYER, OR WAS A LAWYER AT THE

08:34AM    3       TIME THAT HE WAS INTERACTING.       HE HAS ASSERTED PRIVILEGE OVER A

08:34AM    4       LOT OF COMMUNICATIONS INVOLVING VARIOUS CLIENTS, AND I JUST

08:34AM    5       WANTED TO MAKE THE COURT AWARE OF THAT SO IT DIDN'T COME AS A

08:34AM    6       SURPRISE.

08:34AM    7              WE HAVE A SENSE OF WHERE THOSE ASSERTIONS ARE AND WE'RE OF

08:34AM    8       COURSE GOING TO DO OUR BEST TO STEER CLEAR OF ANYTHING OTHER

08:34AM    9       THAN JUST SORT OF PRIVILEGE LOG LEVEL INFORMATION AS BEST WE

08:34AM   10       CAN.

08:34AM   11              BUT I JUST WANTED TO RAISE THAT IN THE EVENT THAT IT COMES

08:34AM   12       UP DURING THE TESTIMONY OF MR. MOSLEY, BECAUSE THROUGHOUT THE

08:34AM   13       PERIOD WHERE HE'S CONSIDERING THE INVESTMENT, HE'S HAVING

08:34AM   14       PRIVILEGED COMMUNICATIONS WITH VARIOUS CLIENTS.

08:34AM   15                   THE COURT:    SO IT SOUNDS LIKE YOUR EXAMINATION WOULD

08:34AM   16       SKIRT THOSE ISSUES SO IT DOESN'T HAVE TO BE RAISED TO THE

08:34AM   17       EXTENT THAT HIS TESTIMONY IS SOUGHT BY YOU.

08:34AM   18                   MR. WADE:    IT WILL COME UP IN HIS TESTIMONY TO THE

08:35AM   19       EXTENT THAT HE IS HAVING COMMUNICATIONS, AND WHEN HE'S HAVING

08:35AM   20       COMMUNICATIONS, THE SUBSTANCE OF THOSE COMMUNICATIONS, YOU

08:35AM   21       KNOW, IT OBVIOUSLY WOULD NOT BE APPROPRIATE FOR US TO ASK ABOUT

08:35AM   22       GIVEN HE'S ASSERTED THE PRIVILEGE.

08:35AM   23              SO THERE ARE A COUPLE OF OCCASIONS WHERE A CERTAIN LEVEL

08:35AM   24       OF INFORMATION IS COMMUNICATED TO THIRD PARTIES.          FOR EXAMPLE,

08:35AM   25       HE MAY HAVE A COMMUNICATION WITH DR. KISSINGER, THE CONTENTS OF



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 12
                                                                               13 of
                                                                                  of 285
                                                                                     286
                                                                                           4914


08:35AM    1       WHICH WE DON'T REALLY KNOW, BUT THEN HE WILL COMMUNICATE A VERY

08:35AM    2       LIMITED PIECE OF INFORMATION TO MS. HOLMES LIKE, "I HAD A

08:35AM    3       CONVERSATION, I HOPE WE CAN MEET AGAIN IN THE FUTURE."           YOU

08:35AM    4       KNOW, NONE OF THE SUBSTANCE OF THE PRIVILEGE INFORMATION, BUT

08:35AM    5       IT'S CLEAR THAT HE IS HAVING A PRIVILEGED COMMUNICATION.

08:35AM    6             SO THE FACT OF THOSE COMMUNICATIONS WILL COME UP, BUT I

08:35AM    7       JUST WANTED TO ALERT THE COURT TO THE ISSUE SO NO ONE WAS

08:36AM    8       CAUGHT OFF GUARD.     AND WE'LL OF COURSE DO OUR BEST TO KIND OF

08:36AM    9       CAREFULLY NAVIGATE OUR WAY THROUGH THOSE ISSUES.

08:36AM   10                   THE COURT:    SURE.   THANK YOU.    IT SOUNDS LIKE YOU'RE

08:36AM   11       NOT GOING TO BE CALLING UPON THE WITNESS OR THE COURT TO MAKE A

08:36AM   12       DECISION AS TO WHETHER OR NOT A PRIVILEGE SHOULD BE

08:36AM   13       APPROPRIATE.

08:36AM   14                   MR. WADE:    WE DON'T INTEND TO DO THAT, YOUR HONOR.

08:36AM   15                   THE COURT:    AND I'M INFORMED OF THAT.

08:36AM   16             IT SOUNDS LIKE YOUR CROSS WILL BE LENGTHY OF THIS WITNESS.

08:36AM   17                   MR. WADE:    IT COULD BE.    YEAH, YEAH.

08:36AM   18                   THE COURT:    OKAY.

08:36AM   19             MR. SCHENK, LET ME DRAW YOU BACK TO THE POST-INVESTMENT

08:36AM   20       COMMENT AND THE OBSERVATIONS, AS MR. WADE HAS INDICATED.

08:36AM   21                   MR. SCHENK:    THANK YOU, YOUR HONOR.      TWO POINTS.

08:36AM   22             FIRST, THE GOVERNMENT IS NOT NARROWING THE CONSPIRACY

08:36AM   23       PERIOD, SIMPLY QUESTIONING THE RELEVANCE OF SPECIFIC DOCUMENTS

08:36AM   24       IN THE 2015 TIME PERIOD.

08:36AM   25             THE LINE THAT MR. WADE IS ATTEMPTING TO DRAW FOR THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 13
                                                                               14 of
                                                                                  of 285
                                                                                     286
                                                                                           4915


08:36AM    1       COURT, AND THAT IS 2015 STATEMENTS, THOUGHTS ARE RELEVANT IF

08:37AM    2       THEY WERE HELD BY THE WITNESS BEFORE HE INVESTED IS FAIR GAME

08:37AM    3       FOR CROSS.    IT JUST DOESN'T REQUIRE THE ADMISSION OF THESE

08:37AM    4       DOCUMENTS, AND THAT'S THE LINE THAT I'M ADVOCATING FOR.

08:37AM    5             IT'S APPROPRIATE FOR MR. WADE TO ASK THE WITNESS WHAT HE

08:37AM    6       KNEW IN 2014.    THAT DOES NOT REQUIRE MR. WADE TO DO IT BY

08:37AM    7       INTRODUCING DOCUMENTS FROM 2015 AND THEN SAYING, WAS THAT WHAT

08:37AM    8       YOU THOUGHT IN 2014?

08:37AM    9             THAT'S NOT NECESSARY, AND IT'S INTRODUCING IRRELEVANT

08:37AM   10       EVIDENCE.

08:37AM   11             WHAT IS RELEVANT IS, WHAT DID MR. MOSLEY THINK BEFORE HE

08:37AM   12       INVESTED?    AND I'M NOT OBJECTING TO THAT.       I THINK THAT THAT IS

08:37AM   13       APPROPRIATE.

08:37AM   14             BUT IT SHOULDN'T BE DONE THROUGH THE INTRODUCTION OF 2015

08:37AM   15       DOCUMENTS.

08:37AM   16                    THE COURT:    SO, SO IF HE SAYS, WHAT WERE YOU

08:37AM   17       THINKING IN 2014 AND HE GETS A RESPONSE, CAN HE -- PARDON ME.

08:37AM   18       CAN HE ASK, DID YOU MEMORIALIZE THAT IN AN EMAIL IN 2015?           DID

08:37AM   19       YOU SAY THE SAME THING?      DID YOUR MIND CHANGE IN 2015?       YES OR

08:37AM   20       NO?   DID YOU MEMORIALIZE THAT IN SOME FASHION?         WITHOUT GETTING

08:38AM   21       THE DOCUMENT IN.

08:38AM   22                    MR. SCHENK:   IF IN YOUR HONOR'S EXAMPLE THE TWO ARE

08:38AM   23       CONSISTENT, HE SAYS SOMETHING IN 2014 THAT'S MEMORIALIZED IN

08:38AM   24       2015, I SUPPOSE IF THE QUESTION IS, DID YOU WRITE THAT DOWN IN

08:38AM   25       AN EMAIL IN 2015, I DON'T HAVE AN OBJECTION TO IT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 14
                                                                               15 of
                                                                                  of 285
                                                                                     286
                                                                                           4916


08:38AM    1             WHAT CONCERNS ME IS TO SUGGEST THAT THIS OUT-OF-COURT

08:38AM    2       STATEMENT TO SOMEONE THAT MR. MOSLEY -- MR. WADE EXPLAINED THE

08:38AM    3       TENUOUS RELATIONSHIP.      IT'S NOT A CLIENT OF MR. MOSLEY'S, IT'S

08:38AM    4       A FRIEND OF A FRIEND, AND MR. MOSLEY SENDS AN EMAIL TO THIS

08:38AM    5       FRIEND OF A FRIEND.

08:38AM    6             I DON'T THINK THAT DOCUMENT NEEDS TO COME IN EVEN IF IT IS

08:38AM    7       CONSISTENT.    THIS AFTER-THE-FACT CONSISTENT STATEMENT IS

08:38AM    8       HEARSAY AND JUST NOT RELEVANT.

08:38AM    9                   THE COURT:    SURE.

08:38AM   10             SO IF HIS OPINION OF THE INVESTMENT IN 2014 CONTINUED

08:38AM   11       THROUGH 2015, CAN'T YOU JUST ASK HIM THAT, MR. WADE?           DID YOUR

08:38AM   12       MIND CHANGE?

08:38AM   13             NO, IT DIDN'T.

08:38AM   14             AND YOU MEMORIALIZED THAT?      YOU WERE CONSISTENT IN THAT

08:38AM   15       OPINION?

08:38AM   16             YES, I WAS.

08:38AM   17             THANK YOU VERY MUCH.

08:38AM   18             WHY DO YOU NEED THE DOC?      AND I'LL LOOK AT THE DOCS.      I

08:39AM   19       DON'T KNOW, MAYBE THEY HAVE SOME OTHER INFORMATION, BUT --

08:39AM   20                   MR. WADE:    IT MAY BE THAT THE QUESTIONING WILL

08:39AM   21       ADEQUATELY REVEAL IT.

08:39AM   22             BUT JUST TO MAKE THE EXAMPLE CONCRETE HERE, AS I SAID,

08:39AM   23       MR. MOSLEY IS COMMUNICATING WITH THERANOS AT DIFFERENT POINTS

08:39AM   24       IN TIME THROUGHOUT THE FALL.       HE ULTIMATELY MAKES A PERSONAL

08:39AM   25       INVESTMENT DECISION.     HE HAS MANY CLIENTS WHO MAKE INVESTMENT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 15
                                                                               16 of
                                                                                  of 285
                                                                                     286
                                                                                           4917


08:39AM    1       DECISIONS IN THE FALL AND INTO THE LATE FALL.

08:39AM    2             ON FEBRUARY 5TH, 2015, HE COMMUNICATES WITH MR. SLACK, WHO

08:39AM    3       HE HAS BEEN COMMUNICATING WITH FREQUENTLY.         THERE ARE FREQUENT

08:39AM    4       COMMUNICATIONS AT THE REQUEST OF DR. KISSINGER.

08:39AM    5             ONE OF THE THINGS THEY ASK ABOUT ARE, MR. SLACK'S

08:39AM    6       COLLEAGUES ASK ABOUT ARE DETAILED PROJECTIONS.

08:39AM    7             AND IF YOU LOOK AT EXHIBIT 4380, MR. MOSLEY RESPONDS, "I

08:39AM    8       SUSPECT IT WILL BE VERY HARD FOR SUNNY TO GIVE MUCH RELIABLE

08:39AM    9       GUIDANCE ON A FIVE YEAR BASIS GIVEN HOW FAST THINGS ARE MOVING

08:40AM   10       AND THE VARIABLES.     I THINK IT WILL BE EASY TO GET SUNNY TO

08:40AM   11       EXPLAIN THE MARKET SHARE THEY ARE TARGETING AND THE VALUES

08:40AM   12       LIKELY GENERATED BY THAT SHARE."

08:40AM   13             SO THAT CLEARLY -- HE'S NOT -- HE'S INTERACTED WITH

08:40AM   14       MR. BALWANI ABOUT THESE FINANCIAL ISSUES.         THIS CLEARLY

08:40AM   15       REFLECTS HIS UNDERSTANDING AS TO THE LIMITATIONS ON THE

08:40AM   16       PROJECTIONS, AND THE NUMBER OF QUICKLY MOVING VARIABLES.

08:40AM   17             IN OTHER WORDS -- AND WE'LL SEE.       MAYBE IT WON'T BE

08:40AM   18       RELEVANT.    MAYBE HE'LL CONCEDE THAT THERE WAS A TREMENDOUS

08:40AM   19       AMOUNT OF UNCERTAINTY RELATED TO THE PROJECTIONS, AND MAYBE WE

08:40AM   20       DON'T NEED TO GET INTO THIS, BUT IF THE WITNESS SUPPORTS A VIEW

08:40AM   21       THAT DEPARTS FROM WHAT HE COMMUNICATES TO MR. SLACK, I THINK

08:40AM   22       IT'S APPROPRIATE IMPEACHMENT BY CONTRADICTION EVIDENCE.

08:40AM   23                   THE COURT:    WELL, THERE'S A LOT OF OTHER INFORMATION

08:40AM   24       IN THIS EMAIL.    THE NEXT PARAGRAPH SPEAKS TO YOUR CLIENT AND

08:41AM   25       THINGS ABOUT HER.     I'M NOT SURE YOU WANTED THAT ALSO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 16
                                                                               17 of
                                                                                  of 285
                                                                                     286
                                                                                           4918


08:41AM    1             BUT IT SEEMS THAT THIS GIVES -- IT'S HIS OPINION OF WHAT

08:41AM    2       MR. BALWANI WOULD DO, COULD DO, AND SHOULD DO, AND I'M NOT SURE

08:41AM    3       THAT'S APPROPRIATE.      BUT LET'S LOOK AT THIS AS WE GET -- LET ME

08:41AM    4       LOOK AT THESE THINGS, THESE EMAILS, AND WE'LL -- I THINK IT'S

08:41AM    5       WISE TO TAKE IT UP AS YOU SUGGEST, MAYBE AT A BREAK PRIOR TO

08:41AM    6       THE WITNESS'S TESTIMONY.

08:41AM    7                   MR. WADE:    SURE.

08:41AM    8                   THE COURT:    GREAT.   THANK YOU.

08:41AM    9             I TALKED ABOUT THE OTHER ITEMS THAT I HAD ON MY AGENDA,

08:41AM   10       BUT ARE THERE ANY OTHER ITEMS THAT WE SHOULD DISCUSS THIS

08:41AM   11       MORNING?

08:41AM   12                   MR. SCHENK:    NO, YOUR HONOR.

08:41AM   13                   THE COURT:    OKAY.    I MENTIONED 1116, THAT WAS A

08:41AM   14       MOTION TO EXCLUDE WITNESS BB.       THAT'S ON THE TABLE NOW.      SHOULD

08:41AM   15       WE DEFER THAT?

08:41AM   16             GOOD MORNING, MR. BOSTIC.

08:41AM   17                   MR. BOSTIC:    GOOD MORNING, YOUR HONOR.

08:41AM   18             IT'S THE GOVERNMENT'S REQUEST THAT WE TAKE THAT UP PERHAPS

08:41AM   19       TOMORROW.    THAT MOTION WAS FILED BY THE DEFENSE ON SATURDAY.

08:42AM   20       THIS WITNESS WILL NOT TESTIFY TODAY, AND MOST LIKELY NOT

08:42AM   21       TOMORROW EITHER.

08:42AM   22             THE GOVERNMENT WOULD LIKE TO FILE A WRITTEN RESPONSE TO

08:42AM   23       THE DEFENSE'S MOTION, AND IT INTENDS TO DO THAT SOMETIME TODAY.

08:42AM   24       SO OUR REQUEST, IF THE COURT IS AMENABLE, IS THAT WE TALK ABOUT

08:42AM   25       IT TOMORROW AT THIS TIME, OR POSSIBLY THURSDAY.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 17
                                                                               18 of
                                                                                  of 285
                                                                                     286
                                                                                           4919


08:42AM    1                   THE COURT:    MS. TREFZ, GOOD MORNING.

08:42AM    2                   MS. TREFZ:    GOOD MORNING.

08:42AM    3             I'M HAPPY TO TALK ABOUT IT TOMORROW.

08:42AM    4             ONE THING I WOULD REQUEST IS THAT IF YOU GUYS HAVE UPDATED

08:42AM    5       INFORMATION, WE'VE ONLY GOT ONE 302 FROM ALMOST A YEAR AND A

08:42AM    6       HALF AGO OR MORE AT THIS POINT.       SO IF YOU DO HAVE UPDATED

08:42AM    7       INFORMATION, WE WOULD LOVE TO GET IT BEFORE WE DO THE ARGUMENT.

08:42AM    8                   MR. BOSTIC:    WE CAN DO THAT, YOUR HONOR.

08:42AM    9                   THE COURT:    GREAT.   OKAY.   THANK YOU.

08:42AM   10                   MS. TREFZ:    SURE.

08:42AM   11                   THE COURT:    SO WE'LL DEFER 1116 FOR TOMORROW MORNING

08:42AM   12       THEN.

08:42AM   13                   MS. TREFZ:    OKAY.

08:42AM   14                   THE COURT:    AND THEN I HAD 1103, WHICH WAS A MOTION

08:42AM   15       ABOUT MR. PARLOFF.

08:42AM   16             MR. CLINE, GOOD MORNING.

08:42AM   17                   MR. CLINE:    GOOD MORNING, YOUR HONOR.

08:42AM   18             JOHN CLINE FOR MS. HOLMES.

08:43AM   19             WOULD IT BE POSSIBLE FOR ME TO TAKE THIS OFF WHILE WE'RE

08:43AM   20       TALKING?

08:43AM   21                   THE COURT:    IT'S SO BECOMING, MR. CLINE, I'M NOT

08:43AM   22       SURE.

08:43AM   23             (LAUGHTER.)

08:43AM   24                   THE COURT:    SURE.    GO RIGHT AHEAD.

08:43AM   25                   MR. CLINE:    THANK YOU VERY MUCH.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 18
                                                                               19 of
                                                                                  of 285
                                                                                     286
                                                                                           4920


08:43AM    1             YOUR HONOR, WE HAVE FILED 1103, WHICH IS A MOTION IN

08:43AM    2       LIMINE CONCERNING MR. PARLOFF'S TESTIMONY.         PROBABLY THE BEST

08:43AM    3       EXPRESSION OF OUR POSITION IS THE REPLY, WHICH IS 1117 FILED

08:43AM    4       YESTERDAY.

08:43AM    5             RELATED TO THIS IS 1102, WHICH IS OUR OBJECTIONS TO

08:43AM    6       MAGISTRATE JUDGE COUSINS'S ORDER QUASHING OUR SUBPOENA TO

08:43AM    7       MR. PARLOFF.

08:43AM    8             AND THE REASON THEY'RE RELATED IS THAT I THINK THE

08:43AM    9       PRINCIPAL CONCERN WITH THE SUBPOENA HAS TO DO WITH RELEVANCE OF

08:43AM   10       THE MATERIALS WE'RE SELECTING, AND IN OUR VIEW THE BROADER THE

08:43AM   11       SCOPE OF MR. PARLOFF'S TESTIMONY, THE MORE APPARENT THE

08:43AM   12       RELEVANCE OF THE MATERIALS THAT WE'RE SEEKING, AND THE REVERSE

08:43AM   13       IS TRUE AS WELL.

08:43AM   14             I THINK MR. PARLOFF'S LAWYERS, MR. KORZENIK AND

08:44AM   15       MR. KOLTUN, ARE ON THE PHONE SUPPOSEDLY TO ADDRESS THE SUBPOENA

08:44AM   16       ISSUE AS YOUR HONOR WANTS TO ADDRESS IT.

08:44AM   17                    THE COURT:    OKAY.   THANK YOU.   IS THIS RELEVANT TO

08:44AM   18       TALK ABOUT THIS MORNING?

08:44AM   19                    MR. CLINE:    WE DON'T HAVE TO.

08:44AM   20             MR. PARLOFF IS NOT COMING UNTIL WHEN?        NEXT WEEK.

08:44AM   21                    MR. BOSTIC:   MR. PARLOFF IS NOT COMING THIS WEEK.

08:44AM   22       WE'RE HAPPY TO DISCUSS IT ANY TIME THE COURT WISHES.

08:44AM   23                    THE COURT:    THANK YOU.   I'M COGNIZANT OF TIME.      IT'S

08:44AM   24       ABOUT QUARTER TILL THE HOUR, AND THIS MAY TAKE A LITTLE LONGER

08:44AM   25       THAN THAT.    MAYBE NOT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 19
                                                                               20 of
                                                                                  of 285
                                                                                     286
                                                                                           4921


08:44AM    1                   MR. CLINE:    I THINK THIS WILL TAKE A LITTLE WHILE.

08:44AM    2       WE MAY WANT TO PUT IT OFF UNTIL TOMORROW MORNING.          I DON'T

08:44AM    3       THINK IT'S URGENT THAT WE DECIDE IT TODAY.

08:44AM    4                   THE COURT:    DO YOU AGREE WITH THAT?

08:44AM    5                   MR. KORZENIK:    YOUR HONOR, DAVID KORZENIK SPEAKING.

08:44AM    6             WE WILL BE AVAILABLE WHENEVER AT THE COURT'S CONVENIENCE

08:44AM    7       TO DISCUSS IT.    IT APPEARS THAT MUCH OF IT IS MOOT AT THIS

08:44AM    8       POINT.

08:44AM    9                   THE COURT:    THANK YOU.    PLEASE STATE YOUR NAME

08:44AM   10       AGAIN.

08:44AM   11                   MR. KORZENIK:    MY NAME IS DAVID KORZENIK, K-O-R-Z,

08:45AM   12       AS IN ZEBRA, E-N-I-K, AND WE'RE APPEARING ON BEHALF OF

08:45AM   13       JOURNALIST AND WITNESS ROGER PARLOFF.

08:45AM   14                   THE COURT:    THANK YOU.    AND YOU'RE APPEARING

08:45AM   15       TELEPHONICALLY FOR THIS HEARING; IS THAT RIGHT?

08:45AM   16                   MR. KORZENIK:    THAT'S CORRECT.

08:45AM   17                   THE COURT:    MR. BOSTIC?

08:45AM   18                   MR. BOSTIC:    THAT'S CORRECT, YOUR HONOR.

08:45AM   19             ON TIMING, YES, THIS WITNESS WILL TESTIFY POSSIBLY NEXT

08:45AM   20       WEEK AT THE EARLIEST, SO WHENEVER IT IS CONVENIENT FOR THE

08:45AM   21       COURT AND THE DEFENSE TO RAISE THIS ISSUE, WE'LL BE READY.

08:45AM   22                   THE COURT:    OKAY.   THANK YOU.    I DID NOTE YOUR

08:45AM   23       OPPOSITION, WHICH IS 1115, AND THAT SEEMS TO LIMIT THE -- AT

08:45AM   24       LEAST IT INFORMS THE PARTIES THAT THE GOVERNMENT -- AS TO THE

08:45AM   25       LIMITS OF THE GOVERNMENT'S EXAMINATION OF THE WITNESS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 20
                                                                               21 of
                                                                                  of 285
                                                                                     286
                                                                                           4922


08:45AM    1             I WILL SAY, THOUGH, I DO HAVE AND I HAVE READ THAT, OF

08:45AM    2       COURSE, AND YOUR REPLY.      I DID HAVE SOME QUESTIONS, AND WHAT

08:45AM    3       WE'LL DISCUSS WHEN WE TALK ABOUT THIS, I THINK MR. BOSTIC, YOU

08:45AM    4       INFORM SIX BASIC AREAS OF INQUIRY, QUESTIONS I GUESS, IN YOUR

08:46AM    5       PLEADINGS, AND I THINK WHAT I'M FOCUSSED ON IS REALLY THE --

08:46AM    6       AND THANK YOU FOR THAT, FOR THAT LIMITATION.

08:46AM    7             I THINK THAT DOES TAKE CARE OF MANY ITEMS.

08:46AM    8             WHAT CONCERNS ME, THOUGH, IS WHEN YOU DESCRIBE THE

08:46AM    9       CONTEXTUAL NATURE OF THE EXAMINATION AND WHAT THAT MEANS, AND

08:46AM   10       THAT'S WHAT I'M GOING TO BE ASKING YOU ABOUT, WHAT DOES THAT

08:46AM   11       MEAN AND HOW MIGHT THAT TRAVEL INTO THE CONVERSATION, THE

08:46AM   12       EXAMINATION?    I JUST DON'T KNOW WHAT YOU HAD IN MIND ABOUT

08:46AM   13       THAT, BUT I -- YOU'LL TELL ME.

08:46AM   14                    MR. CLINE:   AND, YOUR HONOR, WE AGREE THAT'S THE

08:46AM   15       ISSUE AT THIS POINT, AND WE'LL BE PREPARED TO DISCUSS IT AS

08:46AM   16       WELL.

08:46AM   17                    THE COURT:   RIGHT.

08:46AM   18             AND IT MAY BE THAT, YOU KNOW, THE CONTEXT MEANS A

08:46AM   19       FOUNDATION, THAT'S ALL, DID YOU WRITE THE ARTICLE?          DID YOU

08:46AM   20       DO -- WERE YOU ASSIGNED A TASK?       DID YOU INVESTIGATE?      DID YOU

08:46AM   21       INTERVIEW?    DID YOU ASK THESE QUESTIONS?       DID SHE SAY -- WHAT

08:46AM   22       WERE HER ANSWERS?     THANK YOU VERY MUCH.

08:47AM   23             IS THAT THE CONTEXT?

08:47AM   24                    MR. CLINE:   YOUR HONOR, THAT IS THE CONTEXT, AND

08:47AM   25       NONE OF IT IS OBJECTIONABLE.       IT'S THE BROADER ISSUES THAT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 21
                                                                               22 of
                                                                                  of 285
                                                                                     286
                                                                                           4923


08:47AM    1       WE'LL BE PREPARED TO ADDRESS.

08:47AM    2                   THE COURT:    RIGHT.   I THINK THERE WAS ANOTHER LINE

08:47AM    3       THAT COMES TO MIND, MR. BOSTIC, ABOUT THE REASONS WHY CERTAIN

08:47AM    4       QUESTIONS WERE ASKED AND OTHERS WERE NOT, AND THAT'S CONTEXTUAL

08:47AM    5       ALSO, BUT WE CAN TALK ABOUT THAT.

08:47AM    6             I JUST WANT TO GIVE YOU -- THAT'S WHERE I'M GOING TO NEED

08:47AM    7       SOME HELP FROM YOUR SIDE.

08:47AM    8                   MR. BOSTIC:    I APPRECIATE THAT, YOUR HONOR.       WE'LL

08:47AM    9       BE READY TO DISCUSS IT.

08:47AM   10             JUST TO BRIEFLY PREVIEW IT FOR THE COURT, WHAT WE'RE

08:47AM   11       SEEKING TO HAVE MR. PARLOFF TESTIFY TO IS WHAT WE WOULD ASK ANY

08:47AM   12       WITNESS WHO IS TESTIFYING ABOUT A CONVERSATION THAT HE

08:47AM   13       PARTICIPATED IN.

08:47AM   14             SO THE CONTEXT WILL INCLUDE INFORMATION NECESSARY FOR THE

08:47AM   15       JURY TO PLACE THE SPECIFIC STATEMENTS THAT THEY'RE GOING TO

08:47AM   16       HEAR IN THE CONTEXT OF A SERIES OF CONVERSATIONS THAT LASTED

08:47AM   17       MANY HOURS.

08:47AM   18             WE DO NOT INTEND TO PLAY THE ENTIRETY OF THE RECORDINGS.

08:47AM   19       THAT WOULD TAKE MORE THAN A TRIAL DAY TO PUT IN FRONT OF THE

08:47AM   20       JURY.

08:47AM   21             SO INSTEAD WE WOULD LIKE THE JURY TO HAVE THE BENEFIT OF

08:47AM   22       MR. PARLOFF'S GENERAL STATEMENTS AND CONTEXTUAL INFORMATION

08:48AM   23       ABOUT HOW SPECIFIC STATEMENTS SPIT IN -- SORRY, FIT INTO THE

08:48AM   24       OVERALL CONVERSATIONS.      BUT WE'LL BE READY TO DISCUSS THAT.

08:48AM   25                   THE COURT:    I SEE.   THANK YOU.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 22
                                                                               23 of
                                                                                  of 285
                                                                                     286
                                                                                           4924


08:48AM    1             AND THE OTHER ISSUES THAT PERHAPS INTERESTS MR. PARLOFF'S

08:48AM    2       LAWYERS WHO ARE ON THE LINE IS TO WHETHER OR NOT THE

08:48AM    3       EXAMINATION WILL NECESSARILY CALL UPON OUTSIDE MATERIAL THAT I

08:48AM    4       THINK WAS THE FORM OF YOUR 17 SUBPOENA AND THOSE ISSUES.

08:48AM    5                   MR. CLINE:    RIGHT.   AND I WILL READILY

08:48AM    6       ACKNOWLEDGE -- AND, AGAIN, WE CAN GET INTO THIS IN MORE

08:48AM    7       DETAIL -- THAT THE MORE THAT MR. PARLOFF IS SIMPLY

08:48AM    8       AUTHENTICATING TAPES AND RECOUNTING CONVERSATIONS THAT AREN'T

08:48AM    9       TAPED, AUTHENTICATING HIS ARTICLE, THE LESS RELEVANCE THE

08:48AM   10       MATERIALS HAVE.

08:48AM   11             THE BROADER THE SCOPE OF HIS TESTIMONY, THE MORE HE GETS

08:48AM   12       INTO HIS SUBJECTIVE REASONING ABOUT ALL OF THIS AND THAT, ALL

08:48AM   13       OF WHICH WE SAY IS IRRELEVANT, THE MORE THOSE MATERIALS BECOME

08:48AM   14       RELEVANT.

08:48AM   15             SO THAT'S THE CONNECTION BETWEEN THE TWO.         AND I DON'T

08:48AM   16       WANT TO SPEAK FOR MR. KORZENIK, BUT I THINK THAT'S PROBABLY THE

08:49AM   17       REASON WHY IN HIS OWN PLEADING HE SAYS BASICALLY THE TESTIMONY

08:49AM   18       IS GOING TO BE VERY CONSTRICTED.

08:49AM   19                   THE COURT:    I THINK YOU'RE RIGHT.

08:49AM   20             AND THEN TO YOUR TEAM, MR. CLINE, IF THERE IS SUCH A

08:49AM   21       LIMITATION, OF COURSE YOU COULDN'T OPEN THAT DOOR ON

08:49AM   22       CROSS-EXAMINATION AND THEN SAY, OH, NOW WE NEED THAT MATERIAL.

08:49AM   23       IF MR. BOSTIC LIMITS HIS EXAMINATION, I'M TELLING YOU BASIC

08:49AM   24       THINGS, BUT I JUST WANT TO SET THE TABLE FOR YOU.

08:49AM   25                   MR. CLINE:    IF THE TESTIMONY IS LIMITED AS WE THINK



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 23
                                                                               24 of
                                                                                  of 285
                                                                                     286
                                                                                           4925


08:49AM    1       IS APPROPRIATE, I WILL BE EXTRAORDINARILY CONSCIOUS OF DOOR

08:49AM    2       OPENING.

08:49AM    3                   THE COURT:    OKAY.   ALL RIGHT.    THANKS VERY MUCH.

08:49AM    4       WE'LL TAKE -- WE'LL TAKE THIS UP.

08:49AM    5                   MR. KORZENIK:    YOUR HONOR, JUST A QUESTION -- THIS

08:49AM    6       IS DAVID KORZENIK SPEAKING -- THAT YOU MAY BE -- WE SHOULD BE

08:49AM    7       AVAILABLE PERHAPS TOMORROW MORNING AT THIS TIME?

08:49AM    8                   THE COURT:    WELL, IT MAY BE WE'LL DISCUSS THIS

08:49AM    9       TOMORROW MORNING.     IF YOU WOULD LIKE TO PHONE IN, WE'RE HAPPY

08:49AM   10       TO HEAR FROM YOU.

08:49AM   11                   MR. KORZENIK:    OKAY.

08:50AM   12                   THE COURT:    ALL RIGHT.

08:50AM   13                   MR. KORZENIK:    IT SEEMS LIKE MUCH OF IT IS KIND OF

08:50AM   14       MOOT AT THIS POINT AND THAT THE RULING OF MAGISTRATE

08:50AM   15       JUDGE COUSINS WILL STAND, AND THAT REALLY THE RULE 17 ISSUES

08:50AM   16       AND OBJECTIONS THAT MR. CLINE IS RAISING HAVE KIND OF FALLEN BY

08:50AM   17       THE WAYSIDE.

08:50AM   18                   MR. CLINE:    I THINK, YOUR HONOR, THAT'S A BIT OF AN

08:50AM   19       OVERSTATEMENT, BUT THAT MAY BE THE ULTIMATE OUTCOME.

08:50AM   20                   MR. KORZENIK:    YEAH, BECAUSE I DON'T REALLY SEE HOW

08:50AM   21       ANY OF THESE OTHER INTERVIEWEES WOULD HAVE A BEARING ON ANY

08:50AM   22       KIND OF CONTEXT ISSUE, BROAD OR NARROW.

08:50AM   23                   THE COURT:    WELL, WE'LL -- THANK YOU FOR YOUR

08:50AM   24       OBSERVATIONS.    WE'RE HERE ON THE WEST COAST AND I APPRECIATE

08:50AM   25       THE EAST COAST VIEW OF THINGS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 24
                                                                               25 of
                                                                                  of 285
                                                                                     286
                                                                                           4926


08:50AM    1             (LAUGHTER.)

08:50AM    2                    THE COURT:    WE'RE GOING TO TAKE THIS UP TOMORROW

08:50AM    3       AGAIN, I THINK IN THE MORNING, SO WE'RE HAPPY TO HEAR ABOUT

08:50AM    4       YOUR THOUGHTS AGAIN THEN.      BUT THANKS FOR YOUR OBSERVATIONS.

08:51AM    5             IT MAY BE -- THIS IS WHAT HAPPENS IN A TRIAL WHEN YOU HAVE

08:51AM    6       GOOD LAWYERS WHO MEET AND CONFER AND RECOGNIZE ISSUES AND PARE

08:51AM    7       THEM DOWN, AND WE'LL HAVE THAT DISCUSSION TOMORROW, SIR.           AND

08:51AM    8       IF WE NEED SOME HELP FROM YOU, WE'LL BE HAPPY TO HEAR FROM YOU.

08:51AM    9       THANK YOU.

08:51AM   10                    MR. KORZENIK:   I'LL BE AVAILABLE.

08:51AM   11                    MR. BOSTIC:   THANK YOU.

08:51AM   12                    MR. CLINE:    THANK YOU.

08:51AM   13                    THE COURT:    LET ME -- I DO WANT TO ASK THE PARTIES A

08:51AM   14       QUESTION, OR FIRST GIVE SOME INFORMATION.

08:51AM   15             JUROR NUMBER 5, AS TO OUR SCHEDULE -- WE'RE GOING TO

08:51AM   16       DISCONNECT OUR FRIENDS FROM THE EAST COAST NOW.

08:51AM   17                    MR. KORZENIK:   GOOD.

08:51AM   18             (DISCONNECTED.)

08:51AM   19                    THE COURT:    AND FOR JUROR NUMBER 5, I BELIEVE ON

08:51AM   20       NOVEMBER 3RD, WE NEED TO END AT 3:00 P.M.

08:51AM   21             IS THAT RIGHT, MS. KRATZMANN?

08:51AM   22                    THE CLERK:    YES, YOUR HONOR.

08:51AM   23                    THE COURT:    AND THEN ALSO NOVEMBER 29TH IS A MONDAY,

08:52AM   24       AND WE'LL NEED TO START PERHAPS AT 10:00 A.M.         THERE'S SOME

08:52AM   25       TRAVEL WITH THIS WITNESS.      SHE'LL BE AT THE SAN JOSE AIRPORT AT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 25
                                                                               26 of
                                                                                  of 285
                                                                                     286
                                                                                           4927


08:52AM    1       9:15.    SO WE'LL SHOOT FOR 10:00 O'CLOCK TO START ON

08:52AM    2       NOVEMBER 29TH.

08:52AM    3             AND IT MAY BE, MS. KRATZMANN, LET'S SEE IF WE CAN -- MAYBE

08:52AM    4       WE CAN MOVE OUR CRIMINAL CALENDAR THAT DAY TO DECEMBER 3RD IN

08:52AM    5       THE AFTERNOON.

08:52AM    6                   THE CLERK:    YES, YOUR HONOR.

08:52AM    7                   THE COURT:    AND THAT WOULD GIVE US THE ENTIRETY OF

08:52AM    8       THAT MONDAY IF I CAN DO THAT.       WE'LL FREE UP THAT AFTERNOON FOR

08:52AM    9       US.   I HOPE THAT WORKS FOR THE JURY.

08:52AM   10             I WANT TO ASK ANOTHER QUESTION REGARDING AN EMAIL THAT WAS

08:53AM   11       PROVIDED TO COUNSEL AT COUNSEL'S REQUEST LAST WEEK.          I THINK,

08:53AM   12       MR. DOWNEY, YOU MADE A REQUEST ABOUT RECEIVING A COPY OF AN

08:53AM   13       EMAIL.   I THINK WE PROVIDED IT TO THE GOVERNMENT AND TO YOU.

08:53AM   14             I JUST WANT TO ASK NOW, IS THERE ANYTHING YOU, MR. DOWNEY,

08:53AM   15       YOU WOULD LIKE TO DO WITH THE COURT OR ANYTHING YOU WANT TO DO

08:53AM   16       IN REGARDS TO THAT DOCUMENT THAT YOU RECEIVED?

08:53AM   17                   MR. DOWNEY:    NO, YOUR HONOR, NOT AT THIS TIME.

08:53AM   18             WE'RE MINDFUL OF THE ISSUES THAT THE COURT HAS ADDRESSED

08:53AM   19       SEVERAL TIMES BEFORE WITH NOISE AND DISTRACTION, AND WE'LL KEEP

08:53AM   20       MONITORING IT AS WELL.

08:53AM   21                   THE COURT:    OKAY.

08:53AM   22             MR. SCHENK, ANYTHING?

08:53AM   23                   MR. SCHENK:    NO.    NOTHING FURTHER.    THANK YOU.

08:53AM   24                   THE COURT:    THANK YOU.

08:53AM   25             SO IF THE PARTIES WANT TO RAISE ANYTHING WITH THE COURT,



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 26
                                                                               27 of
                                                                                  of 285
                                                                                     286
                                                                                           4928


08:53AM    1       OR YOU FEEL THAT THINGS DEVELOP TO A POINT WHERE IT'S IMPAIRING

08:53AM    2       YOUR ABILITY TO PRESENT YOUR CASE, YOU SHOULD LET ME KNOW.              YOU

08:53AM    3       HAVE AN OPEN INVITATION TO LET ME KNOW AND THEN WE CAN TAKE

08:53AM    4       THAT MATTER UP.     OTHERWISE I'LL ASSUME THAT IT'S A DISTRACTION,

08:54AM    5       BUT NOT TO THE POINT OF ANY NECESSARY COURT INTERVENTION.

08:54AM    6             IS THAT FAIR?

08:54AM    7                   MR. SCHENK:    YES.   THANK YOU.

08:54AM    8                   MR. DOWNEY:    YES, YOUR HONOR.

08:54AM    9                   THE COURT:    ALL RIGHT.    THANK YOU.

08:54AM   10             ANYTHING ELSE WE SHOULD TAKE UP BEFORE WE -- BEFORE I STEP

08:54AM   11       DOWN AND MAYBE WE GET STARTED ON TIME?

08:54AM   12                   MR. SCHENK:    NOTHING FURTHER.

08:54AM   13                   MR. DOWNEY:    NOTHING FROM US, YOUR HONOR.

08:54AM   14                   THE COURT:    OKAY.   GREAT.   THANK YOU VERY MUCH.

08:54AM   15             (RECESS FROM 8:54 A.M. UNTIL 9:11 A.M.)

09:11AM   16             (JURY IN AT 9:11 A.M.)

09:11AM   17                   THE COURT:    THANK YOU.    WE'RE BACK ON THE RECORD IN

09:11AM   18       THE HOLMES MATTER.     ALL COUNSEL ARE PRESENT.      MS. HOLMES IS

09:11AM   19       PRESENT.

09:11AM   20             OUR JURY AND ALTERNATES ARE PRESENT.

09:11AM   21             IT'S NICE TO SEE YOU AGAIN.      I HOPE YOU ENJOYED THE TIME

09:11AM   22       OFF, THE LONG TIME OFF.

09:11AM   23             BEFORE WE BEGIN, LET ME ASK YOU THAT QUESTION, I KNOW YOU

09:11AM   24       HAVEN'T FORGOTTEN IT.      DURING THE BREAK, HAVE ANY OF YOU HAD

09:11AM   25       OCCASION TO EITHER SEE, HEAR, READ, OR HAVE DISCUSSIONS WITH



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 27
                                                                               28 of
                                                                                  of 285
                                                                                     286
                                                                                           4929


09:11AM    1       ANYONE ABOUT ANYTHING TO DO WITH THIS CASE, THAT IS, BY

09:11AM    2       READING, LISTENING, OR CONVERSATION WITH ANOTHER PERSON?

09:11AM    3             IF SO, PLEASE RAISE YOUR HAND.

09:11AM    4             I SEE NO HANDS.

09:11AM    5             THANK YOU AGAIN FOR YOUR CONTINUED VIGILANCE AND ADHERENCE

09:11AM    6       TO MY REQUEST.    I APPRECIATE THAT, AND I KNOW THE LAWYERS DO AS

09:11AM    7       WELL.   SO THANK YOU FOR THAT.

09:11AM    8             BEFORE WE BEGIN, I DO WANT TO TAKE UP WHAT HAS BEEN A

09:12AM    9       DISCUSSION WE'VE HAD BEFORE, AND THAT'S ABOUT NOISE IN THE

09:12AM   10       COURTROOM.    WE DID HAVE A HEARING THIS MORNING WHERE I NEEDED

09:12AM   11       SOME ASSISTANCE FROM THE LAWYERS AND PARTIES OUTSIDE OF THE

09:12AM   12       PRESENCE OF THE JURY, AND DURING THAT PROCEEDING, THERE WAS --

09:12AM   13       I JUST WANT TO SAY IT WAS AUDIBLE, THERE WAS TYPING THAT WAS

09:12AM   14       AUDIBLE TO THE COURT, PERHAPS TO COUNSEL AT THEIR TABLES.           I'M

09:12AM   15       NOT GOING TO ASK THEM THAT.       BUT IT WAS CERTAINLY AUDIBLE TO

09:12AM   16       THE COURT.

09:12AM   17             I HAVE MADE COMMENTS BEFORE ABOUT THIS, THAT UNNECESSARY

09:12AM   18       DISTRACTIONS IN THE COURTROOM DIMINISH THE QUALITY OF THE

09:12AM   19       PROCEEDINGS AND COULD POTENTIALLY INTERFERE WITH THE

09:12AM   20       PROCEEDINGS.

09:12AM   21             I THINK I SAID LAST WEEK THAT IF THAT PERSISTS, THERE ARE

09:12AM   22       GOING TO BE -- I'M GOING TO BE FORCED, CANDIDLY, TO ASK ANYONE

09:12AM   23       WITH A KEYBOARD WHO IS DOING TYPING TO GO TO OUR OVERFLOW ROOM

09:12AM   24       SO YOU CAN, THOSE WHO USE THOSE DEVICES CAN PARTICIPATE IN THE

09:12AM   25       TRIAL, OBSERVE THE TRIAL, AND CONTINUE TO PARTICIPATE IN THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 28
                                                                               29 of
                                                                                  of 285
                                                                                     286
                                                                                           4930


09:13AM    1       TRIAL IN THAT ROOM SUCH THAT THERE'S NO DISTRACTION IN THIS

09:13AM    2       ROOM.

09:13AM    3             I SAY THAT ON BEHALF OF ALL OF THE PARTIES HERE, AS WELL

09:13AM    4       AS OUR JURY WHO ARE -- AS THOSE WHO KNOW HAVE BEEN ATTENTIVE

09:13AM    5       THROUGHOUT THE PROCEEDINGS, AND I DO NOT WANT ANYTHING TO

09:13AM    6       INTERFERE WITH THE EXAMINATION OF THE WITNESSES OR THE JURORS'

09:13AM    7       ABILITY TO ACCURATELY FOLLOW THE PROCEEDINGS.

09:13AM    8             SO AGAIN, I'M REACHING OUT TO THOSE OF YOU, OUR FRIENDS IN

09:13AM    9       THE AUDIENCE WHO HAVE KEYBOARDS, IF YOU WOULD PLEASE, PLEASE

09:13AM   10       MONITOR YOUR TYPING IF YOU CAN.

09:13AM   11             AND IF YOU CAN'T, I INVITE YOU TO GO TO THE OVERFLOW ROOM

09:13AM   12       AND YOU CAN TYPE THERE AS YOU WISH WITHOUT ANY FEAR OF THE

09:13AM   13       NOISE IMPAIRING THE PROCEEDINGS.

09:13AM   14             I'M GOING TO ASK YOU TO SELF-POLICE THAT.         WE HAVE A

09:13AM   15       MEMBER FROM THE SHERIFF'S OFFICE, EXCUSE ME, THE MARSHAL'S

09:14AM   16       OFFICE HERE.    I'M GOING TO CONTINUE TO BE VIGILANT ON THAT SUCH

09:14AM   17       THAT THE PROCEEDINGS ARE NOT DISRUPTED.

09:14AM   18             AND I DO INDICATE THAT I COMPLETELY RESPECT THE PRESS AND

09:14AM   19       WHOEVER ELSE IS IN HERE, THE PUBLIC, AND TYPING, MAKING NOTES.

09:14AM   20       I DON'T WANT TO DISRUPT YOUR ABILITY TO CAPTURE YOUR WORK AND

09:14AM   21       DO YOUR WORK.

09:14AM   22             BUT I HOPE YOU WOULD BE EXPRESSING RECIPROCITY TO US, AND

09:14AM   23       ME, TO ALLOW US TO DO THE WORK THAT WE NEED TO DO.

09:14AM   24             SO THANK YOU VERY MUCH.      THANKS FOR THE BREAK.     THANK YOU

09:14AM   25       FOR LETTING ME COMMENT ON THAT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 29
                                                                               30 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4931


09:14AM    1             WE DO HAVE A WITNESS THAT NEEDS TO RETURN I THINK.

09:14AM    2             IS THAT MS. PETERSON?

09:14AM    3                   MR. LEACH:    YES, YOUR HONOR.

09:15AM    4                   THE COURT:    GOOD MORNING, MS. PETERSON.

09:15AM    5                   THE WITNESS:    GOOD MORNING.

09:15AM    6                   THE COURT:    PLEASE MAKE YOURSELF COMFORTABLE AGAIN.

09:15AM    7       FEEL FREE TO REMOVE YOUR MASK.

09:15AM    8             THERE IS FRESH WATER THERE FOR YOUR REFRESHMENT IF YOU

09:15AM    9       WOULD LIKE TO TAKE ADVANTAGE OF IT.

09:15AM   10             MAKE YOURSELF COMFORTABLE.

09:15AM   11             WHEN YOU ARE COMFORTABLE, I'LL ASK YOU TO PLEASE STATE

09:15AM   12       YOUR NAME AGAIN, PLEASE.

09:15AM   13                   THE WITNESS:    LISA PETERSON.

09:15AM   14                   THE COURT:    THANK YOU.    AND I'LL REMIND YOU YOU ARE

09:15AM   15       STILL UNDER OATH.

09:15AM   16                   THE WITNESS:    YES.

09:15AM   17                   THE COURT:    THANK YOU.

09:15AM   18             (GOVERNMENT'S WITNESS, LISA PETERSON, WAS PREVIOUSLY

09:15AM   19      SWORN.)

09:15AM   20                   MR. WADE:    MAY I PROCEED, YOUR HONOR?

09:15AM   21                   THE COURT:    YES, THANK YOU.

09:15AM   22                           CROSS-EXAMINATION (RESUMED)

09:15AM   23       BY MR. WADE:

09:15AM   24       Q.    THANK YOU.

09:15AM   25             GOOD MORNING, MS. PETERSON.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 30
                                                                               31 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4932


09:15AM    1       A.    GOOD MORNING.

09:15AM    2       Q.    WHEN WE MET LAST WEEK, WE WERE ASKING -- OR WE WERE HAVING

09:15AM    3       SOME DISCUSSION RELATING TO THE INVESTMENT BY THE DEVOS FAMILY.

09:15AM    4             DO YOU RECALL THAT?

09:15AM    5       A.    YES.

09:15AM    6       Q.    AND I ASKED YOU DURING THAT DISCUSSION ABOUT A NUMBER OF

09:15AM    7       DIFFERENT DEVOS FAMILY MEMBERS WHO ARE A PART OF THE DIFFERENT

09:15AM    8       GENERATIONS THAT THE RDV CORPORATION SERVES.

09:16AM    9             DO YOU RECALL THAT?

09:16AM   10       A.    YES.

09:16AM   11       Q.    OKAY.   AND I JUST WANTED TO ASK WHETHER YOU ARE AWARE --

09:16AM   12       DO YOU RECALL I ASKED YOU ABOUT WHETHER YOU WERE AWARE OF

09:16AM   13       CERTAIN INTERACTIONS THAT MR. TUBERGEN HAD WITH CERTAIN MEMBERS

09:16AM   14       OF THE DEVOS FAMILY?

09:16AM   15             DO YOU RECALL THAT?

09:16AM   16       A.    YES, IN GENERAL.

09:16AM   17       Q.    AND I THINK YOU SAID THERE WERE PROBABLY SOME OF THOSE

09:16AM   18       CONVERSATIONS THAT YOU WERE NOT A PARTY TO; IS THAT RIGHT?

09:16AM   19       A.    CORRECT.

09:16AM   20       Q.    OKAY.   AND THERE WERE A COUPLE OF PEOPLE I'M NOT SURE I

09:16AM   21       ASKED YOU ABOUT.     ARE YOU AWARE WHETHER, WHETHER MR. TUBERGEN

09:16AM   22       DISCUSSED THE POTENTIAL THERANOS INVESTMENT WITH DICK DEVOS?

09:16AM   23       A.    I WASN'T PRIVY TO THOSE.      I DON'T KNOW.

09:16AM   24       Q.    OKAY.   HOW ABOUT WITH BETSY DEVOS?

09:16AM   25       A.    I WASN'T PRIVY TO THOSE.      BETSY IS NOT ON THE INVESTMENT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 31
                                                                               32 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4933


09:16AM    1       COMMITTEE THOUGH.

09:16AM    2       Q.    OKAY.

09:16AM    3       A.    DICK WAS.

09:16AM    4       Q.    AND DO YOU KNOW WHETHER -- DO YOU KNOW WHETHER

09:17AM    5       MR. TUBERGEN HAD DISCUSSIONS WITH THEM ABOUT THE THERANOS

09:17AM    6       INVESTMENT?

09:17AM    7       A.    DICK WAS ON THE INVESTMENT COMMITTEE, AND I'M AWARE AND

09:17AM    8       UNDERSTAND FROM MR. TUBERGEN THAT HE HAD LOTS OF DISCUSSIONS

09:17AM    9       AROUND THIS TRANSACTION WITH THE INVESTMENT COMMITTEE MEMBERS.

09:17AM   10       Q.    OKAY.   AND ARE YOU AWARE THAT IT WAS IMPORTANT TO DICK AND

09:17AM   11       BETSY DEVOS THAT RICK DEVOS BE INVOLVED IN THE DECISION?

09:17AM   12       A.    I'M NOT AWARE OF THEIR FEELINGS AROUND THAT.

09:17AM   13       Q.    OKAY.   WE ASKED -- YOU GAVE SOME TESTIMONY WITH RESPECT TO

09:17AM   14       SOME FINANCIAL PROJECTIONS THAT YOU RECEIVED FROM THE COMPANY.

09:17AM   15             DO YOU RECALL THAT TESTIMONY?

09:17AM   16       A.    YES.

09:17AM   17       Q.    OKAY.   LET'S PULL UP TRIAL EXHIBIT 1853, WHICH IS IN

09:17AM   18       EVIDENCE.

09:18AM   19             AND IT'S ON THE SCREEN.      YOU'RE WELCOME TO PULL UP THE

09:18AM   20       DOCUMENT.

09:18AM   21       A.    IS IT IN THIS ONE?

09:18AM   22       Q.    I BELIEVE IT'S IN THE WHITE BINDER, BUT IT'S ON THE

09:18AM   23       SCREEN.

09:18AM   24       A.    OKAY.

09:18AM   25       Q.    BUT I'M JUST GOING TO ASK A COUPLE OF QUICK QUESTIONS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 32
                                                                               33 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4934


09:18AM    1       A.    YES.

09:18AM    2       Q.    DO YOU RECALL THIS WAS A TWO-PAGE DOCUMENT.         YOU CAN FLIP

09:18AM    3       TO THE SECOND PAGE?

09:18AM    4       A.    YES.

09:18AM    5                     THE CLERK:   JUST A MOMENT, YOUR HONOR.     GIVE ME A

09:18AM    6       MOMENT TO COULD A RESET.

09:18AM    7                     THE WITNESS:   WHAT'S THE NUMBER AGAIN?

09:18AM    8       BY MR. WADE:

09:18AM    9       Q.    1853.

09:18AM   10       A.    OKAY.

09:18AM   11       Q.    AND FOR THE RECORD, WE'RE JUST WAITING TO MAKE SURE THE

09:18AM   12       JURORS ARE ABLE TO SEE THE EXHIBITS.         WE'LL PAUSE FOR A MOMENT,

09:18AM   13       YOUR HONOR.

09:18AM   14                     THE COURT:   THANK YOU.   THERE'S ONE MONITOR THAT IS

09:18AM   15       STILL PROBLEMATIC.

09:18AM   16                     THE CLERK:   NO?   STILL NO?   GIVE ME ONE SECOND TO

09:18AM   17       RESTART.     GIVE ME ONE SECOND.

09:18AM   18             (PAUSE IN PROCEEDINGS.)

09:18AM   19                     MR. WADE:    YOUR HONOR, I THINK ON ONE OCCASION WHEN

09:19AM   20       WE RESET THE T.V. OR RESET THE SCREEN, IT DID COME BACK.           MAYBE

09:19AM   21       WE CAN TRY THE OLD ON AND OFF.

09:19AM   22                     THE COURT:   YOU HAVE A CUP OF WATER THERE, MR. WADE.

09:19AM   23       YOU'RE NOT SUGGESTING TO GET ANYWHERE CLOSE TO THAT MONITOR

09:19AM   24       WITH THE WATER?

09:19AM   25                     MR. WADE:    I AM TEMPTED AT TIMES, YOUR HONOR.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 33
                                                                               34 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4935


09:19AM    1             (LAUGHTER.)

09:19AM    2             (PAUSE IN PROCEEDINGS.)

09:19AM    3                     THE COURT:   WHY DON'T YOU CHECK NOW, MS. KRATZMANN.

09:19AM    4                     THE CLERK:   IT WAS ON THIS MORNING.

09:19AM    5             I JUST HAVE TO THREATEN IT.

09:19AM    6             (LAUGHTER.)

09:19AM    7                     THE COURT:   I THINK WE'RE ON NOW.     GREAT.   OKAY.

09:19AM    8                     MR. WADE:    AND I'LL ADD, YOUR HONOR, THE PLUMBING IS

09:19AM    9       WORKING TODAY, SO WE'RE REALLY ROLLING.

09:19AM   10                     THE COURT:   WOULD YOU KNOCK ON WOOD BEFORE YOU BEGIN

09:19AM   11       YOUR EXAMINATION.     THANK YOU.

09:19AM   12             (KNOCKING.)

09:19AM   13       BY MR. WADE:

09:19AM   14       Q.    DO YOU HAVE 1853 IN FRONT OF YOU, MA'AM?

09:19AM   15       A.    YES.

09:19AM   16       Q.    OKAY.    AND YOU RECALL YOU GAVE SOME TESTIMONY WITH RESPECT

09:20AM   17       TO THIS DOCUMENT?

09:20AM   18       A.    YES.

09:20AM   19       Q.    AND DO YOU RECALL -- AND THIS WAS A DOCUMENT THAT WAS

09:20AM   20       PRODUCED BY RDV IN CONNECTION WITH LITIGATION?

09:20AM   21       A.    NO.    THIS WAS PART OF THE DILIGENCE BINDER THAT ELIZABETH

09:20AM   22       HAD GIVEN US.

09:20AM   23       Q.    RIGHT.    I'M SORRY I WASN'T CLEAR.

09:20AM   24       A.    WE DIDN'T PRODUCE THIS.

09:20AM   25       Q.    AND DO YOU SEE IF YOU GO TO THE FIRST -- WELL, EITHER



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 34
                                                                               35 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4936


09:20AM    1       PAGE, IN THE CORNER DO YOU SEE THE RDV BATES LABEL DOWN IN THE

09:20AM    2       CORNER THERE (INDICATING)?

09:20AM    3       A.    YES.

09:20AM    4       Q.    AND IS IT YOUR UNDERSTANDING THAT THIS DOCUMENT WAS

09:20AM    5       PRODUCED BY RDV TO THE GOVERNMENT?

09:20AM    6       A.    OKAY.   YES.

09:20AM    7       Q.    OKAY.

09:20AM    8       A.    BUT WE DIDN'T PRODUCE WHAT IS ON THE PAGE.

09:20AM    9       Q.    YOU DIDN'T CREATE IT; CORRECT?

09:20AM   10       A.    CORRECT.

09:20AM   11       Q.    BUT IT CAME INTO THIS CASE BECAUSE RDV SENT IT TO THE

09:20AM   12       GOVERNMENT IN RESPONSE TO A SUBPOENA; IS THAT RIGHT?

09:20AM   13       A.    YES.

09:20AM   14       Q.    OKAY.   AND DO YOU RECALL WHETHER -- DID YOU GATHER

09:20AM   15       MATERIALS IN CONNECTION WITH RESPONDING TO THAT SUBPOENA?           WERE

09:21AM   16       YOU ASKED TO GATHER MATERIALS TO GIVE TO THE GOVERNMENT?

09:21AM   17       A.    THEY TOOK ALL OF OUR EMAILS, EVERYTHING THAT WAS IN OUR

09:21AM   18       EMAILS AND IN OUR DOCUMENT MANAGEMENT SYSTEM WENT TO THE

09:21AM   19       GOVERNMENT.

09:21AM   20       Q.    OKAY.   AND WAS THIS DOCUMENT IN YOUR DOCUMENT MANAGEMENT

09:21AM   21       SYSTEM?

09:21AM   22       A.    YES.

09:21AM   23       Q.    OKAY.   AND DO YOU RECALL YOUR TESTIMONY LAST WEEK THAT YOU

09:21AM   24       GAVE, YOU WERE GIVEN ACTUALLY ABOUT A FOOT OF DOCUMENTS WHEN

09:21AM   25       YOU FIRST GOT MATERIALS FROM THERANOS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 35
                                                                               36 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4937


09:21AM    1       A.    YES.

09:21AM    2       Q.    DO YOU RECALL WHETHER, WHEN YOU GOT THIS, THIS DOCUMENT,

09:21AM    3       WHETHER IN ADDITION TO THESE TWO PAGES YOU ALSO RECEIVED A PRO

09:21AM    4       FORMA STATEMENT OF CASH?

09:21AM    5       A.    THE TWO FINANCIAL PAGES THAT WE RECEIVED ARE THE ONES THAT

09:21AM    6       YOU'RE LOOKING AT RIGHT HERE.

09:21AM    7       Q.    OKAY.    LET ME SEE IF I CAN REFRESH YOUR RECOLLECTION.

09:21AM    8             YOUR HONOR, MAY I APPROACH?

09:21AM    9                     THE COURT:   YES.

09:22AM   10                     MR. WADE:    (HANDING.)

09:22AM   11       Q.    I'VE SHOWN YOU -- I'VE HANDED YOU WHAT HAS BEEN MARKED AS

09:22AM   12       EXHIBIT 14210.

09:22AM   13             DO YOU SEE THAT?

09:22AM   14       A.    WHERE AM I LOOKING?

09:22AM   15       Q.    DO YOU HAVE THAT DOCUMENT IN FRONT OF YOU, 14210?

09:22AM   16       A.    YES.

09:22AM   17       Q.    DO YOU SEE THAT IN THE UPPER RIGHT-HAND CORNER?

09:22AM   18       A.    YES.

09:22AM   19       Q.    OKAY.    I'D LIKE YOU TO JUST LOOK AT THE SECOND PAGE.        DOES

09:22AM   20       THAT REFRESH YOUR RECOLLECTION THAT YOU ALSO RECEIVED FROM THE

09:22AM   21       COMPANY --

09:22AM   22       A.    OKAY.

09:22AM   23       Q.    I BELIEVE IT'S BATES LABELLED ON THE BOTTOM --

09:23AM   24       A.    THE BACK OF THE FIRST PAGE?

09:23AM   25       Q.    YES.    MFH 00482.    AND JUST READ IT TO YOURSELF, PLEASE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 36
                                                                               37 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4938


09:23AM    1       A.    I DON'T RECALL THIS PAGE EXACTLY, NO.

09:23AM    2       Q.    OKAY.    THAT DOESN'T REFRESH YOUR RECOLLECTION THAT YOU

09:23AM    3       ALSO RECEIVED A PRO FORMA STATEMENT OF CASH FLOW FROM THE

09:23AM    4       COMPANY?

09:23AM    5       A.    NO.

09:23AM    6       Q.    OKAY.

09:23AM    7                     MR. LEACH:   YOUR HONOR --

09:23AM    8                     THE WITNESS:   THE TWO PAGES I REMEMBER VIVIDLY ARE

09:23AM    9       THE OTHER TWO PAGES.

09:23AM   10                     THE COURT:   EXCUSE ME, MS. PETERSON.

09:23AM   11                     MR. LEACH:   I OBJECT TO THE LINE OF QUESTIONING

09:23AM   12       USING A DOCUMENT NOT FROM THIS WITNESS TO TRY TO REFRESH HER

09:23AM   13       RECOLLECTION THAT SHE RECEIVED THIS.        I THINK IT'S IMPROPER

09:23AM   14       REFRESHING.

09:23AM   15                     THE WITNESS:   I DON'T RECALL --

09:23AM   16                     THE COURT:   MS. PETERSON, I'M SORRY.

09:23AM   17                     THE WITNESS:   I'M SORRY.

09:23AM   18                     THE COURT:   ANYTHING CAN BE USED TO REFRESH A

09:23AM   19       WITNESS'S RECOLLECTION, A SHOE, A SOCK, SO --

09:23AM   20                     MR. WADE:    I'LL KEEP MY SHOES ON, YOUR HONOR.

09:24AM   21                     THE COURT:   THANK YOU FOR THAT.    BUT I NOTE -- I

09:24AM   22       THINK I UNDERSTAND THE TENOR OF YOUR OBJECTION, MR. LEACH.

09:24AM   23             BUT YOU CAN PROCEED.

09:24AM   24                     MR. WADE:    I DON'T HAVE ANY FURTHER QUESTIONS THAT

09:24AM   25       DIDN'T REFRESH THE WITNESS'S RECOLLECTION.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 37
                                                                               38 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4939


09:24AM    1                    THE COURT:   OKAY.

09:24AM    2       BY MR. WADE:

09:24AM    3       Q.    IF WE CAN PULL UP 14106, WHICH IS IN EVIDENCE.

09:24AM    4             DO YOU RECALL THIS EMAIL FROM MR. SCHIERBEEK?

09:24AM    5       A.    YES.

09:24AM    6       Q.    AND YOU GAVE SOME TESTIMONY WITH RESPECT TO THAT.

09:24AM    7             DO YOU RECALL THAT?

09:24AM    8       A.    YES.

09:24AM    9       Q.    AND I THINK YOUR TESTIMONY AT THE TIME WAS THAT

09:24AM   10       MR. SCHIERBEEK WAS NOT INVOLVED OR AUTHORIZED IN THE INVESTMENT

09:24AM   11       DECISION; CORRECT?

09:24AM   12       A.    MR. SCHIERBEEK DID NOT WORK ON THE THERANOS OPPORTUNITY AT

09:24AM   13       ALL, AND HE'S NOT PART OF THE INVESTMENT GROUP AND HE'S NOT ON

09:25AM   14       THE INVESTMENT COMMITTEE.

09:25AM   15       Q.    RIGHT.   AND I THINK YOU TESTIFIED TO THAT LAST WEEK.

09:25AM   16             DO YOU RECALL THAT?

09:25AM   17       A.    YES.

09:25AM   18       Q.    AND -- BUT HE IS A SENIOR PERSON WITHIN RDV; CORRECT?

09:25AM   19       A.    YES.

09:25AM   20       Q.    AND HE RUNS THE FINANCIAL OPERATION SIDE OF THE HOUSE;

09:25AM   21       CORRECT?

09:25AM   22       A.    NO.    HE RUNS THE FAMILY SERVICES SIDE OF THE HOUSE.

09:25AM   23       Q.    AND THAT'S THE SIDE THAT CONTROLS THE CASH I THINK YOU

09:25AM   24       TESTIFIED TO?

09:25AM   25       A.    IT HAS THE CASH, YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 38
                                                                               39 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4940


09:25AM    1       Q.    OKAY.    SO IF AN INVESTMENT DECISION IS ULTIMATELY MADE ON

09:25AM    2       THE INVESTMENT SIDE OF THE HOUSE, MR. SCHIERBEEK WOULD BE THE

09:25AM    3       PERSON WHO WOULD -- OR HIS OPERATION WOULD MAKE THE

09:25AM    4       ARRANGEMENTS TO PROVIDE THE CASH IN CONNECTION WITH THE

09:25AM    5       INVESTMENT?

09:25AM    6       A.    ONLY UPON A GREEN LIGHT FROM JERRY, RANDY IS HE ABLE TO

09:25AM    7       SEND THE MONEY.

09:25AM    8       Q.    RIGHT.   SO HIS -- THE COMMUNICATIONS THAT HE MIGHT HAVE

09:25AM    9       MIGHT RELATE TO, I'M GOING TO GIVE YOU A GREEN LIGHT, YOU

09:26AM   10       SHOULD GET THE CASH READY.      OR HERE'S A GREEN LIGHT, GET THE

09:26AM   11       CASH READY.

09:26AM   12             RIGHT?

09:26AM   13       A.    NO.   THAT DOESN'T HAPPEN UNTIL I GET THE GREEN LIGHT FROM

09:26AM   14       THE INVESTMENT COMMITTEE OR JERRY, AND THEN WE WORK WITH THAT

09:26AM   15       SIDE OF THE HOUSE TO ACTUALLY FUND THE INVESTMENT.

09:26AM   16             HE DOESN'T HAVE ANYTHING TO DO WITH INVESTMENT DECISIONS

09:26AM   17       UP UNTIL THE POINT WHERE WE'VE DECIDED TO GO AND THERE'S A WIRE

09:26AM   18       THAT HAS TO BE MADE.

09:26AM   19       Q.    OKAY.    I UNDERSTAND THAT.

09:26AM   20             MY QUESTION IS, BUT HE'S THE ONE WHO PROVIDES THE CASH AND

09:26AM   21       MAKES SURE THAT THERE'S CASH TO FUND THE INVESTMENT; CORRECT?

09:26AM   22       A.    HE JUST MANAGES THE BANK RELATIONSHIP TO WHICH WE HAVE TO

09:26AM   23       DO THE WIRE.

09:26AM   24       Q.    RIGHT.   IS THAT CASH THAT IS WIRED?

09:26AM   25       A.    YES, BUT THAT'S --



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 39
                                                                               40 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4941


09:26AM    1       Q.    OKAY.

09:26AM    2       A.    -- NOT DONE UNTIL EVERYTHING IS AGREED TO, AND EITHER

09:26AM    3       MYSELF OR JERRY GIVES IT A GREEN LIGHT TO GO AHEAD AND WIRE THE

09:26AM    4       CASH.

09:26AM    5       Q.    OKAY.    IF THERE'S GOING TO BE --

09:26AM    6       A.    AND HE'S A SIGNOR ON DOCUMENTS.

09:26AM    7       Q.    IF THERE'S GOING TO BE -- RIGHT.

09:27AM    8             YOU RECALL THAT HE'S THE ONE WHO ACTUALLY SIGNED THE

09:27AM    9       INVESTMENT AGREEMENT; RIGHT?

09:27AM   10       A.    HE'S JUST A SIGNOR TO THE ENTITY THAT MADE THIS

09:27AM   11       INVESTMENT, YES.

09:27AM   12       Q.    HE SIGNED THE DOCUMENTS IN THIS CASE; RIGHT?

09:27AM   13       A.    HE'S --

09:27AM   14                     MR. LEACH:   OBJECTION.   ASKED AND ANSWERED.

09:27AM   15                     THE COURT:   WELL, YOU CAN ANSWER THE QUESTION.

09:27AM   16                     THE WITNESS:   HE CAN ONLY SIGN UNLESS IT'S APPROVED

09:27AM   17       BY OTHER PEOPLE.

09:27AM   18       BY MR. WADE:

09:27AM   19       Q.    RIGHT.    OKAY.

09:27AM   20       A.    BUT, YES, HE HAS SIGNING AUTHORITY ON THAT PARTICULAR

09:27AM   21       ENTITY.   WE HAVE HUNDREDS OF ENTITIES.

09:27AM   22       Q.    I UNDERSTAND.     AND SO IF AN INVESTMENT DECISION IS MADE BY

09:27AM   23       MR. TUBERGEN, HE COULD TALK TO MR. SCHIERBEEK --

09:27AM   24       A.    UH-HUH.

09:27AM   25       Q.    -- TO MAKE ARRANGEMENTS TO PROVIDE THE CASH?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 40
                                                                               41 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4942


09:27AM    1       A.    NO.    NO.

09:27AM    2             THAT COMES OUT OF THE INVESTMENT GROUP.        THAT GREEN LIGHT

09:27AM    3       GOES FROM JERRY TO ME TO THE ACCOUNTING GROUP.

09:27AM    4                    MR. WADE:    MAY I APPROACH, YOUR HONOR?

09:27AM    5                    THE COURT:   YES.

09:27AM    6                    MR. WADE:    (HANDING.)

09:28AM    7       Q.    DO YOU SEE I'VE PLACED IN FRONT OF YOU DOCUMENT 14212?

09:28AM    8       A.    YES.

09:28AM    9       Q.    AND THAT'S AN EMAIL BETWEEN MR. SCHIERBEEK AND MR. BRINKS

09:28AM   10       AND MR. LAMBERT ON OCTOBER 6TH, 2014 ON THE BOTTOM; CORRECT?

09:28AM   11       A.    YES.

09:28AM   12       Q.    AND THAT REFERENCES A THERANOS PRIVATE INVESTMENT;

09:28AM   13       CORRECT?

09:28AM   14       A.    IT REFERENCES TWO ACTIVE COINVESTMENTS THAT -- THEY'RE

09:28AM   15       TRYING TO DO CASH FLOW PLANNING.

09:28AM   16                    MR. WADE:    I MOVE FOR THE ADMISSION OF 14212.

09:28AM   17                    MR. LEACH:   NO OBJECTION, YOUR HONOR.

09:28AM   18                    THE COURT:   IT'S ADMITTED.     IT MAY BE PUBLISHED.

09:28AM   19             (DEFENDANT'S EXHIBIT 14212 WAS RECEIVED IN EVIDENCE.)

09:29AM   20                    MR. WADE:    LET'S BLOW --

09:29AM   21       Q.    DO YOU SEE IN THE BOTTOM EMAIL IT'S AN EMAIL ON

09:29AM   22       OCTOBER 6TH, 2014, FROM MR. SCHIERBEEK TO MR. BRINKS AND

09:29AM   23       MR. LAMBERT?

09:29AM   24             DO YOU SEE THAT?

09:29AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 41
                                                                               42 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4943


09:29AM    1       Q.    AND WHO -- MR. BRINKS IS IN THE ACCOUNTING FUNCTION; IS

09:29AM    2       THAT RIGHT?

09:29AM    3       A.    YES, HE'S THE CONTROLLER, AND MR. LAMBERT AT THE TIME WAS

09:29AM    4       THE CFO.

09:29AM    5       Q.    AND DO MR. LAMBERT AND MR. BRINKS DEAL WITH WIRE TRANSFERS

09:29AM    6       AND CASH MANAGEMENT?

09:29AM    7       A.    YES, AND CASH FLOW PLANNING FOR THE FAMILY, YES.

09:29AM    8       Q.    OKAY.   AND DO YOU SEE THERE IN THE SECOND PARAGRAPH IT

09:29AM    9       SAYS, "THERE ARE TWO VERY 'ACTIVE' CO-INVESTMENTS (NOT IN OUR

09:29AM   10       CASH FLOW MODEL) THAT WILL LIKELY TAKE PLACE AT OR NEAR MONTH

09:29AM   11       END."

09:29AM   12             DO YOU SEE THAT?

09:29AM   13       A.    YES.

09:29AM   14       Q.    AND IT THEN SAYS, "THERANOS - PRIVATE CO-INVESTMENT

09:30AM   15       $100 MILLION."

09:30AM   16             CORRECT?

09:30AM   17       A.    YES.

09:30AM   18       Q.    AND THE DATE OF OCTOBER 6TH WAS THE DATE OF THE PHONE CALL

09:30AM   19       WITH MS. HOLMES; CORRECT?

09:30AM   20       A.    YES.

09:30AM   21       Q.    AND THAT WAS THE DATE THAT YOU PREPARED YOUR MEMO COMING

09:30AM   22       OUT OF THAT PHONE CALL; CORRECT?

09:30AM   23       A.    YES.

09:30AM   24       Q.    AND IT WAS BEFORE YOUR VISIT TO PALO ALTO; CORRECT?

09:30AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 42
                                                                               43 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4944


09:30AM    1       Q.    OKAY.    AND DO YOU KNOW WHETHER YOU HAD ANY COMMUNICATIONS

09:30AM    2       WITH MR. SCHIERBEEK IN CONNECTION WITH THIS?

09:30AM    3       A.    NO.

09:30AM    4             BUT THIS IS ALL CASH FLOW PLANNING.        THIS IS NOT UNCOMMON

09:30AM    5       AT ALL.     WE HAVE NINE DEALS IN THE HOPPER RIGHT NOW.        SOME GO,

09:30AM    6       SOME DON'T GO.

09:30AM    7             THEY'RE JUST TRYING TO UNDERSTAND HOW MUCH CASH IS

09:30AM    8       AVAILABLE GIVEN ALL OF THE ACTIVITY THAT WE WERE LOOKING AT AT

09:30AM    9       THE MOMENT.

09:30AM   10                     MR. WADE:    MOVE TO STRIKE EVERYTHING AFTER "NO."

09:30AM   11                     THE COURT:   ALL RIGHT.   EVERYTHING AFTER THE

09:30AM   12       RESPONSE "NO" IS STRICKEN.       IT'S NONRESPONSIVE.

09:31AM   13       BY MR. WADE:

09:31AM   14       Q.    THE -- I DON'T HAVE ANY FURTHER QUESTIONS ABOUT THAT.             YOU

09:31AM   15       CAN SET THAT ASIDE.

09:31AM   16             ACTUALLY, I HAVE ONE MORE QUESTION.        DO YOU KNOW WHETHER

09:31AM   17       MR. TUBERGEN HAD ANY CONVERSATIONS WITH MR. SCHIERBEEK IN

09:31AM   18       CONNECTION WITH CASH FLOW PLANNING RELATING TO THERANOS?

09:31AM   19       A.    WE HAVE CASH FLOW PLANNING CONVERSATIONS ALL OF THE TIME.

09:31AM   20             AROUND THIS?    NO, I WASN'T PRIVY TO THOSE CONVERSATIONS.

09:31AM   21       Q.    OKAY.    MY QUESTION WAS, DO YOU KNOW WHETHER MR. TUBERGEN

09:31AM   22       HAD ANY COMMUNICATIONS WITH MR. SCHIERBEEK IN CONNECTION WITH

09:31AM   23       CASH FLOW PLANNING RELATING TO THE THERANOS INVESTMENT IN THIS

09:31AM   24       OCTOBER 6TH TIME PERIOD?

09:31AM   25       A.    I CAN ONLY SURMISE THAT THEY DID TALK ABOUT IT BECAUSE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 43
                                                                               44 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4945


09:31AM    1       HE'S TRYING TO FIGURE OUT HOW MUCH CASH DOES THE FAMILY HAVE IN

09:31AM    2       ORDER TO DO SOME OF THESE INVESTMENTS THAT WE WERE LOOKING AT.

09:31AM    3       Q.    RIGHT.    BUT YOU'RE NOT AWARE OF THOSE CONVERSATIONS AS YOU

09:31AM    4       SIT HERE TODAY?

09:31AM    5       A.    NO.

09:31AM    6       Q.    AND YOU WEREN'T A PART OF THOSE CONVERSATIONS; CORRECT?

09:31AM    7       A.    NOT AT THAT TIME, NO.

09:31AM    8       Q.    OKAY.    IF YOU COULD TURN TO DOCUMENT 1992.

09:32AM    9       A.    1992 OR 1192?

09:32AM   10       Q.    1992, WHICH I THINK IS PROBABLY IN THE BLACK BOOK.

09:32AM   11       A.    11 OR 19?    BECAUSE IT ONLY GOES TO 4.

09:32AM   12       Q.    1992.

09:32AM   13       A.    OKAY.

09:32AM   14       Q.    DO YOU HAVE THAT IN FRONT OF YOU?

09:32AM   15       A.    YES.

09:32AM   16       Q.    AND IS THIS AN EMAIL BETWEEN YOU AND MR. DAMSTRA RELATING

09:33AM   17       TO YOUR POTENTIAL INVOLVEMENT IN THE THERANOS INVESTMENT?

09:33AM   18       A.    YES.

09:33AM   19                     MR. WADE:    MOVE THE ADMISSION OF 1992.

09:33AM   20                     MR. LEACH:   NO OBJECTION.

09:33AM   21                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

09:33AM   22             (GOVERNMENT'S EXHIBIT 1992 WAS RECEIVED IN EVIDENCE.)

09:33AM   23       BY MR. WADE:

09:33AM   24       Q.    AND DO YOU RECALL IN YOUR TESTIMONY LAST WEEK YOU TALKED

09:33AM   25       ABOUT HOW YOU HAD DISCUSSIONS WITH MR. TUBERGEN ON A PLANE RIDE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 44
                                                                               45 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4946


09:33AM    1       BACK FROM CHICAGO IN MID-SEPTEMBER ABOUT POSSIBLY WORKING ON

09:33AM    2       THE THERANOS INVESTMENT?

09:33AM    3       A.    YES.

09:33AM    4       Q.    AND DOES THIS EMAIL INDICATE THAT BETWEEN THAT DATE,

09:33AM    5       NOVEMBER 18TH, AND NOVEMBER 30TH, YOU HADN'T DONE ANY WORK ON

09:33AM    6       THE THERANOS INVESTMENT YET; IS THAT RIGHT?

09:33AM    7       A.    THAT DOESN'T INDICATE THAT, NO.

09:34AM    8       Q.    OKAY.   YOU WERE TRYING TO, THROUGH THIS EMAIL, TO OFFER

09:34AM    9       YOUR SERVICES AND GET INVOLVED IN THAT INVESTMENT; IS THAT

09:34AM   10       RIGHT?

09:34AM   11       A.    YES.    AS I MENTIONED LAST WEEK, BDT WASN'T MY

09:34AM   12       RELATIONSHIP, SO I WASN'T SURE WHO WAS GOING TO END UP WORKING

09:34AM   13       ON THIS ONE, AND I WANTED TO RAISE MY HAND.

09:34AM   14       Q.    OKAY.   AND YOU DIDN'T HAVE ANY ACTIVE PARTICIPATION WITH

09:34AM   15       MR. TUBERGEN BETWEEN THE PLANE RIDE THAT YOU HAD WITH HIM AND

09:34AM   16       THIS DATE; IS THAT CORRECT?

09:34AM   17       A.    I DON'T REMEMBER.

09:34AM   18       Q.    OKAY.   YOU CAN SET THAT ONE ASIDE.

09:34AM   19             CAN WE -- CAN I DRAW YOUR ATTENTION TO 14076.

09:35AM   20       A.    OKAY.

09:35AM   21       Q.    DO YOU HAVE THAT IN FRONT OF YOU?

09:35AM   22       A.    YES.

09:35AM   23       Q.    AND DO YOU RECOGNIZE THIS TO BE A COVER LETTER FROM

09:35AM   24       MS. HOLMES TO MR. TUBERGEN THAT WAS ATTACHED TO THE BINDERS OF

09:35AM   25       INFORMATION THAT WERE SENT TO RDV?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 45
                                                                               46 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4947


09:35AM    1       A.    YES.

09:35AM    2                     MR. WADE:    I MOVE THE ADMISSION OF 14076.

09:35AM    3                     MR. LEACH:   NO OBJECTION, YOUR HONOR.

09:35AM    4                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

09:35AM    5             (DEFENDANT'S EXHIBIT 14076 WAS RECEIVED IN EVIDENCE.)

09:35AM    6                     MR. WADE:    IF I CAN BLOW UP THE LAST SENTENCE IN THE

09:35AM    7       SECOND PARAGRAPH, "WE ALSO BELIEVE."

09:35AM    8       Q.    DO YOU SEE THERE DISCUSSION OR STATEMENTS BY MS. HOLMES

09:35AM    9       RELATING TO THE DESIRE TO TERM -- TO OBTAIN A LONG-TERM VISION

09:36AM   10       FOR THERANOS?

09:36AM   11             DO YOU SEE THAT?

09:36AM   12       A.    YES.

09:36AM   13       Q.    AND DO YOU SEE THAT THERE'S REFERENCE TO THE FACT THAT THE

09:36AM   14       COMPANY WANTS TO STAY PRIVATE OVER THE LONG-TERM?

09:36AM   15             DO YOU SEE THAT?

09:36AM   16       A.    YES.

09:36AM   17       Q.    OKAY.    LET ME DRAW YOUR ATTENTION TO THE PARAGRAPH

09:36AM   18       STARTING WITH "ONCE."

09:36AM   19             DO YOU SEE THAT?

09:36AM   20             AND DO YOU SEE THAT THEY -- THERE'S REFERENCE TO THE

09:36AM   21       WALGREENS CONTRACT IN THE FALL OF 2013.

09:36AM   22             DO YOU SEE THAT?

09:36AM   23       A.    YES.

09:36AM   24       Q.    AND THAT WAS IMPORTANT TO RDV; RIGHT?

09:36AM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 46
                                                                               47 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4948


09:36AM    1       Q.    OKAY.    AND DO YOU SEE AT THE END THE LAST SENTENCE WHERE

09:36AM    2       IT SAYS, "ALL CURRENT RESOURCES ARE FOCUSSED ON THIS COMMERCIAL

09:36AM    3       LABORATORY BUSINESS"?

09:36AM    4             DO YOU SEE THAT?

09:36AM    5       A.    YES.

09:36AM    6       Q.    AND THEN IT SAYS, "FUTURE GROWTH IN THE PHARMACEUTICAL,

09:37AM    7       MILITARY, AND OTHER BUSINESS WILL FOLLOW THE SUCCESSFUL

09:37AM    8       ESTABLISHMENT OF THERANOS'S COMMERCIAL LABORATORY

09:37AM    9       INFRASTRUCTURE NATIONWIDE."

09:37AM   10             DO YOU SEE THAT?

09:37AM   11       A.    I SEE THAT.

09:37AM   12             BUT I ALSO SEE TWO PARAGRAPHS UP WHERE IT SAYS,

09:37AM   13       "HISTORICALLY THERANOS'S WORK WAS FOCUSSED ON CONTRACTS WITH

09:37AM   14       PHARMACEUTICAL AND MILITARY CLIENTS."

09:37AM   15                     MR. WADE:    MOVE TO STRIKE THAT.

09:37AM   16                     THE COURT:   THAT'S STRICKEN.

09:37AM   17       BY MR. WADE:

09:37AM   18       Q.    I DO NOTE OTHER REFERENCES TO THE HISTORICAL WORK OF THE

09:37AM   19       COMPANY ABOVE; CORRECT?       THERE WERE REFERENCES TO THE

09:37AM   20       HISTORICAL WORK THAT THE COMPANY HAD WITH MILITARY AND

09:37AM   21       PHARMACEUTICAL COMPANIES ABOVE; RIGHT?

09:37AM   22       A.    YES, AND THAT WAS VERY RELEVANT.

09:37AM   23       Q.    AND YOU SEE WHERE IT SAYS THAT ALL OF THAT WORK IS ON HOLD

09:37AM   24       BECAUSE THEY'RE FOCUSSED ON -- --

09:37AM   25       A.    THEY'RE COMMERCIALIZING.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 47
                                                                               48 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4949


09:37AM    1       Q.    THEY HAVE ALL OF THEIR EFFORTS FOCUSSED ON THE COMMERCIAL

09:37AM    2       LABORATORY BUSINESS.

09:37AM    3             DO YOU SEE THAT?

09:37AM    4       A.    YES.

09:37AM    5       Q.    AND DO YOU SEE ANYWHERE IN THIS LETTER THAT REFERS TO A

09:38AM    6       THERANOS DEVICE OR AN EDISON OR A MINILAB?

09:38AM    7       A.    THE WHOLE BINDER THAT THIS LETTER WAS ATTACHED TO WAS

09:38AM    8       REFERRING TO THE DEVICE.

09:38AM    9       Q.    RIGHT.   AND I'M ASKING YOU ABOUT THE LETTER.

09:38AM   10       A.    OKAY.

09:38AM   11       Q.    DO YOU HAVE THE LETTER IN FRONT OF YOU?

09:38AM   12       A.    YES.

09:38AM   13       Q.    AND THAT'S 14076?

09:38AM   14       A.    YES.

09:38AM   15       Q.    AND DO YOU SEE ANYWHERE WHERE IT REFERS TO A DEVICE?

09:38AM   16       A.    NOT SPECIFICALLY.     BUT IT WAS ATTACHED TO THE BINDER THAT

09:38AM   17       REFERENCED THE DEVICE AND EVERYTHING ELSE.

09:38AM   18       Q.    I UNDERSTAND.

09:38AM   19             DO YOU UNDERSTAND MY QUESTION IS, DO YOU SEE ANYWHERE IN

09:38AM   20       THE LETTER THAT REFERS TO THE DEVICE?

09:38AM   21       A.    NO.

09:38AM   22       Q.    OKAY.    AND, IN FACT, IT REFERS TO THERANOS AS A SENSORS

09:38AM   23       AND SOFTWARE COMPANY; CORRECT?

09:38AM   24       A.    YES.

09:38AM   25       Q.    CAN YOU GO TO 14 -- 18 -- I'M SORRY, LET ME START OVER --



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 48
                                                                               49 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4950


09:39AM    1       4858, WHICH SHOULD BE IN THE WHITE BINDER.

09:39AM    2       A.    YES.

09:39AM    3       Q.    DO YOU HAVE THAT IN FRONT OF YOU?

09:39AM    4       A.    YES.

09:39AM    5       Q.    OKAY.    AND DO YOU RECALL YOU PREPARED A MEMO IN

09:39AM    6       MID-OCTOBER RELATING TO YOUR DISCUSSIONS AND YOUR REVIEW OF THE

09:39AM    7       MATERIALS PROVIDED BY THERANOS.

09:39AM    8             DO YOU RECALL THAT?

09:39AM    9       A.    I DID TWO MEMOS, ONE BEFORE GOING TO PALO ALTO AND ONE

09:39AM   10       AFTER.

09:39AM   11       Q.    RIGHT.   DO YOU RECALL THE ONE -- THE ONE GOING BEFORE

09:39AM   12       PALO ALTO YOU PREPARED MAYBE OCTOBER 12TH TO 15TH, IN THAT

09:40AM   13       PERIOD?

09:40AM   14       A.    YES, I SUMMARIZED THE DUE DILIGENCE BINDERS AND OUR CALLS

09:40AM   15       WITH MS. HOLMES.

09:40AM   16       Q.    OKAY.    AND ON DIRECT EXAMINATION MR. LEACH WALKED YOU

09:40AM   17       THROUGH 4858, MANY OF THE SLIDES IN THAT.

09:40AM   18       A.    YES.

09:40AM   19       Q.    DO YOU RECALL THAT?

09:40AM   20             AND HE ASKED YOU QUESTIONS ABOUT DIFFERENT STATEMENTS IN

09:40AM   21       THOSE SLIDES; RIGHT?

09:40AM   22       A.    YES.

09:40AM   23       Q.    OKAY.    CAN YOU -- YOUR -- JUST FOR YOUR REFERENCE, WE

09:40AM   24       WON'T PUBLISH IT, BUT YOUR, YOUR MEMO, MID-OCTOBER MEMO IS AT

09:40AM   25       2073.    CAN YOU IDENTIFY ANY STATEMENT IN 2073 --



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 49
                                                                               50 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4951


09:40AM    1       A.    THE FIRST MEMO OR THE SECOND ONE?

09:40AM    2       Q.    THE FIRST MEMO AT 2073, WHICH WILL BE IN FRONT OF YOU.

09:40AM    3       A.    YES.

09:40AM    4       Q.    AND I'M WONDERING IF YOU'RE AWARE OF ANY STATEMENT AT ALL

09:40AM    5       THAT COMES FROM THIS SLIDE DECK AND MADE IT INTO YOUR MEMO.

09:40AM    6       A.    THE MEMO CAME FROM EVERYTHING THAT I HAD READ AND

09:40AM    7       EVERYTHING THAT WE HAD HEARD HER SAY IN THE PHONE CALL.

09:40AM    8             I DIDN'T MAKE UP ANY OTHER STUFF.

09:41AM    9             PLUS WHATEVER WE COULD READ ON THE INTERNET.

09:41AM   10       Q.    RIGHT.   RIGHT.

09:41AM   11             DO YOU RECALL THAT A LOT OF THE STATEMENTS I THINK WE

09:41AM   12       ESTABLISHED DURING YOUR EXAMINATION LAST WEEK CAME OUT OF THE

09:41AM   13       FOR "FORTUNE" ARTICLE.

09:41AM   14             DO YOU RECALL THAT?

09:41AM   15       A.    NO, IT WASN'T A LOT.

09:41AM   16       Q.    SEVERAL?   DO YOU RECALL THAT?

09:41AM   17       A.    A FEW IN THE APPENDIX, YES.      I THOUGHT THAT WAS RELEVANT

09:41AM   18       FOR THE FAMILY TO KNOW WHAT SHE WAS SAYING IN THE MEDIA.

09:41AM   19       Q.    OKAY.    ARE YOU ABLE TO TRACK ANY STATEMENTS SPECIFICALLY

09:41AM   20       FROM THIS SLIDE DECK TO YOUR MEMO?

09:41AM   21       A.    NOT AT THE MOMENT, NO.

09:41AM   22             BUT EVERYTHING IN THAT MEMO CAME FROM THESE BINDERS OR A

09:41AM   23       CONVERSATION WITH HER.

09:41AM   24       Q.    RIGHT.   AND ARE YOU ABLE TO IDENTIFY -- I'VE REVIEWED THE

09:41AM   25       EXHIBIT AND I'VE REVIEWED YOUR MEMO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 50
                                                                               51 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4952


09:41AM    1             CAN YOU -- AND I ASSUME YOU HAVE; CORRECT?

09:41AM    2                    MR. LEACH:   OBJECTION.    COUNSEL IS TESTIFYING.

09:41AM    3                    THE WITNESS:   IF YOU PUT SOME STUFF --

09:41AM    4                    THE COURT:   EXCUSE ME, MS. PETERSON.

09:41AM    5             YOU WEREN'T TESTIFYING THERE --

09:41AM    6                    MR. WADE:    NO.

09:41AM    7                    THE COURT:   -- FOR THE BENEFIT OF THE JURY

09:41AM    8       INDICATING WHAT YOU'VE DONE.

09:41AM    9             THIS WAS FOUNDATIONAL?

09:41AM   10                    MR. WADE:    THIS IS FOUNDATIONAL.

09:41AM   11       Q.    YOU'VE REVIEWED BOTH OF THESE DOCUMENTS; CORRECT?

09:42AM   12       A.    YES.

09:42AM   13       Q.    AND ARE YOU AWARE, IN REVIEWING THESE DOCUMENTS, OF ANY

09:42AM   14       STATEMENT THAT COMES FROM THIS SLIDE DECK THAT APPEARED IN

09:42AM   15       EXHIBIT 2073?

09:42AM   16       A.    THE ONLY WAY I PUT THE MEMO TOGETHER WAS BASED ON WHAT I

09:42AM   17       READ AND WHAT WE HEARD.

09:42AM   18       Q.    EVERYTHING THAT YOU READ AND HEARD; RIGHT?

09:42AM   19       A.    I DON'T KNOW IF IT WAS EVERYTHING THAT I READ AND HEARD,

09:42AM   20       BUT THE MEMO WAS BASED ON MY DILIGENCE OF THE BINDERS AND WHAT

09:42AM   21       WE HEARD ON THE PHONE CALL, YES.

09:42AM   22             WE WERE PREPPING THE FAMILY.      WE TALKED ABOUT THE

09:42AM   23       OPPORTUNITY AT LENGTH ON THE PLANE, AND THEN THEY HEARD MUCH OF

09:42AM   24       WHAT WAS IN THE MEMO, THEY HEARD IN PERSON WHEN WE WERE AT THE

09:42AM   25       MEETING IN PALO ALTO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 51
                                                                               52 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4953


09:42AM    1       Q.    DO YOU -- BUT AS YOU SIT HERE TODAY, YOU'RE NOT AWARE OF

09:42AM    2       ANY STATEMENT THAT COMES FROM THE SLIDE DECK DIRECTLY INTO THE

09:42AM    3       MEMO LIKE THOSE "FORTUNE" STATEMENTS; IS THAT CORRECT?

09:42AM    4       A.    I DIDN'T MEMORIZE THE WHOLE FOOT OF PAPER TO TELL YOU WHAT

09:43AM    5       CAME FROM THERE IN MY MEMO OR NOT.

09:43AM    6       Q.    LET'S LOOK AT THE INCH OF PAPER.

09:43AM    7             IF I COULD TURN YOUR ATTENTION TO PAGE 51 OF THE SLIDE

09:43AM    8       DECK AT 12723.

09:43AM    9             DO YOU HAVE THAT IN FRONT OF YOU?       IT'S ON THE SCREEN

09:43AM   10       THERE AS WELL IF THAT'S EASIER.

09:43AM   11       A.    OKAY.

09:43AM   12       Q.    DO YOU SEE THAT TO BE A PICTURE OF THE THERANOS

09:43AM   13       HEADQUARTERS?

09:43AM   14       A.    YES.

09:43AM   15       Q.    IS THAT THE BUILDING THAT YOU WENT TO WHEN YOU WENT ON THE

09:43AM   16       VISIT WITH THE DEVOS FAMILY?

09:43AM   17       A.    I BELIEVE THAT'S THE NEW BUILDING.       WE WENT TO THE OLD

09:43AM   18       BUILDING.

09:43AM   19       Q.    YOU WENT TO THE OLD BUILDING?

09:44AM   20       A.    YES.

09:44AM   21       Q.    LET'S GO TO THE NEXT PAGE.      YOU DIDN'T GO -- DID YOU GO TO

09:44AM   22       NEWARK?

09:44AM   23       A.    NO.    WE ASKED.   THEY SAID WE COULDN'T GO THERE.

09:44AM   24       Q.    YOU COULDN'T LOOK AT THE MANUFACTURING EQUIPMENT?

09:44AM   25       A.    NO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 52
                                                                               53 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4954


09:44AM    1       Q.    OKAY.

09:44AM    2       A.    IT WAS TOP SECRET.

09:44AM    3       Q.    OKAY.   DO YOU KNOW WHAT THIS IS IN THIS PICTURE?

09:44AM    4       A.    WE WERE TOLD THAT'S WHERE THEY MADE THE MACHINES.

09:44AM    5       Q.    OKAY.

09:44AM    6       A.    THE ANALYZER EQUIPMENT.

09:44AM    7       Q.    LET'S GO TO PAGE 54.

09:44AM    8             DO YOU SEE -- WAS THIS MATERIAL THAT YOU RECEIVED IN

09:44AM    9       CONNECTION WITH YOUR INVESTMENT?

09:44AM   10       A.    I BELIEVE SO.

09:44AM   11       Q.    IT WAS IN THE SLIDE DECK; RIGHT?

09:44AM   12       A.    YES.

09:44AM   13       Q.    DID YOU REVIEW IT?

09:44AM   14       A.    YES.

09:44AM   15       Q.    OKAY.   AND DID YOU CONSIDER THIS INFORMATION IN THE SLIDE

09:44AM   16       DECK?

09:44AM   17       A.    YES.

09:44AM   18       Q.    OKAY.   AND LET'S GO TO THE NEXT PAGE.

09:44AM   19             DO YOU CONSIDER THIS -- DO YOU SEE THIS, THAT IT IS MORE

09:44AM   20       OF THE SAME?     THESE ARE FEEDBACK FROM CUSTOMERS?

09:45AM   21             DO YOU SEE THAT?

09:45AM   22       A.    YES.    AND MY TAKEAWAY WAS THAT THE WORK THAT THEY WERE

09:45AM   23       DOING IN WALGREENS WAS WORKING.

09:45AM   24       Q.    OKAY.

09:45AM   25       A.    AND PEOPLE WERE SATISFIED.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 53
                                                                               54 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4955


09:45AM    1       Q.     OKAY.   AND YOU CONSIDERED THAT.

09:45AM    2              AND SIMILARLY, IF WE CAN GO TO SLIDE 57, THERE'S FEEDBACK

09:45AM    3       FROM PHYSICIANS.

09:45AM    4              DO YOU SEE THAT?

09:45AM    5              ACTUALLY, LET'S TURN OFF THAT PAGE AND GO UP ONE, PLEASE.

09:45AM    6              LET'S JUST LEAVE THAT DOWN.     IT'S NOT -- THERE'S SOME

09:45AM    7       NAMES THAT ARE NOT REDACTED.

09:45AM    8              BUT IF YOU CAN JUST HAVE IN FRONT OF YOU, DO YOU SEE THAT

09:45AM    9       THERE'S ALSO FEEDBACK ON SLIDE 57 FROM DIFFERENT PHYSICIANS WHO

09:45AM   10       GAVE REVIEWS OF THE WORK PERFORMED AT THERANOS?

09:45AM   11       A.     YES.

09:45AM   12       Q.     AND YOU CONSIDERED THAT IN CONNECTION WITH YOUR INVESTMENT

09:45AM   13       DECISION?

09:45AM   14       A.     YES, VERY RELEVANT.

09:45AM   15       Q.     OKAY.   NOW -- AND YOU RECOGNIZE THAT MANY OF THE COMMENTS

09:46AM   16       IN THERE REFERRED TO THE FAVORABLE PRICING THAT THERANOS HAD;

09:46AM   17       IS THAT RIGHT?

09:46AM   18       A.     THE FAVORABLE PRICING, AS WELL AS THE FACT THAT THE

09:46AM   19       FINGERSTICK TECHNOLOGY WORKED.       IT LENDED CREDIBILITY TO THAT,

09:46AM   20       YES.

09:46AM   21       Q.     I'M SORRY TO INTERRUPT.

09:46AM   22              BUT SOME PEOPLE LIKED THE FINGERSTICK TECHNOLOGY AS WELL;

09:46AM   23       RIGHT?

09:46AM   24       A.     YES.

09:46AM   25       Q.     AND SOME PEOPLE LIKED TO KNOW HOW MUCH THEY WERE GOING TO



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 54
                                                                               55 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4956


09:46AM    1       PAY IN ADVANCE; RIGHT?

09:46AM    2       A.    YES.

09:46AM    3       Q.    AND SOME PEOPLE LIKED THE FACT THAT INSURED AND UNINSURED

09:46AM    4       WERE PAID -- WERE PAID THE SAME AMOUNT; RIGHT?

09:46AM    5       A.    YES.

09:46AM    6       Q.    OKAY.   LET'S GO TO EXHIBIT -- PAGE 73.

09:46AM    7             AND DO YOU SEE THIS IS A REFERENCE TO THE DIFFERENT

09:47AM    8       LOCATIONS WHERE THEY WERE PROVIDING SERVICES AT THAT TIME?

09:47AM    9       A.    THAT'S WHAT I WOULD HAVE ASSUMED, YES.

09:47AM   10       Q.    OKAY.   AND DO YOU SEE THAT MANY OF THE LOCATIONS PROVIDE

09:47AM   11       SERVICES FROM 6:00 A.M. TO 10:00 P.M.

09:47AM   12             DO YOU SEE THAT?

09:47AM   13       A.    YES.

09:47AM   14       Q.    AND ON SATURDAYS AND SUNDAYS?

09:47AM   15       A.    OKAY.

09:47AM   16       Q.    AND THAT CONVENIENCE WAS A PRETTY SIGNIFICANT FACTOR,

09:47AM   17       SIGNIFICANT PORTION OF THERANOS'S OFFERING.

09:47AM   18             DO YOU RECALL THAT?

09:47AM   19       A.    YES.

09:47AM   20       Q.    OKAY.   LET ME BRING YOU TO PAGE 44.

09:47AM   21             I'M SORRY, LET'S GO TO -- WELL, WE CAN GO TO 44.

09:47AM   22             DO YOU SEE THOSE ARE PICTURES OF THE THERANOS WELLNESS

09:47AM   23       CENTER?

09:47AM   24       A.    YES.

09:47AM   25       Q.    AND YOU DON'T SEE ANY DEVICES IN THE WELLNESS CENTER



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 55
                                                                               56 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4957


09:48AM    1       PICTURES, DO YOU?

09:48AM    2       A.    IN THEIR BUILDING THEY HAD SOMETHING JUST LIKE THIS WHERE

09:48AM    3       CHERI WAS TESTED AND WE WERE TOLD THAT THIS IS PRETTY MUCH WHAT

09:48AM    4       THEIR WELLNESS CENTERS LOOKED LIKE INSIDE OF WALGREENS.

09:48AM    5       Q.    RIGHT.    MY QUESTION WAS, DO YOU SEE ANY PICTURES OF THE

09:48AM    6       DEVICE IN THESE PHOTOS?

09:48AM    7       A.    NO.    BUT I SAW IT FIRST HAND.     I WASN'T RELYING ON THIS

09:48AM    8       PICTURE.     I WAS RELYING ON THE TOUR THAT WE GOT OF THE WELLNESS

09:48AM    9       CENTER INSIDE OF THEIR BUILDING.

09:48AM   10                     MR. WADE:    MOVE TO STRIKE EVERYTHING AFTER THE

09:48AM   11       INITIAL ANSWER, YOUR HONOR.

09:48AM   12                     THE COURT:   WHAT WAS OBSERVED AT THE WELLNESS

09:48AM   13       CENTER -- EXCUSE ME, AT THE THERANOS BUILDING IS STRICKEN.

09:48AM   14                     MR. WADE:    LET'S GO TO PAGE 90 OF THE EXHIBIT.

09:48AM   15       Q.    DID YOU READ THIS PAGE IN CONNECTION WITH YOUR INVESTMENT?

09:48AM   16       A.    I DON'T REMEMBER IT OFF THE TOP OF MY HEAD, BUT I'M SURE I

09:49AM   17       READ IT.     I READ EVERYTHING IN THE BINDERS AT THE TIME.        IT WAS

09:49AM   18       A LONG TIME AGO.

09:49AM   19       Q.    OKAY.    AND DO YOU SEE, DO YOU SEE WHERE IT SAYS PATIENTS

09:49AM   20       RECEIVE -- OR THAT DOCTORS WILL GET PATIENTS' RESULTS BACK IN

09:49AM   21       LESS THAN 48 HOURS ON AVERAGE?

09:49AM   22             DO YOU SEE THAT?

09:49AM   23       A.    YES.

09:49AM   24       Q.    AND DO YOU HAVE ANY SENSE FOR WHY IT WOULD TAKE 48 HOURS

09:49AM   25       IF THE DEVICE WAS IN THE WELLNESS CENTER?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 56
                                                                               57 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4958


09:49AM    1       A.    WELL, WE WERE TOLD THAT IT WOULDN'T TAKE THAT LONG.          IN

09:49AM    2       FACT, CHERI WAS TOLD THAT SHE WOULD HAVE EMAIL RESULTS RATHER

09:49AM    3       QUICKLY.

09:49AM    4       Q.    AND YOU DON'T KNOW WHEN SHE GOT HER RESULTS; RIGHT?

09:49AM    5       A.    I BELIEVE -- I KNOW SHE HAD THEM EMAILED THAT DAY, BUT I

09:49AM    6       DON'T KNOW WHAT THEY SAID.

09:49AM    7       Q.    BUT YOU SAID YOU WERE TOLD THAT, BUT YOU WERE ACTUALLY

09:49AM    8       TOLD RIGHT HERE THAT THE RESULTS WERE GIVEN LESS THAN 48 HOURS

09:49AM    9       ON AVERAGE.

09:49AM   10             DO YOU SEE THAT?

09:49AM   11       A.    ON AVERAGE.    BUT THAT'S NOT WHAT SHE WAS VERBALLY SAYING.

09:50AM   12       Q.    I'M JUST ASKING -- I HAVE A QUESTION WITH RESPECT TO

09:50AM   13       NUMBER 3.

09:50AM   14             DO YOU SEE THAT?

09:50AM   15       A.    OKAY.

09:50AM   16       Q.    DO YOU HAVE AN UNDERSTANDING AS TO WHY THAT STATEMENT SAYS

09:50AM   17       48 HOURS?

09:50AM   18       A.    NO.

09:50AM   19       Q.    OKAY.   I BELIEVE YOU TESTIFIED WITH RESPECT TO YOUR -- YOU

09:50AM   20       TESTIFIED WITH RESPECT TO YOUR BELIEF THAT THE TESTS WERE

09:50AM   21       PERFORMED ON THE DEVICES IN THE WALGREENS AT THE TIME THAT YOU

09:50AM   22       WENT TO THERANOS; IS THAT RIGHT?

09:50AM   23       A.    SAY THE QUESTION AGAIN.

09:50AM   24       Q.    YOU SAID THAT THE DEVICE -- YOU WERE OF THE VIEW, OR OF

09:50AM   25       THE UNDERSTANDING, THAT THE DEVICES WERE IN THE ACTUAL



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 57
                                                                               58 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4959


09:50AM    1       WALGREENS LOCATIONS AT THE TIME THAT YOU MET WITH THERANOS?

09:50AM    2       A.    YES.    THERE WAS NO OTHER REASON TO THINK ANYTHING ELSE.

09:50AM    3       Q.    OKAY.    AND YOU TESTIFIED THAT YOU DID SOME INTERNET

09:51AM    4       RESEARCH; RIGHT?

09:51AM    5       A.    YES.

09:51AM    6       Q.    OKAY.    AND IN CONNECTION WITH THE INTERNET RESEARCH, DID

09:51AM    7       YOU GO TO THE FIRST PAGE OF THE THERANOS SITE?

09:51AM    8       A.    I DON'T KNOW.

09:51AM    9       Q.    OKAY.    DO YOU RECALL WHETHER YOU SAW A SITE THAT ON THE

09:51AM   10       FIRST PAGE OF THE THERANOS SITE SAYS THAT THE TESTS AT

09:51AM   11       WALGREENS ARE PERFORMED IN THE CLIA LAB?

09:51AM   12       A.    EVERYTHING THAT WAS TOLD TO US WAS -- SUGGESTED THAT

09:51AM   13       EVERYTHING THAT WAS BEING DONE WAS ON THE ANALYZER EQUIPMENT.

09:51AM   14       Q.    OKAY.

09:51AM   15       A.    WE DID NOT KNOW THAT THERE WAS VENOUS TESTING UNTIL WE

09:51AM   16       READ "THE WALL STREET JOURNAL" ARTICLE A YEAR LATER.

09:51AM   17             IT'S NOT WHAT WE HAD INVESTED IN.       IT'S NOT WHAT WE HAD

09:51AM   18       THOUGHT WE HAD INVESTED IN.

09:51AM   19                     MR. WADE:    MOVE TO STRIKE, YOUR HONOR.

09:51AM   20                     THE COURT:   OVERRULED.

09:51AM   21       BY MR. WADE:

09:51AM   22       Q.    THE -- MY QUESTION RELATED TO THE WEBSITE AND WHETHER YOU

09:51AM   23       SAW REFERENCES ON THE WEBSITE RELATING TO THE FACT THAT

09:52AM   24       WALGREENS TESTS WERE PERFORMED IN THE CLIA LAB.

09:52AM   25             DID YOU SEE THAT REFERENCE?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 58
                                                                               59 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4960


09:52AM    1       A.    I DON'T -- I CAN'T ANSWER THAT QUESTION.        I DON'T

09:52AM    2       REMEMBER.

09:52AM    3       Q.    SO YOU DON'T REMEMBER SEEING THAT REFERENCE; CORRECT?

09:52AM    4       A.    I DON'T REMEMBER SEEING THAT REFERENCE.

09:52AM    5             I'M JUST TELLING YOU WHAT WE KNEW AT THE TIME, WHICH WAS

09:52AM    6       THAT EVERYTHING WAS BEING DONE ON THE ANALYZER EQUIPMENT.

09:52AM    7             THERE WAS NEVER ANY CONVERSATION AROUND VENOUS DRAWS EVER.

09:52AM    8                     MR. WADE:    MOVE TO STRIKE THE LAST PORTION.

09:52AM    9                     THE WITNESS:   SORRY.

09:52AM   10                     THE COURT:   EXCUSE ME.   WAIT FOR HIS QUESTION AND

09:52AM   11       THEN YOU CAN ANSWER IT.

09:52AM   12             THAT LAST RESPONSE IS STRICKEN.

09:53AM   13       BY MR. WADE:

09:53AM   14       Q.    NOW, IF I CAN DRAW YOUR ATTENTION TO 104, PAGE 104 OF THE

09:53AM   15       SAME EXHIBIT.

09:53AM   16             DO YOU HAVE THAT IN FRONT OF YOU?

09:53AM   17       A.    YES.

09:53AM   18       Q.    AND DO YOU RECALL THAT MR. LEACH ASKED YOU SOME QUESTIONS

09:53AM   19       ABOUT THIS?

09:53AM   20       A.    YES.

09:53AM   21       Q.    AND DO YOU RECALL THAT YOU GAVE TESTIMONY THAT YOU

09:53AM   22       BELIEVED THAT THIS WAS PREPARED BY PFIZER; CORRECT?

09:53AM   23       A.    YES.

09:53AM   24       Q.    OKAY.    DO YOU RECALL THAT, DO YOU RECALL THAT YOU MET WITH

09:53AM   25       THE GOVERNMENT IN 2017?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 59
                                                                               60 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4961


09:54AM    1       A.    YES.

09:54AM    2       Q.    OKAY.   AND DO YOU RECALL THAT IN THAT INTERVIEW YOU TOLD

09:54AM    3       THE GOVERNMENT THAT YOU DIDN'T KNOW WHO WROTE THE REPORT

09:54AM    4       INCLUDED IN THE SET WITH THE PFIZER LOGO?

09:54AM    5       A.    I DON'T RECALL SAYING THAT.

09:54AM    6       Q.    OKAY.   LET ME SEE IF I CAN REFRESH YOUR RECOLLECTION.

09:54AM    7             CAN YOU PULL THAT INTERVIEW UP.       IT'S 11249.

09:54AM    8             LET ME KNOW -- AND I'M LOOKING AT PAGE 2 OF 11249.

09:55AM    9             DO YOU HAVE THAT IN FRONT OF YOU?

09:55AM   10       A.    YES.

09:55AM   11       Q.    GO -- LOOK AT THE BOTTOM OF PAGE 2, LAST SENTENCE, AND

09:55AM   12       PLEASE JUST READ IT TO YOURSELF AND WAIT FOR MY QUESTION.

09:55AM   13             HAVE YOU READ THAT TO YOURSELF?

09:55AM   14       A.    YES.

09:55AM   15       Q.    AND DOES THAT REFRESH YOUR RECOLLECTION THAT YOU TOLD THE

09:55AM   16       GOVERNMENT THAT YOU DID NOT KNOW WHO WROTE THE REPORT INCLUDED

09:55AM   17       IN THE SET OF DOCUMENTS WITH PFIZER'S LOGO?

09:55AM   18       A.    THAT'S NOT EXACTLY HOW I RECALL IT, NO.

09:55AM   19       Q.    OKAY.

09:55AM   20       A.    I MEAN, I DON'T KNOW WHO ELSE WOULD HAVE WRITTEN IT BUT

09:55AM   21       PFIZER OR THERANOS.

09:55AM   22       Q.    WHEN YOU -- JUST SO WE'RE CLEAR, AND I'M SURE I KNOW THE

09:55AM   23       ANSWER TO THIS, BUT YOU TOLD THE TRUTH WHEN YOU MET WITH THE

09:55AM   24       GOVERNMENT; RIGHT?

09:56AM   25       A.    YES, OF COURSE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 60
                                                                               61 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4962


09:56AM    1       Q.    AND THERE WERE AGENTS THERE TAKING NOTES?

09:56AM    2       A.    YES.

09:56AM    3       Q.    YES.

09:56AM    4             AND YOU WERE CAREFUL IN WHAT YOU SAID TO TRY TO MAKE SURE

09:56AM    5       THAT IT WAS ACCURATE; RIGHT?

09:56AM    6       A.    YES.

09:56AM    7       Q.    IF I CAN CALL YOUR ATTENTION -- NOW, THIS PFIZER DOCUMENT

09:56AM    8       THAT IS UP ON THE SCREEN, YOU DIDN'T SPECIFICALLY MENTION THAT

09:56AM    9       PFIZER DOCUMENT IN EITHER ONE OF YOUR MEMOS, DID YOU?

09:56AM   10       A.    NO.    BUT AS I SAID, PFIZER -- IN REVIEWING THAT, IT LENDED

09:56AM   11       CREDIBILITY.     I DIDN'T SUMMARIZE THIS PFIZER STUDY.       IT JUST

09:56AM   12       LENDED CREDIBILITY THAT THEY HAD DONE WORK WITH PFIZER AND

09:56AM   13       PFIZER WAS OKAYING THAT THE ANALYZER DID WORK.          THAT'S WHAT

09:56AM   14       THIS WAS -- THAT'S THE TAKEAWAY FROM THIS FOR US.

09:56AM   15                    MR. WADE:    MOVE TO STRIKE EVERYTHING AFTER "NO."

09:56AM   16                    THE COURT:   I WILL STRIKE THAT NOW.

09:56AM   17             BUT, MR. WADE, SOME OF YOUR QUESTIONS LEND THEMSELVES TO

09:57AM   18       AN EXPLANATION SO --

09:57AM   19                    MR. WADE:    OKAY.   THANK YOU, YOUR HONOR.

09:57AM   20       Q.    IF YOU GO TO THE BOTTOM -- LET'S GO TO THE BOTTOM OF THE

09:57AM   21       PAGE.   THE VERY BOTTOM, I'M SORRY, NOT THE PARAGRAPH.          THE

09:57AM   22       FOOTER.

09:57AM   23             DO YOU SEE THE FOOTER?

09:57AM   24       A.    YES.

09:57AM   25       Q.    AND WHOSE ADDRESS IS THAT?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 61
                                                                               62 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4963


09:57AM    1       A.    I DON'T KNOW.

09:57AM    2       Q.    YOU DON'T KNOW WHOSE ADDRESS THAT IS?

09:57AM    3       A.    NOT OFF THE TOP OF MY HEAD, NO.

09:57AM    4       Q.    OKAY.   DO YOU SEE THAT IT'S A -- DO YOU SEE THE THERANOS

09:57AM    5       WEBSITE THERE?

09:57AM    6       A.    YES.

09:57AM    7       Q.    OKAY.   LET'S GO TO THE SECOND PAGE.       LET'S LOOK AT THAT

09:57AM    8       SAME LANGUAGE IN THE FOOTER.

09:57AM    9             DO YOU SEE THAT IS THERANOS'S WEBSITE THERE?

09:57AM   10       A.    YES.

09:57AM   11       Q.    AND DO YOU RECOGNIZE THAT TO BE THERANOS'S ADDRESS?

09:57AM   12       A.    I, I DON'T KNOW.

09:57AM   13       Q.    OKAY.   AND THAT FOOTER IS ON EVERY PAGE OF THIS REPORT;

09:57AM   14       RIGHT?

09:57AM   15             CORRECT?

09:58AM   16       A.    I DON'T KNOW.    I WOULD IMAGINE YES.      IT'S A LONG TIME AGO.

09:58AM   17       Q.    DO YOU RECALL BEING ASKED SOME QUESTIONS ABOUT WHEN THE

09:58AM   18       INVESTMENT COMMITMENT WAS MADE?

09:58AM   19       A.    YES.

09:58AM   20       Q.    OKAY.   AND IT WAS IN CONNECTION WITH A MEETING THAT

09:58AM   21       HAPPENED AT THERANOS ON OCTOBER 15TH; CORRECT?

09:58AM   22       A.    CORRECT.

09:58AM   23       Q.    AND ISN'T IT TRUE THAT A DECISION HAD BEEN MADE AT THE END

09:58AM   24       OF THAT MEETING TO INVEST A HUNDRED MILLION DOLLARS?

09:59AM   25       A.    THEY HAD TALKED ABOUT THAT BEING OUR COMMITMENT, YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 62
                                                                               63 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4964


09:59AM    1       Q.    AND SO THE DECISION -- MY QUESTION WAS THE DECISION HAD

09:59AM    2       BEEN MADE --

09:59AM    3       A.    I WOULDN'T SAY.

09:59AM    4                     THE COURT:   MS. PETERSON, LET HIM FINISH HIS

09:59AM    5       QUESTION SO YOU'LL HAVE THE FULL BENEFIT OF IT.

09:59AM    6                     THE WITNESS:   SORRY.

09:59AM    7       BY MR. WADE:

09:59AM    8       Q.    MY QUESTION IS THAT THE DECISION HAD BEEN MADE AT THE END

09:59AM    9       OF THAT MEETING TO INVEST $100 MILLION; CORRECT?

09:59AM   10       A.    THAT'S NOT A YES OR NO QUESTION FOR ME.

09:59AM   11       Q.    WELL, YOU RECALL GIVING TESTIMONY --

09:59AM   12       A.    THE FAMILY WAS VERY WELL --

09:59AM   13       Q.    THERE'S NO QUESTION PENDING RIGHT NOW.

09:59AM   14             DO YOU RECALL GIVING TESTIMONY IN A DEPOSITION?         WE TALKED

09:59AM   15       ABOUT THAT LAST WEEK; RIGHT?

09:59AM   16       A.    YES.

09:59AM   17       Q.    OKAY.    AND YOU RECALL THAT YOU WERE UNDER OATH?

09:59AM   18       A.    YES.

09:59AM   19       Q.    YES.    AND YOU RECALL THAT YOU WERE UNDER THE PAINS AND

09:59AM   20       PENALTIES OF PERJURY TO GIVE TRUTHFUL ANSWERS?

09:59AM   21             DO YOU RECALL THAT?

09:59AM   22       A.    YES.

09:59AM   23       Q.    COULD I DRAW YOUR ATTENTION TO 1125, PAGE 74.

10:00AM   24                     THE COURT:   LET'S STOP FOR JUST A SECOND.

10:00AM   25             AND, FOLKS, LET'S TAKE TWO MINUTES TO STAND AND STRETCH,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 63
                                                                               64 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4965


10:00AM    1       PLEASE.   LET'S JUST TAKE A STRETCHING BREAK HERE.

10:00AM    2             (STRETCHING.)

10:01AM    3                     MR. WADE:    WHILE WE TAKE A BREAK, YOUR HONOR, MAY I

10:01AM    4       CONFER WITH COUNSEL?

10:01AM    5                     THE COURT:    YES, OF COURSE.

10:01AM    6             (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

10:01AM    7                     THE COURT:    THANK YOU.   MR. WADE.

10:01AM    8       BY MR. WADE:

10:01AM    9       Q.    DO YOU HAVE PAGE 74 IN FRONT OF YOU?

10:01AM   10       A.    PAGE 74 IS JUST THE "FORTUNE" ARTICLE.

10:01AM   11       Q.    I'M SORRY, 11253.      IT SHOULD BE YOUR DEPOSITION TESTIMONY.

10:01AM   12             DO YOU SEE THAT?

10:01AM   13       A.    OKAY.    YES.

10:02AM   14       Q.    DO YOU RECOGNIZE THAT TO BE YOUR DEPOSITION TESTIMONY?

10:02AM   15       A.    YES.

10:02AM   16       Q.    OKAY.    I WOULD DRAW YOURS, COUNSEL, AND THE COURT'S

10:02AM   17       ATTENTION TO PAGE 74, LINE 13.

10:02AM   18             YOU WERE ASKED, "SO THE DECISION HAD BEEN MADE AT THE END

10:02AM   19       OF THAT MEETING TO INVEST 100 MILLION?"

10:02AM   20             AND YOU ANSWERED, "CORRECT."

10:02AM   21             IS THAT RIGHT?

10:02AM   22       A.    OKAY.    YES.

10:02AM   23       Q.    OKAY.    DID I READ THAT CORRECTLY?

10:02AM   24       A.    YES, WE TALKED ABOUT THAT, YES.

10:02AM   25       Q.    OKAY.    OKAY.    AND THIS WAS -- THIS DECISION HAD BEEN MADE



                                          UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 64
                                                                               65 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4966


10:02AM    1       BEFORE YOU CREATED YOUR SECOND MEMO; CORRECT?

10:02AM    2       A.    YES.

10:02AM    3       Q.    OKAY.   AND YOU DID NOT HAVE ANY SEPARATE MEETINGS OR

10:02AM    4       VERBAL COMMUNICATIONS WITH MR. DEVOS OR MR. TUBERGEN BEFORE

10:03AM    5       THEY MADE THAT COMMITMENT IN THAT MEETING ON THAT DAY; CORRECT?

10:03AM    6       A.    I DID NOT -- SAY IT AGAIN.

10:03AM    7       Q.    THERE WASN'T A SIDE MEETING THAT HAPPENED BEFORE THAT

10:03AM    8       COMMITMENT WAS MADE; RIGHT?

10:03AM    9       A.    THERE WERE LOTS OF DISCUSSIONS ON THE WAY TO THE MEETING

10:03AM   10       IN THE PLANE WHERE WE DISCUSSED EVERYTHING.

10:03AM   11             WE WENT THROUGH THE FIVE HOUR MEETING IN WHICH DOUG WAS

10:03AM   12       APART OF IT AND SO WAS RICK, WHO WERE BOTH ON THE INVESTMENT

10:03AM   13       COMMITTEE.    WE CAUCUSED OUTSIDE.     THEY TALKED ABOUT DOING 100

10:03AM   14       IN THE MEETING.     THAT WAS KIND OF WHERE THEY LANDED.

10:03AM   15             FROM THAT POINT FORWARD I NEEDED THE GREEN LIGHT FROM

10:03AM   16       JERRY IN ORDER TO MOVE FORWARD WITH CLOSING THE INVESTMENT.

10:03AM   17             SO, YES, HAD THEY DECIDED TO MOVE FORWARD -- DO THE WORK

10:03AM   18       AND PROCESS THAT WE GO THROUGH TO CLOSE ON A TRANSACTION, YES,

10:03AM   19       THAT WAS WHAT WAS DISCUSSED IN THE PARKING LOT BEFORE WE

10:03AM   20       DISBURSED.

10:03AM   21       Q.    OKAY.   LET ME BRING YOU BACK TO THE MEETING, OKAY?

10:04AM   22       A.    OKAY.

10:04AM   23       Q.    I'M FOCUSSED ON WHAT WAS HAPPENING IN THE MEETING INSIDE

10:04AM   24       OF THERANOS.

10:04AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 65
                                                                               66 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4967


10:04AM    1       Q.    AND I THINK WE JUST ESTABLISHED THAT THE DECISION TO MAKE

10:04AM    2       THE $100 MILLION INVESTMENT WAS MADE IN THE MEETING; CORRECT?

10:04AM    3       A.    YES, THAT'S WHAT WAS DISCUSSED.

10:04AM    4       Q.    OKAY.   AND THAT WAS BEFORE YOU PREPARED THE MEMO THAT YOU

10:04AM    5       REFERRED TO AFTER THE MEETING; CORRECT?

10:04AM    6       A.    CORRECT.   BUT THE EARLIER MEMO WAS VERY MUCH WHAT WAS IN

10:04AM    7       THE FINAL MEMO, WHICH WE HAD ALREADY DISCUSSED ON THE WAY

10:04AM    8       THERE.

10:04AM    9       Q.    OKAY.   I WASN'T ASKING -- I'M NOT ASKING YOU ABOUT THE

10:04AM   10       EARLIER MEMO.    I'M ASKING YOU SPECIFIC QUESTIONS.

10:04AM   11             OKAY?

10:04AM   12       A.    OKAY.

10:04AM   13       Q.    AND YOU WERE IN A MEETING AT THERANOS; CORRECT?

10:04AM   14       A.    YES.

10:04AM   15       Q.    AND THERE WAS DISCUSSION BACK AND FORTH.        WE TALKED ABOUT

10:04AM   16       IT LAST WEEK; RIGHT?

10:04AM   17       A.    YES, FOUR HOURS WORTH.

10:04AM   18       Q.    AND MEMBERS OF THE DEVOS INVESTMENT COMMITTEE WERE

10:04AM   19       PRESENT; CORRECT?

10:04AM   20       A.    YES.

10:04AM   21       Q.    YOU WERE PRESENT?

10:04AM   22       A.    YES.

10:04AM   23       Q.    AND MR. TUBERGEN WAS PRESENT?

10:04AM   24       A.    YES.

10:04AM   25       Q.    AND BEFORE THAT COMMITMENT WAS EXPRESSED IN THAT MEETING,



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 66
                                                                               67 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4968


10:05AM    1       YOU DID NOT PROVIDE ANY INPUT IN A SIDE MEETING TO ANY OF THOSE

10:05AM    2       INVESTMENT COMMITTEE MEMBERS OR TO MR. TUBERGEN THAT DAY, DID

10:05AM    3       YOU?

10:05AM    4       A.     OTHER THAN THE THREE HOURS ON THE PLANE ON THE WAY THERE,

10:05AM    5       NO.

10:05AM    6       Q.     OKAY.   NOTHING IN THAT MEETING; CORRECT?

10:05AM    7       A.     NO.

10:05AM    8       Q.     OKAY.   IF WE CAN PULL UP 2098 WHICH I BELIEVE IS IN

10:05AM    9       EVIDENCE AND GO TO THE SECOND PAGE.

10:05AM   10              OKAY.   LET ME KNOW WHEN YOU HAVE 2098, PAGE 2 IN FRONT OF

10:06AM   11       YOU.

10:06AM   12       A.     OKAY.

10:06AM   13       Q.     DO YOU HAVE THAT IN FRONT OF YOU?

10:06AM   14       A.     YES.

10:06AM   15       Q.     OKAY.   AND DO YOU RECALL LAST WEEK WE WENT THROUGH CERTAIN

10:06AM   16       ASPECTS OF THIS EMAIL AND THERE WAS COMMUNICATION ABOUT THE

10:06AM   17       FACT THAT, THAT YOU WERE NOT INCLUDED ON AND THEN YOU WERE

10:06AM   18       LOOPED IN LATER.

10:06AM   19              DO YOU RECALL THAT?

10:06AM   20       A.     SAY THAT AGAIN.

10:06AM   21       Q.     LET ME JUST FOCUS ON THE DOCUMENT.

10:06AM   22              DO YOU SEE THAT THERE WERE COMMUNICATIONS BETWEEN

10:06AM   23       MS. HOLMES, MR. TUBERGEN, MR. BALWANI, AND DOUG DEVOS?

10:06AM   24              DO YOU SEE THAT?

10:06AM   25       A.     YES, YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 67
                                                                               68 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4969


10:06AM    1       Q.    AND THEN FURTHER UP THE EMAIL CHAIN YOU ARE LOOPED IN;

10:06AM    2       CORRECT?

10:06AM    3       A.    YES.

10:06AM    4       Q.    AND YOU SEE MR. TUBERGEN LOOPS YOU IN TO LET YOU -- TO

10:06AM    5       KEEP YOU POSTED.

10:06AM    6             DO YOU SEE THAT?

10:06AM    7       A.    YES.

10:06AM    8       Q.    AND WE DIDN'T FOCUS ON IT, BUT IF YOU GO -- IF YOU LOOK AT

10:06AM    9       THE BOTTOM OF THE FIRST PAGE, BOTTOM OF THE FIRST -- NOPE.              THE

10:06AM   10       HEADER JUST ON THE BOTTOM THERE, PLEASE.         THANK YOU.

10:07AM   11             DO YOU SEE THIS IS AN EMAIL FROM YOU TO MR. TUBERGEN ON

10:07AM   12       OCTOBER 20TH; CORRECT?

10:07AM   13       A.    YES.

10:07AM   14       Q.    AND LET'S LOOK AT THE EMAIL, WHICH IS ON THE TOP OF THE

10:07AM   15       SECOND PAGE.    AND DO YOU SEE THAT MR. TUBERGEN APOLOGIZES FOR

10:07AM   16       HAVING FAILED TO INCLUDE YOU PREVIOUSLY.

10:07AM   17             DO YOU SEE THAT?

10:07AM   18       A.    YES.

10:07AM   19       Q.    BUT HE WAS LOOPING YOU IN NOW; RIGHT?

10:07AM   20       A.    YES.

10:07AM   21       Q.    AND HE SAYS, "GOOD NEWS IS WE ARE IN AND I'M VERY

10:07AM   22       ENCOURAGED BY THIS DEAL."

10:07AM   23             DO YOU SEE THAT?

10:07AM   24       A.    YES.

10:07AM   25       Q.    OKAY.   AND THIS IS ON OCTOBER 20TH; CORRECT?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 68
                                                                               69 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4970


10:07AM    1       A.    YES.

10:07AM    2       Q.    AND LET'S GO ONE EMAIL UP THE CHAIN.

10:07AM    3             YOU RESPOND; CORRECT?

10:07AM    4       A.    YES.

10:07AM    5       Q.    AND YOU SAY, "NO WORRIES.      I'LL DOCUMENT SOMETHING FOR THE

10:07AM    6       FILE THAT YOU CAN SIGN AS 'APPROVED.'"

10:07AM    7             CORRECT?

10:08AM    8       A.    YES.

10:08AM    9       Q.    OKAY.    IF YOU CAN GO TO 2166, WHICH I BELIEVE IS IN

10:08AM   10       EVIDENCE.

10:08AM   11       A.    YES.

10:08AM   12       Q.    AND IF I CAN CALL YOUR ATTENTION TO THE LAST PAGE.

10:08AM   13             THIS IS THE MEMO THAT WAS PREPARED FOR THE FILE AFTER THE

10:08AM   14       MEETING; CORRECT?

10:08AM   15       A.    YES.

10:08AM   16       Q.    AND DO YOU SEE THE SIGNATURES THERE?

10:08AM   17       A.    YES.

10:08AM   18       Q.    AND THERE'S NO DATE ON THE SIGNATURES; CORRECT?

10:08AM   19       A.    CORRECT.

10:08AM   20       Q.    OKAY.    THERE IS A LINE THAT CALLS FOR THE DATE THOUGH;

10:08AM   21       RIGHT?

10:08AM   22       A.    THIS WAS SENT TO JERRY ON THE 23RD OF OCTOBER, AND I HAVE

10:09AM   23       SPECIFICALLY ASKED BACK, ARE WE OKAY TO MOVE FORWARD TO

10:09AM   24       DOCUMENT THE DEAL, TO WHICH HE RESPONDED YES.

10:09AM   25       Q.    RIGHT.   DO YOU RECALL THAT WE JUST LOOKED AT THE EMAIL



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 69
                                                                               70 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4971


10:09AM    1       THAT SAID THAT YOU DOCUMENT SOMETHING FOR THE FILE; RIGHT?

10:09AM    2       A.    YES, YES.

10:09AM    3       Q.    AND HE INFORMED YOU THAT THE DEAL WAS DONE; CORRECT?

10:09AM    4       A.    HE INFORMED ME THAT I WAS -- WE WERE IN, WHICH MEANT THAT

10:09AM    5       SHE HAD ACCEPTED US INTO THIS DEAL.

10:09AM    6             WE STILL HAD TO CLOSE IT.

10:09AM    7       Q.    OKAY.   THE -- I WANT TO CALL YOUR ATTENTION -- MY, MY --

10:09AM    8       THERE'S A BLANK FOR THE DATE AND THERE'S NO DATE IN THE BLANK;

10:09AM    9       CORRECT?

10:09AM   10       A.    CORRECT.

10:09AM   11       Q.    I WANT TO CALL YOUR ATTENTION TO THE SENTENCE IN THE

10:09AM   12       MIDDLE OF THE PARAGRAPH THAT SAYS "FURTHERMORE."

10:09AM   13             DO YOU SEE THAT?

10:10AM   14       A.    YES.

10:10AM   15       Q.    AND DO YOU RECALL THAT MR. LEACH ASKED YOU SOME QUESTIONS

10:10AM   16       ABOUT THIS?

10:10AM   17       A.    YES.

10:10AM   18       Q.    AND YOU TESTIFIED THAT YOU GOT THIS INFORMATION FROM

10:10AM   19       MS. HOLMES AND MR. BALWANI.

10:10AM   20             DO YOU RECALL THAT?

10:10AM   21       A.    SHE TALKED ABOUT THIS, YES.

10:10AM   22       Q.    OKAY.   ISN'T IT THE CASE THAT YOU ACTUALLY TOOK THIS

10:10AM   23       LANGUAGE DIRECTLY OUT OF THE "FORTUNE" ARTICLE?

10:10AM   24       A.    WE ASKED ABOUT THIS BECAUSE WE WANTED TO KNOW WHY THEY

10:10AM   25       DIDN'T HAVE TO HAVE FDA APPROVAL.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 70
                                                                               71 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4972


10:10AM    1       Q.    OKAY.    MY QUESTION IS, ISN'T IT THE CASE THAT YOU TOOK

10:10AM    2       THIS LANGUAGE DIRECTLY OUT OF THE "FORTUNE" ARTICLE?

10:10AM    3       A.    BUT WE ASKED ABOUT IT AND GOT AN ANSWER AND THIS WAS WHAT

10:10AM    4       THE ANSWER WAS.

10:10AM    5                     MR. WADE:    MOVE TO STRIKE THE ANSWER.    I CAN ASK A

10:10AM    6       THIRD QUESTION.

10:10AM    7                     THE WITNESS:    I DON'T KNOW.

10:10AM    8                     THE COURT:   LISTEN TO HIS QUESTION AND HE'LL ASK YOU

10:10AM    9       ONE MORE TIME.

10:10AM   10                     THE WITNESS:    OKAY.

10:10AM   11       BY MR. WADE:

10:10AM   12       Q.    ISN'T IT THE CASE THAT THAT LANGUAGE CAME DIRECTLY OUT OF

10:10AM   13       THE "FORTUNE" ARTICLE?

10:10AM   14       A.    IT MAY HAVE, BUT WE ASKED ABOUT IT SPECIFICALLY.

10:10AM   15       Q.    OKAY.    LET'S TAKE A LOOK AT EXHIBIT 1944.       IF WE CAN DO

10:10AM   16       THAT ON A SPLIT SCREEN.

10:11AM   17             YEAH, IF WE CAN CALL UP PAGE ENDING 5014 IN THE BOTTOM

10:11AM   18       CORNER, A DIFFERENT VERSION HERE.       PAGE 69 OF THE ARTICLE.

10:11AM   19       PAGE 6 OF 9.     I'M SORRY.    TOO MANY DIFFERENT PAGE NUMBERS.

10:11AM   20       PAGE 6 OF 9.     AND IF WE CAN BLOW UP THE PARAGRAPH STARTING WITH

10:11AM   21       "THERANOS" IN THE LEFT-HAND COLUMN.

10:11AM   22             ISN'T THAT ALMOST VERBATIM THE LANGUAGE OUT OF THE

10:12AM   23       "FORTUNE" ARTICLE?

10:12AM   24       A.    YES.    BUT AS I SAID, WE ASKED ABOUT THAT SPECIFICALLY AT

10:12AM   25       THE MEETING.     WE WANTED TO KNOW WHAT THE FDA REGULATIONS WERE,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 71
                                                                               72 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4973


10:12AM    1       AND THAT WAS THE ANSWER THAT WE WERE GIVEN.

10:12AM    2             AND THEN SHE TOLD US THAT THEY WERE MOVING TO DO FDA

10:12AM    3       APPROVAL ON EVERY TEST.

10:12AM    4       Q.    AND WHAT WAS YOUR UNDERSTANDING AS TO WHY FDA APPROVAL WAS

10:12AM    5       NEEDED?

10:12AM    6       A.    SHE SAID IT WASN'T NEEDED.

10:12AM    7       Q.    OKAY.    BUT WHAT WAS YOUR UNDERSTANDING WHY THEY WERE

10:12AM    8       GETTING FDA APPROVAL?

10:12AM    9       A.    BECAUSE THEY MADE THEIR OWN ANALYZER EQUIPMENT.         THAT WAS

10:12AM   10       THE ANSWER THAT SHE GAVE.

10:12AM   11       Q.    RIGHT.   AND IN ORDER FOR THEM TO DISTRIBUTE THEIR ANALYZER

10:12AM   12       EQUIPMENT, THEY HAD TO GET FDA APPROVAL; CORRECT?

10:12AM   13       A.    THAT'S NOT WHAT THE -- SHE -- WE ASKED SPECIFICALLY, DO

10:12AM   14       YOU NEED FDA APPROVAL?

10:12AM   15             AND SHE SAID, NO, BECAUSE WE MAKE OUR OWN ANALYZER.

10:12AM   16             AND THEN SHE SAID WE'RE GOING TO TAKE IT ONE STEP FURTHER

10:12AM   17       AND APPROVE EVERY ONE OF OUR TESTS.

10:12AM   18       Q.    OKAY.    THAT WAS YOUR UNDERSTANDING IN THAT MEETING; RIGHT?

10:12AM   19       A.    YES.

10:12AM   20       Q.    OKAY.    AND DID YOU DO ANY RESEARCH TO MAKE SURE THAT YOU

10:12AM   21       UNDERSTOOD THAT CORRECTLY?

10:12AM   22       A.    NO.

10:12AM   23       Q.    OKAY.

10:12AM   24       A.    WE RELIED ON WHAT SHE SAID.

10:12AM   25       Q.    THIS STATEMENT -- THE STATEMENT THAT WE'RE REFERRING TO



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 72
                                                                               73 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4974


10:13AM    1       COMES DIRECTLY OUT OF THE ARTICLE; RIGHT?

10:13AM    2       A.    YES.

10:13AM    3       Q.    OKAY.    AND YOU SAID, YOU SAID LAST WEEK THAT YOU HAD NOTES

10:13AM    4       OF THE MEETING --

10:13AM    5       A.    YES.

10:13AM    6       Q.    -- THAT HAPPENED AT THERANOS?

10:13AM    7       A.    YES.

10:13AM    8       Q.    DO YOU STILL HAVE THOSE NOTES?

10:13AM    9       A.    NO.

10:13AM   10       Q.    DID YOU DESTROY THEM?

10:13AM   11       A.    THEY TURNED INTO MY MEMO.

10:13AM   12       Q.    OKAY.

10:13AM   13       A.    THAT'S VERY TYPICAL FOR ME.      I WRITE STUFF OUT, I TYPE UP

10:13AM   14       A MEMO, AND I TOSS THE NOTES AND PUT THE MEMO IN THE FILE.

10:13AM   15       Q.    LET ME CALL YOUR ATTENTION TO 10588.

10:13AM   16             AND WHILE WE'RE BRINGING THAT UP, DO YOU RECALL PREVIOUSLY

10:13AM   17       TELLING THE GOVERNMENT THAT YOU DIDN'T TAKE NOTES IN THAT

10:13AM   18       MEETING APART FROM THE NOTES IN THE FINANCIAL STATEMENTS?

10:14AM   19       A.    I DON'T RECALL SAYING THAT, AND IT WAS A LONG MEETING.

10:14AM   20             AND I DEFINITELY TOOK NOTES ON THE FINANCIALS, SO --

10:14AM   21       Q.    RIGHT.   SO DID YOU TAKE ANY -- DO YOU RECALL TELLING THE

10:14AM   22       GOVERNMENT THAT YOU DIDN'T TAKE ANY NOTES OTHER THAN THE NOTES

10:14AM   23       ON THE FINANCIAL STATEMENTS?

10:14AM   24       A.    I DON'T RECALL SAYING THAT.      THE DETAILS IN THE MEMO CAME

10:14AM   25       FROM THAT MEETING.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 73
                                                                               74 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4975


10:14AM    1       Q.    DO YOU HAVE EXHIBIT 10588 IN FRONT OF YOU?

10:14AM    2       A.    YES.

10:14AM    3       Q.    OKAY.    AND DO YOU RECALL THAT MR. LEACH ASKED YOU SOME

10:14AM    4       QUESTIONS ABOUT THIS DOCUMENT?

10:14AM    5       A.    YES.

10:14AM    6       Q.    AND QUICKLY, YOU UNDERSTOOD THIS IS THE CONTRACTUAL

10:14AM    7       AGREEMENT BETWEEN THE PARTIES?

10:14AM    8       A.    YES.

10:14AM    9       Q.    A LEGALLY BINDING DOCUMENT; RIGHT?

10:14AM   10       A.    YES.

10:14AM   11       Q.    OKAY.    LET'S GO TO PAGE 7 OF THE DOCUMENT.       THERE MAY BE A

10:15AM   12       DIFFERENT VERSION OF THIS.

10:15AM   13             I MOVE EXHIBIT 10588 INTO EVIDENCE.

10:15AM   14             I THINK YOU WERE PREVIOUSLY SHOWN AN UNSIGNED VERSION.

10:15AM   15                     MR. LEACH:   NO OBJECTION, YOUR HONOR.

10:15AM   16                     THE COURT:   10588 IS ADMITTED, AND IT MAY BE

10:15AM   17       PUBLISHED.

10:15AM   18             (DEFENDANT'S EXHIBIT 10588 WAS RECEIVED IN EVIDENCE.)

10:15AM   19       BY MR. WADE:

10:15AM   20       Q.    AND JUST SO THE RECORD IS CLEAR, YOU RECALL THAT MR. LEACH

10:15AM   21       SHOWED YOU I THINK A VERSION OF THIS DOCUMENT THAT WAS ATTACHED

10:15AM   22       TO AN EMAIL?

10:15AM   23       A.    YES.

10:15AM   24       Q.    AND DO YOU SEE THAT THIS DOCUMENT IS A VERSION THAT ON

10:15AM   25       PAGE BATES LABELLED 6816 IS ACTUALLY SIGNED BY MS. HOLMES?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 74
                                                                               75 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4976


10:15AM    1             IT'S ON THE SCREEN FOR YOU.

10:15AM    2       A.    OKAY.    YES.

10:15AM    3       Q.    OKAY.    THE -- LET'S GO TO PAGE 7.     LET'S GO TO

10:16AM    4       PARAGRAPH 4.4.

10:16AM    5             AND DO YOU SEE THERE THAT THERE'S AN ACKNOWLEDGEMENT BY

10:16AM    6       RDV THAT THIS IS A SPECULATIVE INVESTMENT?

10:16AM    7       A.    YES.

10:16AM    8       Q.    OKAY.    AND IT NOTES SPECIFICALLY THAT THE COMPANY HAS

10:16AM    9       LIMITED FINANCIAL AND OPERATING HISTORY.

10:16AM   10             DO YOU SEE THAT?

10:16AM   11       A.    I SEE THE NOTE, YES.

10:16AM   12       Q.    AND THAT AN INVESTMENT IN THE COMPANY IS HIGHLY

10:16AM   13       SPECULATIVE AND IT INVOLVES SUBSTANTIAL RISKS.

10:16AM   14             DO YOU SEE THAT?

10:16AM   15       A.    YES.

10:16AM   16       Q.    AND RDV ACKNOWLEDGED THAT WHEN IT MADE THIS INVESTMENT;

10:16AM   17       CORRECT?

10:16AM   18       A.    IT DID.    BUT WE ALSO RELIED ON WHAT WE HEARD.

10:17AM   19                     MR. WADE:    MOVE TO STRIKE THE LAST PART, YOUR HONOR.

10:17AM   20                     THE COURT:   THE LAST COMMENT IS STRICKEN.

10:17AM   21                     MR. WADE:    AFTER "WE DID."

10:17AM   22                     THE COURT:   YES.   IT'S STRICKEN, YES.

10:17AM   23                     MR. WADE:    LET'S GO TO 4.5.

10:17AM   24       Q.    DO YOU SEE THAT THIS PARAGRAPH TALKS ABOUT ACCESS TO DATA?

10:17AM   25       A.    YES.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 75
                                                                               76 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4977


10:17AM    1       Q.    OKAY.   AND IT TALKS ABOUT HOW THE INVESTOR HAD AN

10:17AM    2       OPPORTUNITY TO ASK QUESTIONS OF, RECEIVE ANSWER FROM, AND

10:17AM    3       REVIEW WHATEVER MATERIALS IT FELT THAT IT NEEDED TO; CORRECT?

10:17AM    4       A.    YES.

10:17AM    5       Q.    OKAY.   AND IF YOU GO DOWN A FEW LINES, THERE'S A SENTENCE

10:17AM    6       ON THE VERY RIGHT THAT STARTS WITH "SUCH."

10:17AM    7             DO YOU SEE THAT?

10:17AM    8             IT SAYS, "SUCH INVESTOR UNDERSTANDS THAT SUCH DISCUSSIONS,

10:18AM    9       AS WELL AS ANY INFORMATION ISSUED BY THE COMPANY, WERE INTENDED

10:18AM   10       TO DESCRIBE CERTAIN ASPECTS OF THE COMPANY'S BUSINESS AND

10:18AM   11       PROSPECTS, BUT WERE NOT NECESSARILY A THOROUGH OR EXHAUSTIVE

10:18AM   12       DESCRIPTION."

10:18AM   13             DO YOU SEE THAT?

10:18AM   14       A.    YES.

10:18AM   15       Q.    OKAY.   AND RDV AGREED TO THIS; RIGHT?

10:18AM   16       A.    YES.

10:18AM   17       Q.    OKAY.   NOW, LET'S GO -- LET'S LOOK AT THE NEXT SENTENCE.

10:18AM   18             DO YOU RECALL THAT THERE WAS A LOT OF DISCUSSION ABOUT

10:18AM   19       PROJECTIONS; RIGHT?

10:18AM   20       A.    YES.

10:18AM   21       Q.    AND PROJECTIONS ARE FORWARD LOOKING STATEMENTS; RIGHT?

10:18AM   22       A.    YES.

10:18AM   23       Q.    AND SO THERE CAN BE A FAIR AMOUNT OF UNCERTAINTY

10:18AM   24       ASSOCIATED WITH THOSE PROJECTIONS; RIGHT?

10:18AM   25       A.    THERE CAN BE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 76
                                                                               77 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4978


10:18AM    1       Q.    OKAY.    LET'S LOOK AT THE LANGUAGE HERE.

10:18AM    2             DO YOU SEE WHERE IT SAYS THAT "SUCH INVESTOR ACKNOWLEDGES

10:18AM    3       THAT ANY BUSINESS PLANS PREPARED BY THE COMPANY HAVE BEEN, AND

10:18AM    4       CONTINUE TO BE, SUBJECT TO CHANGE."

10:19AM    5             DO YOU SEE THAT?

10:19AM    6       A.    YES.

10:19AM    7       Q.    AND THAT MEANS THAT WHEN YOU INVEST IN A COMPANY, YOU

10:19AM    8       DON'T NECESSARILY GET TO MAKE ALL OF THE DECISIONS ABOUT HOW

10:19AM    9       IT'S RUN ON A DAY-TO-TO BASIS; RIGHT?

10:19AM   10       A.    CORRECT.

10:19AM   11       Q.    AND SOMETIMES THINGS CHANGE; RIGHT?

10:19AM   12       A.    YES.

10:19AM   13       Q.    OKAY.    AND THEN IT SAYS IT SPECIFICALLY ADDRESSES

10:19AM   14       PROJECTIONS.     DO YOU SEE?   AND IT SAYS, "ANY PROJECTIONS

10:19AM   15       INCLUDED IN SUCH BUSINESS PLANS OR OTHERWISE ARE NECESSARILY

10:19AM   16       SPECULATIVE IN NATURE, AND IT CAN BE EXPECTED THAT SOME OR ALL

10:19AM   17       OF THE ASSUMPTIONS UNDERLYING THE PROJECTIONS WILL NOT

10:19AM   18       MATERIALIZE OR WILL VARY SIGNIFICANTLY FROM ACTUAL RESULTS."

10:19AM   19             DO YOU SEE THAT?

10:19AM   20       A.    WE WERE SITTING IN AN OFFICE IN MID-OCTOBER WITH 150

10:19AM   21       MILLION OF REVENUE ON THE BOOKS AND A BREAK EVEN CASH FLOW.

10:19AM   22             IF THERE WAS -- IF THEY WERE GOING TO END WILDLY DIFFERENT

10:19AM   23       FROM THAT, THEY SHOULD HAVE SAID SO.        THERE WERE TWO MONTHS TO

10:19AM   24       GO IN THE YEAR.

10:19AM   25                     MR. WADE:   I MOVE TO STRIKE THAT ANSWER, YOUR HONOR,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 77
                                                                               78 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4979


10:20AM    1       AS NONRESPONSIVE.

10:20AM    2                     THE COURT:   MS. PETERSON, I'M GOING TO ASK MR. WADE

10:20AM    3       TO REPEAT HIS QUESTION AGAIN, AND THEN JUST PLEASE LISTEN TO

10:20AM    4       HIS QUESTION AND SEE IF YOU CAN ANSWER.

10:20AM    5                     THE WITNESS:   OKAY.

10:20AM    6       BY MR. WADE:

10:20AM    7       Q.    OKAY.    DO YOU SEE HERE IN THE AGREEMENT THAT RDV SIGNED

10:20AM    8       WITH THE COMPANY THAT SAYS, "IT CAN BE EXPECTED THAT SOME OR

10:20AM    9       ALL OF THE ASSUMPTIONS UNDERLYING THE PROJECTIONS WILL NOT

10:20AM   10       MATERIALIZE OR WILL VARY SIGNIFICANTLY FROM THE ACTUAL

10:20AM   11       RESULTS"?

10:20AM   12             DO YOU SEE THAT?

10:20AM   13       A.    YES, I SEE THAT.

10:20AM   14       Q.    OKAY.    AND RDV AGREED TO THAT; CORRECT?

10:20AM   15       A.    YES.

10:20AM   16       Q.    OKAY.    AND DO YOU SEE BELOW IT -- I'M DONE WITH THIS

10:20AM   17       PARAGRAPH.

10:20AM   18             DO YOU SEE IN 4.6 IT REFERS TO AN ACCREDITED INVESTOR?

10:20AM   19       A.    YES.

10:20AM   20       Q.    OKAY.    AND YOU KNOW THERE ARE SPECIAL RULES THAT APPLY TO

10:20AM   21       ACCREDITED INVESTORS?

10:20AM   22             ARE YOU AWARE OF THAT?

10:20AM   23       A.    YES.

10:20AM   24       Q.    AND AS A GENERAL MATTER, IS IT FAIR TO SAY THAT THESE

10:20AM   25       ARE -- THIS IS A CERTIFICATION THAT YOU'RE SLIGHTLY MORE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 78
                                                                               79 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4980


10:21AM    1       SOPHISTICATED THAN A BEGINNING INVESTOR?

10:21AM    2       A.    YES.

10:21AM    3       Q.    AND OFTENTIMES IT'S BASED ON NET WORTH AND THE LIKE?

10:21AM    4       A.    YES.

10:21AM    5       Q.    OKAY.    AND THAT'S BECAUSE SOME -- FOR CERTAIN KINDS OF

10:21AM    6       TRANSACTIONS, THEY'RE COMPLICATED; RIGHT?

10:21AM    7       A.    YES.

10:21AM    8       Q.    AND BOTH PARTIES WANT TO ASSURE THAT THERE'S A LEVEL OF

10:21AM    9       SOPHISTICATION THAT EXISTS SO THAT PEOPLE UNDERSTAND THINGS;

10:21AM   10       RIGHT?

10:21AM   11       A.    YES.

10:21AM   12       Q.    OKAY.    AND RDV WAS AN ACCREDITED INVESTOR; CORRECT?

10:21AM   13       A.    YES.

10:21AM   14       Q.    OKAY.

10:21AM   15       A.    BUT YOU'RE TRYING TO MEASURE OUR SOPHISTICATION AS AN

10:21AM   16       INVESTOR WHEN WE WEREN'T GIVEN COMPLETE INFORMATION.

10:21AM   17                     MR. WADE:    MOVE TO STRIKE THE LAST STATEMENT.

10:21AM   18                     THE COURT:   THAT LAST PORTION IS STRICKEN.

10:21AM   19             AND, MS. PETERSON, JUST WAIT FOR HIS QUESTIONS AND THEN

10:21AM   20       YOU CAN ANSWER HIS QUESTIONS, PLEASE.

10:21AM   21                     THE WITNESS:   OKAY.

10:21AM   22                     MR. WADE:    LET'S GO TO 7.8.   IT'S ON PAGE 17.

10:22AM   23       Q.    DO YOU SEE THIS AGREEMENT?      DO YOU SEE THIS SECTION

10:22AM   24       "ENTIRE AGREEMENT"?

10:22AM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 79
                                                                               80 of
                                                                                  of 285
                                                                                     286
                   PETERSON CROSS BY MR. WADE (RES.)                                       4981


10:22AM    1       Q.    AND THAT TALKS ABOUT HOW, "THIS AGREEMENT, INCLUDING THE

10:22AM    2       EXHIBITS ATTACHED HERETO, CONSTITUTE THE FULL AND ENTIRE

10:22AM    3       UNDERSTANDING AND AGREEMENT AMONG THE PARTIES WITH REGARD TO

10:22AM    4       ANY SUBJECTS HEREOF AND SUPERSEDE ANY PRIOR AGREEMENTS OR

10:22AM    5       UNDERSTANDINGS WITH RESPECT TO THE SUBJECT MATTER HEREOF."

10:22AM    6             DO YOU SEE THAT?

10:22AM    7       A.    YES.

10:22AM    8       Q.    AND RDV AGREED TO THAT; CORRECT?

10:22AM    9       A.    YES.

10:22AM   10       Q.    OKAY.   AND ULTIMATELY MR. SCHIERBEEK SIGNED THIS

10:22AM   11       AGREEMENT; CORRECT?

10:22AM   12       A.    YES, ON BEHALF OF DYNASTY II.

10:23AM   13       Q.    AND DO YOU RECALL THAT THE COMPANY PAID $17 A SHARE?

10:23AM   14       A.    YES.

10:23AM   15       Q.    AND SO JUST A COUPLE OF MORE QUESTIONS TO MAKE SURE THAT I

10:23AM   16       AM CLEAR.

10:23AM   17             WITHIN RDV, MR. TUBERGEN ORIGINATED THIS INVESTMENT;

10:23AM   18       CORRECT?

10:23AM   19       A.    YES.

10:23AM   20       Q.    AND HE BROUGHT IT BACK TO THE DEVOS FAMILY; CORRECT?

10:23AM   21       A.    YES.

10:23AM   22       Q.    AND SPECIFICALLY TO THE MEMBERS OF THE INVESTMENT

10:23AM   23       COMMITTEE; RIGHT?

10:23AM   24       A.    YES, TO THE MEMBERS OF THE G2.

10:23AM   25       Q.    AND IT WAS THOSE MEMBERS OF THE INVESTMENT COMMITTEE THAT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 80
                                                                               81 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4982


10:23AM    1       WERE EMPOWERED TO MAKE THE DECISION TO MAKE AN INVESTMENT ON

10:23AM    2       BEHALF OF RDV; CORRECT?

10:23AM    3       A.    YES.

10:23AM    4       Q.    OKAY.    AND ULTIMATELY THEY'RE THE ONES WHO MADE THAT

10:23AM    5       DECISION IN CONSULTATION WITH MR. TUBERGEN; RIGHT?

10:23AM    6       A.    YES.

10:23AM    7       Q.    AND THE PEOPLE WHO MADE THE DECISION WERE RICK DEVOS,

10:24AM    8       DOUG DEVOS, DAN DEVOS, AND DICK DEVOS; CORRECT?

10:24AM    9       A.    YES.

10:24AM   10                     MR. WADE:    I HAVE NO FURTHER QUESTIONS AT THIS TIME,

10:24AM   11       YOUR HONOR.

10:24AM   12                     THE COURT:    MR. LEACH, REDIRECT?

10:24AM   13                     MR. LEACH:    YES, YOUR HONOR.   THANK YOU.

10:24AM   14             (PAUSE IN PROCEEDINGS.)

10:25AM   15                     MR. LEACH:    MAY I INQUIRE, YOUR HONOR?

10:25AM   16                     THE COURT:    YES, THANK YOU.

10:25AM   17                                  REDIRECT EXAMINATION

10:25AM   18       BY MR. LEACH:

10:25AM   19       Q.    GOOD MORNING, MS. PETERSON.      WELCOME BACK.

10:25AM   20       A.    GOOD MORNING.

10:25AM   21       Q.    LET ME START WHERE MR. WADE CONCLUDED, WITH SOME QUESTIONS

10:25AM   22       ABOUT THE LEGAL DOCUMENTS THAT RDV SIGNED IN CONNECTION WITH

10:25AM   23       THE INVESTMENT, AND I THINK HE WALKED THROUGH SOME LANGUAGE

10:25AM   24       THAT THE GOVERNMENT HAD ALSO GONE THROUGH ABOUT RDV'S

10:25AM   25       ACCREDITED INVESTMENT STATUS AND THE NATURE OF THE INVESTMENT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 81
                                                                               82 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4983


10:25AM    1              DO YOU RECALL THAT TESTIMONY?

10:25AM    2       A.     YES.

10:25AM    3       Q.     AND HE SHOWED YOU SOME LANGUAGE ABOUT THIS BEING THE

10:26AM    4       ENTIRE AGREEMENT.

10:26AM    5              DID YOU UNDERSTAND THAT TO MEAN THAT ANYTHING THAT

10:26AM    6       MS. HOLMES OR MR. BALWANI HAD SAID TO RDV TO INDUCE THE

10:26AM    7       INVESTMENT WAS, THEREFORE, NOT SOMETHING THAT YOU COULD RELY

10:26AM    8       ON?

10:26AM    9       A.     NO.

10:26AM   10       Q.     WHAT DID YOU UNDERSTAND THAT ENTIRE AGREEMENT LANGUAGE TO

10:26AM   11       MEAN?

10:26AM   12       A.     ANYTHING THAT WAS --

10:26AM   13                     MR. WADE:    YOUR HONOR, I THINK THIS GOES INTO 701,

10:26AM   14       702.

10:26AM   15                     THE COURT:   I DON'T THINK IT'S A 702 ISSUE.      I THINK

10:26AM   16       THERE WAS A LOT OF QUESTIONING ABOUT HER, WHAT SHE DID FOR THE

10:26AM   17       COMPANY.      I THINK WE KNOW THAT.

10:26AM   18              AND I DO THINK IT IS APPROPRIATE FOR HER TO ANSWER THE

10:26AM   19       FULSOMENESS OF WHAT SHE DID.

10:26AM   20              SO I'M GOING TO OVERRULE THE OBJECTION.

10:26AM   21                     MR. WADE:    OKAY.

10:26AM   22       BY MR. LEACH:

10:26AM   23       Q.     WHAT WAS YOUR UNDERSTANDING, MS. PETERSON?

10:26AM   24       A.     EVERYTHING THAT WAS SAID TO US WE BELIEVE IS FAIR GAME FOR

10:26AM   25       US TO MAKE OUR INVESTMENT DECISION ON AND WHAT WE RELIED ON,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 82
                                                                               83 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4984


10:26AM    1       NOT JUST WHAT WE READ IN WRITING, BUT ALSO WHAT WE WERE TOLD.

10:26AM    2       Q.    WAS THERE ANYTHING IN THE DOCUMENT THAT YOU SAW THAT SAID

10:26AM    3       RDV SHOULD NOT RELY ON THE VERBAL REPRESENTATIONS BY MS. HOLMES

10:27AM    4       OR THE WRITTEN MATERIALS THAT YOU RECEIVED?

10:27AM    5       A.    NO.

10:27AM    6       Q.    OKAY.   HE ALSO ASKED YOU SOME QUESTIONS ABOUT THE

10:27AM    7       PROJECTIONS THAT WERE PROVIDED TO RDV, AND YOU UNDERSTAND THE

10:27AM    8       PROJECTIONS ARE FORWARD LOOKING; CORRECT?

10:27AM    9       A.    YES.

10:27AM   10       Q.    AND YOU HAD -- AND YOU REVIEWED THOSE PROJECTIONS

10:27AM   11       CAREFULLY; CORRECT?

10:27AM   12       A.    YES.

10:27AM   13       Q.    DID YOU IN ANY WAY DREAM THAT THERANOS WOULD HAVE -- AND

10:27AM   14       YOU RECALL THE PROJECTIONS WERE FOR 140 MILLION --

10:27AM   15       A.    YES.

10:27AM   16       Q.    -- IN 2014?    I THINK YOU VOLUNTEERED THAT NUMBER?

10:27AM   17       A.    YES.

10:27AM   18       Q.    DID YOU IN ANY WAY DREAM THE REVENUE FOR THAT YEAR WOULD

10:27AM   19       BE ZERO?

10:27AM   20       A.    NO.

10:27AM   21       Q.    DID YOU IN ANY WAY DREAM THAT THE REVENUE IN 2015 WOULD BE

10:27AM   22       LESS THAN $500,000?

10:27AM   23       A.    NO.

10:27AM   24       Q.    OKAY.   AND IT SEEMED LIKE YOU WANTED TO EXPLAIN WHY EVEN

10:27AM   25       THOUGH THESE ARE FORWARD LOOKING, YOU WERE STILL SURPRISED BY



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 83
                                                                               84 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4985


10:27AM    1       NOT HITTING THE PROJECTIONS.

10:27AM    2             CAN YOU EXPLAIN?

10:28AM    3       A.    PROJECTIONS, IS N OUR WORLD, THEY SHOULD BE SOMEWHAT

10:28AM    4       CLOSE.   THERE'S DEFINITE RISK IN ACCEPTING PROJECTIONS.

10:28AM    5             BUT WE WERE TOLD THERE WAS 900 WAL-MART -- OR WALGREENS

10:28AM    6       STORES THAT WERE GOING TO OPEN THAT BACKED UP THE PROJECTIONS

10:28AM    7       FOR THE NEXT YEAR, ALONG WITH 300 SAFEWAY STORES.

10:28AM    8             IT WAS THAT THAT WE USED TO BASE OUR THOUGHT AROUND THE

10:28AM    9       PROJECTIONS, COULD THEY REACH THAT NUMBER.

10:28AM   10             EVEN IF THEY DIDN'T REACH THE $990 MILLION THAT THEY SAID

10:28AM   11       THEY WERE GOING TO DO FOR THE NEXT YEAR, EVEN IF THEY HAD

10:28AM   12       REACHED 300 MILLION, THAT WOULD HAVE BEEN A SUCCESSFUL DEAL FOR

10:28AM   13       US.

10:28AM   14             THEY WERE MOVING THE BALL FORWARD.

10:28AM   15             BUT THE FACT THAT THEY JUST DID ZERO TELLS US THAT WHAT

10:28AM   16       THEY WERE TELLING US WASN'T TRUE.

10:28AM   17       Q.    YOU WERE ALSO ASKED A NUMBER OF QUESTIONS ABOUT THE

10:28AM   18       "FORTUNE" ARTICLE THAT YOU WERE PROVIDED AT SOME POINT IN

10:28AM   19       SEPTEMBER OF '14.

10:29AM   20       A.    YES.

10:29AM   21       Q.    DO YOU RECALL THAT TESTIMONY?

10:29AM   22       A.    YES.

10:29AM   23       Q.    AND IF I COULD -- AND YOU WERE ASKED -- YOU GOT

10:29AM   24       INFORMATION FROM THE "FORTUNE" ARTICLE, FROM OTHER PUBLIC

10:29AM   25       SOURCES, FROM A CONVERSATION WITH MS. HOLMES, AND A MEETING



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 84
                                                                               85 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4986


10:29AM    1       WITH MS. HOLMES AND MR. BALWANI IN PALO ALTO.

10:29AM    2             IS THAT A FAIR SUMMARY?

10:29AM    3       A.    YES.

10:29AM    4       Q.    OKAY.   LET ME DRAW YOUR ATTENTION TO EXHIBIT 455, OR 4858.

10:29AM    5       A.    OKAY.

10:29AM    6       Q.    DO YOU RECALL THIS TO BE THE POWERPOINT DECK AMONG THE

10:29AM    7       INVESTMENT MATERIALS THAT THERANOS PROVIDED TO RDV?

10:29AM    8       A.    YES.

10:29AM    9       Q.    LET ME DRAW YOUR ATTENTION, PLEASE, TO PAGE 49.

10:30AM   10             AND IF WE COULD PLEASE DISPLAY THIS, MS. HOLLIMAN.

10:30AM   11             DO YOU SEE THE FIRST PAGE OF THIS SLIDE DECK ON THE

10:30AM   12       SCREEN, MS. PETERSON?

10:30AM   13       A.    YES.

10:30AM   14       Q.    AND IF WE COULD PLEASE GO TO PAGE 49.

10:30AM   15             DO YOU SEE THE TITLE "RECENT PRESS"?

10:30AM   16       A.    YES.

10:30AM   17       Q.    AND DO YOU SEE TO THE RIGHT AN IMAGE OF MS. HOLMES

10:30AM   18       UNDERNEATH THE HEADING "FORTUNE," "THIS CEO IS OUT FOR BLOOD"?

10:30AM   19       A.    YES.

10:30AM   20       Q.    AND DID YOU UNDERSTAND THIS TO BE THERANOS REFERRING YOU

10:30AM   21       TO THIS SPECIFIC ARTICLE AS PART OF THE UNIVERSE OF INFORMATION

10:31AM   22       THAT YOU SHOULD CONSIDER?

10:31AM   23       A.    YES.

10:31AM   24       Q.    IN YOUR MEETING IN PALO ALTO WITH MS. HOLMES, DID YOU ASK

10:31AM   25       HER QUESTIONS ABOUT SOME OF THE FACTS THAT WERE ASSERTED IN THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 85
                                                                               86 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4987


10:31AM    1       ARTICLE?

10:31AM    2       A.    YES.

10:31AM    3       Q.    AND AT ANY POINT IN TIME, DID SHE SAY, DON'T RELY ON THAT

10:31AM    4       PIECE OF INFORMATION FROM THE PARLOFF ARTICLE, THAT'S NOT

10:31AM    5       RIGHT?

10:31AM    6       A.    NEVER, NO.

10:31AM    7       Q.    DID SHE SAY ANYTHING TO THE EFFECT OF THAT LINE ABOUT

10:31AM    8       THIRD PARTY -- US NOT USING THIRD PARTY DEVICES, THAT'S NOT

10:31AM    9       RIGHT, LET ME CORRECT YOUR UNDERSTANDING THERE?

10:31AM   10       A.    NO.

10:31AM   11       Q.    SHE HELD THAT OUT AS SOMETHING YOU SHOULD RELY ON; IS THAT

10:31AM   12       FAIR?

10:31AM   13       A.    YES.

10:31AM   14       Q.    YOU WERE ALSO ASKED A NUMBER OF QUESTIONS ABOUT

10:31AM   15       FORWARD-LOOKING STATEMENTS IN THE POWERPOINT.

10:31AM   16             AND I THINK MR. WADE ASKED YOU ABOUT PAGE 19.

10:31AM   17             IF WE COULD DISPLAY THAT.

10:31AM   18             AND DO YOU SEE THERE TO BE SOME COST SAVINGS ESTIMATES

10:32AM   19       FROM 2014 TO 2023 IN THE LEFT GRAPH, AND THEN THE SAME PERIOD

10:32AM   20       IN THE RIGHT GRAPH?

10:32AM   21       A.    YES.

10:32AM   22       Q.    AND YOU UNDERSTOOD AT THE TIME THAT THESE WERE FORWARD

10:32AM   23       LOOKING PROJECTIONS?

10:32AM   24       A.    YES.

10:32AM   25       Q.    AND DO YOU SEE WHERE IT SAYS, FOR 2014, THERE'S AN E AFTER



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 86
                                                                               87 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4988


10:32AM    1       THAT?

10:32AM    2       A.    YES.

10:32AM    3       Q.    AND THAT E CONTINUES ALL OF THE WAY OUT TO 2023.

10:32AM    4             DO YOU SEE THAT?

10:32AM    5       A.    YES.

10:32AM    6       Q.    AND IS THAT WHAT HELPED YOU UNDERSTAND THAT THESE WERE

10:32AM    7       FORWARD-LOOKING STATEMENTS?

10:32AM    8       A.    YES.

10:32AM    9       Q.    AND THE E STANDS FOR ESTIMATE?

10:32AM   10       A.    YES, AND THOSE YEARS HADN'T HAPPENED YET.

10:32AM   11       Q.    OKAY.   SO THERE WAS INFORMATION ON THIS SLIDE THAT TOLD

10:32AM   12       YOU THAT THIS SLIDE WAS FORWARD LOOKING?

10:32AM   13       A.    YES.

10:32AM   14       Q.    AND MR. WADE ALSO SHOWED YOU PAGE 20.        IF WE CAN PLEASE

10:32AM   15       LOOK AT THAT.

10:32AM   16             IS THIS ANOTHER EXAMPLE WHERE THE USE OF E'S NEXT TO

10:32AM   17       FUTURE TIME PERIODS INDICATED TO YOU THAT THIS WAS SLIDE WAS

10:32AM   18       FORWARD LOOKING?

10:32AM   19       A.    YES.

10:32AM   20       Q.    AND I THINK MR. WADE ALSO SHOWED YOU PAGE 40.

10:33AM   21             DO YOU SEE WHERE IT SAYS, "THERANOS'S FOOTPRINT UPON

10:33AM   22       NATIONAL DEPLOYMENT"?

10:33AM   23       A.    YES.

10:33AM   24       Q.    AND YOU UNDERSTOOD "UPON" TO REFER TO SOMETHING THAT WOULD

10:33AM   25       HAPPEN IN THE FUTURE?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 87
                                                                               88 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4989


10:33AM    1       A.    YES.

10:33AM    2       Q.    LET ME SHOW YOU SOME OTHER SLIDES.       IF WE COULD GO,

10:33AM    3       PLEASE, TO PAGE 3.

10:33AM    4             AND IN THE FIRST SUBSTANTIVE PARAGRAPH IT SAYS,

10:33AM    5       "THERANOS'S PROPRIETARY, PATENTED TECHNOLOGY RUNS COMPREHENSIVE

10:33AM    6       BLOOD TESTS FROM A FINGERSTICK."

10:33AM    7             DO YOU SEE THAT?

10:33AM    8       A.    YES.

10:33AM    9       Q.    AND I WANT TO FOCUS ON THE WORD "RUNS."

10:33AM   10             DID YOU UNDERSTAND THAT TO BE THE PRESENT TENSE?

10:33AM   11       A.    YES.

10:33AM   12       Q.    AND DID YOU UNDERSTAND THAT TO BE FORWARD LOOKING?

10:33AM   13       A.    NO.

10:33AM   14       Q.    DOES THIS SAY "WILL IN THE FUTURE RUN"?

10:34AM   15       A.    IT SAYS THEY'RE DOING IT NOW AND WILL CONTINUE TO DO IT IN

10:34AM   16       THE FUTURE, YES.

10:34AM   17       Q.    AND THAT'S WHAT YOU UNDERSTOOD AT THE TIME?

10:34AM   18       A.    YES.

10:34AM   19       Q.    IF WE COULD LOOK, PLEASE, AT --

10:34AM   20             OH, AND IN THE THIRD PARAGRAPH IT SAYS, "CURRENT AND PAST

10:34AM   21       CLIENTS INCLUDE 10 OF THE TOP 15 MAJOR PHARMACEUTICAL

10:34AM   22       COMPANIES, MIDSIZED BIO-PHARMAS, PROMINENT RESEARCH

10:34AM   23       INSTITUTIONS, HEALTH CARE PAYORS, AND U.S. AND FOREIGN

10:34AM   24       GOVERNMENT HEALTH AND MILITARY ORGANIZATIONS."

10:34AM   25             DO YOU SEE THAT LANGUAGE?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 88
                                                                               89 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4990


10:34AM    1       A.    YES.

10:34AM    2       Q.    AND YOU UNDERSTOOD THESE TO BE STATEMENTS ABOUT WHAT WAS

10:34AM    3       CURRENT AND WHAT HAPPENED IN THE PAST; IS THAT RIGHT?

10:34AM    4       A.    YES.

10:34AM    5       Q.    AND SO WHEN YOU TESTIFIED THAT MS. HOLMES TOLD YOU THAT

10:34AM    6       THERANOS WAS USING THE ANALYZER ON MILITARY HELICOPTERS --

10:34AM    7       A.    YES.

10:34AM    8       Q.    -- YOU THOUGHT THAT THAT WAS SOMETHING THAT THERANOS HAD

10:34AM    9       DONE?

10:34AM   10       A.    YES.

10:34AM   11       Q.    LET'S LOOK AT PAGE 7, PLEASE.

10:34AM   12             DO YOU RECALL TESTIFYING ABOUT THE PROFICIENCY TESTING

10:35AM   13       RESULTS THAT THERANOS HELD OUT TO YOU?

10:35AM   14       A.    YES.

10:35AM   15       Q.    AND YOU BELIEVED THAT THESE WERE PROFICIENCY TESTING

10:35AM   16       RESULTS THAT WERE ACHIEVED IN THE PAST, NOT SOMETHING THAT WAS

10:35AM   17       GOING TO HAPPEN IN THE FUTURE; CORRECT?

10:35AM   18       A.    CORRECT, BASED ON THE DATES.

10:35AM   19       Q.    AND YOU BELIEVED THESE PROFICIENCY TESTING RESULTS RELATED

10:35AM   20       TO THE ANALYZER THAT YOU HAD SEEN?

10:35AM   21       A.    YES.

10:35AM   22       Q.    OKAY.   NOBODY TOLD YOU THAT THERANOS WASN'T USING THE

10:35AM   23       ANALYZER IN THE CLIA LAB IN 2011?

10:35AM   24       A.    NO.

10:35AM   25       Q.    AND NO ONE TOLD YOU THAT THERANOS WAS NOT USING THE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 89
                                                                               90 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4991


10:35AM    1       ANALYZER IN THE CLIA LAB IN 2012?

10:35AM    2       A.    NO.

10:35AM    3       Q.    OR 2013?

10:35AM    4       A.    NO.

10:35AM    5       Q.    LET ME DRAW YOUR ATTENTION TO PAGE 8.

10:35AM    6             DO YOU SEE WHERE IT SAYS, "THERANOS HAS BEEN

10:35AM    7       COMPREHENSIVELY VALIDATED OVER THE COURSE OF THE LAST SEVEN

10:35AM    8       YEARS BY TEN OF THE FIFTEEN LARGEST PHARMACEUTICAL COMPANIES"?

10:35AM    9       A.    YES.

10:35AM   10       Q.    AND DID YOU UNDERSTAND THAT TO BE A STATEMENT OF WHAT HAD

10:35AM   11       HAPPENED IN THE PAST?

10:36AM   12       A.    YES.

10:36AM   13       Q.    NOT SOMETHING THAT WAS FORWARD LOOKING?

10:36AM   14       A.    CORRECT, AND IT'S PERMANENTLY IN MY MEMO.

10:36AM   15       Q.    AND LET ME DRAW YOUR ATTENTION, PLEASE, TO PAGE 28.

10:36AM   16             DO YOU SEE WHERE IT SAYS, "THERANOS RUNS ANY TEST

10:36AM   17       AVAILABLE IN CENTRAL LABS"?

10:36AM   18       A.    YES.

10:36AM   19       Q.    AND RUNS AS IN THE PRESENT TENSE?

10:36AM   20       A.    YES.

10:36AM   21       Q.    NOT IN THE FUTURE TENSE?

10:36AM   22       A.    CORRECT.

10:36AM   23       Q.    AND THAT'S SOMETHING THAT YOU UNDERSTOOD THERANOS WAS

10:36AM   24       DOING AT THE TIME?

10:36AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 90
                                                                               91 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4992


10:36AM    1       Q.    MR. WADE ALSO ASKED YOU ABOUT THAT LANGUAGE AT THE END,

10:36AM    2       "PROCESSES ALL SAMPLE TYPES."

10:36AM    3             DID YOU THINK THAT THAT REFERRED TO SAMPLES SUCH AS URINE

10:36AM    4       OR BLOOD OR SOME OTHER MATRIX?

10:36AM    5                     MR. WADE:    OBJECT TO THE FORM OF THE QUESTION,

10:36AM    6       YOUR HONOR.

10:36AM    7                     THE COURT:   ASKING HER UNDERSTANDING, YES,

10:36AM    8       SUSTAINED.

10:36AM    9       BY MR. LEACH:

10:36AM   10       Q.    WHAT WAS YOUR UNDERSTANDING OF WHAT THAT MEANT?

10:36AM   11       A.    I TOOK IT TO MEAN THAT IT PROCESSES ALL TYPES OF SAMPLES

10:37AM   12       THAT CAN DO ALL TYPES OF TESTS.

10:37AM   13       Q.    OKAY.    DID YOU IN ANY WAY THINK THAT IT RELATED TO VENOUS

10:37AM   14       DRAWS?

10:37AM   15       A.    NO.

10:37AM   16       Q.    DID MS. HOLMES EVER EXPLAIN TO YOU THAT WE -- WHEN WE SAID

10:37AM   17       THAT LANGUAGE, WE MEANT VENOUS DRAWS?

10:37AM   18       A.    NO, WE DIDN'T HEAR THAT UNTIL THE "JOURNAL" ARTICLE.

10:37AM   19       Q.    DID THE IDEA OF THE VENOUS DRAWS EVER COME UP IN YOUR

10:37AM   20       CONVERSATIONS WITH MS. HOLMES?

10:37AM   21       A.    NO.

10:37AM   22       Q.    MR. WADE ASKED YOU A NUMBER OF QUESTIONS ABOUT 14212.

10:37AM   23             IF I COULD USE THE ELMO FOR THIS, MS. KRATZMANN.

10:37AM   24                     THE CLERK:   YES.

10:37AM   25       BY MR. LEACH:



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 91
                                                                               92 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4993


10:37AM    1       Q.    DO YOU RECALL BEING ASKED QUESTIONS ABOUT THIS DOCUMENT,

10:37AM    2       MS. PETERSON?

10:37AM    3       A.    YES.

10:37AM    4       Q.    AND CAN YOU GIVE US THE CONTEXT FOR WHAT THIS IS?

10:37AM    5       A.    SO THIS IS BOB AND OUR CFO AND OUR CONTROLLER JUST TRYING

10:38AM    6       TO UNDERSTAND WHERE THE FAMILY STANDS WITH FREE CASH AT THE

10:38AM    7       MOMENT, BECAUSE I'M SURE THERE WERE LOTS OF OTHER INVESTMENTS,

10:38AM    8       INCLUDING THIS ONE THAT WE'RE LOOKING AT, AND WE'RE CONSTANTLY

10:38AM    9       TRYING TO CASH FLOW PLAN WHEN AND WHAT IS COMING.

10:38AM   10             IT DOESN'T MEAN ANYTHING MORE THAN THAT IT COULD HAPPEN.

10:38AM   11       Q.    WHEN YOU SAY, "IT DOESN'T MEAN ANYTHING MORE THAN WHAT

10:38AM   12       COULD HAPPEN," WHAT DO YOU MEAN BY THAT?

10:38AM   13       A.    THEY NEED TO BE PREPARED IF WE WERE TO DO SOMETHING LIKE

10:38AM   14       THIS, BUT IT DOESN'T MEAN THAT WE WERE DOING IT.

10:38AM   15       Q.    DOES THAT MEAN IN YOUR MIND ANYTHING THAT YOU LEARN IN

10:38AM   16       YOUR SUBSEQUENT DILIGENCE OR OUT IN THE MEETING IN PALO ALTO

10:38AM   17       HAD NO RELEVANCE TO YOU?

10:38AM   18       A.    THAT'S NOT IT AT ALL, NO.      WE COULD HAVE LEARNED SOMETHING

10:38AM   19       THAT WOULD HAVE STOPPED THAT INVESTMENT, YES.

10:38AM   20       Q.    OKAY.   MR. WADE ALSO ASKED YOU SOME QUESTIONS ABOUT 14076.

10:39AM   21             DO YOU RECALL BEING ASKED QUESTIONS ABOUT THIS LETTER?

10:39AM   22       A.    YES.

10:39AM   23       Q.    AND YOUR MEMORY IS THAT THIS IS THE LETTER THAT

10:39AM   24       ACCOMPANIED THE BINDERS OF MATERIALS THAT YOU REVIEWED?

10:39AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 92
                                                                               93 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4994


10:39AM    1       Q.    OKAY.   AND MR. WADE WAS ASKING YOU QUESTIONS ABOUT THE

10:39AM    2       PARAGRAPH BEGINNING "ONCE THE COMPANY WAS READY."

10:39AM    3             YOU WANTED TO FOCUS ON THE THIRD PARAGRAPH, "HISTORICALLY,

10:39AM    4       THERANOS'S WORK WAS FOCUSSED ON CONTRACTS WITH PHARMACEUTICAL

10:39AM    5       AND MILITARY CLIENTS."

10:39AM    6             DO YOU RECALL BEING ASKED QUESTIONS ABOUT THE FIFTH

10:39AM    7       PARAGRAPH?

10:39AM    8       A.    YES.

10:39AM    9       Q.    OKAY.   AND WHAT WAS IT YOU WANTED TO SAY ABOUT THE THIRD

10:39AM   10       PARAGRAPH?

10:39AM   11       A.    THAT THEY HAD BEEN DOING WORK IN THE PAST, THAT SHE'S

10:39AM   12       SAYING IT RIGHT THERE IN HER LETTER, AND THAT WAS IMPORTANT TO

10:40AM   13       US.   WE REALLY RELIED ON THE FACT THAT THEY HAD BEEN DOING WORK

10:40AM   14       FOR PHARMACEUTICAL COMPANIES AND THE GOVERNMENT FOR YEARS.

10:40AM   15       Q.    I ALSO WANTED TO DRAW YOUR ATTENTION TO THE LAST PARAGRAPH

10:40AM   16       WHERE IT SAYS, "I AM HAPPY TO PROVIDE MORE BACKGROUND ON ANY OF

10:40AM   17       THE ABOVE, OR ANY OF THE MATERIALS ENCLOSED IN THIS PACKAGE.

10:40AM   18       THERANOS'S INVESTMENT DOCUMENTS ARE ENCLOSED HEREIN.           THE

10:40AM   19       ADDITIONAL MATERIALS FOCUS ON THE INFRASTRUCTURE THERANOS HAS

10:40AM   20       DEVELOPED AND THE INITIAL MARKET OF COMMERCIAL LABORATORY

10:40AM   21       TESTING."

10:40AM   22             DO YOU SEE THAT LANGUAGE?

10:40AM   23       A.    YES.

10:40AM   24       Q.    AND DID YOU UNDERSTAND THAT TO BE MS. HOLMES REFERRING YOU

10:40AM   25       TO THE FOOT OF MATERIALS THAT RDV HAD RECEIVED?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 93
                                                                               94 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4995


10:40AM    1       A.    YES.

10:40AM    2       Q.    YOU WERE ALSO ASKED SOME QUESTIONS ABOUT THE -- YOU WERE

10:40AM    3       ALSO ASKED QUESTIONS ABOUT A DOCUMENT WITH THE PFIZER LOGO.

10:40AM    4             AND IF WE CAN CALL THAT UP AT EXHIBIT 4858, PAGE 1 OF 6,

10:41AM    5       MS. HOLLIMAN.

10:41AM    6             AND IF WE CAN GO TO PAGE -- I'M SORRY, PLEASE GO TO

10:41AM    7       PAGE 129.

10:41AM    8             DO YOU RECALL BEING ASKED QUESTIONS ABOUT THIS DOCUMENT?

10:41AM    9       A.    YES.

10:41AM   10       Q.    AND AT THE TIME YOU REVIEWED THIS, YOU WERE NOT A

10:41AM   11       SCIENTIST?

10:41AM   12       A.    CORRECT.

10:41AM   13       Q.    OKAY.   YOU WERE RELYING ON THE HIGH LEVEL CONCLUSIONS OF

10:41AM   14       THE DOCUMENT?

10:41AM   15       A.    YES.

10:41AM   16       Q.    AND YOU BELIEVED THESE TO BE THE CONCLUSIONS OF PFIZER,

10:41AM   17       NOT THERANOS?

10:41AM   18       A.    YES.

10:41AM   19       Q.    DID THE FACT THAT THE THERANOS ADDRESS WAS LISTED ON PAGES

10:41AM   20       OF THE DOCUMENT IN ANY WAY CHANGE YOUR MIND ABOUT THAT?

10:41AM   21       A.    NO, NOT WHEN PFIZER'S LOGO IS ON THE PAGE.

10:41AM   22       Q.    OKAY.   AND YOU DO NOT MAKE REFERENCE TO THE PFIZER REPORT

10:41AM   23       ITSELF IN THE RDV APPROVAL DOCUMENT.

10:42AM   24             WHY IS THAT?

10:42AM   25       A.    BECAUSE WE THOUGHT IT WAS ONE OF MANY PHARMACEUTICAL



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 94
                                                                               95 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4996


10:42AM    1       COMPANIES THAT THEY WORKED WITH.         IT WAS, IT WAS THE TOTALITY

10:42AM    2       OF DOING WORK FOR 10 OUT OF THE 15 LARGEST PHARMACEUTICAL

10:42AM    3       COMPANIES THAT WE RELIED ON, THAT THEIR ANALYZER HAD BEEN

10:42AM    4       TESTED AND WORKED FOR THOSE COMPANIES IN THEIR CLINICAL TRIALS.

10:42AM    5       Q.     AND IF IT WERE THE CASE THAT THESE WERE NOT THE

10:42AM    6       CONCLUSIONS OF PFIZER, WOULD THAT HAVE BEEN RELEVANT TO YOU?

10:42AM    7       A.     YES.

10:42AM    8       Q.     OKAY.    HOW SO?

10:42AM    9       A.     WE, WE WANTED -- THERE'S, THERE'S A COUPLE OF THINGS THAT

10:42AM   10       WE REALLY RELIED ON, AND ONE OF THE BIGGEST THINGS WAS THE FACT

10:42AM   11       THAT THIRD PARTY PHARMACEUTICAL COMPANIES AND THE GOVERNMENT

10:42AM   12       WAS USING THE ANALYZER IN THE FIELD.

10:42AM   13                      MR. WADE:    YOUR HONOR, MOVE TO STRIKE UNDER 602 FOR

10:42AM   14       THE ISSUES REFERRED TO PREVIOUSLY.

10:43AM   15              (PAUSE IN PROCEEDINGS.)

10:43AM   16                      THE COURT:   PARDON ME.   IT APPEARS THAT SOMEONE MAY

10:43AM   17       BE TAKING PHOTOGRAPHS.

10:43AM   18              LET'S TAKE OUR BREAK NOW.      LET'S TAKE OUR BREAK, LADIES

10:43AM   19       AND GENTLEMEN.      I'M GOING TO TAKE A 30 MINUTE BREAK AND WE'LL

10:43AM   20       COME BACK IN 30 MINUTES.

10:43AM   21                      MR. LEACH:   THANK YOU, YOUR HONOR.

10:43AM   22              (JURY OUT AT 10:43 A.M.)

10:44AM   23                      THE COURT:   YOU CAN STAND DOWN, MS. PETERSON.      THANK

10:44AM   24       YOU.

10:44AM   25              PLEASE BE SEATED, LADIES AND GENTLEMEN.



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 95
                                                                               96 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4997


10:44AM    1                   ALL RIGHT.    THANK YOU.    THE RECORD SHOULD REFLECT

10:44AM    2       THAT OUR JURY HAS LEFT, THE WITNESS HAS LEFT THE COURTROOM.

10:44AM    3             A GENTLEMAN WHO IS STANDING BY THE BACK DOOR THERE, SIR,

10:44AM    4       WHY DON'T YOU JUST COME UP TO THE FRONT HERE, IF YOU WOULD,

10:44AM    5       PLEASE.

10:44AM    6             THANK YOU.    YOU CAN STAND THERE.

10:45AM    7             SIR, IT COMES TO MY ATTENTION THAT YOU TOOK A PHOTOGRAPH

10:45AM    8       INSIDE OF THIS COURTROOM, AND MY COURTROOM DEPUTY INFORMS ME

10:45AM    9       THAT SHE TALKED WITH YOU ABOUT THIS AND THAT SHE ASKED YOU TO

10:45AM   10       DELETE THE PHOTOGRAPH.

10:45AM   11             IS THAT WHAT HAPPENED, SIR?

10:45AM   12                   GENTLEMAN WITH PHONE:      THAT'S CORRECT.

10:45AM   13                   THE COURT:    SIR, DID YOU SEE THE SIGNS OUT FRONT OF

10:45AM   14       THE COURTHOUSE HERE AND THE COURTROOM?

10:45AM   15                   GENTLEMAN WITH PHONE:      I DID NOT.    I APOLOGIZE.

10:45AM   16                   THE COURT:    THERE'S A SIGN THERE.      I'LL INVITE YOUR

10:45AM   17       ATTENTION TO IT, SIR.      IT INDICATES THAT THERE IS NO RECORDING,

10:45AM   18       NOR IS THERE PHOTO PHOTOGRAPHY OR VIDEO RECORDING OF THESE

10:45AM   19       PROCEEDINGS OF ANY, ANY TYPE.

10:45AM   20             DO YOU UNDERSTAND THAT, SIR?

10:45AM   21                   GENTLEMAN WITH PHONE:      I DO.

10:45AM   22                   THE COURT:    DO YOU HAVE ANY QUESTION ABOUT THAT THAT

10:45AM   23       YOU WANT TO ASK ME ABOUT?

10:45AM   24                   GENTLEMAN WITH PHONE:      NO, YOUR HONOR.    THANK YOU.

10:45AM   25                   THE COURT:    SIR, IT'S NOT PERMITTED, AND YOU MAY NOT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 96
                                                                               97 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4998


10:45AM    1       DO THAT.

10:45AM    2             IF IT COMES TO MY ATTENTION AGAIN, I'LL HAVE TO TAKE SOME

10:45AM    3       ACTION.    I WON'T, BUT I'LL SUMMON THE PEOPLE WHO ARE

10:45AM    4       RESPONSIBLE.    THEY'RE CALLED THE UNITED STATES MARSHAL, AND

10:46AM    5       THEY'LL TAKE WHATEVER ACTION THAT THEY FEEL APPROPRIATE.

10:46AM    6             DO YOU UNDERSTAND THAT, SIR?

10:46AM    7                   GENTLEMAN WITH PHONE:      UNDERSTOOD.

10:46AM    8                   THE COURT:    ALL RIGHT.    THANK YOU VERY MUCH, SIR.

10:46AM    9             ANYTHING FURTHER BEFORE WE TAKE OUR BREAK?

10:46AM   10                   MR. DOWNEY:    NOT FROM US, YOUR HONOR.

10:46AM   11                   MR. LEACH:    NO, YOUR HONOR.

10:46AM   12                   THE COURT:    ALL RIGHT.    THANK YOU.

10:46AM   13             (RECESS FROM 10:46 A.M. UNTIL 11:22 A.M.)

11:23AM   14             (JURY IN AT 11:23 A.M.)

11:23AM   15                   THE COURT:    PLEASE BE SEATED.     WE'RE BACK ON THE

11:23AM   16       RECORD.    OUR JURY IS PRESENT.

11:23AM   17             COUNSEL AND MS. HOLMES ARE PRESENT.

11:23AM   18             THE WITNESS IS BACK ON THE STAND.

11:23AM   19             MR. WADE -- EXCUSE ME, MR. LEACH, DO YOU WANT TO CONTINUE

11:23AM   20       WITH YOUR EXAMINATION?

11:23AM   21                   MR. LEACH:    BRIEFLY, YOUR HONOR.      THANK YOU.

11:23AM   22                   THE COURT:    THERE WAS A PENDING OBJECTION BEFORE WE

11:23AM   23       WERE INTERRUPTED.     IT WAS BY MR. WADE ON 602 GROUNDS IN

11:23AM   24       RESPONSE TO THE QUESTION.

11:23AM   25             THE QUESTION WAS ASKING A FOLLOW-UP QUESTION OF HOW SO,



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 97
                                                                               98 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          4999


11:24AM    1       THAT IS, THIS -- MS. PETERSON'S COMMENT ON PHARMACEUTICAL

11:24AM    2       COMPANIES.

11:24AM    3             I'M GOING TO OVERRULE THE OBJECTION.        SHE CAN ANSWER THE

11:24AM    4       QUESTION.

11:24AM    5             WHY DON'T YOU ASK THE QUESTION AGAIN, MR. LEACH.

11:24AM    6       BY MR. LEACH:

11:24AM    7       Q.    I BELIEVE WE WERE ASKING QUESTIONS, MS. PETERSON, ABOUT

11:24AM    8       THE PFIZER REPORT AS YOU UNDERSTOOD IT AND WHAT WAS MEANINGFUL

11:24AM    9       TO YOU IN CONNECTION WITH CONSIDERATION OF THE INVESTMENT, AND

11:24AM   10       IF YOU CAN JUST EXPLAIN YOUR THINKING FOR US, PLEASE?

11:24AM   11       A.    SURE.   THE PFIZER REPORT IN THERE WAS IMPORTANT -- WAS

11:24AM   12       VERY IMPORTANT TO US, BUT IT ALSO WAS ONE OF MANY THAT WE WERE

11:24AM   13       RELYING ON.

11:24AM   14             THE STATEMENT OF THEY WORKED FOR 10 OF THE TOP 15 WAS

11:24AM   15       SUPER IMPORTANT TO US.      IT LENDED CREDIBILITY TO THE ANALYZER

11:24AM   16       WORKING, AND IT WAS AN OUTSIDE INDEPENDENT THIRD PARTY THAT HAD

11:24AM   17       DONE WORK WITH THE ANALYZER AND THAT IT WORKED.

11:25AM   18       Q.    YOU ALSO WERE ASKED QUESTIONS ABOUT A COMPANY CALLED BDT.

11:25AM   19             DO YOU REMEMBER BEING ASKED ABOUT BDT?

11:25AM   20       A.    YES.

11:25AM   21       Q.    AND WHAT IS BDT AGAIN?

11:25AM   22       A.    BDT IS A PRIVATE EQUITY FIRM RUN BY BYRON TROTT.

11:25AM   23       Q.    DO YOU KNOW WHETHER BDT INVESTED IN THERANOS?

11:25AM   24       A.    NO.

11:25AM   25       Q.    DO YOU KNOW WHETHER BDT EVER CONSIDERED MAKING AN



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 98
                                                                               99 of
                                                                                  of 285
                                                                                     286
                   PETERSON REDIRECT BY MR. LEACH                                          5000


11:25AM    1       INVESTMENT IN THERANOS?

11:25AM    2       A.    YES, THEY DID.

11:25AM    3       Q.    AND YOU WERE ALSO ASKED SOME QUESTIONS ABOUT WHETHER OR

11:25AM    4       NOT YOU VISITED A WALGREENS.

11:25AM    5             DO YOU RECALL BEING ASKED THOSE QUESTIONS?

11:25AM    6       A.    YES.

11:25AM    7       Q.    AND I UNDERSTOOD YOUR ANSWER YOU'RE IN MICHIGAN AND YOU

11:25AM    8       DID NOT TRAVEL TO ARIZONA TO VISIT ONE OF THE WALGREENS STORES

11:25AM    9       THERE?

11:25AM   10       A.    NO.    CORRECT.     AND WE ALSO HAD GONE INTO THE WELLNESS

11:25AM   11       CENTER AT THE BUILDING AND PRETTY MUCH GOT THE FEEL FOR WHAT IT

11:25AM   12       WAS, YES.

11:25AM   13       Q.    OKAY.

11:25AM   14             MAY I APPROACH, YOUR HONOR?

11:25AM   15                     THE COURT:    YES.

11:26AM   16                     MR. WADE:    (HANDING.)

11:26AM   17       Q.    MS. PETERSON, I'VE PLACED BEFORE YOU WHAT WE HAVE MARKED

11:26AM   18       AS EXHIBIT 2065.

11:26AM   19             DO YOU HAVE THAT IN FRONT OF YOU?

11:26AM   20       A.    WHAT YOU JUST HANDED ME?

11:26AM   21       Q.    YES.

11:26AM   22             DO YOU SEE UP AT THE TOP THAT THIS APPEARS TO BE AN EMAIL

11:26AM   23       FROM CHRISTIAN HOLMES TO SUNNY BALWANI AND ELIZABETH HOLMES?

11:26AM   24       A.    YES.

11:26AM   25       Q.    AND DO YOU SEE THE SUBJECT LINE WITH A REFERENCE TO BDT



                                        UNITED STATES COURT REPORTERS
               Case:
                Case 22-10312, 04/25/2023,
                     5:18-cr-00258-EJD     ID: 12702996,
                                        Document   1281 DktEntry: 36-18, Page
                                                         Filed 01/18/22  Page 100
                                                                              99 ofof285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5001


11:26AM    1       AND WAG?

11:26AM    2       A.    YES.

11:26AM    3       Q.    AND IN YOUR EXPERIENCE, IS WAG AN ACRONYM FOR WALGREENS?

11:26AM    4       A.    YES.

11:26AM    5       Q.    AND THE DATE OF THIS IS OCTOBER 10TH, 2014.

11:26AM    6             IS THAT IN THE MONTH WHEN, WHEN RDV WAS CONSIDERING AN

11:27AM    7       INVESTMENT DECISION?

11:27AM    8       A.    YES.

11:27AM    9                    MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 2065 INTO

11:27AM   10       EVIDENCE.

11:27AM   11                    MR. WADE:    YOUR HONOR, I DON'T SEE ANY FOUNDATION OR

11:27AM   12       RELEVANCE TO THIS DOCUMENT FROM THIS WITNESS, AND HEARSAY.

11:27AM   13             (PAUSE IN PROCEEDINGS.)

11:27AM   14                    THE COURT:    CAN YOU LAY A LITTLE MORE FOUNDATION ON

11:27AM   15       THIS, AND TELL ME HOW IT RELATES TO THE REDIRECT AGAIN.

11:27AM   16                    MR. LEACH:    YOUR HONOR, THIS WITNESS WAS ASKED

11:27AM   17       QUESTIONS ABOUT WHETHER OR NOT RDV VISITED A WALGREENS IN THIS

11:27AM   18       TIME PERIOD.     THIS RELATES TO ANOTHER POTENTIAL INVESTOR IN THE

11:27AM   19       SAME TIME PERIOD.

11:27AM   20             IT'S NOT HEARSAY BECAUSE IT'S A STATEMENT OF AN AGENT.

11:27AM   21             IT'S ALSO 801(D)(2)(E), AND I THINK MR. EDLIN LAID A

11:28AM   22       FOUNDATION UNDER THE BUSINESS RECORD EXCEPTION.

11:28AM   23             I ALSO OFFER IT FOR THE NONHEARSAY PURPOSE FOR STATE OF

11:28AM   24       MIND TO THE RECIPIENT.

11:28AM   25             AND IT RELATES TO -- THE QUESTIONS WERE ASKED ABOUT THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 100
                                                                               101 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5002


11:28AM    1       DILIGENCE AND WHAT SHE DID AND DIDN'T DO, AND THIS TOUCHES ON

11:28AM    2       THAT.

11:28AM    3                    MR. WADE:    YOUR HONOR, I HATE TO DO THIS RIGHT AFTER

11:28AM    4       THE BREAK, BUT THIS IS THE FIRST THAT WE HAVE SEEN OF THIS

11:28AM    5       DOCUMENT.    I WOULD ASK FOR A SIDE-BAR ON THIS ISSUE BEFORE WE

11:28AM    6       GO INTO THIS.

11:28AM    7                    THE COURT:    ALL RIGHT.   LET'S -- CAN YOU CONTINUE

11:28AM    8       YOUR EXAMINATION WITHOUT REFERENCE TO THIS DOCUMENT RIGHT NOW?

11:28AM    9                    MR. LEACH:    I CAN, YOUR HONOR, YES.

11:28AM   10                    THE COURT:    THANK YOU.   I APPRECIATE THAT.

11:28AM   11             AND THEN WE'LL REVISIT THIS.

11:28AM   12                    MR. LEACH:    OKAY.

11:28AM   13       Q.    AND YOU UNDERSTOOD IN THIS TIMEFRAME THAT BDT WAS ALSO

11:28AM   14       CONSIDERING AN INVESTMENT IN THERANOS?

11:28AM   15       A.    YES.

11:28AM   16       Q.    AND HOW DID YOU GET THAT UNDERSTANDING?

11:28AM   17       A.    MY BOSS HAD LET ME KNOW THAT THEY WERE LOOKING AT IT.

11:28AM   18       Q.    LET ME SHIFT TOPICS.      LAST TOPIC OF EXAMINATION,

11:29AM   19       MS. PETERSON.

11:29AM   20             YOU WERE ASKED SOME QUESTIONS ABOUT YOUR APPROVAL

11:29AM   21       DOCUMENT, EXHIBIT 2166.

11:29AM   22             IF WE CAN PLEASE -- WHICH IS IN EVIDENCE.         IF WE CAN

11:29AM   23       PLEASE CALL THAT UP, MS. HOLLIMAN.        IF WE CAN GO TO PAGE 6.

11:29AM   24             ACTUALLY, IF WE CAN PLEASE GO TO THE NEXT PAGE,

11:29AM   25       MS. HOLLIMAN.     PAGE 7 OF THE DOCUMENT.      EXCUSE ME.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 101
                                                                               102 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                        5003


11:29AM    1                     JUROR:   YOUR HONOR, IT'S NOT ON.

11:29AM    2                     THE CLERK:      THAT ONE IS OUT AGAIN?

11:29AM    3             I'M GOING TO SHUT DOWN AND RESTART.

11:30AM    4             (PAUSE IN PROCEEDINGS.)

11:30AM    5                     THE CLERK:      THE MONITOR IS ON, BUT IT'S NOT

11:30AM    6       PROJECTING.     IT'S BEYOND MY CONTROL.

11:30AM    7                     THE COURT:      OH, BROTHER.

11:30AM    8                     MR. LEACH:      YOUR HONOR, I CAN TRY TO CONTINUE MY

11:31AM    9       EXAMINATION WITHOUT THE DOCUMENT ON THE SCREEN, AND PERHAPS

11:31AM   10       DURING THE SIDE-BAR WE CAN WORK OUT THE TECHNICAL ISSUES.

11:31AM   11                     THE COURT:      WE'LL TRY TO FIGURE IT OUT.   I DON'T

11:31AM   12       KNOW IF YOU HAVE THIS AVAILABLE FOR USE ON THE ELMO OR IF YOU

11:31AM   13       WANT TO GO THAT FAR.

11:31AM   14             OKAY.

11:31AM   15       BY MR. LEACH:

11:31AM   16       Q.    MS. PETERSON, DO YOU HAVE EXHIBIT 2166 IN FRONT OF YOU?

11:31AM   17       A.    IT'S ON THE SCREEN AT THIS POINT.

11:31AM   18       Q.    OKAY.    I THINK SOME OF THE JURORS DON'T HAVE IT, SO LET'S

11:31AM   19       WORK FROM THE HARD COPY IF WE CAN?

11:31AM   20       A.    OKAY.    YES.    YES.

11:31AM   21       Q.    THIS IS ENTITLED RDV APPROVAL DOCUMENT.

11:31AM   22             WHY DID YOU PREPARE THIS?

11:31AM   23       A.    WE PREPARE THESE FOR EVERY INVESTMENT THAT WE DO.          WE NEED

11:31AM   24       TO HAVE THIS COMPLETED BEFORE WE CAN WIRE THE MONEY AND CLOSE

11:31AM   25       THE DOCUMENTS.



                                          UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 102
                                                                               103 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5004


11:31AM    1       Q.    IS THIS AN IMPORTANT PART OF YOUR PROCESS?

11:31AM    2       A.    YES.

11:31AM    3       Q.    AND IS IT IMPORTANT, WHEN PREPARING THIS, TO MEMORIALIZE

11:31AM    4       WHAT YOU UNDERSTOOD ARE THE SALIENT FACTS RELATING TO THE

11:31AM    5       INVESTMENT?

11:31AM    6       A.    CORRECT.    IT PUTS IT IN WRITING.

11:31AM    7       Q.    HALFWAY DOWN THE LINE THERE'S A RECOMMENDATION AND IT SAYS

11:32AM    8       R&D INVESTMENT GROUP RECOMMENDS A $100 MILLION INVESTMENT IN

11:32AM    9       THE EQUITY OF THERANOS.

11:32AM   10             DO YOU SEE THAT LANGUAGE?

11:32AM   11       A.    YES.

11:32AM   12       Q.    AND WHAT IS THE RDV INVESTMENT GROUP?

11:32AM   13       A.    THAT'S THE GROUP THAT I WORK FOR.

11:32AM   14       Q.    AND SO THE GROUP THAT INCLUDES YOU?

11:32AM   15       A.    YES.

11:32AM   16       Q.    OKAY.

11:32AM   17             I HAVE NOTHING FURTHER BEYOND EXHIBIT 2065, YOUR HONOR.

11:32AM   18                     THE COURT:   OKAY.   WELL, LET'S TAKE THAT UP BEFORE

11:32AM   19       WE -- LET ME -- WHY DON'T WE HAVE -- I THINK IT WOULD BE MORE

11:32AM   20       EFFICIENT TO HAVE A SIDE-BAR IN THE JURY ROOM.          SO WE'LL TAKE

11:32AM   21       JUST A MOMENT.

11:32AM   22             LADIES AND GENTLEMEN, I NEED TO SPEAK WITH THE LAWYERS

11:32AM   23       OUTSIDE OF YOUR PRESENCE, SO WE'LL DO THAT.          THIS WON'T TAKE

11:32AM   24       LONG.

11:32AM   25             MS. PETERSON, IF YOU COULD JUST REMAIN THERE, PLEASE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 103
                                                                               104 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5005


11:32AM    1                    THE WITNESS:    OKAY.

11:32AM    2                    THE COURT:    WHILE WE'RE GONE, PLEASE DO NOT DISCUSS

11:32AM    3       AMONGST YOURSELVES, LADIES AND GENTLEMEN OF THE JURY, ANYTHING.

11:32AM    4             YOU CAN STAND AND STRETCH, OF COURSE, BUT DO NOT DISCUSS

11:32AM    5       ANYTHING ABOUT THIS CASE.

11:33AM    6             AND I'LL SEE COUNSEL IN THE BACK JUST NOW.

11:33AM    7             (SIDE-BAR CONFERENCE ON THE RECORD.)

11:51AM    8                    THE COURT:    OKAY.   LET'S GO ON THE RECORD.

11:51AM    9             WE'RE OUTSIDE OF THE PRESENCE OF THE JURY.         MR. LEACH IS

11:51AM   10       PRESENT.    MR. WADE IS PRESENT.

11:51AM   11             THIS IS IN REGARDS TO 2065, WHICH IS -- IT LOOKS LIKE IT'S

11:51AM   12       AN EMAIL STRING.

11:51AM   13             MR. LEACH?

11:51AM   14                    MR. LEACH:    YOUR HONOR, DURING MS. PETERSON'S

11:51AM   15       CROSS-EXAMINATION, THE DEFENSE ASKED A NUMBER OF QUESTIONS

11:51AM   16       ABOUT WHETHER RDV WENT TO A WALGREENS AS PART OF DUE DILIGENCE

11:51AM   17       AND WHETHER IT WOULD HAVE LEARNED THAT THERE WERE DEVICES IN

11:51AM   18       THE STORES OR HOW THE BLOOD WAS DRAWN BY GOING TO A WALGREENS.

11:51AM   19             THIS COMMUNICATION, WHICH IS CONTEMPORANEOUS, SUGGESTS

11:51AM   20       THAT FOLKS WITHIN THERANOS WERE MAKING ARRANGEMENTS FOR WHAT

11:51AM   21       SHOULD HAPPEN IF ANOTHER INVESTOR WENT INTO WALGREENS AND

11:51AM   22       TAKING STEPS TO CONCEAL THAT THERE WERE VENOUS DRAWS BEING

11:51AM   23       DONE.

11:51AM   24             THIS IS NOT HEARSAY.      CHRISTIAN HOLMES IS AN AGENT OF

11:51AM   25       ELIZABETH HOLMES.     HE REPORTS DIRECTLY TO HER.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 104
                                                                               105 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5006


11:51AM    1             IT IS ALSO A, WE WOULD ARGUE, A STATEMENT OF A

11:51AM    2       COCONSPIRATOR IN FURTHERANCE OF THE CONSPIRACY.

11:51AM    3             THERE'S NO ISSUE WITH AUTHENTICATION.        WE STIPULATED THAT

11:51AM    4       THE DOCUMENTS WITH THE TS BATES PREFIX ARE AUTHENTIC.

11:51AM    5             I THINK THIS IS -- IN ADDITION, DAN EDLIN LAID A

11:51AM    6       FOUNDATION FOR THE USE OF EMAIL TO COORDINATE DEMOS, SO I THINK

11:51AM    7       THERE'S A BUSINESS RECORDS EXCEPTION.

11:51AM    8             FINALLY, WE WOULD OFFER IT FOR MS. HOLMES'S KNOWLEDGE OF

11:51AM    9       WHAT WOULD HAPPEN IF AN INVESTOR WENT INTO WALGREENS TO TRY TO

11:51AM   10       GET THEIR BLOOD TESTED.

11:51AM   11             THERE'S A LINE IN HERE THAT SAYS ASSUMPTIONS HERE ARE FROM

11:51AM   12       EAH, THAT'S ELIZABETH HOLMES, SO THAT WE MUST NOT DO A VENOUS

11:51AM   13       DRAW FOR THIS VERY IMPORTANT INVESTOR.

11:51AM   14             I THINK IT'S DIRECTLY RELEVANT TO THE DILIGENCE THAT RDV

11:51AM   15       IS BEING ACCUSED OF NOT DOING, AND IT SHOULD COME IN AT THIS

11:51AM   16       TIME.

11:51AM   17                    THE COURT:    THANK YOU.   WHO WAS THE -- WHO, AS TO

11:51AM   18       THE 801(D)(2)(E), WHO IS THE COCONSPIRATOR?          THIS IS FROM

11:51AM   19       CHRISTIAN HOLMES AND HE'S NOT A COCONSPIRATOR.          HE'S NOT IN THE

11:51AM   20       INDICTMENT ANYWAY.

11:51AM   21                    MR. LEACH:    HE'S NOT IN THE INDICTMENT, YOUR HONOR,

11:51AM   22       BUT THAT DOESN'T MEAN THE EXCEPTION CAN'T APPLY TO HIM.

11:51AM   23             BUT HE'S ALSO AN AGENT.

11:51AM   24                    MR. WADE:    A FEW POINTS.    ONE, THIS IS WELL OUTSIDE

11:51AM   25       OF THE SCOPE OF CROSS.      THEY TESTIFIED THAT THEY DIDN'T GO TO A



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 105
                                                                               106 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5007


11:51AM    1       WALGREENS.

11:51AM    2             THE IDEA THAT THAT SOMEHOW OPENS THE DOOR ON REDIRECT AS

11:51AM    3       TO ANYTHING THAT EVER HAPPENED WITHIN A WALGREENS WITH RESPECT

11:51AM    4       TO ANYONE I THINK IS, YOU KNOW, IS WAY OUTSIDE OF THE SCOPE OF

11:51AM    5       THE DIRECT.    THIS IS THE FIRST THAT WE HAVE HEARD OF THE

11:51AM    6       DOCUMENT.    IT OPENS UP A WHOLE NEW SET OF ISSUES THROUGH THIS

11:51AM    7       WITNESS, AND IT WOULD REQUIRE EXPLORATION.

11:51AM    8             IT'S ALSO -- THE 801(D)(2)(E) EXCEPTION DOESN'T -- SO IT'S

11:51AM    9       NOT APPROPRIATE FOR THIS WITNESS.

11:51AM   10             I CAN SORT OF PARK THAT THERE BECAUSE NOW ALL OF A SUDDEN

11:51AM   11       WE HAVE SOME WHOLE NEW ISSUE THAT IS WELL OUTSIDE OF THE SCOPE

11:51AM   12       OF ANY OF THE EXAMINATION THAT, YOU KNOW, I DON'T EVEN KNOW

11:51AM   13       WHAT TO DO.

11:51AM   14             WE DIDN'T HAVE NOTICE THAT THIS MIGHT COME IN.          WE ASK --

11:51AM   15       IF THE COURT IS GOING TO LET IT IN, WE WOULD ASK FOR THE COURT

11:51AM   16       TO TAKE A RECESS AND ALLOW US TO PREPARE TO CONFRONT THE

11:51AM   17       WITNESS ON THIS DOCUMENT BECAUSE WE'RE NOT PRESENTLY PREPARED

11:51AM   18       TO DO THAT.

11:51AM   19             THE 801(D)(2)(E) ISSUE, AS THE COURT WELL KNOWS, UNDER THE

11:51AM   20       COURT LOCAL RULES AND THE NEW RULES OF EVIDENCE, THERE IS A

11:51AM   21       NOTICE PROVISION THAT IS REQUIRED AND THIS WAS NOT NOTICED AS

11:51AM   22       801(D)(2)(E), AND I DON'T THINK THAT THEY CAN MAKE THE

11:51AM   23       THRESHOLD SHOWING TO DO THAT.

11:51AM   24             SO IT WOULD BE FUNDAMENTALLY UNFAIR TO DROP THIS INTO THIS

11:51AM   25       EXAMINATION AT THIS TIME.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 106
                                                                               107 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5008


11:51AM    1             I'LL ADD THAT WITH RESPECT TO BDT, THE WITNESS TESTIFIED

11:51AM    2       THAT SHE DIDN'T HAVE ANY INTERACTIONS WITH BDT ABOUT THERANOS.

11:51AM    3       SO A HEARSAY STATEMENT CAME IN RELATING TO THAT, BUT APART FROM

11:51AM    4       THAT, WHICH I CHOSE NOT TO OBJECT TO, BUT APART FROM THAT, SHE

11:51AM    5       HAS NO FIRSTHAND KNOWLEDGE OF ANYTHING RELATING TO BDT.

11:51AM    6             SO THERE ARE MULTIPLE LEVELS OF FACTS THAT IT WOULD BE

11:51AM    7       FUNDAMENTALLY UNFAIR TO DEAL WITH IT THROUGH THIS WITNESS.

11:51AM    8                    THE COURT:    MR. LEACH?

11:51AM    9                    MR. LEACH:    YOUR HONOR, THE DEFENSE INJECTED BDT

11:51AM   10       INTO THE CROSS-EXAMINATION.       THERE WAS 15 MINUTES OF CROSS

11:51AM   11       ABOUT HOW DID THIS INVESTMENT COME TO RDV'S ATTENTION.           DID YOU

11:51AM   12       GO TO THE CONFERENCE?      DID YOU KNOW THAT MS. HOLMES SPOKE AT

11:51AM   13       THE CONFERENCE?

11:51AM   14             THIS IS CONTEMPORANEOUS WITH THE RDV INVESTMENT AND RIGHT

11:51AM   15       AFTER THAT CONFERENCE.

11:51AM   16             SO -- AND THE SUGGESTION WAS MADE THAT IF RDV HAD BEEN

11:51AM   17       MORE DILIGENT, HAD THEY GONE TO A WALGREENS, THAT THEY WOULD

11:51AM   18       HAVE FIGURED OUT EVERYTHING THAT THERE IS TO KNOW ABOUT HOW THE

11:51AM   19       BLOOD WAS DRAWN AND VENOUS DRAWS, AND THIS WOULD SUGGEST THAT

11:51AM   20       DID NOT HAPPEN, AND IT WAS DIRECTLY RELEVANT TO THE

11:51AM   21       CROSS-EXAMINATION.

11:51AM   22             THIS IS REDIRECT, SO I'M NOT AWARE OF A NOTICE.          THIS HAS

11:51AM   23       BEEN ON OUR EXHIBIT LIST FOR SOME PERIOD OF TIME, AND I THINK

11:51AM   24       IT TIES DIRECTLY TO THE IMPLICATION THAT DEFENSE WAS TRYING TO

11:51AM   25       RAISE IN THE CROSS-EXAMINATION WITH THIS WITNESS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 107
                                                                               108 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5009


11:51AM    1                    MR. WADE:    WE ASKED WHETHER THEY WENT TO A

11:51AM    2       WALGREENS, AND SHE DID NOT.

11:51AM    3             THE IDEA THAT THEN ANYTHING THAT HAPPENS -- THAT OPENS THE

11:51AM    4       DOOR TO ANYTHING THAT THAT HAPPENS WITHIN A WALGREENS IS WELL

11:51AM    5       OUTSIDE OF THE SCOPE.

11:51AM    6             AGAIN, IF THE COURT DECIDES TO DO THAT, I WOULD JUST, FOR

11:51AM    7       THE RECORD, ASK FOR AN ADJOURNMENT FOR THE DAY SO THAT WE CAN,

11:51AM    8       SO WE CAN COME BACK.

11:51AM    9             IT'S NOT MY PREFERENCE, BUT THIS IS AN ISSUE THAT IS

11:51AM   10       TOTALLY UNRELATED TO THIS WITNESS, AND THE IDEA THAT WE WOULD

11:51AM   11       BE ON NOTICE BECAUSE IT'S AMONG THE, I DON'T KNOW, 10,000

11:51AM   12       DOCUMENTS THAT THEY PUT ON THEIR EXHIBIT LIST IS JUST NOT TRUE.

11:51AM   13                    THE COURT:    SO, MR. LEACH, YOU'D LIKE TO EXAMINE

11:51AM   14       THIS WITNESS ON THE ISSUE OF BDT BECAUSE MR. WADE DID ASK SOME

11:51AM   15       QUESTIONS ABOUT IT.       HE ASKED SOME QUESTIONS ABOUT WALGREENS.

11:51AM   16       THERE WAS THIS COLLOQUY ABOUT DO YOU SEE THE PHOTOGRAPH, AND

11:51AM   17       THEN SHE VOLUNTEERED.      I CAN'T REMEMBER IF I STRUCK IT OR NOT,

11:51AM   18       BUT SHE VOLUNTEERED, WELL, THAT'S NOT -- WE LOOKED AT THE -- WE

11:51AM   19       SAW THE LAB AS IT WAS SET UP WITH THE EDISON INSIDE OF

11:51AM   20       THERANOS.    SO THAT LINE OF QUESTIONING.

11:51AM   21             AND THIS, I'M JUST TRYING TO CAPTURE AGAIN, THE -- WHAT

11:51AM   22       YOU'RE ATTEMPTING TO DO ABOUT THIS WITH BDT, TO ASK THIS

11:51AM   23       WITNESS ABOUT BDT?

11:51AM   24                    MR. LEACH:    IT'S HONESTLY, IT'S AN APPROPRIATE TIME

11:51AM   25       TO ADMIT THE EXHIBIT BECAUSE IT RELATES TO THE SUBJECT MATTER



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 108
                                                                               109 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5010


11:51AM    1       OF THE CROSS-EXAMINATION.

11:51AM    2             I DON'T HAVE ADDITIONAL -- SIGNIFICANT ADDITIONAL

11:51AM    3       QUESTIONS OF THIS WITNESS BEYOND WHY YOU DIDN'T GO TO A

11:51AM    4       WALGREENS, DID YOU NONETHELESS KNOW ABOUT VENOUS DRAWS.

11:51AM    5             SO I DON'T HAVE MORE THAN THAT ON THIS PARTICULAR

11:51AM    6       DOCUMENT.    BUT THERE'S NO REASON THAT THIS DOCUMENT COULDN'T

11:51AM    7       COME IN NOW OR, FRANKLY, ANY OTHER TIME GIVEN THE STIPULATION

11:51AM    8       TO AUTHENTICITY AND THE ABSENCE OF A HEARSAY ISSUE.

11:51AM    9                    THE COURT:    THANK YOU.   SO IS THE, IS THE -- IS

11:51AM   10       THIS -- THIS SEEMS TO INDICATE THE PROTOCOL THAT IS USED FOR

11:51AM   11       VENOUS DRAWS AT THE WALGREENS, IS THAT WHAT THIS STATES?

11:51AM   12                    MR. LEACH:    YES.   IT'S AN INSTRUCTION ON WHAT

11:51AM   13       HAPPENS IF A BDT -- IF A REPRESENTATIVE OF BDT, A POTENTIAL

11:51AM   14       INVESTOR ASKS FOR A TEST THAT REQUIRES A VENOUS DRAW, AND

11:51AM   15       THERE'S SCENARIO 1 WITH A CASE A AND A CASE B; AND SCENARIO 2,

11:51AM   16       IF BDT ORDERS TESTS THAT CAN ALL BE DONE ON FINGERSTICK.

11:51AM   17             SO IT'S A ROAD MAP FOR THE FOLKS WITHIN THERANOS IF BDT

11:51AM   18       ORDERS A TEST REQUIRED OF VENOUS DRAW TO DO IT IN A WAY THAT

11:51AM   19       WON'T BRING TO ATTENTION THAT IT'S A VENOUS DRAW.

11:51AM   20                    THE COURT:    RIGHT.   OKAY.   I'M JUST CURIOUS ABOUT

11:51AM   21       THE TIMING UNDER THIS WITNESS, AND I KNOW THERE WAS

11:51AM   22       CONVERSATION ABOUT BDT AND ALL OF THAT.         I'M NOT CERTAIN THAT

11:51AM   23       THAT'S -- I GUESS THAT THE TIMING IS RIGHT TO GET THIS IN

11:51AM   24       THROUGH THIS WITNESS AT THIS TIME, NOTWITHSTANDING THE FACT

11:51AM   25       THAT THERE WAS BDT MENTIONED.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 109
                                                                               110 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5011


11:51AM    1             I DO SEE THAT IT LOOKS LIKE THAT THIS -- AT THE BOTTOM IT

11:51AM    2       SAYS IT'S FROM SUNNY BALWANI.

11:51AM    3             WHAT DOES THAT MEAN?

11:51AM    4                    MR. LEACH:    I THINK THE BOTTOM EMAIL IS FROM

11:51AM    5       SUNNY BALWANI, BUT THE TOP EMAIL WITH THE SUBSTANCE OF THE ROAD

11:51AM    6       MAP IS FROM CHRISTIAN HOLMES --

11:51AM    7                    THE COURT:    RIGHT.

11:51AM    8                    MR. LEACH:    -- TO SUNNY BALWANI AND MS. HOLMES.

11:51AM    9             AND ANOTHER RESPONSE TO THE HEARSAY IS THAT THIS GOES TO

11:51AM   10       HER STATE OF MIND AT THE TIME THAT SHE'S SOLICITING INVESTMENTS

11:51AM   11       FROM BOTH BDT AND RDV.

11:51AM   12                    MR. WADE:    YOUR HONOR, MIGHT I SUGGEST GIVEN WE HAVE

11:51AM   13       THE JURY HERE, I THINK THERE ARE OTHER ISSUES, JUST IN THE

11:51AM   14       INTEREST OF EFFICIENCY WITH THE TRIAL TIME, MR. MOSLEY IS GOING

11:51AM   15       TO TESTIFY.    THERE'S GOING TO BE A LOT OF DISCUSSION ABOUT BDT

11:51AM   16       WITH MR. MOSLEY.     I EXPECT THAT MR. MOSLEY IS GOING TO CARRY

11:51AM   17       OVER.

11:51AM   18             WHY DON'T WE WAIT AND RAISE THIS ISSUE, GIVE US A CHANCE

11:51AM   19       TO READ THIS AND GIVE IT SOME CONTEXT.

11:51AM   20             THE OTHER THING THAT CONCERNS ME SLIGHTLY WITH THIS,

11:51AM   21       YOUR HONOR, IS THAT IT BRINGS IN A WHOLE ANOTHER AREA OF

11:51AM   22       ISSUES, AND THERE'S A POTENTIAL MINI TRIAL ISSUE RELATING TO

11:51AM   23       BDT AS A POTENTIAL INVESTOR.

11:51AM   24             AND IF THE GOVERNMENT DECIDES THAT THEY WANT TO OPEN THE

11:51AM   25       DOOR WITH RESPECT TO CERTAIN BDT INTERACTIONS AS A POTENTIAL



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 110
                                                                               111 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5012


11:51AM    1       INVESTOR, THAT POTENTIALLY OPENS THE DOOR TO A WHOLE OTHER SET

11:51AM    2       OF EVIDENCE.

11:51AM    3              AND RATHER THAN DOING THIS ON THE FLY WHEN WE'RE TRYING TO

11:51AM    4       FINISH UP WITH A WITNESS WHO IS NOT NECESSARY FOR THE ADMISSION

11:51AM    5       OF THIS DOCUMENT, WHY DON'T WE CLOSE THIS WITNESS, KEEP GOING,

11:51AM    6       AND ADDRESS THIS ISSUE WHEN WE'RE NOT HOLDING A JURY OUTSIDE.

11:51AM    7                    THE COURT:    WELL, I APPRECIATE THAT.

11:51AM    8              BUT BDT WAS MENTIONED.     SO I UNDERSTAND THE TIMING OF IT.

11:51AM    9              MR. LEACH SAYS, WELL, THAT WAS MENTIONED.

11:51AM   10              IT COMES IN FOR NOT SO MUCH, AT LEAST AS I UNDERSTAND IT

11:51AM   11       NOW, FOR THE FLOW OF THIS WITNESS'S TESTIMONY BUT RATHER IT

11:51AM   12       COMES IN AS TO -- THIS EMAIL DOES TALK ABOUT WHAT EAH,

11:51AM   13       ELIZABETH HOLMES'S, PROTOCOL, AND WHAT SHE THINKS SHOULD HAPPEN

11:51AM   14       IN THAT.    IT'S INSTRUCTIVE FROM HER.

11:51AM   15              I UNDERSTAND WHY -- I THINK I UNDERSTAND WHY MR. LEACH

11:51AM   16       WOULD SEEK TO INTRODUCE IT NOW BECAUSE THE BDT WAS RAISED ON

11:51AM   17       YOUR EXAMINATION AND SUCH THAT THE JURY WOULD NOT HAVE -- WOULD

11:51AM   18       HAVE A FULL STORY ABOUT BDT AT LEAST AS TO THIS.

11:51AM   19              THE TIMING OF IT, THOUGH, IS -- THERE'S CONVERSATION ABOUT

11:51AM   20       BDT.

11:51AM   21              I COULD SEE HOW THIS WOULD COME IN.       AND LET ME JUST STATE

11:51AM   22       AS A SEPARATE NOTE, I HAVE BEEN TAKING NOTES ABOUT THE EVIDENCE

11:51AM   23       AND THE STATEMENTS FROM VARIOUS PARTIES.

11:51AM   24              I HAVE NOT -- YOU HAVE NOT ASKED ME TO MAKE A FINDING AS

11:51AM   25       TO WHETHER OR NOT A PRIMA FACIE CASE OF CONSPIRACY HAS BEEN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 111
                                                                               112 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                        5013


11:51AM    1       SHOWN SUCH THAT STATEMENTS CAN BE ENTERED.

11:51AM    2             I THINK THIS IS THE FIRST TIME THAT THAT HAS COME UP IN

11:51AM    3       THE TRIAL WHERE, MR. LEACH, YOU MENTIONED IT COULD COME IN AS A

11:51AM    4       STATEMENT OF A COCONSPIRATOR IN FURTHERANCE OF UNDER

11:51AM    5       801(D)(2)(E).

11:51AM    6             I'VE TAKEN NOTES.     I DON'T KNOW IF YOU WANT TO KNOW MY

11:51AM    7       OPINION ABOUT IT.     IT SEEMS TO ME THAT THERE HAS BEEN AT LEAST

11:51AM    8       FOR PRIMA FACIE SHOWING, IT SEEMS LIKE SOME OF THE STATEMENTS

11:51AM    9       AND THE EVIDENCE THAT HAS COME IN DOES ESTABLISH AT LEAST FOR

11:51AM   10       EVIDENTIARY PURPOSES A PRIMA FACIE CASE.

11:51AM   11             I DON'T KNOW IF YOU WANT TO COMMENT.        I'M NOT TRYING TO

11:51AM   12       TAKE US DOWN A SIDE ROAD BUT --

11:51AM   13                    MR. WADE:    I'D LIKE TO ADDRESS THAT MORE

11:51AM   14       THOUGHTFULLY, FRANKLY, YOUR HONOR, RATHER THAN DOING IT ON THE

11:51AM   15       FLY WITH RESPECT TO THIS ISSUE.

11:51AM   16             OF COURSE, THERE'S A NOTICE CONCERN THAT COMES WITH

11:51AM   17       801(D)(2)(E) --

11:51AM   18                    THE COURT:    RIGHT.

11:51AM   19                    MR. WADE:    -- THAT THE NORTHERN DISTRICT TAKES VERY

11:51AM   20       SERIOUSLY, AND I KNOW THE COURT DOES AS WELL.          THIS WAS NOT

11:51AM   21       NOTICED UNDER 801(D)(2)(E), AND THAT IS NOW ALSO A REQUIREMENT

11:51AM   22       UNDER THE FEDERAL RULES OF EVIDENCE.        THEY ACTUALLY -- THE

11:51AM   23       NORTHERN DISTRICT WAS ACTUALLY A LITTLE IN FRONT OF THE RULES

11:51AM   24       COMMITTEE ON THAT.

11:51AM   25             SO I THINK IT WOULD BE UNFAIR TO CONCLUDE ON THIS WITHOUT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 112
                                                                               113 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5014


11:51AM    1       NOTICE.    ARGUABLY IT'S EXCLUDABLE AS OFFERED UNDER THAT AS A

11:51AM    2       RESULT OF THE LACK OF NOTICE, BUT AT A MINIMUM, I WOULD LIKE TO

11:51AM    3       HAVE THE OPPORTUNITY TO ADDRESS THAT.

11:51AM    4             AGAIN, THIS WITNESS OFFERS NO TESTIMONY ON THIS.          BDT WAS

11:51AM    5       ADDRESSED, BUT IT WASN'T ADDRESSED IN CONNECTION WITH

11:51AM    6       WALGREENS.    IT WAS ADDRESSED IN CONNECTION WITH A CONFERENCE.

11:51AM    7       SHE DIDN'T HAVE ANY INTERACTIONS OR KNOWLEDGE OF BDT APART FROM

11:51AM    8       WHAT MR. LEACH JUST PULLED OUT ON REDIRECT, WHICH HE CAN'T OPEN

11:51AM    9       HIS OWN DOOR.

11:51AM   10             I ASKED QUESTIONS ABOUT WHETHER SHE HAD INTERACTIONS WITH

11:51AM   11       BDT OR WHETHER SHE KNEW ABOUT INTERACTIONS, WHETHER SHE WAS

11:51AM   12       THERE, AND HER ANSWER UNDER ALL OF THAT WAS NO.

11:51AM   13             SO I THINK IT'S A HUGE STRETCH TO PUT THIS IN.          IT DOESN'T

11:51AM   14       NEED TO COME IN NOW.      I'D LIKE THE OPPORTUNITY TO, YOU KNOW, TO

11:51AM   15       CONSIDER THIS AND ADDRESS THIS OUTSIDE OF THE CONTEXT GIVEN

11:51AM   16       THAT WE DIDN'T GET NOTICE AND IT'S BEING OFFERED AS A

11:51AM   17       COCONSPIRATOR EXCEPTION.

11:51AM   18                    THE COURT:    WELL, AMONGST OTHERS, BUT THERE ARE

11:51AM   19       OTHER REASONS WHY MR. LEACH PROFFERS THIS.         HE DID OFFER IT FOR

11:51AM   20       THAT PURPOSE.

11:51AM   21             BUT I DO -- I SEE SOME RELEVANCE AS TO THIS.         WHETHER OR

11:51AM   22       NOT TIMING IS APPROPRIATE NOW TO INTRODUCE IT -- YOU KNOW,

11:51AM   23       MR. LEACH, I'M GOING TO SUSTAIN THE OBJECTION AS TO THIS

11:51AM   24       WITNESS.    I JUST DON'T THINK THE TIMING IS RIGHT AND THE

11:51AM   25       FOUNDATION IS THERE TO GET THIS IN NOW.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 113
                                                                               114 of
                                                                                   of 285
                                                                                      286
                   PETERSON REDIRECT BY MR. LEACH                                       5015


11:51AM    1             I MADE MY COMMENTS ABOUT AT LEAST GENERALLY FINDING THE

11:51AM    2       EVIDENCE SHOWS BASED UPON TEXT MESSAGES, AND I DON'T HAVE ALL

11:51AM    3       OF MY NOTES HERE, BUT I'VE MADE NOTES ABOUT ASPECTS OF

11:51AM    4       CONVERSATIONS AND OTHERS THAT COULD SHOW A PRIMA FACIE CASE OF

11:51AM    5       A CONSPIRACY IN FURTHERANCE OF DURING THE CHARGING PERIOD,

11:51AM    6       WHICH WOULD THEN OPEN THE DOOR FOR OTHER HEARSAY STATEMENT OR

11:51AM    7       OTHER STATEMENTS OF THE PARTIES.        I JUST WANT TO LET YOU KNOW

11:51AM    8       THAT, AND I'M DOING THIS OUTSIDE OF THE PRESENCE OF THE JURY,

11:51AM    9       OF COURSE, JUST TO KEEP YOU APPRISED OF THAT.

11:51AM   10             BUT ALL OF THE NOTICE AND ALL OF THE OTHER RULES, OF

11:51AM   11       COURSE, APPLY.

11:51AM   12             BUT SINCE YOU RAISED IT, MR. LEACH, TALKING ABOUT THIS, I

11:51AM   13       THOUGHT I WOULD GIVE YOU AT LEAST THE BENEFIT OF MY THOUGHTS ON

11:51AM   14       THAT, RIGHT OR WRONG, BUT I JUST WANTED TO SHARE THAT WITH YOU.

11:51AM   15                    MR. LEACH:    THANK YOU, YOUR HONOR.

11:51AM   16                    THE COURT:    SO YOU CAN EXPLORE BDT.     IT WAS TALKED

11:51AM   17       ABOUT.

11:51AM   18             I JUST THINK GETTING THE DOCUMENT IN NOW THROUGH THIS

11:51AM   19       WITNESS IS NOT APPROPRIATE AT THIS TIME.

11:51AM   20             SO AT THIS TIME I'LL SUSTAIN THE OBJECTION.         I'LL DO IT

11:51AM   21       OUT THERE IN FRONT OF THE JURY.

11:51AM   22                    MR. LEACH:    OKAY.

11:51AM   23                    MR. WADE:    OKAY.    THANK YOU, YOUR HONOR.

11:51AM   24                    MR. LEACH:    THANK YOU, YOUR HONOR.

11:51AM   25             (END OF DISCUSSION AT SIDE-BAR.)



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 114
                                                                               115 of
                                                                                   of 285
                                                                                      286
                   PETERSON RECROSS BY MR. WADE                                         5016


11:52AM    1                     THE COURT:   ALL RIGHT.   THANK YOU FOR YOUR PATIENCE.

11:52AM    2       WE'RE BACK ON THE RECORD.

11:52AM    3             ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

11:52AM    4             AS TO THE OBJECTION, I'LL SUSTAIN THE OBJECTION AT THIS

11:52AM    5       TIME.    THANK YOU.

11:52AM    6             MR. LEACH, YOU CAN ASK ANY OTHER QUESTIONS THAT YOU HAVE.

11:52AM    7                     MR. LEACH:   I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

11:52AM    8       THANK YOU, MS. PETERSON.

11:52AM    9                     THE COURT:   ALL RIGHT.

11:52AM   10                     MR. WADE:    ONE OR TWO QUESTIONS, YOUR HONOR.

11:52AM   11       BRIEFLY.

11:52AM   12                                  RECROSS-EXAMINATION

11:52AM   13       BY MR. WADE:

11:52AM   14       Q.    MS. PETERSON, IF WE COULD JUST PULL UP BRIEFLY 14210.              I'M

11:53AM   15       SORRY, 1853.     EXHIBIT 1853, WHICH IS IN EVIDENCE.

11:53AM   16             DO YOU RECALL JUST BEING ASKED SOME QUESTIONS ABOUT THIS

11:53AM   17       ONCE AGAIN?

11:53AM   18       A.    YES.

11:53AM   19       Q.    AND I'M SORRY, CAN WE PULL THIS ONE DOWN.

11:53AM   20             DO WE -- I JUST WANT TO MAKE SURE THAT WE HAVE 1853 UP.

11:53AM   21             IS THAT CORRECT?

11:53AM   22             I'M SORRY.    I THOUGHT WE HAD THE WRONG DOCUMENT UP THERE

11:53AM   23       FOR A SECOND.

11:53AM   24             OKAY.    DO YOU RECALL BEING ASKED QUESTIONS ABOUT THIS

11:53AM   25       DOCUMENT?



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 115
                                                                               116 of
                                                                                   of 285
                                                                                      286
                   PETERSON RECROSS BY MR. WADE                                         5017


11:53AM    1       A.    YES.

11:53AM    2       Q.    AND I JUST WANT TO GO TO THE SECOND PAGE.         THIS RELATED --

11:53AM    3       I'M SORRY.     BACK TO THE FIRST PAGE FOR ONE SECOND.

11:53AM    4             AND THIS RELATED TO THE REVENUE PROJECTIONS OF 140 MILLION

11:53AM    5       FOR 2014.

11:53AM    6             DO YOU SEE THAT?

11:53AM    7       A.    YES.

11:53AM    8       Q.    OKAY.    I JUST WANT TO GO TO THE SECOND PAGE AGAIN.

11:53AM    9             AND DO YOU SEE THE DEFERRED REVENUE THAT YOU CIRCLED

11:53AM   10       THERE?

11:53AM   11       A.    YES.

11:53AM   12       Q.    AND THAT'S $168,808; CORRECT?

11:54AM   13       A.    YES.

11:54AM   14                     MR. WADE:    NO FURTHER QUESTIONS, YOUR HONOR.

11:54AM   15                     THE COURT:    MR. LEACH?

11:54AM   16                     MR. LEACH:    NOTHING FURTHER, YOUR HONOR.     THANK YOU.

11:54AM   17                     THE COURT:    MAY THIS WITNESS BE EXCUSED?

11:54AM   18                     MR. LEACH:    YES.

11:54AM   19                     MR. WADE:    YES, YOUR HONOR.

11:54AM   20                     THE COURT:    THANK YOU.

11:54AM   21             MS. PETERSON, YOU'RE EXCUSED.

11:54AM   22             DOES THE UNITED STATES HAVE ANOTHER WITNESS?

11:55AM   23                     MR. SCHENK:   YES, YOUR HONOR.

11:55AM   24             THE UNITED STATES CALLS CONSTANCE CULLEN.

11:55AM   25                     THE COURT:    GOOD MORNING.   IF YOU COULD APPROACH OUR



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 116
                                                                               117 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5018


11:55AM    1       COURTROOM DEPUTY.     AND AS YOU FACE HER, IF YOU'D RAISE YOUR

11:55AM    2       RIGHT HAND, SHE HAS A QUESTION FOR YOU.

11:55AM    3             (GOVERNMENT'S WITNESS, CONSTANCE CULLEN, WAS SWORN.)

11:55AM    4                    THE WITNESS:    YES.

11:55AM    5                    THE COURT:    LET ME INVITE YOU TO HAVE A SEAT UP HERE

11:55AM    6       AND MAKE YOURSELF COMFORTABLE.

11:55AM    7             FEEL FREE TO ADJUST THE CHAIR AND MICROPHONE AS YOU NEED.

11:55AM    8       THERE'S SOME FRESH WATER THERE FOR YOUR CONVENIENCE IF YOU

11:55AM    9       WISH.

11:55AM   10                    THE WITNESS:    THANK YOU.

11:55AM   11                    THE COURT:    WHEN YOU ARE COMFORTABLE, IF WOULD YOU

11:55AM   12       PLEASE STATE YOUR NAME AND SPELL IT, PLEASE.          I'LL ENCOURAGE

11:55AM   13       YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

11:55AM   14                    THE WITNESS:    YES.   MY NAME IS CONSTANCE CULLEN.

11:55AM   15       C-O-N-S-T-A-N-C-E.      C-U-L-L-E-N.

11:56AM   16                    THE COURT:    THANK YOU.

11:56AM   17             MR. SCHENK.

11:56AM   18                    MR. SCHENK:    THANK YOU, YOUR HONOR.

11:56AM   19                                  DIRECT EXAMINATION

11:56AM   20       BY MR. SCHENK:

11:56AM   21       Q.    DR. CULLEN, IF YOU ARE FULLY VACCINATED AND WITH THE

11:56AM   22       COURT'S PERMISSION, YOU MAY TESTIFY WITHOUT A MASK ON IF YOU'RE

11:56AM   23       COMFORTABLE.

11:56AM   24       A.    YES.

11:56AM   25       Q.    THANK YOU.    I WILL DO THE SAME.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 117
                                                                               118 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5019


11:56AM    1             DID YOU USED TO WORK FOR A COMPANY CALLED SCHERING-PLOUGH?

11:56AM    2       A.    YES.

11:56AM    3       Q.    AND WHEN YOU WORKED THERE, DID YOU HAVE THE OPPORTUNITY TO

11:56AM    4       WORK WITH ANOTHER COMPANY CALLED THERANOS?

11:56AM    5       A.    YES.

11:56AM    6       Q.    DO YOU REMEMBER ABOUT WHAT YEAR THAT WAS?

11:56AM    7       A.    YES.    IT WAS 2009.

11:56AM    8       Q.    WOULD YOU MIND PULLING THE MICROPHONE A LITTLE BIT CLOSER

11:56AM    9       TO YOU?

11:56AM   10       A.    SURE.    IT WAS 2009.

11:56AM   11       Q.    THANK YOU.    WE'LL COME BACK TO THAT IN JUST A MOMENT.

11:56AM   12             WILL YOU SUMMARIZE YOUR EDUCATIONAL BACKGROUND, PLEASE,

11:56AM   13       FOR THE JURY?

11:56AM   14       A.    YES.    I HAVE A PH.D. IN MOLECULAR IMMUNOLOGY AND A

11:56AM   15       BACHELOR'S DEGREE IN MICROBIOLOGY.

11:56AM   16       Q.    THANK YOU.

11:56AM   17             AND WE KNOW YOU WORKED FOR SCHERING-PLOUGH.         WHEN WAS

11:56AM   18       THAT?    WHEN DID YOU WORK FOR SCHERING?

11:56AM   19       A.    I BEGAN WORKING FOR SCHERING-PLOUGH IN 1996, AND MY

11:57AM   20       SERVICE ENDED IN 2016.

11:57AM   21       Q.    FROM 1996 TO 2016?

11:57AM   22       A.    YES.

11:57AM   23       Q.    AND --

11:57AM   24       A.    I'M SORRY, I JUST WANTED TO CLARIFY.        SCHERING-PLOUGH WAS

11:57AM   25       ACQUIRED BY MERCK AT THE END OF 2009.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 118
                                                                               119 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5020


11:57AM    1       Q.    SO YOU'RE INCLUDING A PERIOD OF TIME WHEN YOU WERE DOING

11:57AM    2       THE SAME OR SIMILAR WORK, BUT NOW FOR A COMPANY CALLED MERCK?

11:57AM    3       A.    CORRECT.

11:57AM    4       Q.    I SEE.   MUCH OF YOUR TESTIMONY TODAY IS GOING TO FOCUS ON

11:57AM    5       THE TIMEFRAME FROM ABOUT 2009 TO 2010.

11:57AM    6             WOULD YOU TELL THE JURY WHAT YOU WERE DOING FOR

11:57AM    7       SCHERING-PLOUGH AND MERCK AT THAT TIME?

11:57AM    8       A.    YES.    I WAS THE DIRECTOR OF WHAT IS CALLED THE

11:57AM    9       BIOANALYTICAL LABORATORY.       SO MY LABORATORY WAS RESPONSIBLE FOR

11:57AM   10       DEVELOPING AND VALIDATING ASSAYS FOR MEASUREMENT OF DRUG

11:57AM   11       LEVELS, WHAT WE CALL BIOMARKERS, SO MARKERS OF DRUG EFFICACY

11:58AM   12       AND DRUG ANTIBODIES IN THE CASE OF DEVELOPMENT OF PROTEIN-BASED

11:58AM   13       THERAPEUTICS.

11:58AM   14       Q.    OKAY.    WOULD YOU MIND EXPLAINING THAT LAST PART?

11:58AM   15       PROTEIN-BASED, WHAT IS THAT?

11:58AM   16       A.    SO THERE ARE ESSENTIALLY TWO BASIC CATEGORIES OF DRUGS.

11:58AM   17       ONE IS REFERRED TO GENERALLY IN THE FIELD AS SMALL MOLECULES,

11:58AM   18       SO ASPIRIN IS THE CLASSIC EXAMPLE OF A SMALL MOLECULE DRUG.

11:58AM   19             THE OTHER CATEGORY OF DRUG IS WHAT WE CALL LARGE

11:58AM   20       MOLECULES, SO THOSE TEND TO BE PROTEIN-BASED MONOCLONAL

11:58AM   21       ANTIBODY.     A WELL-KNOWN EXAMPLE OF A PROTEIN-BASED DRUG WOULD

11:58AM   22       BE HUMIRA.

11:58AM   23       Q.    YOU ALSO DESCRIBED PART OF YOUR JOB BEING TO DETERMINE THE

11:58AM   24       EFFICACY OF DRUGS.

11:58AM   25             WHAT DOES THAT MEAN?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 119
                                                                               120 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5021


11:58AM    1       A.    SO ONE USES A VARIETY OF DIFFERENT MEASUREMENTS TO

11:58AM    2       DETERMINE WHETHER A DRUG IS WORKING IN THE PATIENT POPULATION

11:58AM    3       THAT IT IS BEING TESTED IN.

11:59AM    4             SOME OF THOSE TESTS ARE MEASURING THE ACTUAL DRUG LEVELS

11:59AM    5       IN PATIENT BLOOD SAMPLES OR MEASURING OTHER WELL-KNOWN

11:59AM    6       CHARACTERIZED MARKERS OF THEIR DISEASE STATE.

11:59AM    7       Q.    YOU SAID YOU BECAME FAMILIAR WITH A COMPANY CALLED

11:59AM    8       THERANOS.     WAS THAT AROUND THE 2009 TIMEFRAME?

11:59AM    9       A.    YES, IT WAS.

11:59AM   10       Q.    DO YOU REMEMBER THE CIRCUMSTANCES WHEN -- WHAT CAUSED YOU

11:59AM   11       TO BECOME FAMILIAR WITH THERANOS?

11:59AM   12       A.    SURE.   YES.   SO WITHIN SCHERING-PLOUGH MY BOSS HAD ASKED

11:59AM   13       ME TO EVALUATE THE TECHNOLOGY.       THIS WAS DONE AT THE REQUEST OF

11:59AM   14       THE HEAD OF OUR EARLY CLINICAL RESEARCH ORGANIZATION, AND THEY

11:59AM   15       WERE INTERESTED IN THIS TECHNOLOGY BECAUSE THE CLAIM WAS THAT

11:59AM   16       IT WOULD FACILITATE AND EXPEDITE TESTING OF DRUGS IN CLINICAL

11:59AM   17       TRIALS.

11:59AM   18       Q.    CAN WE FILL IN SOME NAMES.       YOU FIRST STARTED BY SAYING

12:00PM   19       YOUR BOSS.

12:00PM   20       A.    YES.

12:00PM   21       Q.    AND WHO IS THAT PERSON?

12:00PM   22       A.    HIS NAME IS STEVE FARRAND.

12:00PM   23       Q.    DO YOU MIND SPELLING THE LAST NAME FOR US, PLEASE?

12:00PM   24       A.    F-A-R-R-A-N-D.

12:00PM   25       Q.    OKAY.   AND I THINK IN YOUR DESCRIPTION YOU DESCRIBED



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 120
                                                                               121 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5022


12:00PM    1       ANOTHER INDIVIDUAL.      WHO WAS THAT?

12:00PM    2       A.    HIS NAME WAS JIM MCLEOD, M-C-C-L-E-O-D, I THINK.

12:00PM    3       Q.    OKAY.    AND WHAT WAS MR. MCLEOD'S ROLE AGAIN IN YOU

12:00PM    4       BECOMING INVOLVED IN THERANOS?

12:00PM    5       A.    YES.    SO HE WAS THE LEADER OF WHAT WE CALLED AN EARLY

12:00PM    6       CLINICAL RESEARCH AND EXPERIMENTAL MEDICINE GROUP.

12:00PM    7             SO THAT GROUP WAS CHARGED WITH THE EARLIEST CLINICAL

12:00PM    8       STUDIES, AND TO MAKE INITIAL ASSESSMENTS OF WHETHER OR NOT THE

12:00PM    9       DRUGS WERE GOING TO BE GOOD ENOUGH TO BE PURSUED IN ADDITIONAL

12:00PM   10       CLINICAL STUDIES.

12:00PM   11       Q.    I SEE.

12:00PM   12             NOW, IF YOU WOULD EXPLAIN TO ME WHERE YOU FIT INTO THIS?

12:00PM   13       YOU DESCRIBED MR. MCLEOD'S ROLE.        HOW DID YOU GET INTO THIS

12:01PM   14       THERANOS WORK?

12:01PM   15       A.    SO, I MEAN, THE REQUEST WAS MADE, AS I MENTIONED, BY MY

12:01PM   16       BOSS AND JIM MCCLEOD.      THEY WERE INTERESTED IN EVALUATING THE

12:01PM   17       TECHNOLOGY.     BECAUSE MY LABORATORY HAD HISTORICALLY DONE

12:01PM   18       SIMILAR TYPES OF ASSAYS, THEY ASKED ME TO PARTICIPATE IN

12:01PM   19       EVALUATING THE TECHNOLOGY.

12:01PM   20       Q.    OKAY.    AND WHAT DOES "EVALUATING THE TECHNOLOGY" MEAN?

12:01PM   21       A.    SO WE ACTUALLY DID BETA TESTING.        WE HAD RECEIVED TWO

12:01PM   22       INSTRUMENTS FROM THERANOS.

12:01PM   23             IN ADDITION, I TRAVELLED WITH A GROUP OF COLLEAGUES ON A

12:01PM   24       DUE DILIGENCE VISIT TO THE THERANOS SITE.

12:01PM   25       Q.    OKAY.    AND WERE THOSE TWO SEPARATE PROJECTS, WHAT YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 121
                                                                               122 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5023


12:01PM    1       DESCRIBED AS BETA TESTING, AND THEN THE TRAVEL TO THERANOS?

12:01PM    2       A.    YES.

12:01PM    3       Q.    AND WHAT WORK WAS DONE THAT CAUSED YOU TO TRAVEL TO

12:01PM    4       THERANOS?    WHAT WAS THAT PROJECT?

12:01PM    5       A.    IT WASN'T NECESSARILY RELATED TO THE WORK.         IT WAS JUST A

12:02PM    6       PART OF EVALUATION OF ANY NEW TECHNOLOGY THAT MIGHT BE BROUGHT

12:02PM    7       INTO THE COMPANY.

12:02PM    8       Q.    I SEE.   SO THERANOS PROVIDED SOME DEVICES TO YOU; IS THAT

12:02PM    9       RIGHT?

12:02PM   10       A.    THAT'S CORRECT.

12:02PM   11       Q.    AND WHERE WERE YOU?      WHAT STATE WERE YOU IN WHEN THAT

12:02PM   12       HAPPENED?

12:02PM   13       A.    IN NEW JERSEY.

12:02PM   14       Q.    SO THERANOS PROVIDED SOME DEVICES TO YOU IN NEW JERSEY,

12:02PM   15       AND YOU ALSO HAD THE OPPORTUNITY TO TRAVEL TO CALIFORNIA; IS

12:02PM   16       THAT RIGHT?

12:02PM   17       A.    THAT'S CORRECT.

12:02PM   18       Q.    THANK YOU.

12:02PM   19             YOUR HONOR, MAY I APPROACH?

12:02PM   20                    THE COURT:    YES.

12:02PM   21                    MR. SCHENK:    THANK YOU (HANDING).

12:02PM   22       Q.    DR. CULLEN, I'VE HANDED YOU A BINDER OF DOCUMENTS, AND

12:02PM   23       I'LL ASK YOU TO OPEN IT AND TURN TO TAB 188.

12:02PM   24             YOUR HONOR, THE GOVERNMENT OFFERS 188 PURSUANT TO A

12:02PM   25       STIPULATION OF THE PARTIES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 122
                                                                               123 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5024


12:02PM    1                    MR. CLINE:    NO OBJECTION.

12:02PM    2                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:02PM    3             (GOVERNMENT'S EXHIBIT 188 WAS RECEIVED IN EVIDENCE.)

12:02PM    4       BY MR. SCHENK:

12:02PM    5       Q.    DR. CULLEN, THE EXHIBIT AT 188 SHOULD ALSO IN A MOMENT

12:03PM    6       APPEAR ON THE SCREEN IN FRONT OF YOU, AND WHICHEVER ONE IS

12:03PM    7       EASIER FOR YOU TO FOLLOW ALONG WITH, FEEL FREE.

12:03PM    8             IN THE EMAIL THAT WE'RE LOOKING AT, IF WE LOOK FROM THE

12:03PM    9       BOTTOM UP, IT LOOKS LIKE IT'S AN EMAIL FROM MS. HOLMES TO YOU

12:03PM   10       IN FEBRUARY OF 2009.

12:03PM   11             DO YOU SEE THAT?

12:03PM   12       A.    YES.

12:03PM   13       Q.    AND MS. HOLMES REFERENCES A CALL WITH JIM MCLEOD.

12:03PM   14             THAT'S THE INDIVIDUAL THAT YOU WERE JUST SPEAKING OF?

12:03PM   15       A.    THAT'S CORRECT.

12:03PM   16       Q.    AND SHE ASKS FOR A CONVENIENT TIME TO TALK TO YOU.

12:03PM   17             DO YOU SEE THAT?

12:03PM   18       A.    YES.

12:03PM   19       Q.    AND THEN IN THE TOP EMAIL, ANOTHER EMAIL FROM MS. HOLMES

12:03PM   20       TO YOU, NOW WE'RE AT THE BEGINNING OF MARCH OF 2009, AND

12:03PM   21       MS. HOLMES SAYS, "TAKE A LOOK AT THE ATTACHED PER OUR

12:03PM   22       CONVERSATION.

12:03PM   23             "IF WE GO DOWN THIS PATH, THERE ARE TWO SETS OF DOCUMENTS

12:03PM   24       THAT WILL COMPLEMENT THIS SUMMARY - ONE IS A DETAILED PROTOCOL

12:03PM   25       FOR RUNNING THESE EXPERIMENTS.       THE OTHER IS THE CARTRIDGE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 123
                                                                               124 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5025


12:03PM    1       INSERTS."

12:04PM    2             HELP ME UNDERSTAND THE REFERENCE TO A DETAILED PROTOCOL

12:04PM    3       FOR RUNNING THESE EXPERIMENTS.

12:04PM    4       A.    SO A PROTOCOL IS JUST ESSENTIALLY A WRITTEN DOCUMENT THAT

12:04PM    5       DICTATES WHAT YOU'RE GOING TO DO TO EVALUATE THE INSTRUMENT OR

12:04PM    6       THE TECHNOLOGY THAT YOU'RE TESTING.        IT GENERALLY COMES WITH A

12:04PM    7       PREDETERMINED ACCEPTANCE CRITERIA AGAINST WHICH YOU EVALUATE

12:04PM    8       THE RESULTS ONCE THEY'RE AVAILABLE.

12:04PM    9       Q.    I SEE.   AND IF YOU'LL TURN TO THE SECOND PAGE, THE

12:04PM   10       ATTACHMENT, IS THIS THE BEGINNING OF THE PROTOCOL?

12:04PM   11       A.    YES.

12:04PM   12       Q.    AND IN THE HEADING SECTION ON THE SECOND LINE THERE'S A

12:04PM   13       REFERENCE TO CRP, IL-6, AND TNF-A MULTIPLEX.

12:04PM   14             DO YOU SEE THAT?

12:04PM   15       A.    YES, I DO.

12:04PM   16       Q.    HELP ME UNDERSTAND, WHAT IS THAT A REFERENCE TO?

12:05PM   17       A.    SO CRP STANDS FOR C REACTIVE PROTEIN, IL-6 STANDS FOR

12:05PM   18       INTERLEUKIN 6, AND TNF-A STANDS FOR TUMOR NECROSIS FACTOR

12:05PM   19       ALPHA.

12:05PM   20             THOSE ARE MARKERS OF INFLAMMATION THAT PEOPLE OFTEN

12:05PM   21       MEASURE TO UNDERSTAND WHETHER OR NOT A PATIENT IS HAVING AN

12:05PM   22       INFLAMMATORY RESPONSE, AND IN OUR CASE WHETHER OR NOT A DRUG

12:05PM   23       THAT WAS DELIVERED TO A PATIENT WAS EFFICACIOUS IN REDUCING

12:05PM   24       THESE INFLAMMATORY MARKERS.

12:05PM   25       Q.    OKAY.    AND THEN THE WORK MULTIPLEX, WHAT DOES THAT MEAN?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 124
                                                                               125 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5026


12:05PM    1       A.    SO MULTIPLEX MEANS THAT INSTEAD OF DEVELOPING EACH OF

12:05PM    2       THOSE THREE TESTS INDIVIDUALLY, ONE COULD DEVELOP THEM

12:06PM    3       SIMULTANEOUSLY SUCH THAT A SINGLE SAMPLE WOULD BE SUFFICIENT TO

12:06PM    4       MEASURE ALL THREE.

12:06PM    5       Q.    I SEE.

12:06PM    6             A MOMENT AGO YOU TOLD ME THAT THERE WERE SORT OF TWO

12:06PM    7       PROJECTS THAT SCHERING-PLOUGH WAS DOING.         ONE WAS A BETA TEST

12:06PM    8       AND THERE WAS ANOTHER ONE.

12:06PM    9             WHICH ONE IS THIS?

12:06PM   10       A.    THIS WOULD HAVE BEEN THE VALIDATION, SO INDEPENDENT OF THE

12:06PM   11       BETA TEST.

12:06PM   12       Q.    OKAY.    SO THE BETA TEST, IS THAT THE ONE WHERE THERANOS

12:06PM   13       SENT DEVICES TO NEW JERSEY?

12:06PM   14       A.    THAT'S CORRECT.

12:06PM   15       Q.    AND THEN WHAT IS HAPPENING HERE?        WHERE ARE THE DEVICES

12:06PM   16       AND WHERE IS THE WORK BEING DONE?

12:06PM   17       A.    ON THIS PARTICULAR DOCUMENT?

12:06PM   18       Q.    YES, MA'AM.

12:06PM   19       A.    SO THIS -- THE WORK THAT WAS DONE IN SUPPORT OF THIS

12:06PM   20       PROTOCOL WAS COMPLETED AT THERANOS.

12:06PM   21       Q.    OKAY.    THESE -- ARE THEY CALLED ASSAYS THE CRH, IL-6?

12:06PM   22       A.    YES, SOMETIMES WE REFER TO THEM AS ASSAYS.

12:06PM   23       Q.    SO WHERE WOULD THESE ASSAYS THEN PHYSICALLY BE WHILE THE

12:06PM   24       WORK IS BEING DONE?

12:07PM   25       A.    THEY WOULD HAVE BEEN IN THERANOS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 125
                                                                               126 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5027


12:07PM    1       Q.    OKAY.   AND I THINK YOU DESCRIBED MULTIPLEX AS A REFERENCE

12:07PM    2       TO A CARTRIDGE.

12:07PM    3       A.    CORRECT.    THAT WAS OUR LIMITED UNDERSTANDING OF THE

12:07PM    4       TECHNOLOGY WAS THAT ALL THREE OF THESE ASSAYS COULD BE

12:07PM    5       INCORPORATED ONTO A SINGLE CARTRIDGE.

12:07PM    6       Q.    AND WHERE WOULD THAT CARTRIDGE BE?

12:07PM    7       A.    WITHIN THE INSTRUMENT AT THERANOS.

12:07PM    8       Q.    OKAY.

12:07PM    9       A.    YES.

12:07PM   10       Q.    AND THEN HELP ME UNDERSTAND WHAT ROLE SCHERING-PLOUGH WAS

12:07PM   11       PLAYING IN THAT, NOT THE BETA TESTING, BUT IN THIS VALIDATION?

12:07PM   12       A.    NO ROLE OTHER THAN REVIEW OF DOCUMENTS.

12:07PM   13       Q.    OKAY.   IF YOU COULD NOW TURN TO THE NEXT PAGE, IT'S

12:07PM   14       PAGE 3.    THERE'S A PARAGRAPH UNDER ESTIMATED SCHEDULE.

12:07PM   15             DO YOU SEE THAT?

12:07PM   16       A.    YES.

12:07PM   17       Q.    AND IT SAYS THAT THE "STANDARD THERANOS INSTRUMENT

12:07PM   18       RUN-TIME WILL BE ACCELERATED.       THE TOTAL NUMBER OF CARTRIDGES

12:08PM   19       PROVIDED WILL BE ABOUT 2700," AND THEN IT REPEATS THESE ASSAYS;

12:08PM   20       IS THAT RIGHT?

12:08PM   21       A.    THAT'S CORRECT.

12:08PM   22       Q.    "UP TO TEN ADDITIONAL INSTRUMENTS WILL BE SHIPPED.          THE

12:08PM   23       TOTAL EXPECTED RUNTIME IS AROUND ONE MONTH.          THE TOTAL HUMAN

12:08PM   24       CAPITAL COMMITMENT WILL ONLY BE FIVE DAYS OVER THE ENTIRE

12:08PM   25       PROGRAM DURATION AS IT ONLY TAKES UP TO TEN MINUTES TO PREPARE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 126
                                                                               127 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5028


12:08PM    1       AND LOAD A SAMPLE ON A SINGLE INSTRUMENT, AFTER WHICH THE

12:08PM    2       INSTRUMENTS RUN ON THEIR OWN."

12:08PM    3             SO THERE'S A REFERENCE HERE TO THE TOTAL EXPECTED RUN TIME

12:08PM    4       BEING ONE MONTH.

12:08PM    5             WHAT DOES THAT MEAN?

12:08PM    6       A.    I BELIEVE THAT THAT WOULD BE IN REFERENCE TO THE AMOUNT OF

12:08PM    7       TOTAL TIME THAT IT WOULD TAKE TO EXECUTE THE PROTOCOL.

12:08PM    8       Q.    SO THIS VALIDATION WORK THAT THERANOS WAS DOING IN

12:08PM    9       CALIFORNIA WOULD TAKE ONE MONTH?

12:08PM   10       A.    CORRECT.

12:08PM   11       Q.    AND THERE'S ALSO A REFERENCE TO CARTRIDGES AND INSTRUMENTS

12:09PM   12       IN THOSE FIRST COUPLE OF SENTENCES.

12:09PM   13             WHAT IS THAT A REFERENCE TO?

12:09PM   14       A.    SO THE CARTRIDGES WERE DISPOSABLES THAT WERE REQUIRED IN

12:09PM   15       ORDER TO RUN THE INSTRUMENT AND GET THE RESULTS.

12:09PM   16             AND THEN, I'M SORRY, COULD YOU REPEAT THE SECOND HALF OF

12:09PM   17       YOUR QUESTION?

12:09PM   18       Q.    YES.    THERE'S A REFERENCE TO UP TO TEN ADDITIONAL

12:09PM   19       INSTRUMENTS WILL BE SHIPPED.

12:09PM   20       A.    RIGHT.   SO THE INSTRUMENT IS IN REFERENCE TO THE ACTUAL

12:09PM   21       THERANOS MACHINE INTO WHICH THE CARTRIDGES ARE PLACED.

12:09PM   22       Q.    OKAY.    AND FOR THIS VALIDATION, AGAIN, WHERE WERE THE

12:09PM   23       INSTRUMENTS?

12:09PM   24       A.    THE INSTRUMENTS WERE IN THERANOS.

12:09PM   25       Q.    OKAY.    THE ASSAYS THAT WE'VE TALKED ABOUT ON THE CARTRIDGE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 127
                                                                               128 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5029


12:09PM    1       INTO THE DEVICE, THAT ALL HAPPENED AT THERANOS?

12:09PM    2       A.    CORRECT.

12:09PM    3       Q.    THAT DID NOT HAPPEN AT SCHERING-PLOUGH?

12:09PM    4       A.    THAT IS CORRECT.

12:09PM    5       Q.    THERE WERE, I THINK YOU TESTIFIED, TWO SEPARATE

12:09PM    6       INSTRUMENTS THAT WERE SHIPPED TO SCHERING-PLOUGH FOR DIFFERENT

12:09PM    7       WORK.

12:09PM    8       A.    THAT IS CORRECT.

12:09PM    9       Q.    OKAY.    WE'LL GET TO THAT IN A MOMENT.

12:09PM   10             IF YOU WOULD NOW TURN TO TAB 200 IN YOUR BINDER.

12:10PM   11             YOUR HONOR, THE GOVERNMENT OFFERS EXHIBIT 200 PURSUANT TO

12:10PM   12       STIPULATION?

12:10PM   13                     MR. CLINE:   NO OBJECTION.

12:10PM   14                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:10PM   15             (GOVERNMENT'S EXHIBIT 200 WAS RECEIVED IN EVIDENCE.)

12:10PM   16       BY MR. SCHENK:

12:10PM   17       Q.    DR. CULLEN, THIS IS A DOCUMENT LABELLED SERVICES

12:10PM   18       AGREEMENT.

12:10PM   19             DO YOU SEE THAT?

12:10PM   20       A.    YES, I DO.

12:10PM   21       Q.    AND IS THIS AN AGREEMENT BETWEEN SCHERING AND THERANOS

12:10PM   22       REGARDING THE VALIDATION THAT WE'VE TALKED ABOUT?

12:10PM   23       A.    IT IS AN AGREEMENT BETWEEN SCHERING AND THERANOS.

12:10PM   24             WHAT I'M NOT CLEAR ABOUT IS WHETHER THIS WAS DOCUMENTING

12:10PM   25       THE VALIDATION.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 128
                                                                               129 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5030


12:10PM    1       Q.    OKAY.   IN NUMBER 1, PROJECT, IT SAYS -- IS SPRI, IS THAT

12:10PM    2       SCHERING-PLOUGH?

12:10PM    3       A.    YES, IT STANDS FOR SCHERING-PLOUGH RESEARCH INSTITUTE,

12:10PM    4       WHICH WAS THE DIVISION WITHIN SCHERING-PLOUGH.

12:10PM    5       Q.    OKAY.   THE SERVICES INCLUDING, BUT NOT LIMITED TO,

12:10PM    6       COMPREHENSIVE VALIDATION OF THE THERANOS -- IS THAT WORD

12:11PM    7       CYTOKINE?

12:11PM    8       A.    YES, CYTOKINE.

12:11PM    9       Q.    WHAT IS THE THERANOS CYTOKINE PANEL?

12:11PM   10       A.    SO IT WOULD HAVE BEEN THE THREE ANALYTES THAT WERE

12:11PM   11       PREVIOUSLY DISCUSSED.      SO TUMOR NECROSIS FACTOR, INTERLEUKIN-6,

12:11PM   12       AND C REACTIVE PROTEIN.

12:11PM   13       Q.    OKAY.   SO DOES THAT CLARIFY FOR US WHICH TYPE OF WORK THIS

12:11PM   14       AGREEMENT APPLIED TO?

12:11PM   15       A.    YES.

12:11PM   16       Q.    OKAY.   AT THE BOTTOM, NUMBER 4, THERE'S A PAYMENT TERMS

12:11PM   17       SECTION.

12:11PM   18             DO YOU SEE THAT?

12:11PM   19       A.    YES.

12:11PM   20       Q.    AND THE PAYMENT IS $279,000?

12:11PM   21       A.    YES.

12:11PM   22       Q.    IS THAT MONEY THAT SCHERING-PLOUGH WAS PAYING TO THERANOS,

12:11PM   23       OR THE OTHER WAY AROUND?

12:11PM   24       A.    YES, SCHERING-PLOUGH WOULD HAVE PAID THAT TO THERANOS.

12:11PM   25       Q.    WHY?    WHAT WORK WAS THERANOS DOING THAT WAS BENEFICIAL OR



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 129
                                                                               130 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5031


12:12PM    1       WORTH PAYING FOR?

12:12PM    2       A.     IT WOULD HAVE BEEN TO COVER THE COST OF THE VALIDATION FOR

12:12PM    3       THOSE THREE, THREE ANALYTES.

12:12PM    4       Q.     THE THREE ANALYTES THAT WERE RUN AT THERANOS ON THERANOS

12:12PM    5       MACHINES?

12:12PM    6       A.     CORRECT.

12:12PM    7       Q.     GOT IT.    OKAY.

12:12PM    8              IF YOU'LL TURN NOW TO PAGE 13 ON THIS DOCUMENT.         WE SEE AN

12:12PM    9       INVOICE HERE FROM THERANOS BILLING SCHERING-PLOUGH.

12:12PM   10              DO YOU SEE THAT?

12:12PM   11       A.     YES.

12:12PM   12       Q.     AND THE AMOUNT IS $279,000?

12:12PM   13       A.     THAT'S CORRECT.

12:12PM   14       Q.     AND LISTED NEXT TO IT WE SEE A REFERENCE TO THOSE

12:12PM   15       CARTRIDGES, THE ROUGHLY 2700 MULTIPLEX CARTRIDGES; IS THAT

12:12PM   16       CORRECT?

12:12PM   17       A.     CORRECT.

12:12PM   18       Q.     SO THAT IS WHAT -- IS THAT WHAT SCHERING-PLOUGH WAS PAYING

12:12PM   19       FOR?

12:12PM   20       A.     YES.

12:12PM   21       Q.     IF WE CAN NOW TURN TO TAB 201.

12:13PM   22              YOUR HONOR, THE GOVERNMENT OFFERS 201 PURSUANT TO

12:13PM   23       STIPULATION.

12:13PM   24                     MR. CLINE:   NO OBJECTION.

12:13PM   25                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 130
                                                                               131 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5032


12:13PM    1              (GOVERNMENT'S EXHIBIT 201 WAS RECEIVED IN EVIDENCE.)

12:13PM    2       BY MR. SCHENK:

12:13PM    3       Q.     AND IF WE CAN START ON THE SECOND PAGE OF THIS EXHIBIT.

12:13PM    4              DR. CULLEN, THERE'S AN EMAIL FROM MS. HOLMES TO JIM MCLEOD

12:13PM    5       AND YOU ON APRIL 15TH, 2009.

12:13PM    6              DO YOU SEE THAT?

12:13PM    7       A.     YES, I DO.

12:13PM    8       Q.     SHE WRITES, "DEAR JIM.

12:13PM    9              "IN FOLLOW UP TO OUR DISCUSSIONS WITH CONNIE" -- THAT'S

12:13PM   10       YOU?

12:13PM   11       A.     CORRECT.

12:13PM   12       Q.     -- "WE HAVE CEMENTED A COMPREHENSIVE VALIDATION PROGRAM ON

12:13PM   13       ONE OF OUR MULTIPLEXED CYTOKINE PANELS.         I HAVE ATTACHED THE

12:13PM   14       INVOICE AND PROGRAM OVERVIEW TO THIS EMAIL."

12:13PM   15              DO YOU SEE THAT?

12:13PM   16       A.     YES.

12:13PM   17       Q.     AND THEN IN THE NEXT PARAGRAPH SHE THEN WRITE, "WE DID OF

12:13PM   18       COURSE WORK THROUGH THE VALIDATION PROGRAM WITH CONNIE IN GREAT

12:13PM   19       DETAIL.    WE WILL PRESENT THE RESULTS OF THE VALIDATION BY YOUR

12:13PM   20       VISIT IN MAY.     WE CAN THEN USE THAT VISIT TO DISCUSS THE DATA

12:13PM   21       AND THE BEST WAYS TO CREATE VALUE IN ONGOING PROGRAMS GIVEN THE

12:14PM   22       ABILITY TO COLLECT HIGHER INTEGRITY DATA, FASTER."

12:14PM   23              THERE'S A REFERENCE HERE TO A VISIT IN MAY.

12:14PM   24       A.     YES.

12:14PM   25       Q.     AND WHAT IS THAT IN REGARDS TO?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 131
                                                                               132 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5033


12:14PM    1       A.    SO THAT WAS THE DUE DILIGENCE VISIT.

12:14PM    2       Q.    AND WHAT DO YOU MEAN BY THAT?        WHAT DUE DILIGENCE?

12:14PM    3       A.    SO DUE DILIGENCE IS A GROUP OF INDIVIDUALS WITH VARYING

12:14PM    4       SUBJECT MATTER EXPERTISE GO TO VISIT IN PERSON A SITE FOR WHICH

12:14PM    5       WE ARE EVALUATING TECHNOLOGY OR CONSIDERING USING THE

12:14PM    6       TECHNOLOGY.

12:14PM    7       Q.    AND WERE YOU PART OF THE INDIVIDUALS THAT WENT TO

12:14PM    8       THERANOS?

12:14PM    9       A.    I WAS.

12:14PM   10       Q.    OKAY.    IF WE COULD NOW TURN TO 192, EXHIBIT 192.

12:14PM   11             YOUR HONOR, THE GOVERNMENT OFFERS EXHIBIT 192 PURSUANT TO

12:14PM   12       STIPULATION.

12:14PM   13                     MR. CLINE:   NO OBJECTION.

12:14PM   14                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:14PM   15             (GOVERNMENT'S EXHIBIT 192 WAS RECEIVED IN EVIDENCE.)

12:14PM   16       BY MR. SCHENK:

12:14PM   17       Q.    DR. CULLEN, THIS APPEARS TO BE A CALENDAR INVITE.          IT WAS

12:14PM   18       SENT AT THE END OF MARCH 2009, BUT FOR A MEETING MAY 5TH, 2009.

12:15PM   19             DO YOU SEE THAT?

12:15PM   20       A.    YES.

12:15PM   21       Q.    AND THERE'S A LIST OF PARTICIPANTS FROM SCHERING-PLOUGH.

12:15PM   22             IS YOUR NAME ONE OF THEM?

12:15PM   23       A.    YES.

12:15PM   24       Q.    AND A LITTLE BIT FURTHER DOWN, IT LOOKS LIKE THERE'S A

12:15PM   25       LIST OF REQUESTED AGENDA ITEMS FROM SCHERING-PLOUGH.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 132
                                                                               133 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5034


12:15PM    1             IS THAT RIGHT?

12:15PM    2       A.    CORRECT.

12:15PM    3       Q.    DO YOU MIND JUST BRIEFLY SUMMARIZING FOR THE JURY WHAT

12:15PM    4       THESE ARE?     WHAT WAS SCHERING-PLOUGH INTERESTED IN DISCUSSING

12:15PM    5       AT THIS MAY 2009 MEETING AT THERANOS?

12:15PM    6       A.    RIGHT.   SO WE WERE INTERESTED IN UNDERSTANDING HOW

12:15PM    7       THERANOS WOULD APPROACH THE VALIDATION OF THE ASSAYS, TIMING.

12:15PM    8       WE WERE ALSO INTERESTED IN THE DEVELOPMENT OF PROPRIETARY

12:15PM    9       ASSAYS THAT WOULD BE EXCLUSIVE TO SCHERING-PLOUGH AS OPPOSED TO

12:15PM   10       THE ALREADY AVAILABLE CYTOKINE PANELS THAT THERANOS HAD.

12:15PM   11             AND THEN UNDERSTANDING MORE OF THE TECHNICAL DETAILS WITH

12:15PM   12       RESPECT TO THE MULTIPLEXING, WHICH IS BEING ABLE TO MEASURE

12:16PM   13       MULTIPLE ANALYTES SIMULTANEOUSLY.

12:16PM   14             WE WERE INTERESTED IN COMPUTER SYSTEM VALIDATION BECAUSE

12:16PM   15       THAT IS A REQUIREMENT FOR PROVIDING THESE DATA FOR

12:16PM   16       CONSIDERATION BY THE FOOD AND DRUG ADMINISTRATION,

12:16PM   17       UNDERSTANDING PATIENT CONFIDENTIALITY, AND THE LAST ITEM ON THE

12:16PM   18       LIST IS WHAT IS CALLED INCURRED SAMPLE REANALYSIS.

12:16PM   19             THIS IS ALSO A REQUIREMENT OF THE FOOD AND DRUG

12:16PM   20       ADMINISTRATION TO SHOW THE REPRODUCIBILITY OF THE ASSAYS THAT

12:16PM   21       ARE VALIDATED.

12:16PM   22       Q.    THANK YOU.

12:16PM   23             IF YOU WOULD TURN TO THE NEXT PAGE, PAGE 2 OF THIS

12:16PM   24       EXHIBIT.

12:16PM   25             IS THIS AN AGENDA FROM THE MAY MEETING?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 133
                                                                               134 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                           5035


12:16PM    1       A.    YES, IT IS.

12:16PM    2       Q.    AND, AGAIN, YOU ATTENDED THIS MEETING IN PERSON?

12:16PM    3       A.    I DID.

12:16PM    4       Q.    AND DID MS. HOLMES ATTEND IN PERSON?

12:16PM    5       A.    YES, SHE DID.

12:16PM    6       Q.    WAS THAT THE FIRST TIME THAT YOU MET MS. HOLMES IN PERSON?

12:16PM    7       A.    YES.

12:16PM    8       Q.    AND WHAT DO YOU RECALL FROM THIS MEETING?         DID YOU ASK

12:17PM    9       QUESTIONS DURING THE MEETING?

12:17PM   10       A.    YES, I ASKED A LOT OF QUESTIONS.        MY RECOLLECTION IS THAT

12:17PM   11       THE ANSWERS TO THE QUESTIONS WERE NOT NECESSARILY FORTHCOMING.

12:17PM   12       SO I WAS DISSATISFIED, QUITE HONESTLY, WITH THE RESPONSE TO THE

12:17PM   13       QUESTIONS IN THAT THERE WAS INSUFFICIENT TECHNICAL DETAIL FOR

12:17PM   14       US TO BE ABLE TO EVALUATE THE TECHNOLOGY.

12:17PM   15       Q.    WHAT DO YOU MEAN WHEN YOU SAY "INSUFFICIENT DETAIL"?

12:17PM   16       A.    SO WHEN A SPONSOR, SUCH AS SCHERING-PLOUGH, USES A

12:17PM   17       TECHNOLOGY IN SUPPORT OF THEIR DRUG DEVELOPMENT EFFORTS, WHICH

12:17PM   18       EVENTUALLY GETS SUBMITTED TO THE FOOD AND DRUG ADMINISTRATION,

12:17PM   19       WE ARE EXPECTED TO BE ABLE TO UNDERSTAND AND BE SUPPORTIVE FROM

12:17PM   20       A SCIENTIFIC PERSPECTIVE OF THE TECHNOLOGY THAT WE USE TO

12:17PM   21       MEASURE THOSE ANALYTES.

12:18PM   22       Q.    WHEN YOU ASKED QUESTIONS DURING THE MEETING, DO YOU RECALL

12:18PM   23       WHETHER MS. HOLMES WAS THE ONE THAT ANSWERED OR OTHER EMPLOYEES

12:18PM   24       FROM THERANOS?

12:18PM   25       A.    ALMOST EXCLUSIVELY MS. HOLMES WAS THE ONE WHO ANSWERED THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 134
                                                                               135 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5036


12:18PM    1       QUESTIONS, IRRESPECTIVE OF TO WHOM THE QUESTION WAS ADDRESSED.

12:18PM    2       Q.    WHAT DO YOU MEAN BY THAT?

12:18PM    3       A.    I MEAN THAT ON A COUPLE OF OCCASIONS I ATTEMPTED TO ASK

12:18PM    4       QUESTIONS OF OTHER THERANOS STAFF WHO WERE IN THE MEETING AND

12:18PM    5       IT -- THE RESPONSE WAS INTERRUPTED BY MS. HOLMES.

12:18PM    6       Q.    WHY DID YOU TRY TO DIRECT SOME QUESTIONS TO OTHER THERANOS

12:18PM    7       EMPLOYEES?

12:18PM    8       A.    BECAUSE THEY WERE BROUGHT INTO THE MEETING AS SUBJECT

12:18PM    9       MATTER EXPERTS, AND ALSO, QUITE HONESTLY, I WANTED TO TRY TO

12:18PM   10       GET ADDITIONAL INFORMATION WHICH, AS I MENTIONED, DID NOT SEEM

12:18PM   11       TO BE FORTHCOMING.

12:18PM   12       Q.    WHAT DO YOU MEAN WHEN YOU SAY INFORMATION WAS NOT

12:18PM   13       FORTHCOMING?

12:18PM   14       A.    I MEAN THAT THERE WERE NO DIRECT ANSWERS TO QUESTIONS, AND

12:19PM   15       THE QUESTIONS ARE FAIRLY TECHNICAL, SO THE ANSWERS SHOULD BE

12:19PM   16       FAIRLY TECHNICAL AND DIRECT.

12:19PM   17             AND SO, YOU KNOW, THERE WERE WHAT I DESCRIBE AS CAGEY

12:19PM   18       RESPONSES OR ATTEMPTS TO REDIRECT TO OTHER TOPICS OF

12:19PM   19       DISCUSSION.

12:19PM   20       Q.    NOW, I APPRECIATE THE MEETING WAS IN 2009.

12:19PM   21             DO YOU HAVE A SENSE OF THE TOPICS, THE KINDS OF QUESTIONS

12:19PM   22       THAT WERE DISCUSSED?      WE'VE TALKED ABOUT THE AGENDA ITEMS.

12:19PM   23       A.    RIGHT.

12:19PM   24       Q.    BUT WHAT MADE IT INTO THE ACTUAL MEETING?

12:19PM   25       A.    CERTAINLY WE DISCUSSED THE VALIDATION AND HOW THE SOFTWARE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 135
                                                                               136 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5037


12:19PM    1       REDUCES THE DATA, BECAUSE THAT WAS OF CRITICAL CONCERN TO US,

12:19PM    2       AND WE CERTAINLY DISCUSSED, OR TRIED TO DISCUSS OR GET DETAILED

12:20PM    3       INFORMATION ON HOW THE INSTRUMENT ACTUALLY WORKED FROM A

12:20PM    4       TECHNICAL PERSPECTIVE.

12:20PM    5       Q.    OKAY.    DO YOU REMEMBER WHETHER AT THE END OF THE MEETING

12:20PM    6       YOU EXPRESSED YOUR CONCERNS THAT YOU'VE JUST DESCRIBED TO US?

12:20PM    7       YOU USED THE WORD "CAGEY."       DID YOU SAY AT THE END OF THE

12:20PM    8       MEETING, I FEEL THIS WAY ABOUT THIS MEETING?          DO YOU HAVE THAT

12:20PM    9       RECOLLECTION?

12:20PM   10       A.    I DID NOT SAY IT AT THE MEETING.        I SHARED MY THOUGHTS

12:20PM   11       PRIVATELY WITH SOME OF MY COLLEAGUES.

12:20PM   12       Q.    WHY DIDN'T YOU SAY IT AT THE MEETING?

12:20PM   13       A.    UM, IT'S AWKWARD.

12:20PM   14       Q.    OKAY.    IF YOU'LL NOW TURN TO EXHIBIT 223 IN YOUR BINDER.

12:20PM   15             YOUR HONOR, THE GOVERNMENT OFFERS EXHIBIT 223 PURSUANT TO

12:20PM   16       STIPULATION.

12:20PM   17                     MR. CLINE:   NO OBJECTION.

12:20PM   18                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:20PM   19             (GOVERNMENT'S EXHIBIT 223 WAS RECEIVED IN EVIDENCE.)

12:20PM   20       BY MR. SCHENK:

12:20PM   21       Q.    DR. CULLEN, WE'VE NOW MOVED INTO JUNE OF 2009, AND IF WE

12:21PM   22       START AT THE BOTTOM, THERE'S AN EMAIL FROM YOU TO SOMEONE NAMED

12:21PM   23       GARY FRENZEL.

12:21PM   24             DO YOU SEE THAT?

12:21PM   25       A.    YES, I DO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 136
                                                                               137 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5038


12:21PM    1       Q.    DID MR. FRENZEL WORKS AT THERANOS?

12:21PM    2       A.    YES, HE DID.

12:21PM    3       Q.    AND YOU WRITE -- AND THE MEETING THAT YOU JUST TALKED

12:21PM    4       ABOUT, THAT WAS IN MAY?

12:21PM    5       A.    CORRECT.

12:21PM    6       Q.    SO WE'RE INTO THE NEXT MONTH; IS THAT RIGHT?

12:21PM    7       A.    THAT IS CORRECT.

12:21PM    8       Q.    AND YOU'RE ASKING MR. FRENZEL TO CHECK IN AND GET AN ASSAY

12:21PM    9       DEVELOPMENT UPDATE FOR THE TEAM?

12:21PM   10       A.    YES.

12:21PM   11       Q.    AND WHAT IS "THE TEAM" A REFERENCE TO?

12:21PM   12       A.    SO THE TEAM WOULD HAVE BEEN MYSELF, JIM MCLEOD, WHO AS I

12:21PM   13       MENTIONED WAS THE HEAD OF OUR EARLY CLINICAL RESEARCH, AND

12:21PM   14       OTHERS WHO WOULD HAVE PARTICIPATED ON THE DUE DILIGENCE

12:21PM   15       MEETING.

12:21PM   16       Q.    I SEE.   AND WHEN YOU'RE ASKING FOR SOMETHING CALLED AN

12:21PM   17       ASSAY DEVELOPMENT UPDATE, WHAT WERE YOU LOOKING FOR?

12:21PM   18       A.    SO I WAS LOOKING ON PROGRESS AGAINST THE PROTOCOL THAT YOU

12:21PM   19       HAD MENTIONED OR SHOWN EARLIER.

12:21PM   20       Q.    I SEE.   AND A MOMENT AGO YOU SAID AT THE MEETING IN

12:22PM   21       PALO ALTO, YOU FELT THAT THERANOS WAS LESS THAN FORTHCOMING; IS

12:22PM   22       THAT FAIR?

12:22PM   23       A.    YES.

12:22PM   24       Q.    AND WHY, IF THAT WAS YOUR IMPRESSION, DID YOU WRITE A

12:22PM   25       MONTH LATER ASKING FOR MORE INFORMATION ON ASSAY DEVELOPMENT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 137
                                                                               138 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5039


12:22PM    1       A.    BECAUSE SCHERING-PLOUGH HAD PAID $279,000 FOR THIS WORK.

12:22PM    2       WE HAD EXPECTED TO RECEIVE IT AT THAT MAY DUE DILIGENCE

12:22PM    3       MEETING, AND WE DID NOT.

12:22PM    4       Q.    ABOVE THIS EMAIL, MR. FRENZEL FORWARDS IT TO MS. HOLMES.

12:22PM    5             DO YOU SEE THAT, FORWARDS YOUR EMAIL TO MS. HOLMES?

12:22PM    6       A.    YES.

12:22PM    7       Q.    IF YOU'LL NOW TURN TO TAB 259.

12:22PM    8             YOUR HONOR, THE GOVERNMENT OFFERS 259 PURSUANT TO

12:22PM    9       STIPULATION.

12:22PM   10                    MR. CLINE:    NO OBJECTION.

12:22PM   11                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:22PM   12             (GOVERNMENT'S EXHIBIT 259 WAS RECEIVED IN EVIDENCE.)

12:22PM   13       BY MR. SCHENK:

12:22PM   14       Q.    THE FIRST DOCUMENT IN 259 AT THE BOTTOM APPEARS TO BE AN

12:22PM   15       EMAIL FROM MR. FRENZEL TO YOU.

12:23PM   16             DO YOU SEE THAT?

12:23PM   17       A.    YES.

12:23PM   18       Q.    AND LET ME NOTE THAT THIS IS NOW IN DECEMBER.          THE EMAIL

12:23PM   19       THAT WE WERE JUST TALKING ABOUT WAS IN JUNE; IS THAT RIGHT?

12:23PM   20       A.    THAT'S RIGHT.

12:23PM   21       Q.    SO ABOUT SIX MONTHS LATER, MR. FRENZEL WRITES, "HI

12:23PM   22       CONNIE."

12:23PM   23             THE SUBJECT WAS VALIDATION REPORT?

12:23PM   24       A.    UH-HUH.

12:23PM   25       Q.    WAS THAT A YES?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 138
                                                                               139 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5040


12:23PM    1       A.    YES.

12:23PM    2       Q.    "HI CONNIE, I WAS ASKED TO SEND THIS REPORT ON TO YOU, AND

12:23PM    3       IF YOU CAN FORWARD TO THE PROPER PEOPLE.         AFTER YOU AND YOUR

12:23PM    4       GROUP HAVE AN OPPORTUNITY TO GO THROUGH IT, LET US KNOW IF YOU

12:23PM    5       WOULD LIKE TO ARRANGE A PHONE CONFERENCE TO DISCUSS THE

12:23PM    6       RESULTS."

12:23PM    7             DO YOU SEE THAT?

12:23PM    8       A.    I DO.

12:23PM    9       Q.    AND THEN ABOVE THIS EMAIL, MR. FRENZEL FORWARDS IT ALMOST

12:23PM   10       TWO MONTHS LATER, THE END OF JANUARY 2010, TO SOMEONE NAMED

12:23PM   11       DENNIS YAM.

12:23PM   12             DO YOU SEE THAT?

12:23PM   13       A.    YES.

12:23PM   14       Q.    LET'S GO NOW TO THE ATTACHMENT.       LET'S START ON PAGE 3.

12:23PM   15             WHAT IS THIS DOCUMENT?      WHAT ARE WE LOOKING AT?

12:23PM   16       A.    SO THIS WAS THE VALIDATION REPORT THAT THERANOS HAD

12:23PM   17       PROVIDED.

12:23PM   18       Q.    OKAY.   THE REPORT THAT YOU MENTIONED EXPECTING TO SEE IN

12:24PM   19       MAY AND WRITING ABOUT IN JUNE?

12:24PM   20       A.    CORRECT.

12:24PM   21       Q.    OKAY.   AND ON THIS PAGE, IF WE COULD ZOOM OUT, IN THE

12:24PM   22       UPPER LEFT CORNER, DO YOU SEE THERANOS'S LOGO?

12:24PM   23       A.    I DO.

12:24PM   24       Q.    IN THE UPPER RIGHT CORNER, DO YOU SEE A SCHERING-PLOUGH

12:24PM   25       LOGO?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 139
                                                                               140 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5041


12:24PM    1       A.    I DO NOT.

12:24PM    2       Q.    IF WE COULD NOW TURN TO PAGE 5.       THERE IS DATA ON PAGE 5.

12:24PM    3             DO YOU SEE THAT?

12:24PM    4       A.    YES.

12:24PM    5       Q.    AND IS THIS SCHERING-PLOUGH DATA?

12:24PM    6       A.    NO.

12:24PM    7       Q.    WHO GENERATED THIS DATA?

12:24PM    8       A.    THERANOS.

12:24PM    9       Q.    ON PAGE 19, IF YOU'LL TURN TO PAGE 19, THERE'S A SECTION

12:24PM   10       ENTITLED CONCLUSIONS.

12:24PM   11             DO YOU SEE THAT?

12:24PM   12       A.    I DO.

12:24PM   13       Q.    AND WHOSE CONCLUSIONS ARE THESE?

12:24PM   14       A.    THOSE WOULD HAVE BEEN THERANOS'S CONCLUSIONS SINCE THEY

12:24PM   15       WROTE THE REPORT.

12:24PM   16       Q.    DID -- LET ME FOCUS YOUR ATTENTION ON THE VERY FIRST

12:24PM   17       SENTENCE OF THE CONCLUSIONS.       IT READS, "THE THERANOS'S IL-6,

12:25PM   18       TNF-A, AND CRP ASSAY MULTIPLEX HAS BEEN SHOWN TO GIVE ACCURATE

12:25PM   19       AND PRECISE RESULTS FOR THREE INDEPENDENTLY CALIBRATED

12:25PM   20       CARTRIDGE LOTS AND ALL THE MANY INSTRUMENTS USED."

12:25PM   21             IS THAT A CONCLUSION THAT YOU REACHED?

12:25PM   22       A.    NO.

12:25PM   23       Q.    TO YOUR KNOWLEDGE, IS THAT A CONCLUSION THAT ANYBODY AT

12:25PM   24       SCHERING-PLOUGH REACHED?

12:25PM   25       A.    NO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 140
                                                                               141 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5042


12:25PM    1       Q.    WHEN YOU RECEIVED THIS DOCUMENT, YOU SAW THAT THE FIRST

12:25PM    2       PAGE OF THIS EXHIBIT WAS MR. FRENZEL SENDING THIS TO YOU IN

12:25PM    3       DECEMBER, DID YOU WRITE HIM BACK AND SAY, I AGREE WITH THESE

12:25PM    4       CONCLUSIONS?

12:25PM    5       A.    NO.

12:25PM    6       Q.    WAS THERE EVER AN OCCASION WHEN YOU SAID THESE CONCLUSIONS

12:25PM    7       ARE ACCURATE?

12:25PM    8       A.    NO.

12:25PM    9       Q.    TO YOUR KNOWLEDGE, WAS THERE EVER AN OCCASION WHEN ANYBODY

12:25PM   10       AT SCHERING-PLOUGH SAID THIS DOCUMENT OR THESE CONCLUSIONS ARE

12:25PM   11       ACCURATE?

12:25PM   12       A.    NO.

12:25PM   13       Q.    WOULD YOU NOW TURN TO PAGE 262?       I'M SORRY, EXHIBIT 262.

12:26PM   14             YOUR HONOR, THE GOVERNMENT OFFERS 262 TO PURSUANT TO

12:26PM   15       STIPULATION.

12:26PM   16                    MR. CLINE:    NO OBJECTION.

12:26PM   17                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:26PM   18             (GOVERNMENT'S EXHIBIT 262 WAS RECEIVED IN EVIDENCE.)

12:26PM   19       BY MR. SCHENK:

12:26PM   20       Q.    YOU'LL SEE THIS IS A CONTINUATION OF A PRIOR EMAIL CHAIN.

12:26PM   21       IF YOU START ON THE PAGE 2, THERE IS THAT EMAIL FROM

12:26PM   22       MR. FRENZEL TO YOU IN DECEMBER WITH A VALIDATION REPORT.

12:26PM   23             DO YOU SEE THAT?

12:26PM   24       A.    YES.

12:26PM   25       Q.    AND NOW IF WE COME BACK TO THE FIRST PAGE OF THIS EXHIBIT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 141
                                                                               142 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5043


12:26PM    1       AT THE BOTTOM, A FEW DAYS LATER, ON THE 9TH OF DECEMBER,

12:26PM    2       MR. FRENZEL FOLLOWS UP.

12:26PM    3             "HI CONNIE, I JUST WANTED TO MAKE SURE THAT YOU RECEIVED

12:26PM    4       THIS REPORT.     WE ARE LOOKING FORWARD TO DISCUSSING IT WITH

12:26PM    5       YOU."

12:26PM    6             AND THEN YOU RESPOND ON THAT SAME DAY, "I'M SORRY FOR THE

12:27PM    7       SLOW RESPONSE.     I DID RECEIVE THE REPORT, I'D ACTUALLY LIKE TO

12:27PM    8       DEFER OUR DISCUSSIONS UNTIL JANUARY.        WE ARE TOTALLY SWAMPED

12:27PM    9       WITH THE MERGER WITH MERCK."

12:27PM   10             IS MERCK THE MERGER THAT YOU REFERENCED AT THE BEGINNING

12:27PM   11       OF YOUR TESTIMONY?

12:27PM   12       A.    THAT'S CORRECT.

12:27PM   13       Q.    AND DO YOU RECALL HAVING THIS CONVERSATION?         YOU

12:27PM   14       REFERENCED DEFERRING A DISCUSSION UNTIL JANUARY.

12:27PM   15             DO YOU RECALL IN JANUARY HAVING THAT CONVERSATION WITH

12:27PM   16       MR. FRENZEL?

12:27PM   17       A.    NO.

12:27PM   18       Q.    DO YOU RECALL, AT ANY POINT AFTER DECEMBER OF 2009, HAVING

12:27PM   19       FURTHER CONVERSATIONS WITH THERANOS WHERE YOU SAID ANYTHING

12:27PM   20       POSITIVE ABOUT THAT VALIDATION REPORT?

12:27PM   21       A.    NO.

12:27PM   22       Q.    WOULD YOU NOW TURN TO EXHIBIT 291.

12:27PM   23             YOUR HONOR, 291 HAS BEEN PREVIOUSLY ADMITTED.          PERMISSION

12:27PM   24       TO PUBLISH?

12:27PM   25                    THE COURT:    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 142
                                                                               143 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5044


12:27PM    1                     MR. SCHENK:   THANK YOU.

12:27PM    2       Q.    DR. CULLEN, I'M SHOWING YOU THIS EMAIL.         YOU'RE NOT ON IT.

12:27PM    3             AT THE TOP, IT'S TO EMPLOYEES AT WALGREENS, PEOPLE AT

12:28PM    4       WALGREENS.COM EMAIL ADDRESSES.

12:28PM    5             DO YOU SEE THAT?

12:28PM    6       A.    I DO.

12:28PM    7       Q.    THIS EMAIL WAS SENT IN APRIL OF 2010.

12:28PM    8             AND DO YOU SEE THE THIRD ATTACHMENT?

12:28PM    9       A.    THIRD ATTACHMENT?     NO.   I'M SORRY.

12:28PM   10       Q.    UNDER THE SUBJECT?

12:28PM   11       A.    OH.   OH, YES, I DO.

12:28PM   12       Q.    THE THIRD ATTACHMENT READS THERANOS MULTIPLEXED PANEL

12:28PM   13       VALIDATION REPORT UNDERSCORE SCHERING-PLOUGH.

12:28PM   14             DO YOU SEE THAT?

12:28PM   15       A.    I DO.

12:28PM   16       Q.    AND THEN MS. HOLMES WRITES DEAR -- I'M SORRY.          SHE WRITES,

12:28PM   17       "DR. JAY, ALEX.

12:28PM   18             "AS PER OUR DISCUSSION, PLEASE FIND THREE INDEPENDENT DUE

12:28PM   19       DILIGENCE REPORTS ON THERANOS SYSTEMS ATTACHED TO THIS EMAIL.

12:28PM   20       THESE REPORTS ARE FROM GLAXOSMITHKLINE, PFIZER, AND

12:28PM   21       SCHERING-PLOUGH AFTER THEIR OWN TECHNICAL VALIDATION AND

12:28PM   22       EXPERIENCE WITH THERANOS SYSTEMS IN THE FIELD."

12:28PM   23             DID I READ THAT RIGHT?

12:29PM   24       A.    THAT'S CORRECT.

12:29PM   25       Q.    THE VALIDATION REPORT THAT YOU AND I HAVE SPOKEN ABOUT,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 143
                                                                               144 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5045


12:29PM    1       WOULD YOU CALL THAT SCHERING-PLOUGH'S OWN TECHNICAL VALIDATION?

12:29PM    2       A.    NO.

12:29PM    3       Q.    WE ALSO HAVE TALKED ABOUT SOME BETA TESTING.         WOULD YOU

12:29PM    4       DESCRIBE FOR THE JURY WHAT THAT WAS?

12:29PM    5       A.    YES.    BETA TESTING WAS WE HAD TWO INSTRUMENTS IN THE

12:29PM    6       LABORATORY AND WE HAD A VOLUNTEER FROM THE LAB PROVIDE A BLOOD

12:29PM    7       SAMPLE AND WE MEASURED C REACTIVE PROTEIN.

12:29PM    8             TO MY RECOLLECTION IT WAS A SINGLE DETERMINATION.

12:29PM    9       Q.    WHAT DOES THAT MEAN, A SINGLE DETERMINATION?

12:29PM   10       A.    IT MEANS WE TESTED ONE SAMPLE ONCE.

12:29PM   11       Q.    THE PHRASE IN THIS EMAIL THAT I HIGHLIGHTED FOR YOU,

12:29PM   12       SCHERING-PLOUGH'S OWN TECHNICAL VALIDATION, YOU SAID THAT WOULD

12:29PM   13       NOT BE ACCURATE FOR THE REPORT, THE VALIDATION REPORT?

12:29PM   14       A.    THAT IS CORRECT.

12:29PM   15       Q.    WOULD THAT BE ACCURATE FOR THE BETA TESTING?

12:30PM   16       A.    NO, IT WOULD NOT.

12:30PM   17       Q.    WHY?

12:30PM   18       A.    TOO FEW SAMPLES, NO PROTOCOL WITH PREDEFINED ACCEPTANCE

12:30PM   19       CRITERIA.

12:30PM   20       Q.    IF YOU'LL TURN TO IN EXHIBIT 291, PAGE 34 OF THE EXHIBIT.

12:30PM   21             DO YOU SEE A COPY OF THE THERANOS MULTIPLEXED VALIDATION

12:30PM   22       AND A REFERENCE AGAIN TO IL-6, TNF-ALPHA, AND CRP?

12:30PM   23       A.    I DO.

12:30PM   24       Q.    AND AGAIN, IS THIS THE VALIDATION REPORT THAT YOU HAVE

12:30PM   25       TESTIFIED ABOUT PREVIOUSLY FROM TODAY?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 144
                                                                               145 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5046


12:30PM    1       A.    YES.

12:30PM    2       Q.    AND IN THE UPPER LEFT-HAND CORNER, WHAT DO YOU SEE?

12:30PM    3       A.    I SEE THE SCHERING-PLOUGH LOGO.

12:30PM    4       Q.    OKAY.

12:30PM    5             IF I COULD, MS. HOLLIMAN, IF IT'S POSSIBLE IF WE COULD

12:30PM    6       BRING UP 259, PAGE 3, AND EXHIBIT 291, PAGE 34 AT THE SAME

12:31PM    7       TIME.

12:31PM    8             THE DOCUMENT ON THE LEFT, DR. CULLEN, IS 259, PAGE 3.

12:31PM    9             IS THAT THE VERSION THAT WAS EMAILED TO YOU BY

12:31PM   10       MR. FRENZEL?

12:31PM   11       A.    YES.

12:31PM   12       Q.    AND WHAT I'M SHOWING ON THE RIGHT, IS THAT A VERSION THAT

12:31PM   13       WAS SENT AT LEAST IN THE EMAIL TO WALGREENS?

12:31PM   14       A.    I DON'T KNOW WHAT DOCUMENT WOULD HAVE BEEN SENT TO

12:31PM   15       WALGREENS.

12:31PM   16       Q.    IN EXHIBIT 291 THAT I'VE SHOWED YOU, THOUGH, IS THAT --

12:31PM   17       A.    YES, YES.

12:31PM   18       Q.    -- IT IS THAT SAME DOCUMENT; IS THAT RIGHT?

12:31PM   19       A.    YES.

12:31PM   20       Q.    AND MS. HOLLIMAN, IF WE COULD ALSO BRING UP 259, PAGE 19,

12:31PM   21       AND 291, PAGE 51.

12:31PM   22             DR. CULLEN, A MOMENT AGO I READ FOR YOU THE CONCLUSION

12:31PM   23       SECTION IN THE VALIDATION REPORT THAT WAS SENT TO

12:32PM   24       SCHERING-PLOUGH.

12:32PM   25             DO YOU RECALL THAT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 145
                                                                               146 of
                                                                                   of 285
                                                                                      286
                   CULLEN DIRECT BY MR. SCHENK                                          5047


12:32PM    1       A.    YES.

12:32PM    2       Q.    AND THAT'S APPEARING NOW AT THE TOP OF THE SCREEN, THAT

12:32PM    3       THE THERANOS MULTIPLEXED ASSAYS WERE SHOWN TO GIVE ACCURATE AND

12:32PM    4       PRECISE RESULTS FOR THREE INDEPENDENTLY CALIBRATED CARTRIDGE

12:32PM    5       LOTS.

12:32PM    6             DO YOU SEE THAT?

12:32PM    7       A.    YES.

12:32PM    8       Q.    AND I THINK YOU TOLD US THAT WAS NOT A SCHERING-PLOUGH

12:32PM    9       CONCLUSION; IS THAT RIGHT?

12:32PM   10       A.    THAT IS CORRECT.

12:32PM   11       Q.    AND IN EXHIBIT 291, THE VERSION THAT WAS ATTACHED TO THE

12:32PM   12       WALGREENS EMAIL, THE FIRST SENTENCE OF THE CONCLUSIONS NOW

12:32PM   13       READS, "THE THERANOS IL-6, TNF-ALPHA, CRP ASSAYS MULTIPLEX HAS

12:32PM   14       BEEN SHOWN TO GIVE MORE ACCURATE AND PRECISE RESULTS FOR THREE

12:32PM   15       INDEPENDENTLY CALIBRATED CARTRIDGE LOTS AND ALL OF THE MANY

12:32PM   16       INSTRUMENTS USED THAN CURRENT 'GOLD STANDARD' REFERENCE

12:32PM   17       METHODS."

12:32PM   18             DID I READ THAT RIGHT?

12:32PM   19       A.    YES.

12:32PM   20       Q.    IT MAY GO WITHOUT SAYING, BUT YOU DID NOT APPROVE THE

12:32PM   21       VERSION ON TOP, THE ONE THAT WAS SENT TO YOU; IS THAT CORRECT?

12:33PM   22       A.    THAT'S CORRECT.

12:33PM   23       Q.    AND THE ENHANCED CONCLUSION, IS THAT SOMETHING THAT YOU

12:33PM   24       WOULD AGREE WITH?

12:33PM   25       A.    NO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 146
                                                                               147 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5048


12:33PM    1       Q.    IS THAT SOMETHING THAT, TO YOUR KNOWLEDGE, ANYBODY FROM

12:33PM    2       SCHERING-PLOUGH AGREED WITH?

12:33PM    3       A.    NO.

12:33PM    4                     MR. SCHENK:   YOUR HONOR, MAY I HAVE ONE MOMENT?

12:33PM    5                     THE COURT:    YES.

12:33PM    6             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

12:33PM    7                     MR. SCHENK:   THANK YOU.    NO FURTHER QUESTIONS.

12:33PM    8                     THE COURT:    MR. CLINE, DO YOU HAVE

12:33PM    9       CROSS-EXAMINATION?

12:33PM   10                     MR. CLINE:    I DO.

12:33PM   11                                   CROSS-EXAMINATION

12:33PM   12       BY MR. CLINE:

12:33PM   13       Q.    DR. CULLEN, GOOD AFTERNOON.

12:34PM   14       A.    GOOD AFTERNOON.

12:34PM   15       Q.    MY NAME IS JOHN CLINE AND I'M ONE OF THE LAWYERS FOR

12:34PM   16       MS. HOLMES.

12:34PM   17             LET ME START BY TAKING CARE A LITTLE BIT OF ADMINISTRATIVE

12:34PM   18       STUFF HERE.

12:34PM   19             YOUR HONOR, MAY I APPROACH THE WITNESS?

12:34PM   20                     THE COURT:    YES.

12:34PM   21       BY MR. CLINE:

12:34PM   22       Q.    DR. CULLEN, I'M GOING TO HAND YOU ANOTHER BINDER --

12:34PM   23       A.    OKAY.

12:34PM   24       Q.    -- WHICH HAS SOME OTHER EXHIBITS IN IT THAT I WILL BE

12:34PM   25       REFERRING YOU TO AS WE GO ALONG (HANDING.)



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 147
                                                                               148 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5049


12:34PM    1             DR. CULLEN, LET ME START WITH THAT BETA TESTING THAT

12:34PM    2       MR. SCHENK MENTIONED TO YOU.       THAT'S WHERE YOU GOT THE ACTUAL

12:34PM    3       PHYSICAL MACHINES FROM THERANOS?

12:34PM    4       A.    CORRECT.

12:34PM    5       Q.    AND HOW MANY DID YOU GET?      YOU GOT TWO?

12:34PM    6       A.    MY RECOLLECTION IS THAT WE GOT TWO.

12:34PM    7       Q.    ALL RIGHT.    AND YOU RAN ONE ASSAY, ONE SAMPLE?

12:35PM    8       A.    CORRECT.

12:35PM    9       Q.    WAS IT ON ONE MACHINE?      TWO MACHINES?

12:35PM   10       A.    I DON'T RECALL IF IT WAS ON ONE OR TWO MACHINES.

12:35PM   11       Q.    ALL RIGHT.    AND THE -- YOU AND YOUR TEAM THOUGHT THAT THE

12:35PM   12       DEVICE WORKED WELL; CORRECT?

12:35PM   13       A.    YES.

12:35PM   14       Q.    AND YOU THOUGHT IT APPEARED TO PROVIDE ACCURATE RESULTS;

12:35PM   15       RIGHT?

12:35PM   16       A.    AS FAR AS WE COULD TELL.

12:35PM   17       Q.    THAT WAS YOUR THOUGHT AT THE TIME, THOUGH, THAT IT

12:35PM   18       APPEARED TO PROVIDE ACCURATE RESULTS?

12:35PM   19       A.    AS FAR AS WE COULD TELL.

12:35PM   20       Q.    YES.    AND YOU WERE -- YOU AND YOUR TEAM WERE IMPRESSED

12:35PM   21       WITH ITS SENSITIVITY; CORRECT?

12:35PM   22       A.    WE WERE IMPRESSED WITH THE SENSITIVITY.

12:35PM   23       Q.    ALL RIGHT.    SO LET ME NOW TURN TO THE SECOND PART OF WHAT

12:35PM   24       YOU TESTIFIED ABOUT, WHICH IS THE, THE VALIDATION PART.

12:35PM   25             OKAY?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 148
                                                                               149 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5050


12:35PM    1       A.    OKAY.

12:35PM    2       Q.    IF YOU COULD GO TO EXHIBIT 10570 IN THE BINDER THAT I'VE

12:35PM    3       JUST HANDED YOU.

12:36PM    4             DO YOU SEE THAT?      DID YOU FIND THAT, DR. CULLEN?

12:36PM    5       A.    I DID.

12:36PM    6       Q.    ALL RIGHT.    AND THAT IS AN EMAIL FROM YOU -- I'M SORRY,

12:36PM    7       FROM MS. HOLMES TO YOU, WITH VARIOUS PEOPLE COPIED; RIGHT?

12:36PM    8       A.    CORRECT.

12:36PM    9                     MR. CLINE:    YOUR HONOR, I THINK WE'VE AGREED THAT

12:36PM   10       THIS IS ADMISSIBLE, SO I'LL OFFER 10570.

12:36PM   11                     MR. SCHENK:   THAT'S CORRECT.

12:36PM   12                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:36PM   13             (DEFENDANT'S EXHIBIT 10570 WAS RECEIVED IN EVIDENCE.)

12:36PM   14                     MR. CLINE:    ALL RIGHT.   IF WE CAN PUT THAT UP,

12:36PM   15       PLEASE.    THAT'S FINE.

12:36PM   16       Q.    NOW, THE SUBJECT LINE ON THIS IS FOLLOW UP TO OUR CALL.

12:36PM   17             DO YOU SEE THAT?

12:36PM   18       A.    YES.

12:36PM   19       Q.    AND THE DATE OF THIS IS NOVEMBER THE 12TH, 2008.

12:36PM   20       A.    CORRECT.

12:36PM   21       Q.    DOES THIS HELP YOU RECALL THAT YOUR INITIAL COMMUNICATION

12:36PM   22       WITH MS. HOLMES WAS IN LATE 2008?

12:37PM   23       A.    I MEAN, I CAN'T DISAGREE WITH THE EMAIL, BUT I DON'T

12:37PM   24       RECALL THAT.

12:37PM   25       Q.    ALL RIGHT.    I RECOGNIZE THAT THIS WAS A LONG TIME AGO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 149
                                                                               150 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5051


12:37PM    1       A.    RIGHT.

12:37PM    2       Q.    I'M JUST ASKING YOU TO GIVE YOUR BEST --

12:37PM    3       A.    SURE.

12:37PM    4       Q.    -- ESTIMATE.    LET'S PUT IT THAT WAY.

12:37PM    5             AND THE SUBJECT IS FOLLOW UP TO OUR CALL.

12:37PM    6             MS. HOLMES SAYS, "CONNIE.

12:37PM    7             "GREAT TO CONNECT."

12:37PM    8             SUGGESTING THAT THE TWO OF YOU HAVE HAD SOME SORT OF A

12:37PM    9       PHONE CALL; RIGHT?

12:37PM   10       A.    CORRECT.

12:37PM   11       Q.    AND THEN SHE SAYS, "WE HAVE ATTACHED SEVERAL REPORTS FROM

12:37PM   12       PROGRAMS WE HAVE DONE WITH OTHER PHARMACEUTICAL COMPANIES."

12:37PM   13             DO YOU SEE THAT?

12:37PM   14       A.    YES.

12:37PM   15       Q.    AND THEN I'M NOT GOING TO ASK YOU TO GO THROUGH ALL OF THE

12:37PM   16       ATTACHMENTS, BUT THERE'S AN ATTACHMENT FROM, FOR EXAMPLE,

12:37PM   17       SOMETHING FROM NOVARTIS, THERE'S AN ATTACHMENT WITH SOMETHING

12:37PM   18       FROM GSK.

12:37PM   19             DO YOU SEE THAT?

12:37PM   20       A.    YES.

12:37PM   21       Q.    AND YOU RECOGNIZE NOVARTIS AND GSK AS MAJOR PHARMACEUTICAL

12:37PM   22       COMPANIES; CORRECT?

12:37PM   23       A.    I DO.

12:37PM   24       Q.    AND DO YOU RECALL, SITTING HERE TODAY, IF YOU LOOKED

12:37PM   25       THROUGH THESE REPORTS WHEN MS. HOLMES SENT THEM TO YOU?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 150
                                                                               151 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5052


12:38PM    1       A.    I BELIEVE THAT I DID.

12:38PM    2       Q.    OKAY.    NOW, LET'S GO TO 10571.

12:38PM    3             AGAIN, YOUR HONOR, THIS IS ONE THAT WE AGREE CAN BE

12:38PM    4       ADMITTED.

12:38PM    5                     MR. SCHENK:   CORRECT.

12:38PM    6                     MR. CLINE:    SO I'LL OFFER 10571.

12:38PM    7                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:38PM    8             (DEFENDANT'S EXHIBIT 10571 WAS RECEIVED IN EVIDENCE.)

12:38PM    9       BY MR. CLINE:

12:38PM   10       Q.    NOW, DR. CULLEN, IF YOU LOOK DOWN AT THE VERY BOTTOM OF

12:38PM   11       THIS EXHIBIT, YOU'LL SEE THAT THAT'S THE NOVEMBER 12TH, 2008

12:38PM   12       EMAIL THAT WE WERE TALKING ABOUT.

12:38PM   13             DO YOU SEE THAT?

12:38PM   14       A.    YES.

12:38PM   15       Q.    AND THEN MOVING UP THE PAGE AND FORWARD IN TIME, THERE'S

12:38PM   16       AN EMAIL FROM YOU TO MS. HOLMES.

12:38PM   17             DO YOU SEE THAT?

12:38PM   18       A.    CORRECT, YES, I DO.

12:38PM   19       Q.    DECEMBER 10TH, 2008.

12:38PM   20             AND IT'S COPIED A MS. CAROLYN BALKENHOL.

12:39PM   21             DO YOU SEE THAT?

12:39PM   22       A.    YES.

12:39PM   23       Q.    AND MR. FRENZEL.

12:39PM   24             DO YOU SEE THAT?

12:39PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 151
                                                                               152 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5053


12:39PM    1       Q.    AND DO YOU RECALL THAT THEY WERE BOTH THERANOS EMPLOYEES

12:39PM    2       WHO WERE PART OF THE EFFORT TO INTERACT WITH SCHERING-PLOUGH?

12:39PM    3       A.    I REMEMBER GARY FRENZEL.      I DO NOT REMEMBER

12:39PM    4       CAROLYN BALKENHOL.

12:39PM    5       Q.    AND IN THAT EMAIL FROM YOU TO ELIZABETH HOLMES, YOU SAY,

12:39PM    6       "ELIZABETH.

12:39PM    7             "I WAS WONDERING IF YOU COULD PROVIDE YOUR VALIDATION

12:39PM    8       REPORTS ON ANY OF THESE ASSAYS?"

12:39PM    9             AND THAT REFERS TO THE REPORTS THAT WE WERE JUST TALKING

12:39PM   10       ABOUT; CORRECT?

12:39PM   11       A.    CORRECT.

12:39PM   12       Q.    AND GSK AND NOVARTIS?

12:39PM   13       A.    (NODS HEAD UP AND DOWN.)

12:39PM   14       Q.    I'M SORRY.    I NEED AN AUDIBLE ANSWER.

12:39PM   15       A.    THAT'S CORRECT.

12:39PM   16       Q.    AND YOU SAY, "THE REPORTS THAT YOU PROVIDED SHOWED

12:39PM   17       CORRELATIONS BETWEEN YOUR ASSAYS AND CORRESPONDING COMMERCIAL

12:39PM   18       ASSAYS WHICH IS IMPORTANT, BUT I WAS MORE INTERESTED IN THE

12:39PM   19       VALIDATION REPORTS FOR YOUR ASSAYS."

12:39PM   20             DO YOU SEE THAT?

12:39PM   21       A.    YES, I DO.

12:39PM   22       Q.    AND THEN THE TOP EMAIL DATED DECEMBER 13TH, 2008 IS FROM

12:40PM   23       MS. BALKENHOL TO YOU, COPYING MR. FRENZEL AND MS. HOLMES.

12:40PM   24             DO YOU SEE THAT?

12:40PM   25       A.    YES, I DO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 152
                                                                               153 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5054


12:40PM    1       Q.    AND MS. BALKENHOL ATTACHES A TOTAL OF FOUR VALIDATION

12:40PM    2       SUMMARY REPORTS; CORRECT?

12:40PM    3       A.    CORRECT.

12:40PM    4       Q.    AND YOU HAD ASKED FOR TWO OF THEM, AND I GUESS

12:40PM    5       MS. BALKENHOL OR SOMEBODY AT THERANOS DECIDED TO PUT IN TWO

12:40PM    6       MORE; RIGHT?

12:40PM    7       A.    CORRECT.

12:40PM    8       Q.    YES.

12:40PM    9             AND DID YOU, DR. CULLEN, REVIEW THESE SUMMARY REPORTS WHEN

12:40PM   10       YOU HAD SEEN THEM?

12:40PM   11       A.    I PROBABLY REVIEWED THE INFLAMMATORY ONES.         I CAN'T SAY

12:40PM   12       FOR SURE WHETHER I REVIEWED THE OTHER TWO REPORTS.

12:40PM   13       Q.    SO THE INFLAMMATORY ONE IS WHICH ONE?

12:40PM   14       A.    SORRY.   INTERLEUKIN-6 AND TUMOR NECROSIS FACTOR ALPHA.

12:40PM   15       Q.    SO THE IL-6 AND TNF-ALPHA?

12:41PM   16       A.    CORRECT.

12:41PM   17       Q.    SO LET'S GO FORWARD NOW TO EXHIBIT 7079, OR ACTUALLY

12:41PM   18       YOU'RE PROBABLY GOING BACKWARDS, 7079.         FORWARD IN TIME,

12:41PM   19       BACKWARDS IN THE BOOK.

12:41PM   20             ARE YOU WITH ME?

12:41PM   21       A.    YES.

12:41PM   22                    MR. CLINE:    YOUR HONOR, I THINK 7079 WE'VE AGREED

12:41PM   23       CAN BE ADMITTED, SO I'LL OFFER IT.

12:41PM   24                    MR. SCHENK:    YES.

12:41PM   25                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 153
                                                                               154 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5055


12:41PM    1             (DEFENDANT'S EXHIBIT 7079 WAS RECEIVED IN EVIDENCE.)

12:41PM    2       BY MR. CLINE:

12:41PM    3       Q.    NOW, DR. CULLEN, THIS IS AN EMAIL FROM MS. HOLMES TO

12:41PM    4       MR. MCLEOD AND YOU; RIGHT?

12:41PM    5       A.    THAT'S CORRECT.

12:41PM    6       Q.    WAS MR. MCLEOD, WAS HE YOUR BOSS AT THE TIME?          A

12:42PM    7       COLLEAGUE?    WHERE DID YOU --

12:42PM    8       A.    NO.   HE WAS MY BOSS'S COLLEAGUE, I GUESS.

12:42PM    9       Q.    ALL RIGHT.

12:42PM   10       A.    SO HE WAS LEADING THE EARLY CLINICAL MEDICINE GROUP.

12:42PM   11       Q.    OKAY.   SO IN THE NO DOUBT COMPLICATED CORPORATE STRUCTURE

12:42PM   12       OF SCHERING-PLOUGH, HE WAS ABOVE YOU, BUT SORT OF TO THE SIDE?

12:42PM   13       A.    CORRECT.

12:42PM   14       Q.    SO, MS. HOLMES SAYS, "DEAR JIM.

12:42PM   15             "IN FOLLOW UP TO OUR DISCUSSIONS WITH CONNIE" -- AND

12:42PM   16       CONNIE IS YOU; RIGHT?

12:42PM   17       A.    THAT'S CORRECT.

12:42PM   18       Q.    -- "WE HAVE CEMENTED A COMPREHENSIVE VALIDATION PROGRAM ON

12:42PM   19       ONE OF OUR MULTIPLEXED CYTOKINE" -- AM I PRONOUNCING THAT

12:42PM   20       RIGHT?

12:42PM   21       A.    CYTOKINE.

12:42PM   22       Q.    -- "CYTOKINE PANELS.      I HAVE ATTACHED THE INVOICE AND

12:42PM   23       PROGRAM OVERVIEW TO THIS EMAIL."

12:42PM   24             AND IN THE NEXT PARAGRAPH MS. HOLMES SAYS, "WE DID OF

12:43PM   25       COURSE WORK THROUGH THE VALIDATION PROGRAM WITH CONNIE IN GREAT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 154
                                                                               155 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5056


12:43PM    1       DETAIL."

12:43PM    2             AND THAT WAS TRUE; RIGHT?

12:43PM    3       A.    I DON'T KNOW HOW TRUE IT WAS.       THEY PROVIDED A VALIDATION

12:43PM    4       PROTOCOL WHICH WAS SHOWN EARLIER.        IT'S NOT -- I MEAN, IT HIT

12:43PM    5       THE REQUIREMENTS.

12:43PM    6             BUT AT THE END OF THE DAY, THE EXECUTION WOULD NOT HAVE

12:43PM    7       BEEN IN ALIGNMENT WITH FDA OR HEALTH AUTHORITY REQUIREMENTS FOR

12:43PM    8       VALIDATION.

12:43PM    9       Q.    WELL, LET ME ASK YOU THIS:       YOU AND MS. HOLMES, OR YOU AND

12:43PM   10       OTHERS AT THERANOS HAD DISCUSSED THIS VALIDATION PROTOCOL

12:43PM   11       BEFORE IT WAS SENT TO MR. MCLEOD; RIGHT?

12:43PM   12       A.    I DON'T KNOW WHETHER OR NOT WE DISCUSSED IT PRIOR TO IT

12:43PM   13       BEING SENT TO MCLEOD.

12:43PM   14             WE WOULD HAVE DISCUSSED IT AS PEERS PRIOR TO THIS EMAIL IF

12:43PM   15       THAT'S WHAT YOU'RE ASKING.

12:43PM   16       Q.    THAT'S WHAT I'M ASKING.

12:43PM   17       A.    OKAY.

12:43PM   18       Q.    YOU AND EITHER MS. HOLMES OR SOMEONE ELSE AT THERANOS HAD

12:44PM   19       DISCUSSED THIS VALIDATION PROTOCOL BEFORE IT WAS SENT TO --

12:44PM   20       BEFORE THIS EMAIL; RIGHT?

12:44PM   21       A.    CORRECT.

12:44PM   22       Q.    OKAY.   SO LET'S -- AND I TAKE IT THAT AT LEAST IN ANY SORT

12:44PM   23       OF EMAIL FORM OR IN ANY SORT OF COMMUNICATION WITH MS. HOLMES,

12:44PM   24       YOU DID NOT, UPON RECEIVING THIS EMAIL, SAY, THAT'S AN

12:44PM   25       INADEQUATE VALIDATION PROTOCOL; RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 155
                                                                               156 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5057


12:44PM    1       A.     THAT'S CORRECT, WITH RESPECT TO THE PROTOCOL.

12:44PM    2       Q.     ALL RIGHT.   SO LET'S MOVE FORWARD THROUGH THIS A LITTLE

12:44PM    3       BIT.

12:44PM    4              IF YOU CAN FLIP TO THE NEXT PAGE.       ARE YOU WITH ME?

12:44PM    5       A.     YES.

12:44PM    6       Q.     AND THAT'S THE -- AT LEAST A SORT OF DRAFT OF THE INVOICE

12:44PM    7       THAT WE LOOKED AT BEFORE; RIGHT?

12:44PM    8       A.     CORRECT.

12:44PM    9       Q.     AND IF YOU GO OVER TO THE SECOND PAGE OF THE INVOICE, THE

12:44PM   10       THIRD PAGE OF THE EXHIBIT --

12:45PM   11              CAN WE BLOW UP THE VERY TOP, PLEASE?       THAT'S FINE.

12:45PM   12              THE INVOICE SAYS, "KEY PROJECT OBJECTIVE."

12:45PM   13              DO YOU SEE THAT?

12:45PM   14       A.     YES.

12:45PM   15       Q.     AND CAN YOU JUST READ THAT TO US, PLEASE?

12:45PM   16       A.     YES.   "COMPREHENSIVE VALIDATION OF THE THERANOS CYTOKINE

12:45PM   17       PANEL UNDER FDA/ICH GUIDELINES, ACCORDING TO THE FULL

12:45PM   18       VALIDATION PROTOCOL BELOW.       PROJECT SUCCESS CRITERIA INCLUDE

12:45PM   19       ANALYSIS OF BLINDED SAMPLES PROVIDED BY SCHERING-PLOUGH."

12:45PM   20       Q.     ALL RIGHT.   AND ON THIS VERSION OF THE INVOICE, THE

12:45PM   21       EXPECTED START DATE IS APRIL 15TH, 2009.

12:45PM   22              DO YOU SEE THAT?

12:45PM   23       A.     YES, I DO.

12:45PM   24       Q.     AND THE EXPECTED END DATE IS TO BE DETERMINED; RIGHT?

12:45PM   25       A.     CORRECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 156
                                                                               157 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5058


12:45PM    1       Q.    AND SIMILARLY, THE TOTAL DURATION OF SERVICES IS TO BE

12:45PM    2       DETERMINED; CORRECT?

12:45PM    3       A.    CORRECT.

12:45PM    4       Q.    AND THEN IF WE GO TO THE NEXT PAGE, WE FIND THE THERANOS

12:46PM    5       SYSTEM FULL VALIDATION PROTOCOL, WHICH I BELIEVE YOU TESTIFIED

12:46PM    6       ABOUT BEFORE; CORRECT?

12:46PM    7       A.    CORRECT.

12:46PM    8       Q.    SO NOW LET'S GO TO EXHIBIT 200.

12:46PM    9             AND BY THE WAY, THIS VALIDATION PROTOCOL THAT YOU'VE

12:46PM   10       TESTIFIED ABOUT, THAT WAS THE VALIDATION PROTOCOL THAT GOVERNED

12:46PM   11       THE VALIDATION PORTION OF SCHERING-PLOUGH'S INTERACTIONS WITH

12:46PM   12       THERANOS; CORRECT?

12:46PM   13       A.    CORRECT.

12:46PM   14       Q.    ALL RIGHT.    SO LET'S GO TO EXHIBIT 200, WHICH I THINK

12:46PM   15       YOU'VE ALREADY TESTIFIED ABOUT, AND WHICH IS IN EVIDENCE.

12:46PM   16             THIS IS THE SERVICES AGREEMENT BETWEEN SCHERING-PLOUGH AND

12:46PM   17       THERANOS; RIGHT?

12:46PM   18       A.    CORRECT.

12:46PM   19       Q.    SO THIS IS THE AGREEMENT THAT GOVERNS THE RELATIONSHIP

12:46PM   20       BETWEEN THE TWO COMPANIES WITH RESPECT TO THE VALIDATION;

12:46PM   21       RIGHT?

12:46PM   22       A.    CORRECT.

12:46PM   23       Q.    AND AS I THINK MR. SCHENK POINTED OUT ON DIRECT, IF YOU

12:47PM   24       LOOK ON PAGE 1, THE FIRST NUMBERED PARAGRAPH, IN DESCRIBING THE

12:47PM   25       PROJECT, THIS AGREEMENT SAYS, "PROVIDER WILL PROVIDE TO



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 157
                                                                               158 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5059


12:47PM    1       SCHERING-PLOUGH SERVICES INCLUDING BUT NOT LIMITED TO

12:47PM    2       COMPREHENSIVE VALIDATION OF THE THERANOS CYTOKINE PANEL UNDER

12:47PM    3       FDA/ICH GUIDELINES-SCHERING-PLOUGH 001 AS FURTHER DESCRIBED IN

12:47PM    4       ATTACHMENT C (INVOICE)."

12:47PM    5             DO YOU SEE THAT?

12:47PM    6       A.    YES, I DO.

12:47PM    7       Q.    AND THIS AGREEMENT WAS SIGNED BY MR. MCLEOD; CORRECT?

12:47PM    8       A.    THAT'S MY UNDERSTANDING, YES.

12:47PM    9       Q.    ALL RIGHT.    SO IF YOU -- IF WE MOVE FORWARD IN THIS, LET'S

12:47PM   10       GO TO PAGE 9.

12:47PM   11             MS. HOLMES SIGNS FOR THERANOS; CORRECT?

12:48PM   12       A.    CORRECT.

12:48PM   13       Q.    AND MR. MCLEOD SIGNS FOR SCHERING-PLOUGH; RIGHT?

12:48PM   14       A.    CORRECT.

12:48PM   15       Q.    AND IT LOOKS LIKE THEY BOTH SIGN APRIL 29TH, 2009; RIGHT?

12:48PM   16       A.    YES.

12:48PM   17       Q.    SO PRESUMABLY THAT APRIL 15TH, 2009 START DATE IS NOW

12:48PM   18       INOPERATIVE?

12:48PM   19       A.    CORRECT.

12:48PM   20       Q.    AND IF WE GO A FEW PAGES FURTHER, PAGE 13 OF EXHIBIT 200,

12:48PM   21       WE NOW FIND AN INITIALLED VERSION OF THE INVOICE.

12:48PM   22             DO YOU SEE THAT?

12:48PM   23       A.    YES, I DO.

12:48PM   24       Q.    AND THE INVOICE DATE IS APRIL 29TH, 2009; RIGHT?

12:48PM   25       A.    I SEE 30 APRIL 2009.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 158
                                                                               159 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5060


12:48PM    1       Q.    LOOK AT THE --

12:48PM    2       A.    OH, THE DATE.     I'M SORRY.   I THOUGHT YOU WERE REFERRING TO

12:49PM    3       THE SIGNATURE.

12:49PM    4       Q.    OKAY.    BUT YOU SEE THE DATE APRIL 29TH, 2009?

12:49PM    5       A.    I DO.

12:49PM    6       Q.    AND THE INITIAL IS A LITTLE BIT HARD TO MAKE OUT, BUT DOES

12:49PM    7       IT LOOK TO YOU LIKE MR. MCLEOD'S INITIAL THERE?

12:49PM    8       A.    YES.

12:49PM    9       Q.    WHICH SUGGESTS TO YOU THAT HE HAD REVIEWED AND APPROVED

12:49PM   10       THIS, I TAKE IT?

12:49PM   11       A.    I WOULD GUESS SO.

12:49PM   12                     MR. SCHENK:    OBJECTION.    CALLS FOR SPECULATION.

12:49PM   13                     THE COURT:    IF YOU KNOW?   DO YOU KNOW?

12:49PM   14                     THE WITNESS:   I DON'T KNOW.

12:49PM   15       BY MR. CLINE:

12:49PM   16       Q.    ALL RIGHT.    I DON'T WANT YOU TO SPECULATE.

12:49PM   17             AND IF YOU LOOK OVER ON THE NEXT PAGE OF THIS INVOICE, YOU

12:49PM   18       SEE, "KEY PROJECT OBJECTIVE"?

12:49PM   19       A.    YES, I DO.

12:49PM   20       Q.    AND THAT'S THE SAME KEY PROJECT OBJECTIVE THAT YOU READ A

12:49PM   21       MOMENT AGO; IS THAT RIGHT?

12:49PM   22       A.    YES.

12:49PM   23       Q.    AND WHICH IS "COMPREHENSIVE VALIDATION OF THE THERANOS

12:49PM   24       CYTOKINE PANEL UNDER FDA/ICH GUIDELINES, ACCORDING TO ATTACHED

12:49PM   25       FULL VALIDATION PROTOCOL."



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 159
                                                                               160 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5061


12:49PM    1             DO YOU SEE THAT?

12:50PM    2       A.    CORRECT, YES.

12:50PM    3       Q.    AND THE START DATE, THE EXPECTED START DATE IS NOW

12:50PM    4       MAY 1ST, 2009.

12:50PM    5             DO YOU SEE THAT?

12:50PM    6       A.    I DO.

12:50PM    7       Q.    AND THE END DATE IS STILL TBD?

12:50PM    8       A.    CORRECT.

12:50PM    9       Q.    AND THE TOTAL DURATION IS TBD; RIGHT?

12:50PM   10       A.    CORRECT.

12:50PM   11       Q.    NOW, MAY 1ST, 2009 WAS JUST FOUR DAYS BEFORE YOU ACTUALLY

12:50PM   12       VISITED THERANOS; CORRECT?

12:50PM   13       A.    CORRECT.

12:50PM   14       Q.    SO REALISTICALLY, THIS WAS NOT GOING TO BE DONE BEFORE YOU

12:50PM   15       VISITED; RIGHT?

12:50PM   16       A.    ONE OF THE, ONE OF THE SELLING FEATURES OF THE TECHNOLOGY

12:50PM   17       WAS SPEED.

12:50PM   18             BUT IN MY ESTIMATION, NO, IT COULD NOT HAVE BEEN COMPLETED

12:50PM   19       IN FOUR DAYS.

12:50PM   20       Q.    ALL RIGHT.    I MEAN, IT TOOK 14 DAYS JUST TO GET THIS

12:50PM   21       INVOICE UPDATED; RIGHT?      SO IT'S UNLIKELY THAT THIS PROJECT IS

12:50PM   22       GOING TO BE ACCOMPLISHED IN FOUR DAYS; RIGHT?

12:50PM   23       A.    CORRECT.

12:50PM   24       Q.    NOW, IF YOU -- IF WE CONTINUE WITH EXHIBIT 200, YOU SEE

12:50PM   25       THAT IT INCLUDES THE THERANOS SYSTEM FULL VALIDATION PROTOCOL;



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 160
                                                                               161 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5062


12:51PM    1       RIGHT?

12:51PM    2             DO YOU SEE THAT?

12:51PM    3       A.    CORRECT.

12:51PM    4       Q.    AND AGAIN, THAT WAS THE PROTOCOL THAT WAS ATTACHED TO THAT

12:51PM    5       APRIL 15TH, 2009 EMAIL; RIGHT?

12:51PM    6       A.    THAT'S CORRECT.

12:51PM    7       Q.    NOW, IT IS INCLUDED IN THE AGREEMENT BETWEEN THE PARTIES

12:51PM    8       HERE; RIGHT?

12:51PM    9       A.    CORRECT.

12:51PM   10       Q.    NOW, LET'S GO FORWARD TO EXHIBIT 10572.

12:51PM   11             I THINK WE AGREED ON THIS, DIDN'T WE?

12:51PM   12                    MR. SCHENK:    YES.

12:51PM   13                    MR. CLINE:    I'LL OFFER 10572.

12:51PM   14                    MR. SCHENK:    NO OBJECTION.

12:51PM   15                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:51PM   16             (DEFENDANT'S EXHIBIT 10572 WAS RECEIVED IN EVIDENCE.)

12:51PM   17       BY MR. CLINE:

12:51PM   18       Q.    NOW, YOU'VE TESTIFIED THAT YOU AND SEVERAL OF YOUR

12:51PM   19       COLLEAGUES FROM SCHERING-PLOUGH VISITED THERANOS ON MAY 5TH,

12:51PM   20       2009; RIGHT?

12:52PM   21       A.    CORRECT.

12:52PM   22       Q.    AND THIS IS THE AGENDA FOR THAT MEETING; CORRECT?

12:52PM   23       A.    CORRECT.

12:52PM   24       Q.    AND THIS WAS, I TAKE IT, SHARED AMONG THE PARTICIPANTS SO

12:52PM   25       YOU WOULD KNOW SORT OF THE ROADMAP OF WHERE YOU WERE GOING FOR



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 161
                                                                               162 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5063


12:52PM    1       THE DAY?

12:52PM    2       A.    CORRECT.

12:52PM    3       Q.    DID MR. -- LOOKING DOWN AT THE BOTTOM NOW, DID MR. MCLEOD

12:52PM    4       JOIN BY PHONE, DO YOU RECALL?

12:52PM    5       A.    I DON'T RECALL.

12:52PM    6       Q.    OKAY.   NOW, ACCORDING TO THE AGENDA, YOU WERE STARTING AT

12:52PM    7       8:00 O'CLOCK AND YOU'RE ENDING AT 4:30 OR AFTER.

12:52PM    8             DO YOU SEE THAT?

12:52PM    9       A.    YES.

12:52PM   10       Q.    IS IT YOUR RECOLLECTION THAT THIS MEETING LASTED PRETTY

12:52PM   11       MUCH A FULL DAY?

12:52PM   12       A.    YES.

12:52PM   13       Q.    AND THE COLLEAGUES FROM SCHERING-PLOUGH WHO CAME WITH YOU,

12:52PM   14       IF I SCAN THEIR QUALIFICATIONS QUICKLY, IT LOOKS LIKE THEY ALL

12:52PM   15       EITHER HAD PH.D.'S OR WERE MEDICAL DOCTORS, OR BOTH; RIGHT?

12:53PM   16       A.    CORRECT.

12:53PM   17       Q.    NOW, I THINK YOU TESTIFIED THAT YOU DIDN'T FEEL AS THOUGH

12:53PM   18       YOU HAD RECEIVED THE INFORMATION THAT YOU NEEDED OR DIRECT

12:53PM   19       ANSWERS TO THE TECHNICAL QUESTIONS THAT YOU ASKED; CORRECT?

12:53PM   20       A.    CORRECT.

12:53PM   21       Q.    BUT I THINK YOU ALSO TESTIFIED THAT YOU DID NOT VOICE

12:53PM   22       THOSE CONCERNS TO MS. HOLMES OR TO THERANOS OUT OF POLITENESS

12:53PM   23       OR AWKWARDNESS OR SOME REASON LIKE THAT; CORRECT?

12:53PM   24       A.    CORRECT.

12:53PM   25       Q.    YOU VOICED THEM TO YOUR COLLEAGUES, BUT NOT TO THERANOS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 162
                                                                               163 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5064


12:53PM    1       A.    CORRECT.

12:53PM    2       Q.    AND THERE'S A FOLLOW-ON EMAIL JUNE 16TH OF 2009, WHICH I

12:53PM    3       THINK YOU TALKED ABOUT ON DIRECT, TO MR. FRENZEL WHERE YOU'RE

12:53PM    4       ASKING HIM TO SORT OF GIVE ME A STATUS REPORT.

12:53PM    5             APART FROM THAT, ARE YOU AWARE OF ANY EMAILS FROM

12:53PM    6       SCHERING-PLOUGH ON ONE HAND TO THERANOS ON THE OTHER ASKING FOR

12:54PM    7       MORE INFORMATION?

12:54PM    8       A.    I AM NOT.

12:54PM    9       Q.    NOW, IF WE COULD GO TO 10573.

12:54PM   10             AND I BELIEVE THIS IS -- WE'VE AGREED TO ADMIT THIS?

12:54PM   11                    MR. SCHENK:    YES.

12:54PM   12                    MR. CLINE:    I'LL OFFER 10573.

12:54PM   13                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:54PM   14             (DEFENDANT'S EXHIBIT 10573 WAS RECEIVED IN EVIDENCE.)

12:54PM   15       BY MR. CLINE:

12:54PM   16       Q.    AND IT MAY BE THAT THIS IS IDENTICAL TO AN EXHIBIT THAT

12:54PM   17       YOU HAVE ALREADY LOOKED AT?

12:54PM   18       A.    YES.

12:54PM   19       Q.    BUT IT'S NOW DECEMBER OF 2009, AND MR. FRENZEL IS EMAILING

12:54PM   20       YOU THE VALIDATION REPORT; CORRECT?

12:54PM   21       A.    THAT'S CORRECT.

12:54PM   22       Q.    AND HE SENDS IT TO YOU DECEMBER 3RD, 2009.         THE SUBJECT

12:54PM   23       LINE IS VALIDATION REPORT.

12:54PM   24             AND THEN A FEW DAYS LATER, DECEMBER 9TH, 2009, HE WRITES

12:55PM   25       TO YOU AGAIN AND SAYS, "I JUST WANTED TO MAKE SURE THAT YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 163
                                                                               164 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5065


12:55PM    1       RECEIVED THIS REPORT.      WE ARE LOOKING FORWARD TO DISCUSSING IT

12:55PM    2       WITH YOU."

12:55PM    3             RIGHT?

12:55PM    4       A.    CORRECT.

12:55PM    5       Q.    NOW, AT ABOUT THIS TIME, SCHERING-PLOUGH WAS IN THE

12:55PM    6       PROCESS OF MERGING WITH OR BEING ACQUIRED BY MERCK; IS THAT

12:55PM    7       RIGHT?

12:55PM    8       A.    THAT'S CORRECT.

12:55PM    9       Q.    AND YOU WERE VERY BUSY WITH THAT PROCESS; CORRECT?

12:55PM   10       A.    CORRECT.

12:55PM   11       Q.    AND ULTIMATELY YOU ENDED UP WITH A POSITION AT MERCK;

12:55PM   12       RIGHT?

12:55PM   13       A.    THAT'S CORRECT.

12:55PM   14       Q.    AND WAS IT A PROMOTION FROM THE POSITION THAT YOU HAD

12:55PM   15       PREVIOUSLY HELD AT SCHERING-PLOUGH?

12:55PM   16       A.    IT WAS NOT A PROMOTION, BUT THEY DID MAKE ME RESPONSIBLE

12:55PM   17       FOR THE COMBINED GROUP BETWEEN THE SCHERING-PLOUGH AND THE

12:55PM   18       MERCK ORGANIZATIONS.

12:55PM   19       Q.    THAT SOUNDS LIKE A BIG COMPANY.       NO PROMOTION, BUT MORE

12:55PM   20       RESPONSIBILITY?

12:55PM   21       A.    I EVENTUALLY GOT THE PROMOTION.

12:55PM   22       Q.    OKAY.    GLAD TO HEAR IT.

12:56PM   23             SO IF WE GO NOW TO EXHIBIT 262, WHICH I THINK IS IN

12:56PM   24       EVIDENCE.     SORRY TO BE MOVING YOU BACK AND FORTH.

12:56PM   25             AND 262, I THINK, IS IN THE GOVERNMENT'S BINDER, BUT WE'LL



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 164
                                                                               165 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5066


12:56PM    1       PUT IT UP ON THE SCREEN SO THAT YOU CAN SEE IT.

12:56PM    2             YOU WRITE BACK QUICKLY TO MR. FRENZEL AFTER HE SENDS THAT

12:56PM    3       DECEMBER 9TH EMAIL AND YOU SAY, "I'M SORRY FOR THE SLOW

12:56PM    4       RESPONSE.    I DID RECEIVE THE REPORT.      I'D ACTUALLY LIKE TO

12:56PM    5       DEFER OUR DISCUSSIONS UNTIL JANUARY.        WE ARE TOTALLY SWAMPED

12:56PM    6       WITH THE MERGER WITH MERCK."

12:56PM    7             DO YOU SEE THAT?

12:56PM    8       A.    THAT'S CORRECT, YES.

12:56PM    9       Q.    AND, IN FACT, THAT'S WHAT WAS GOING ON; RIGHT?

12:56PM   10       A.    THAT'S CORRECT.

12:56PM   11       Q.    SO LET'S GO FORWARD NOW TO 10574.

12:57PM   12             AND AGAIN, YOUR HONOR, I BELIEVE WE HAVE AGREED THAT THIS

12:57PM   13       CAN BE ADMITTED.

12:57PM   14                    MR. SCHENK:    YES, NO OBJECTION.

12:57PM   15                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:57PM   16             (DEFENDANT'S EXHIBIT 10574 WAS RECEIVED IN EVIDENCE.)

12:57PM   17       BY MR. CLINE:

12:57PM   18       Q.    ALL RIGHT.    SO LET ME -- LET'S START WITH THE BOTTOM EMAIL

12:57PM   19       THERE.

12:57PM   20             WE'RE NOW IN MARCH OF 2010; RIGHT?

12:57PM   21       A.    CORRECT.

12:57PM   22       Q.    AND MS. HOLMES WRITES TO YOU.       THE SUBJECT IS FOLLOW UP.

12:57PM   23             AND SHE SAYS "CONNIE --

12:57PM   24             "CAROLYN LET ME KNOW YOU TWO CONNECTED" -- THAT WOULD BE

12:57PM   25       CAROLYN BALKENHOL, DO YOU EXPECT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 165
                                                                               166 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5067


12:57PM    1       A.    I WOULD EXPECT.

12:57PM    2       Q.    -- "I AM REALLY LOOKING FORWARD TO OUR NEXT CONVERSATION.

12:57PM    3       PLEASE LET ME KNOW IF THERE IS ANYTHING WE CAN DO FROM OUR END

12:57PM    4       TO HELP FACILITATE THINGS MOVING FORWARD IN THE MEANTIME."

12:57PM    5             THEN SHE SAYS CONGRATULATIONS ON YOUR NEW ROLE WHERE YOU

12:57PM    6       HAD MORE RESPONSIBILITY BUT NO PROMOTION, "I WAS HAPPY TO HEAR

12:57PM    7       ABOUT IT."

12:57PM    8       A.    YES.

12:57PM    9       Q.    AND YOU WRITE BACK THE NEXT DAY AND SAY "HI ELIZABETH.

12:58PM   10             "THANKS FOR THE NOTE BELOW.       THINGS WILL SETTLE DOWN

12:58PM   11       EVENTUALLY.    IN THE MEANTIME, I'VE ASKED A SCIENTIST FROM MY

12:58PM   12       GROUP (DON LEE) TO REACH OUT TO GARY TO DISCUSS THE SPECIFICS

12:58PM   13       OF THE VALIDATION."

12:58PM   14             DO YOU SEE THAT?

12:58PM   15       A.    I DO.

12:58PM   16       Q.    NOW, WOULD IT BE DR. LEE, THE SCIENTIST?

12:58PM   17       A.    IT WAS NOT DR. LEE.

12:58PM   18       Q.    MR. LEE?

12:58PM   19       A.    MR. LEE.

12:58PM   20       Q.    DID MR. LEE REACH OUT TO GARY, DO YOU KNOW?

12:58PM   21       A.    I DON'T KNOW.

12:58PM   22       Q.    AND I TAKE IT YOU HAD SO MUCH GOING ON, I TAKE IT YOU

12:58PM   23       DIDN'T FOLLOW UP ON THIS?

12:58PM   24       A.    THAT'S CORRECT.

12:58PM   25       Q.    AND MS. HOLMES SIX DAYS LATER WRITES AGAIN AND SHE SAYS,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 166
                                                                               167 of
                                                                                   of 285
                                                                                      286
                   CULLEN CROSS BY MR. CLINE                                            5068


12:58PM    1       "THANKS CONNIE.     PLEASE LET ME KNOW IF THERE IS ANYTHING WE CAN

12:58PM    2       DO ON OUR END TO HELP FACILITATE THIS."

12:58PM    3             RIGHT?

12:58PM    4       A.    CORRECT.

12:58PM    5       Q.    AND IS IT FAIR TO SAY THAT, FROM THE BEST OF YOUR

12:58PM    6       RECOLLECTION SITTING HERE TODAY, THAT THAT'S THE LAST

12:58PM    7       COMMUNICATION THAT YOU HAD WITH MS. HOLMES?

12:58PM    8       A.    THAT'S PROBABLY CORRECT, BUT I CAN'T SAY FOR SURE.

12:58PM    9       Q.    ALL RIGHT.    YOU WERE ASKED ON DIRECT IF YOU HAD EVER TOLD

12:59PM   10       ANYONE AT THERANOS THAT THE REPORT THAT WAS SENT TO YOU BY

12:59PM   11       MR. FRENZEL IN DECEMBER WAS, WAS ACCURATE, GOOD, BAD, WHATEVER.

12:59PM   12             AND THE ANSWER WAS THAT YOU HAD NOT TOLD ANYONE AT

12:59PM   13       THERANOS THAT; RIGHT?

12:59PM   14       A.    THAT'S CORRECT.

12:59PM   15       Q.    YOU SIMILARLY DIDN'T TELL ANYONE AT THERANOS THAT THERE

12:59PM   16       WERE ANY PROBLEMS WITH THE REPORT; RIGHT?

12:59PM   17       A.    THAT IS CORRECT.

12:59PM   18       Q.    YOU JUST DIDN'T RESPOND AT ALL IN THE END; RIGHT?

12:59PM   19       A.    THAT IS CORRECT.

12:59PM   20       Q.    ALL RIGHT.

12:59PM   21             THAT'S ALL OF MY QUESTIONS, YOUR HONOR.

12:59PM   22             THANK YOU, YOUR HONOR.

12:59PM   23             THANK YOU, DR. CULLEN.

12:59PM   24                    THE COURT:    MR. SCHENK?

12:59PM   25                    MR. SCHENK:    NO FURTHER QUESTIONS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 167
                                                                               168 of
                                                                                   of 285
                                                                                      286
                                                                                        5069


12:59PM    1                    THE COURT:    MAY THIS WITNESS BE EXCUSED?

12:59PM    2                    MR. SCHENK:    YES.

12:59PM    3                    MR. CLINE:    YES.

12:59PM    4                    THE COURT:    YOU'RE EXCUSED.

12:59PM    5                    THE WITNESS:    THANK YOU.

12:59PM    6                    THE COURT:    YOU'RE WELCOME.

12:59PM    7             FOLKS, FEEL FREE TO STAND AND STRETCH FOR A MOMENT WHILE

01:00PM    8       WE GET READY FOR THE NEXT WITNESS.

01:01PM    9             (PAUSE IN PROCEEDINGS.)

01:01PM   10                    THE COURT:    ARE WE BREAKING AT 1:30?      IS THAT RIGHT?

01:01PM   11                    MS. TREFZ:    YES.

01:01PM   12                    THE COURT:    SO, LADIES AND GENTLEMEN, WE'LL TAKE OUR

01:01PM   13       NEXT BREAK AT 1:30, AT THE BOTTOM OF THE HOUR.

01:01PM   14             BUT I THINK THAT THE GOVERNMENT HAS A WITNESS TO CALL IN

01:01PM   15       THE INTERIM.

01:01PM   16                    MR. SCHENK:    YES.

01:01PM   17             YOUR HONOR, THE UNITED STATES CALLS DANIEL MOSLEY.

01:01PM   18                    THE COURT:    SIR, IF YOU WOULD JUST COME FORWARD

01:01PM   19       HERE, AND IF YOU WOULD FACE OUR COURTROOM DEPUTY WHILE YOU

01:01PM   20       RAISE YOUR RIGHT HAND, SHE HAS A QUESTION FOR YOU.

01:01PM   21             (GOVERNMENT'S WITNESS, DANIEL MOSLEY, WAS SWORN.)

01:01PM   22                    THE WITNESS:    YES.

01:02PM   23                    THE COURT:    PLEASE HAVE A SEAT UP HERE, SIR.       MAKE

01:02PM   24       YOURSELF COMFORTABLE.

01:02PM   25                    THE WITNESS:    THANK YOU.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 168
                                                                               169 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5070


01:02PM    1                     THE COURT:    YOU'RE WELCOME.

01:02PM    2             FEEL FREE TO ADJUST THE CHAIR AND MICROPHONE AS YOU NEED.

01:02PM    3                     THE WITNESS:   OKAY.

01:02PM    4                     THE COURT:    AND WHEN YOU ARE COMFORTABLE, I'LL

01:02PM    5       ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE, AND PLEASE

01:02PM    6       STATE YOUR NAME.

01:02PM    7                     THE WITNESS:   OKAY.    DANIEL LYNN MOSLEY.

01:02PM    8                     THE COURT:    THANK YOU.   COULD YOU SPELL THAT FOR US,

01:02PM    9       PLEASE.

01:02PM   10                     THE WITNESS:   M-O-S-L-E-Y.

01:02PM   11                     THE COURT:    THANK YOU.

01:02PM   12             MR. SCHENK.

01:02PM   13                                  DIRECT EXAMINATION

01:02PM   14       BY MR. SCHENK:

01:02PM   15       Q.    THANK YOU.

01:02PM   16             MR. MOSLEY, IF YOU ARE FULLY VACCINATED, AND WITH THE

01:02PM   17       COURT'S PERMISSION, YOU MAY TESTIFY WITHOUT YOUR MASK ON.

01:02PM   18       A.    OKAY.    THANK YOU.

01:02PM   19       Q.    ONE HOUSEKEEPING THING.        I THINK YOUR MIDDLE NAME WAS

01:02PM   20       LYNN; IS THAT RIGHT?

01:02PM   21       A.    LIN.

01:02PM   22       Q.    AND COULD YOU SPELL THAT?

01:02PM   23       A.    L-Y-N-N.

01:02PM   24       Q.    AND DANIEL IS THE USUAL SPELLING?

01:02PM   25       A.    YES, D-A-N-I-E-L.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 169
                                                                               170 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5071


01:02PM    1       Q.    THANK YOU, SIR.

01:03PM    2             GOOD AFTERNOON, MR. MOSLEY.

01:03PM    3             IN AROUND 2013 DID YOU INVEST IN A COMPANY CALLED

01:03PM    4       THERANOS?

01:03PM    5       A.    YES, I DID.

01:03PM    6       Q.    ABOUT HOW MUCH WAS THAT INVESTMENT?

01:03PM    7       A.    JUST A LITTLE UNDER $6 MILLION.

01:03PM    8       Q.    WE'LL COME BACK TO THAT IN A MOMENT.

01:03PM    9             WOULD YOU NOW DESCRIBE FOR THE JURY YOUR EDUCATIONAL

01:03PM   10       BACKGROUND?

01:03PM   11       A.    I GRADUATED COLLEGE AT THE UNIVERSITY OF ALABAMA; LAW

01:03PM   12       SCHOOL AT THE UNIVERSITY OF ALABAMA; AND I GOT A MASTER'S IN

01:03PM   13       TAX LAW FROM NEW YORK UNIVERSITY.

01:03PM   14       Q.    AND AFTER YOU GOT YOUR LLM, DID YOU BECOME A PRACTICING

01:03PM   15       ATTORNEY?

01:03PM   16       A.    YES.

01:03PM   17       Q.    WHERE DID YOU WORK?

01:03PM   18       A.    INITIALLY AT A FIRM IN NEW YORK CITY, SULLIVAN & CROMWELL.

01:03PM   19       Q.    AND AFTER SULLIVAN & CROMWELL, DID YOU GO TO ANOTHER LAW

01:03PM   20       FIRM?

01:03PM   21       A.    I WENT TO CRAVATH, SWAINE & MOORE, ALSO IN NEW YORK CITY.

01:03PM   22       Q.    HOW LONG DID YOU WORK FOR THE CRAVATH LAW FIRM?

01:04PM   23       A.    I WAS AT CRAVATH FROM FEBRUARY OF 1984 UNTIL FEBRUARY OF

01:04PM   24       2018.

01:04PM   25       Q.    OKAY.   AND AFTER 2018, DID YOU CONTINUE WORKING?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 170
                                                                               171 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5072


01:04PM    1       A.    YES, I DID.

01:04PM    2       Q.    WHERE DID YOU WORK AFTER THAT?

01:04PM    3       A.    BDT & COMPANY.

01:04PM    4       Q.    AND WHAT IS BDT INITIALS FOR?

01:04PM    5       A.    BYRON D. TROTT.

01:04PM    6       Q.    OKAY.   WHEN YOU PRACTICED LAW AT CRAVATH, WHAT TYPE OF LAW

01:04PM    7       DID YOU PRACTICE?

01:04PM    8       A.    TRUSTS AND ESTATES.

01:04PM    9       Q.    AND IN YOUR TIME WORKING ON TRUSTS AND ESTATES, DID YOU

01:04PM   10       ALSO GAIN EXPERIENCE REVIEWING VARIOUS CORPORATE DOCUMENTS?

01:04PM   11       A.    YES, I DID.

01:04PM   12       Q.    AND WHEN WOULD THAT COME UP?       WHEN WOULD YOU, IN PRACTICE

01:04PM   13       IN TRUSTS AND ESTATES, HAVE OR GAIN EXPERIENCE WITH CORPORATE

01:04PM   14       DOCUMENTS?

01:04PM   15       A.    WELL, IF -- YOU KNOW, IF A CLIENT WAS MAKING A CORPORATE

01:04PM   16       INVESTMENT AND ASKED FOR MY ADVICE ON THE CORPORATE -- LEGAL

01:04PM   17       ASPECTS OF THE INVESTMENT OR -- IT CAME UP ON A REGULAR BASIS.

01:05PM   18       Q.    OKAY.   NOW, LET'S TURN TO YOUR EXPERIENCE WITH THERANOS.

01:05PM   19             WHEN DID YOU FIRST BECOME FAMILIAR WITH THERANOS?

01:05PM   20       A.    I BELIEVE IT WAS JULY OF 2013.

01:05PM   21       Q.    YOU SAID 2013?

01:05PM   22       A.    OF 2014, I'M SORRY.

01:05PM   23       Q.    OKAY.   IN JULY OF 2014, YOU THINK YOU FIRST BECAME

01:05PM   24       FAMILIAR WITH THERANOS?

01:05PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 171
                                                                               172 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5073


01:05PM    1       Q.    AND HOW SO?

01:05PM    2       A.    THROUGH A CLIENT OF MINE, DR. HENRY KISSINGER.

01:05PM    3       Q.    DR. KISSINGER WAS A CLIENT OF YOURS AT THAT TIME IN JULY

01:05PM    4       OF 2014?

01:05PM    5       A.    YES, HE WAS.

01:05PM    6       Q.    AND DO YOU KNOW ROUGHLY HOW LONG HE HAD BEEN A CLIENT OF

01:05PM    7       YOURS?

01:05PM    8       A.    PROBABLY FOR WELL OVER 15 YEARS, MAYBE 20 YEARS.          FOR A

01:05PM    9       VERY LONG TIME.

01:05PM   10       Q.    OKAY.    AND YOU SAID IT WAS THROUGH DR. KISSINGER THAT YOU

01:05PM   11       BECAME FAMILIAR WITH THERANOS.

01:05PM   12             DESCRIBE THAT CIRCUMSTANCE TO US.        WHAT DO YOU RECALL?

01:05PM   13       A.    WELL, DR. KISSINGER EXPLAINED TO ME THAT HE WAS ON THE

01:05PM   14       BOARD OF THERANOS AND THAT, YOU KNOW, THAT IT WAS A VERY

01:05PM   15       INTERESTING COMPANY.

01:06PM   16             AND HE SAID, YOU KNOW, IT WOULD BE TERRIFIC IF YOU WOULD

01:06PM   17       TAKE THE TIME TO LEARN ABOUT THE COMPANY AND GIVE ME YOUR VIEWS

01:06PM   18       ON IT.

01:06PM   19       Q.    OKAY.    AND WHAT DID YOU DO IN RESPONSE TO THAT WHEN HE

01:06PM   20       MADE THAT REQUEST?

01:06PM   21       A.    AS I REMEMBER, HE SAID, I'LL PUT YOU IN TOUCH WITH

01:06PM   22       ELIZABETH HOLMES, WHO IS THE PERSON WHO FOUNDED THE COMPANY.

01:06PM   23       Q.    GREAT.

01:06PM   24             YOUR HONOR, MAY I APPROACH?

01:06PM   25                     THE COURT:   YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 172
                                                                               173 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5074


01:06PM    1                    MR. SCHENK:    (HANDING.)

01:06PM    2                    THE WITNESS:    THANK YOU.

01:06PM    3                    MR. SCHENK:    SURE.

01:06PM    4                    THE COURT:    YOUR COLLEAGUE OPPOSITE HAS THIS?

01:06PM    5                    MR. SCHENK:    YES.

01:06PM    6                    MR. WADE:    WE DO, YOUR HONOR.

01:06PM    7       BY MR. SCHENK:

01:06PM    8       Q.    MR. MOSLEY, I'VE HANDED YOU A BINDER.        IF YOU WILL TURN IN

01:06PM    9       THE BINDER TO EXHIBIT 4163.

01:07PM   10       A.    I HAVE IT.

01:07PM   11       Q.    IS THIS AN EMAIL BETWEEN YOU AND MS. HOLMES IN JULY OF

01:07PM   12       2014?

01:07PM   13       A.    YES.

01:07PM   14                    MR. SCHENK:    YOUR HONOR, THE GOVERNMENT OFFERS 4163.

01:07PM   15                    MR. WADE:    NO OBJECTION.

01:07PM   16                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

01:07PM   17             (GOVERNMENT'S EXHIBIT 4163 WAS RECEIVED IN EVIDENCE.)

01:07PM   18       BY MR. SCHENK:

01:07PM   19       Q.    MR. MOSLEY, I AM -- COULD WE BRING THAT -- OH, OKAY.

01:07PM   20       THANK YOU.

01:07PM   21             MR. MOSLEY, I'M SHOWING YOU AN EMAIL SENT IN JULY FROM YOU

01:07PM   22       TO MS. HOLMES.     YOU WRITE THAT "IT WAS A PLEASURE SPEAKING WITH

01:07PM   23       YOU YESTERDAY."

01:07PM   24             DO YOU RECALL A CONVERSATION WITH MS. HOLMES A DAY PRIOR

01:07PM   25       TO THIS EMAIL?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 173
                                                                               174 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5075


01:07PM    1       A.    GENERALLY, YES.

01:07PM    2       Q.    WHEN YOU SAY "GENERALLY," WHAT DO YOU MEAN?

01:07PM    3       A.    I MEAN, I DON'T REMEMBER SPECIFICALLY EXACTLY WHAT WAS

01:07PM    4       SAID, BUT I DO REMEMBER HAVING A CONVERSATION WITH ELIZABETH

01:07PM    5       THE DAY BEFORE.

01:07PM    6       Q.    OKAY.   YOU CONTINUE, "ONCE I RECEIVE THE PRIVATE PLACEMENT

01:08PM    7       MEMORANDUM, I WILL GIVE YOU A CALL OR SEND YOU AN EMAIL TO FIND

01:08PM    8       A TIME TO GET A BRIEFING FROM EITHER YOU OR SOMEONE ON YOUR

01:08PM    9       STAFF."

01:08PM   10             WHAT DID YOU MEAN BY THAT?

01:08PM   11       A.    WELL, I MEANT AFTER I GOT THE DOCUMENTS THAT WOULD EXPLAIN

01:08PM   12       A LOT OF THINGS ABOUT THE COMPANY, THAT I WOULD FOLLOW UP WITH

01:08PM   13       ELIZABETH TO FIND A TIME TO TALK MORE ABOUT WHAT I HAD READ OR

01:08PM   14       LEARNED FROM THOSE DOCUMENTS.

01:08PM   15       Q.    AND ARE YOU FAMILIAR WITH DOCUMENTS CALLED A PRIVATE

01:08PM   16       PLACEMENT MEMORANDUM?

01:08PM   17       A.    YES.

01:08PM   18       Q.    WHAT WERE YOU LOOKING FOR WHEN YOU REQUESTED THAT

01:08PM   19       DOCUMENT?

01:08PM   20       A.    WELL, GENERALLY A PRIVATE PLACEMENT MEMORANDUM IS A

01:08PM   21       DOCUMENT PREPARED BY A COMPANY WHEN IT IS RAISING FUNDS THAT

01:08PM   22       LAYS OUT A LOT OF INFORMATION ABOUT THE COMPANY.

01:08PM   23       Q.    AND WHY WERE YOU ASKING TO GAIN INFORMATION FROM

01:08PM   24       MS. HOLMES ABOUT THERANOS, FOR WHAT PURPOSE?

01:08PM   25       A.    WELL, AS I MENTIONED, DR. KISSINGER HAD ASKED ME, HE SAID



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 174
                                                                               175 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5076


01:08PM    1       IT WOULD BE TERRIFIC IF YOU WOULD TAKE THE TIME TO GET TO KNOW

01:09PM    2       ELIZABETH AND GET TO KNOW THE COMPANY AND GIVE ME YOUR VIEWS ON

01:09PM    3       IT.

01:09PM    4       Q.    YOU TOLD US AT THE BEGINNING OF YOUR TESTIMONY THAT YOU

01:09PM    5       WERE AN INVESTOR EVENTUALLY IN THERANOS.

01:09PM    6       A.    YES.

01:09PM    7       Q.    WAS THAT IN MIND AT THIS TIME?       WERE YOU REQUESTING THESE

01:09PM    8       DOCUMENTS TO EVALUATE A PERSONAL INVESTMENT OPPORTUNITY?

01:09PM    9       A.    NO, BECAUSE I DIDN'T, I DIDN'T REALLY KNOW ANYTHING ABOUT

01:09PM   10       THE COMPANY, SO I COULDN'T HAVE DEVELOPED ANY VIEW.

01:09PM   11       Q.    OKAY.    YOU CONTINUE WITH A STATEMENT ABOUT SOMEBODY NAMED

01:09PM   12       GREG PENNER.

01:09PM   13             DO YOU SEE THAT?

01:09PM   14       A.    I DO.

01:09PM   15       Q.    YOU SAY THAT HE'S ROB WALTON'S SON-IN-LAW AND IS THE

01:09PM   16       CURRENT VICE CHAIR OF WAL-MART?

01:09PM   17       A.    RIGHT.

01:09PM   18       Q.    HE WOULD LIKE TO REVIEW THE PPM.        IS THE PRIVATE PLACEMENT

01:09PM   19       MEMORANDUM ALSO KNOWN AS THE PPM?

01:09PM   20       A.    YES.

01:09PM   21       Q.    AND THEN YOU PROVIDE SOME CONTACT INFORMATION.

01:09PM   22             DO YOU SEE THAT?

01:09PM   23       A.    I DO.

01:09PM   24       Q.    AND WHY DID YOU SEND MS. HOLMES CONTACT INFORMATION FOR

01:09PM   25       MR. PENNER?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 175
                                                                               176 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5077


01:09PM    1       A.    WELL, IN MY -- AS I REMEMBER, IN MY INITIAL CONVERSATION

01:09PM    2       WITH ELIZABETH, SHE SUGGESTED THAT SHE WAS LOOKING FOR A FEW

01:10PM    3       INVESTORS THAT WERE, YOU KNOW, HIGH QUALITY FAMILIES THAT WOULD

01:10PM    4       HAVE A GOOD LONG-TERM RELATIONSHIP WITH THE COMPANY.

01:10PM    5       Q.    OKAY.   AND WHAT DID YOU UNDERSTAND THAT TO MEAN?         I THINK

01:10PM    6       YOU USED THE WORD "HIGH QUALITY"?

01:10PM    7       A.    WELL, YOU KNOW, PERHAPS FAMILIES AND COMPANIES THAT WERE

01:10PM    8       ENGAGED IN COMMERCE IN THE U.S., AND IT MIGHT BE HELPFUL TO

01:10PM    9       HAVE THEM SUPPORTIVE OF THERANOS.

01:10PM   10       Q.    OKAY.   DID SHE EXPLAIN WHY, DO YOU RECALL?

01:10PM   11       A.    I DON'T RECALL.

01:10PM   12       Q.    OKAY.   HOW ABOUT WHAT THERANOS DID?       AND LET'S TRANSITION

01:10PM   13       FROM THE KINDS OF PEOPLE YOU MIGHT INTRODUCE HER TO.

01:10PM   14             DID YOU HAVE ANY UNDERSTANDING AT THIS POINT OF THE

01:10PM   15       TECHNOLOGY OR THE BUSINESS LINE THAT THERANOS WAS INVOLVED IN?

01:10PM   16       A.    YOU KNOW, I THINK I KNEW FROM DR. KISSINGER THAT IT WAS

01:10PM   17       BLOOD TESTING.

01:10PM   18       Q.    OKAY.

01:10PM   19       A.    AND I'M QUITE SURE HE TOLD ME IT WAS SORT OF REVOLUTIONARY

01:10PM   20       IN ITS APPROACH.

01:10PM   21       Q.    AND HOW -- FORGIVE ME.

01:11PM   22             HOW ABOUT THE PHONE CALL THAT YOU HAD WITH MS. HOLMES?             DO

01:11PM   23       YOU REMEMBER THE SUBJECT OF THE LINE OF BUSINESS OR THE

01:11PM   24       TECHNOLOGY COMING UP?

01:11PM   25       A.    I DON'T REMEMBER SPECIFICALLY, BUT I SUSPECT THAT IT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 176
                                                                               177 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                           5078


01:11PM    1       ABSOLUTELY DID COME UP.       I SUSPECT IT CAME UP.

01:11PM    2       Q.    OKAY.    YOU JUST DON'T HAVE A SPECIFIC RECOLLECTION?

01:11PM    3       A.    I DON'T HAVE A SPECIFIC.

01:11PM    4       Q.    THANK YOU.

01:11PM    5             IF YOU'LL NOW TURN TO THE NEXT TAB, IT'S 4173.

01:11PM    6             IS THIS A LETTER THAT MS. HOLMES SENT TO YOU?

01:11PM    7       A.    IT IS.

01:11PM    8       Q.    IN AUGUST OF 2014, THE NEXT MONTH?

01:11PM    9       A.    CORRECT.

01:11PM   10                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 4173.

01:11PM   11                     MR. WADE:    NO OBJECTION.

01:11PM   12                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

01:11PM   13             (GOVERNMENT'S EXHIBIT 4173 WAS RECEIVED IN EVIDENCE.)

01:11PM   14                     MR. SCHENK:   THANK YOU.

01:11PM   15       Q.    MR. MOSLEY, THIS LETTER WAS SENT TO YOU BY MS. HOLMES ON

01:11PM   16       AUGUST 18TH, 2014.

01:11PM   17             AND IT BEGINS, "DEAR DAN.

01:11PM   18             "IT IS WITH GREAT PLEASURE I WRITE THIS LETTER AND ENCLOSE

01:11PM   19       THIS PACKAGE FOR YOU."

01:12PM   20             WHAT IS THAT A REFERENCE TO, "ENCLOSE THIS PACKAGE"?

01:12PM   21       A.    I THINK THERE WERE A NUMBER OF DOCUMENTS ATTACHED TO IT

01:12PM   22       THAT HAD A FAIR AMOUNT OF INFORMATION ON THE COMPANY.

01:12PM   23       Q.    AND DO YOU REMEMBER HOW YOU RECEIVED THIS?         AND WHAT I

01:12PM   24       MEAN IS BY EMAIL OR BY PAPER COPY?

01:12PM   25       A.    I BELIEVE IT WAS PAPER COPY.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 177
                                                                               178 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5079


01:12PM    1       Q.    OKAY.

01:12PM    2       A.    BUT I DON'T REMEMBER WHETHER IT CAME BY FEDEX OR REGULAR

01:12PM    3       MAIL.

01:12PM    4       Q.    YOU SAID THAT THERE WERE A NUMBER OF DOCUMENTS ATTACHED TO

01:12PM    5       IT.

01:12PM    6             DO YOU HAVE A RECOLLECTION OF -- DID THE DOCUMENTS FIT IN

01:12PM    7       A SMALL PACKAGE OR WAS IT BINDERS OF MATERIAL?

01:12PM    8       A.    IT WAS A FAIR AMOUNT OF MATERIAL.        IT WAS SOME RATHER

01:12PM    9       THICK PRESENTATIONS ON THE COMPANY (INDICATING).

01:12PM   10       Q.    OKAY.    AND FOR THE RECORD, YOU HELD UP YOUR FINGERS.

01:12PM   11             CAN YOU ESTIMATE ROUGHLY ABOUT THE SIZE OF THE STACK?

01:12PM   12       A.    I DON'T REMEMBER SPECIFICALLY, BUT I THINK IT WAS AT LEAST

01:12PM   13       THAT MUCH, SOMETHING IN THAT ORDER (INDICATING).

01:12PM   14                     THE COURT:    WELL, LET'S GET YOUR BEST ESTIMATE OF

01:12PM   15       HOW THICK THAT IS.

01:12PM   16                     THE WITNESS:   WELL, I THINK IT WAS AT LEAST THREE

01:13PM   17       INCHES.

01:13PM   18                     THE COURT:    GREAT.   THANK YOU.

01:13PM   19                     MR. SCHENK:    THANK YOU FOR NOT MAKING ME ESTIMATE

01:13PM   20       THAT, YOUR HONOR.

01:13PM   21       Q.    THE NEXT PARAGRAPH CONTINUES, "BY WAY OF BACKGROUND."

01:13PM   22             DO YOU SEE THAT?

01:13PM   23       A.    I SEE THAT.

01:13PM   24       Q.    MS. HOLMES SAYS SHE FOUNDED THE COMPANY TO MAKE A

01:13PM   25       DIFFERENCE IN THE WORLD AND SHE'S RETAINED MAJORITY CONTROL OF



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 178
                                                                               179 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5080


01:13PM    1       THE SHARES IN ORDER TO REALIZE THAT VISION FOR THE LONG-TERM.

01:13PM    2             SHE CONTINUES WITH THE PHRASE "VERY LONG-TERM MISSION."

01:13PM    3             IT CONTINUES, "WE HAVE BENEFITTED GREATLY FROM THE ABILITY

01:13PM    4       TO EXECUTE, SHIFT, TRANSFORMATIONAL AND DISRUPTIVE TECHNOLOGY."

01:13PM    5             AND FINALLY, IN THIS PARAGRAPH, "THE COMPANY PLANS TO BE

01:13PM    6       PRIVATE FOR THE LONG-TERM."

01:13PM    7             DO YOU REMEMBER READING THIS AND LEARNING ABOUT THE

01:13PM    8       COMPANY?     AND BY "THIS" I MEAN THE LETTER.

01:13PM    9       A.    I CERTAINLY REMEMBER READING THE LETTER AND READING THAT

01:13PM   10       PARAGRAPH, BUT I THINK THAT WAS ALL CONSISTENT WITH WHAT

01:13PM   11       ELIZABETH TOLD ME IN PREVIOUS CONVERSATIONS.

01:14PM   12       Q.    OKAY.   TWO PARAGRAPHS DOWN THERE'S A SENTENCE, OR A

01:14PM   13       PARAGRAPH, THAT BEGINS WITH THE WORD "HISTORICALLY."

01:14PM   14             DO YOU SEE THAT?

01:14PM   15       A.    YES.

01:14PM   16       Q.    "HISTORICALLY THERANOS'S WORK WAS FOCUSSED ON CONTRACTS

01:14PM   17       WITH PHARMACEUTICAL AND MILITARY CLIENTS."

01:14PM   18             WHAT DID THAT MEAN TO YOU, AND PARTICULARLY THE WORD

01:14PM   19       "HISTORICALLY"?

01:14PM   20       A.    WELL, IT MEANS THAT UP UNTIL THIS POINT THEY'VE FOCUSSED

01:14PM   21       MAINLY ON THEIR CONTRACTS, WHICH MEANS BINDING AGREEMENTS, AND

01:14PM   22       TO DO WORK WITH PHARMACEUTICAL AND MILITARY CLIENTS.

01:14PM   23       Q.    WAS THAT IMPORTANT TO YOU?       AND BY "THAT" I MEAN THAT

01:14PM   24       THERE HAD BEEN WORK WITH PHARMACEUTICAL AND MILITARY CLIENTS?

01:14PM   25       A.    IT WAS IMPORTANT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 179
                                                                               180 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5081


01:14PM    1       Q.    WHY?

01:14PM    2       A.    WELL, I -- OBVIOUSLY THE PHARMACEUTICAL CLIENTS ARE,

01:14PM    3       THEY'RE BIG COMPANIES, VERY SOPHISTICATED COMPANIES, AND

01:14PM    4       OBVIOUSLY THEY'RE IN A POSITION TO MAKE JUDGMENTS ABOUT

01:14PM    5       TECHNOLOGY.

01:14PM    6             AND THE U.S. MILITARY ALSO IS A VERY BIG, SOPHISTICATED

01:14PM    7       ORGANIZATION THAT WOULD ALSO HAVE PRESUMABLY ACCESS TO EXPERTS

01:15PM    8       TO MAKE JUDGMENTS.

01:15PM    9       Q.    THE -- THERE'S A PARAGRAPH TWO DOWN.

01:15PM   10             IT BEGINS, "ONCE THE COMPANY."

01:15PM   11             DO YOU SEE THAT?

01:15PM   12       A.    YES.

01:15PM   13       Q.    "ONCE THE COMPANY WAS READY TO LAUNCH ITS COMMERCIAL

01:15PM   14       LABORATORY AND ANNOUNCED ITS NATIONAL CONTRACT WITH WALGREENS

01:15PM   15       IN FALL OF 2013, THERANOS BEGAN OPERATING IN THE CONSUMER,

01:15PM   16       PHYSICIAN, AND HOSPITAL LABORATORY TESTING BUSINESS IN THE

01:15PM   17       UNITED STATES, WITH PLANS FOR INTERNATIONAL EXPANSION."

01:15PM   18             WHEN THE PHRASE "ONCE THE COMPANY WAS READY" WAS USED,

01:15PM   19       WHAT DID THAT MEAN TO YOU?

01:15PM   20       A.    IT WOULD NORMALLY MEAN TO ME THAT WHEN THE TECHNOLOGY HAD

01:15PM   21       SORT OF PROVEN ITSELF AND WAS CAPABLE OF BEING ROLLED OUT TO

01:15PM   22       THE NEW CONSUMERS AND SUCH, THAT'S WHEN IT WAS READY.

01:15PM   23       Q.    AND WHEN YOU READ THIS, DID YOU THINK THAT THERANOS HAD

01:15PM   24       PREMATURELY LAUNCHED WITH CONSUMERS?

01:16PM   25       A.    I DON'T THINK I THOUGHT ONE WAY OR THE OTHER.          I DIDN'T



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 180
                                                                               181 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5082


01:16PM    1       KNOW ENOUGH HONESTLY.

01:16PM    2       Q.    I'M SORRY.    YOU WEREN'T THINKING ABOUT THAT YET?

01:16PM    3       A.    I WASN'T THINKING ABOUT THAT.

01:16PM    4       Q.    OKAY.   WILL YOU NOW TURN TO THE NEXT PAGE, PAGE 2.

01:16PM    5             THE SECOND PARAGRAPH DOWN, IT READS, "THERANOS HAS GROWN

01:16PM    6       FROM CASH FROM ITS CONTRACTS FOR SOME TIME."

01:16PM    7             DO YOU SEE THAT?

01:16PM    8       A.    I DO.

01:16PM    9       Q.    AND WHAT DID THAT MEAN TO YOU?       DO YOU RECALL THAT?

01:16PM   10       A.    WHAT IT WOULD MEAN TO ME IS THAT UP UNTIL THAT POINT THEY

01:16PM   11       HAD RECEIVED CASH FROM THE CONTRACTS THAT THEY HAD IN PLACE AND

01:16PM   12       THAT IT HELPED THEM SUPPORT THE COMPANY AS IT GREW.

01:16PM   13       Q.    OKAY.   AND NOW ABOUT THREE PARAGRAPHS DOWN THERE'S A

01:16PM   14       PARAGRAPH THAT BEGINS, "WITH THIS LETTER."

01:16PM   15             DO YOU SEE THAT?

01:16PM   16       A.    YES.

01:16PM   17       Q.    "WITH THIS LETTER AND AS PROMISED ON OUR CALL, I WOULD

01:16PM   18       LIKE TO FORMALLY EXTEND TO YOU THE INVITATION TO PARTICIPATE IN

01:16PM   19       THIS EQUITY TRANSACTION TO WHATEVER EXTENT YOU ARE INTERESTED."

01:16PM   20             WHAT DID THAT MEAN?

01:17PM   21       A.    I THINK AT SOME POINT IN OUR CONVERSATIONS I SAID TO

01:17PM   22       ELIZABETH, THIS SOUNDS LIKE A VERY INTERESTING IDEA AND A VERY

01:17PM   23       EXCITING COMPANY AND IT'S SOMETHING THAT I MIGHT LIKE

01:17PM   24       PERSONALLY TO INVEST IN.

01:17PM   25       Q.    DO YOU RECALL WHEN THAT HAPPENED?        YOU DESCRIBED FOR THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 181
                                                                               182 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5083


01:17PM    1       JURY ORIGINALLY REACHING OUT TO MS. HOLMES BECAUSE OF YOUR

01:17PM    2       RELATIONSHIP WITH DR. KISSINGER; IS THAT RIGHT?

01:17PM    3       A.    RIGHT.

01:17PM    4       Q.    BUT AT SOME POINT IT TRANSITIONED OR PIVOTED TO YOUR

01:17PM    5       EVALUATING AN INVESTMENT OPPORTUNITY FOR YOURSELF?

01:17PM    6       A.    YOU KNOW, I DON'T KNOW IF IT PIVOTED IN THE SENSE THAT I

01:17PM    7       WAS STILL LOOKING AT IT WITH AN INTENT TO TELL DR. KISSINGER

01:17PM    8       WHAT I THOUGHT ABOUT IT, AND I THINK MY COMMENT WAS SIMPLY

01:17PM    9       THAT, YOU KNOW, IT REALLY DOES SOUND EXCITING AND THAT'S

01:17PM   10       SOMETHING THAT WOULD PERSONALLY INTEREST ME.

01:17PM   11             SO, I MEAN, IT WAS JUST A -- PROBABLY UP UNTIL THAT POINT

01:17PM   12       IT WAS JUST SORT OF A, A COMMENT ABOUT HOW INTERESTING I FOUND

01:17PM   13       IT, AND THAT I MIGHT FIND IT PERSONALLY INTERESTING AS AN

01:17PM   14       INVESTMENT.

01:17PM   15       Q.    I SEE.   SO YOUR WORK FOR DR. KISSINGER DIDN'T STOP?

01:18PM   16       A.    IT DID NOT.

01:18PM   17       Q.    YOU PURSUED BOTH AT THE SAME TIME; IS THAT FAIR?

01:18PM   18       A.    WELL, I DON'T REALLY HONESTLY KNOW WHETHER I WAS PURSUING

01:18PM   19       AN INVESTMENT AT THAT POINT.       I WAS REALLY DOING WHAT

01:18PM   20       DR. KISSINGER HAD ASKED ME.

01:18PM   21             AND, YOU KNOW, YOU CAN'T READ SOMETHING WITHOUT THINKING

01:18PM   22       ABOUT IT IN A BROADER SCOPE.

01:18PM   23       Q.    I SEE.   OKAY.

01:18PM   24             AND NOW THE LAST PARAGRAPH READS, "I AM HAPPY TO PROVIDE

01:18PM   25       MORE BACKGROUND ON ANY OF THE ABOVE, OR ANY OF THE MATERIALS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 182
                                                                               183 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5084


01:18PM    1       ENCLOSED IN THIS PACKAGE.       THERANOS'S INVESTMENT DOCUMENTS ARE

01:18PM    2       ENCLOSED HEREIN.     THE ADDITIONAL MATERIALS FOCUS ON THE

01:18PM    3       INFRASTRUCTURE THERANOS HAS DEVELOPED AND INITIAL MARKET OF

01:18PM    4       COMMERCIAL LABORATORY TESTING THAT THERANOS HAS ENTERED."

01:18PM    5             AND I WANT TO FOCUS YOUR ATTENTION ON THE USE OF THE WORD

01:18PM    6       "HAS."

01:18PM    7             MS. HOLMES WRITES THAT "THE ADDITIONAL MATERIALS FOCUS ON

01:18PM    8       THE INFRASTRUCTURE THERANOS HAS DEVELOPED."

01:18PM    9             WHAT DID THAT MEAN TO YOU?

01:18PM   10       A.    REALLY JUST THAT -- I DON'T KNOW WHAT TO SAY OTHER THAN

01:19PM   11       THEY WERE MAKING GREAT PROGRESS IN HAVING DEVELOPED THE

01:19PM   12       TECHNOLOGY AND INFRASTRUCTURE AROUND IT.

01:19PM   13       Q.    AND THE SECOND PART OF THAT SENTENCE CONTINUES, "AND

01:19PM   14       INITIAL MARKET OF COMMERCIAL LABORATORY TESTING THAT THERANOS

01:19PM   15       HAS ENTERED."

01:19PM   16             WHAT DID THAT MEAN TO YOU?

01:19PM   17       A.    I THINK I THOUGHT THAT REFERRED TO THE FACT THAT THEY HAD

01:19PM   18       ENTERED INTO AN ARRANGEMENT WITH WALGREENS TO BEGIN TESTING.

01:19PM   19       Q.    WERE YOU AWARE OF THAT AT OR AROUND THIS TIME?

01:19PM   20       A.    I WAS.   I THINK -- I BELIEVE THERE WAS AN ARTICLE IN "THE

01:19PM   21       WALL STREET JOURNAL" THAT PRECEDED THIS THAT DESCRIBED THAT IN

01:19PM   22       SOME DETAIL.

01:19PM   23       Q.    OKAY.    SOMETIME AROUND THIS TIME, YOU THINK YOU BECAME

01:19PM   24       AWARE OF IT?

01:19PM   25       A.    RIGHT.   AND I THINK ELIZABETH MAY HAVE -- PROBABLY HAD



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 183
                                                                               184 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5085


01:19PM    1       ALSO DESCRIBED IT TO ME AS WELL.

01:19PM    2       Q.    OKAY.    DO YOU KNOW WHAT THEY WERE DOING WITH WALGREENS,

01:19PM    3       WHAT THERANOS WAS DOING WITH WALGREENS?

01:19PM    4       A.    WELL, I KNOW WHAT I KNEW FROM "THE WALL STREET JOURNAL"

01:20PM    5       ARTICLE, AND THE MATERIALS THAT WERE INCLUDED WITH THIS PACKAGE

01:20PM    6       HAD INFORMATION ABOUT IT, AND I THINK I KNEW SOMETHING ABOUT IT

01:20PM    7       FROM CONVERSATIONS WITH ELIZABETH.

01:20PM    8       Q.    AND IN A BROAD SENSE AT LEAST, WHAT WAS IT?

01:20PM    9       A.    WELL, IT WAS OFFERING, YOU KNOW, TESTING WHERE PEOPLE

01:20PM   10       COULD GO INTO WALGREENS AND HAVE THEIR BLOOD TESTED AND GET THE

01:20PM   11       RESULTS BACK.

01:20PM   12       Q.    BLOOD TESTING?

01:20PM   13       A.    BLOOD TESTING.

01:20PM   14       Q.    OKAY.    COULD I ASK YOU NOW TO TURN BACK IN YOUR BINDER TO

01:20PM   15       EXHIBIT 3387.     IT'S A LARGE EXHIBIT, AND INITIALLY I WOULD LIKE

01:20PM   16       YOU TO JUST LOOK THROUGH IT AND TELL ME IF THIS IS SOME OF THE

01:20PM   17       MATERIALS THAT WERE INCLUDED WITH THE LETTER THAT WE JUST READ.

01:21PM   18       A.    YES, I DO BELIEVE TO THE BEST OF MY RECOLLECTION THIS WAS

01:21PM   19       SOME OF THE MATERIAL, OR MAYBE ALL OF THE MATERIAL, THAT WAS IN

01:21PM   20       THAT PACKAGE.

01:21PM   21       Q.    OKAY.

01:21PM   22             YOUR HONOR, THE GOVERNMENT OFFERS 3387.

01:21PM   23                     MR. WADE:    NO OBJECTION.

01:21PM   24                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

01:21PM   25             (GOVERNMENT'S EXHIBIT 3387 WAS RECEIVED IN EVIDENCE.)



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 184
                                                                               185 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5086


01:21PM    1       BY MR. SCHENK:

01:21PM    2       Q.    CAN WE START WITH PAGE 128.       THERE'S PAGE NUMBERS AT THE

01:21PM    3       BOTTOM IN THE MIDDLE, MR. MOSLEY.

01:21PM    4       A.    OKAY.   OKAY.

01:21PM    5       Q.    THIS IS ENTITLED CERTIFICATE OF DESIGNATION OF SERIES C-2

01:21PM    6       PREFERRED STOCK.

01:21PM    7             DO YOU SEE THAT?

01:21PM    8       A.    I DO.

01:21PM    9       Q.    WHAT IS THAT?

01:21PM   10       A.    IT'S A CERTIFICATE THAT IS NORMALLY ADOPTED BY A BOARD OF

01:21PM   11       DIRECTORS OF A COMPANY TO AUTHORIZE A PARTICULAR CLASS OF STOCK

01:22PM   12       OR PARTICULAR SERIES OF STOCK.

01:22PM   13       Q.    AND THIS ONE IS CALLED C-2; IS THAT RIGHT?

01:22PM   14       A.    THAT'S CORRECT.

01:22PM   15       Q.    EVENTUALLY WHEN YOU PURCHASED STOCK IN THERANOS, WHICH

01:22PM   16       SERIES DID YOU BUY?

01:22PM   17       A.    C-2.

01:22PM   18       Q.    ON THIS PAGE THERE'S A NUMBER 2, LIQUIDATION RIGHTS.

01:22PM   19             DO YOU SEE THAT?

01:22PM   20       A.    I DO.

01:22PM   21       Q.    AND ON THIS PAGE AND THROUGHOUT THE DOCUMENT, THERE IS

01:22PM   22       SOME UNDERLINING IN IT.

01:22PM   23             DO YOU SEE THAT?

01:22PM   24       A.    I DO.

01:22PM   25       Q.    AND WHOSE UNDERLINING IS THAT?



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 185
                                                                               186 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5087


01:22PM    1       A.    IT'S MINE.

01:22PM    2       Q.    AND WHAT WERE YOU DOING?      DESCRIBE FOR THE JURY THE

01:22PM    3       PROCESS HERE.     YOU RECEIVED THESE DOCUMENTS AND NOW WE SEE

01:22PM    4       UNDERLINING.

01:22PM    5             WHAT WAS HAPPENING?

01:22PM    6       A.    WELL, I WAS READING THE DOCUMENTS AND, YOU KNOW,

01:22PM    7       UNDERLINING THINGS THAT WERE OF PARTICULAR IMPORTANCE FROM MY

01:22PM    8       STANDPOINT.

01:22PM    9       Q.    IMPORTANT TO WHAT?

01:22PM   10       A.    WELL, IMPORTANT TO IN THIS CASE UNDERSTANDING WHAT THE C-2

01:22PM   11       PREFERRED STOCK WAS AND WHAT RIGHTS IT HAD.

01:22PM   12       Q.    AND WHEN WE'RE LOOKING THROUGH THESE DOCUMENTS, ARE WE --

01:23PM   13       WERE THESE DOCUMENTS THAT YOU RELIED UPON TO MAKE YOUR

01:23PM   14       INVESTMENT IN THERANOS?

01:23PM   15       A.    THEY'RE SOME OF THE DOCUMENTS THAT I RELIED UPON, YES.

01:23PM   16       Q.    YOU SAID THEY'RE SOME OF.      WHAT DO YOU MEAN?

01:23PM   17       A.    WELL, I THINK THERE WERE OTHER DOCUMENTS THAT I ULTIMATELY

01:23PM   18       RECEIVED BEFORE I ULTIMATELY MADE MY INVESTMENTS.

01:23PM   19       Q.    I SEE.   THESE DOCUMENTS, IN ADDITION TO OTHER DOCUMENTS?

01:23PM   20       A.    THAT'S CORRECT.

01:23PM   21       Q.    WHAT IS THIS LIQUIDATION RIGHTS TELLING US, AND HELP ME

01:23PM   22       UNDERSTAND WHY YOU UNDERLINED THINGS?

01:23PM   23       A.    WELL, IT'S REALLY SAYING IF THE -- IF THERE WAS A PROBLEM

01:23PM   24       WITH THE COMPANY, IF SOMETHING WENT THE WRONG DIRECTION, IN

01:23PM   25       WHAT ORDER -- AND THERE WERE ASSETS TO BE DISTRIBUTED TO THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 186
                                                                               187 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5088


01:23PM    1       STOCKHOLDERS, AFTER PAYING OFF DEBT OBVIOUSLY, IF THERE WAS

01:23PM    2       MONEY TO BE DISTRIBUTED TO THE STOCKHOLDERS, WHAT ORDER WOULD

01:23PM    3       THAT MONEY BE DISTRIBUTED AMONG THE VARIOUS SERIES OR CLASSES

01:23PM    4       OF STOCK.

01:24PM    5       Q.    AND IN WHICH RANKING OR WHAT PREFERRED STATUS WOULD C-2

01:24PM    6       HAVE?

01:24PM    7       A.    WELL, C-2 WOULD BE ENTITLED TO GET BACK ITS FACE AMOUNT,

01:24PM    8       DESIGNATED AMOUNT BEFORE ANY PREVIOUS CLASS OF PREFERRED STOCK.

01:24PM    9             SO IT WOULD BE FIRST IN THE ORDER OF RECEIVING PROCEEDS IN

01:24PM   10       THE EVENT OF A LIQUIDATION OF THE COMPANY.

01:24PM   11       Q.    I SEE.   SO C-2 WOULD GET PROCEEDS BEFORE SERIES B, FOR

01:24PM   12       INSTANCE?

01:24PM   13       A.    THAT IS CORRECT.

01:24PM   14       Q.    AND TO USE B AS AN EXAMPLE, DID YOU KNOW WHO OWNED MUCH OF

01:24PM   15       SERIES B?

01:24PM   16       A.    I DON'T THINK I KNEW.

01:24PM   17       Q.    OKAY.    ON THE NEXT PAGE, PAGE 129, THERE'S A SECTION

01:24PM   18       ENTITLED MANDATORY REDEMPTION.

01:24PM   19             DO YOU SEE THAT?

01:24PM   20       A.    I DO.

01:24PM   21       Q.    AND WHAT IS THAT?

01:24PM   22       A.    IT'S A, IT'S A CLAUSE THAT ESSENTIALLY SAID THAT THE

01:24PM   23       COMPANY COULD, AT ITS OPTION AT ANY PARTICULAR TIME IT CHOSE,

01:25PM   24       CHOOSE TO BUY IN OR REPURCHASE THE C -2 PREFERRED SHARES AT A

01:25PM   25       PRICE PER SHARE THAT THEY DETERMINED IN GOOD FAITH BY THE BOARD



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 187
                                                                               188 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5089


01:25PM    1       AS BEING FAIR MARKET VALUE.

01:25PM    2       Q.    OKAY.    AND YOU UNDERLINED SOME LANGUAGE IN THAT AS WELL.

01:25PM    3       WHY DID YOU DO THAT?

01:25PM    4       A.    TO ME IT WAS A LITTLE -- IT WAS AN UNUSUAL -- IT WAS AN

01:25PM    5       UNUSUAL PROVISION, AND THAT'S WHY I UNDERLINED IT.

01:25PM    6       Q.    OKAY.    WHY DO YOU SAY IT WAS UNUSUAL?

01:25PM    7       A.    WELL, IT WAS UNUSUAL BECAUSE NORMALLY IF YOU WERE

01:25PM    8       INVESTING IN THE STOCK OF A COMPANY, IT WOULD BE VERY UNUSUAL

01:25PM    9       TO SAY THAT THE COMPANY'S BOARD COULD GO OUT AND DECIDE AT SOME

01:25PM   10       LATER DATE WHAT THEY THOUGHT THE FAIR MARKET VALUE OF THE STOCK

01:25PM   11       THAT YOU OWNED WAS AND THEN ELECT TO BUY IT FROM YOU, AND IN

01:25PM   12       PARTICULAR THIS ALLOWED THEM TO NOT BUY PRO RATA ACROSS ALL OF

01:25PM   13       THE SHARES, BUT THEY COULD COME TO ONE SHAREHOLDER AND SAY

01:26PM   14       WE'RE LIQUIDATING YOUR SHARES.

01:26PM   15       Q.    AT SOME POINT IN THE FUTURE, DID YOU HAVE A CONVERSATION

01:26PM   16       WITH MS. HOLMES ABOUT THIS MANDATORY REDEMPTION PROVISION?

01:26PM   17       A.    I DID.

01:26PM   18       Q.    AND DID YOU END UP CREATING A SEPARATE ARRANGEMENT WITH

01:26PM   19       MS. HOLMES REGARDING THE APPLICATION OF THE MANDATORY

01:26PM   20       REDEMPTION PROVISION?

01:26PM   21       A.    YES, I RECEIVED A LETTER OR A SHORT DOCUMENT FROM

01:26PM   22       ELIZABETH WITH REGARD TO THIS PROVISION.

01:26PM   23       Q.    GREAT.   OKAY.    WE'LL GET TO THAT DOCUMENT IN A MOMENT.

01:26PM   24             YOUR HONOR, I'M GOING TO TRANSITION INTO ANOTHER TOPIC.

01:26PM   25       I'M HAPPY TO START IT OR TAKE OUR BREAK.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 188
                                                                               189 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5090


01:26PM    1                    THE COURT:    WHY DON'T WE TAKE OUR BREAK NOW.       WE'RE

01:26PM    2       CLOSE ENOUGH TO THE BOTTOM OF THE HOUR.

01:26PM    3             LET'S TAKE OUR AFTERNOON 30 MINUTE BREAK, PLEASE,

01:26PM    4       30 MINUTES.

01:26PM    5                    THE WITNESS:    THANK YOU.

01:26PM    6             (JURY OUT AT 1:26 P.M.)

01:27PM    7                    THE COURT:    YOU CAN STAND DOWN NOW, SIR.      THANK YOU.

01:27PM    8                    THE WITNESS:    CAN I GO OUT THIS DOOR?

01:27PM    9                    THE COURT:    YOU CAN GO OUT THE DOOR YOU CAME IN.

01:27PM   10       THANK YOU.

01:27PM   11             PLEASE BE SEATED.     THANK YOU.

01:27PM   12             ALL RIGHT.    THE RECORD SHOULD REFLECT THAT THE JURY HAS

01:27PM   13       LEFT FOR THEIR AFTERNOON BREAK AND THE WITNESS HAS LEFT THE

01:27PM   14       COURTROOM.

01:27PM   15             I JUST WANT TO CHECK IN, ANYTHING BEFORE WE BREAK,

01:27PM   16       MR. SCHENK?

01:27PM   17                    MR. SCHENK:    YOUR HONOR, WE RAISED THE ISSUE THIS

01:27PM   18       MORNING ABOUT THE 2015 DOCUMENTS.         I ANTICIPATE THAT WE'LL GET

01:27PM   19       TO THAT THIS AFTERNOON, OR AT LEAST NOW COULD BE A CONVENIENT

01:27PM   20       TIME TO DISCUSS THAT IF THE COURT IS IN A POSITION TO HAVE

01:27PM   21       FURTHER DISCUSSIONS.

01:27PM   22                    THE COURT:    OKAY.    DO YOU THINK WE'LL GET TO THIS?

01:28PM   23       IS THIS GOING TO COME IN THROUGH YOUR DIRECT?

01:28PM   24                    MR. SCHENK:    NO, IT WILL NOT.

01:28PM   25                    THE COURT:    I SEE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 189
                                                                               190 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                           5091


01:28PM    1                    MR. WADE:    I'M NOT SURE HOW MUCH LONGER MR. SCHENK

01:28PM    2       HAS.    I THINK -- I CAN CERTAINLY AVOID THAT TOPIC.         WE CAN

01:28PM    3       DISCUSS IT IN THE MORNING IF THAT'S -- OR AFTER COURT.           IT

01:28PM    4       DEPENDS ON --

01:28PM    5                    THE COURT:    ALL RIGHT.   WELL, LET'S DO THAT.      LET'S

01:28PM    6       TAKE OUR BREAK AND WE'LL DEFER DISCUSSION.

01:28PM    7              IF IT DOES -- IF MR. SCHENK ENDS AND YOU BEGIN YOUR

01:28PM    8       CROSS-EXAMINATION, YOU DON'T NEED TO GO INTO THIS THIS

01:28PM    9       AFTERNOON I TAKE IT?

01:28PM   10                    MR. WADE:    I DON'T THINK SO.    I THINK, BASED ON THE

01:28PM   11       TIMING AS I SEE IT, I THINK WE CAN AVOID GOING INTO THAT, YEAH.

01:28PM   12                    THE COURT:    ALL RIGHT.   FAIR ENOUGH.     THANK YOU.

01:28PM   13                    MR. WADE:    THANK YOU, YOUR HONOR.

01:28PM   14                    THE CLERK:    COURT IS IN RECESS.

01:28PM   15              (RECESS FROM 1:28 P.M. UNTIL 2:03 P.M.)

02:03PM   16              (JURY IN AT 2:03 P.M.)

02:03PM   17                    THE COURT:    PLEASE BE SEATED.    WE'RE BACK ON THE

02:03PM   18       RECORD.    ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT AGAIN.             OUR

02:03PM   19       JURY IS PRESENT.     OUR WITNESS IS ON THE STAND.

02:03PM   20              I'M SORRY, MR. SCHENK.

02:03PM   21              I JUST WANTED TO LET EVERYONE KNOW THAT IT SEEMS WARM TO

02:03PM   22       ME IN THE COURTROOM, AND I DON'T KNOW WHAT THAT HAS TO DO WITH

02:03PM   23       OUR ISSUE LAST WEEK WITH WATER, BUT WE'RE TRYING TO GET THAT --

02:04PM   24       THE TEMPERATURE ADJUSTED A LITTLE BIT SO IT CAN COOL OFF A

02:04PM   25       LITTLE BIT HERE.     SO I APOLOGIZE FOR THE INCONVENIENCE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 190
                                                                               191 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5092


02:04PM    1             IF ANY MEMBER OF THE JURY, IF IT BECOMES UNTENABLE OR A

02:04PM    2       PROBLEM, PLEASE LET ME KNOW AND RAISE YOUR HAND, AND WE'LL DO

02:04PM    3       WHAT WE CAN.

02:04PM    4             OTHERWISE -- OR ANY PARTY, TOO.       PLEASE LET ME KNOW.

02:04PM    5             ALL RIGHT.    THANK YOU.

02:04PM    6             MR. SCHENK, YOU'D LIKE TO CONTINUE?

02:04PM    7                     MR. SCHENK:   YES.   THANK YOU.

02:04PM    8       Q.    GOOD AFTERNOON AGAIN, MR. MOSLEY.

02:04PM    9       A.    HELLO.

02:04PM   10       Q.    WHEN WE FINISHED OFF WE WERE LOOKING AT EXHIBIT 3387.

02:04PM   11             DO YOU RECALL THAT?

02:04PM   12       A.    I DO.

02:04PM   13       Q.    AND I THINK YOU TESTIFIED THAT THESE WERE AMONG THE

02:04PM   14       DOCUMENTS THAT YOU REVIEWED AND ASSISTED IN YOUR DECISION TO

02:04PM   15       INVEST IN THERANOS?

02:04PM   16       A.    YES.

02:04PM   17       Q.    AND WOULD YOU TURN TO PAGE 144 OF THIS EXHIBIT,

02:04PM   18       EXHIBIT 3387.

02:04PM   19       A.    YES.

02:04PM   20       Q.    EXHIBIT PAGE 144, MS. HOLLIMAN, PLEASE.

02:05PM   21             DO YOU SEE THAT DOCUMENT?

02:05PM   22       A.    I DO.

02:05PM   23       Q.    AND WHAT ARE WE LOOKING AT?

02:05PM   24       A.    THESE ARE SOME HANDWRITTEN NOTES THAT ARE IN MY

02:05PM   25       HANDWRITING.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 191
                                                                               192 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5093


02:05PM    1       Q.    OKAY.    AND DID YOU TAKE THESE NOTES WHILE YOU WERE

02:05PM    2       REVIEWING THE MATERIALS THAT WE'RE LOOKING AT, OR ON A PHONE

02:05PM    3       CALL?

02:05PM    4             DO YOU RECALL?

02:05PM    5       A.    I DON'T HONESTLY KNOW.      I DON'T REMEMBER.

02:05PM    6       Q.    OKAY.    THESE ARE NOTES ABOUT THERANOS, BUT YOU DON'T

02:05PM    7       REMEMBER THE CIRCUMSTANCES OF TAKING THEM?

02:05PM    8       A.    THAT'S CORRECT.

02:05PM    9       Q.    OKAY.    LET'S WALK THROUGH SOME OF THEM AND IF YOU CAN HELP

02:05PM   10       US WITH THE HANDWRITING.

02:05PM   11             WHAT IS NUMBER 1?

02:05PM   12       A.    IT SAYS PENETRATION ASSUMED IN 2015, AND THE HASH MARK

02:05PM   13       MEANS NUMBERS TO ME.

02:05PM   14       Q.    OKAY.

02:05PM   15       A.    AND --

02:05PM   16       Q.    I'M SORRY?

02:05PM   17       A.    DO YOU WANT ME TO READ THE REST OF 1?

02:05PM   18       Q.    SURE.    WHY DON'T YOU READ IT AND THEN I'LL ASK YOU

02:05PM   19       QUESTIONS.

02:05PM   20       A.    SURE.    FIRST LOCATION IN PALO ALTO IN 2012.

02:06PM   21             AND THEN NOW.

02:06PM   22             AND THEN P/S MEANS PARTNERSHIP WITH WALGREENS FALL OF

02:06PM   23       2013.

02:06PM   24             AND THEN THE NEXT IS NOW IN 30 WALGREENS, AND UNDER THAT

02:06PM   25       IT SAYS 29 ARIZONA, 1 PALO ALTO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 192
                                                                               193 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5094


02:06PM    1             AND THEN IT SAYS WALGREENS IN 10,000 STORES IN 10

02:06PM    2       COUNTRIES.

02:06PM    3             AND THEN IT SAYS COLLABORATIONS WITH 3 HOSPITAL GROUPS.

02:06PM    4             AS REFERENCE LABS.

02:06PM    5             QUOTE, "MASSIVE UNDERTAKING."

02:06PM    6       Q.    THANK YOU.    LET'S GO TO THE TOP, PENETRATION ASSUMED IN

02:06PM    7       2015 NUMBERS.

02:06PM    8             WHAT IS THAT A REFERENCE TO?

02:06PM    9       A.    IT WOULD BE A REFERENCE TO WHAT THE -- WHAT WERE THE

02:06PM   10       ASSUMPTIONS BAKED INTO THE FINANCIAL NUMBERS.

02:06PM   11       Q.    DID MS. HOLMES PROVIDE YOU FINANCIAL NUMBERS BEFORE YOU

02:06PM   12       INVESTED?

02:06PM   13       A.    I BELIEVE THERE ARE FINANCIAL NUMBERS IN THIS BOOK, OR I

02:06PM   14       CERTAINLY HAD FINANCIAL NUMBERS BEFORE I INVESTED.

02:06PM   15       Q.    OKAY.    I'LL SHOW THOSE TO YOU IN A MOMENT, BUT WHAT ARE

02:07PM   16       YOU TALKING ABOUT -- YOU USED THE WORD "BAKED IN."           WHAT WERE

02:07PM   17       YOU REFERRING TO?

02:07PM   18       A.    WELL, I MEANT THE FINANCIAL -- THE ASSUMPTIONS THAT WERE

02:07PM   19       USED IN COMING TO THE FINANCIAL NUMBERS.

02:07PM   20       Q.    OKAY.    AND WHAT IS "PENETRATION" A REFERENCE TO?

02:07PM   21       A.    IT WOULD MEAN THE DEGREE OF ADOPTION INTO THE MARKET.              SO

02:07PM   22       SAYING, YOU KNOW, 30 WALGREENS WOULD BE AN EXAMPLE OF WHAT PART

02:07PM   23       OF THE MARKET THE COMPANY WAS THEN SERVICING.

02:07PM   24       Q.    I SEE.   SO YOU WROTE IN HERE THAT AT THIS POINT THERE WERE

02:07PM   25       30 WALGREENS LOCATIONS THAT WERE OFFERING THERANOS BLOOD



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 193
                                                                               194 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5095


02:07PM    1       TESTING SERVICES?

02:07PM    2       A.    YES.

02:07PM    3       Q.    AND PENETRATION ASSUMED IN 2015 NUMBERS.

02:07PM    4             IS THAT A STATEMENT ABOUT INCREASED WALGREENS ADOPTION?

02:07PM    5       A.    I, I DON'T KNOW.     I DON'T REMEMBER.

02:07PM    6       Q.    OKAY.    BUT PENETRATION OR ADOPTION BY WALGREENS OF

02:08PM    7       THERANOS WAS RELEVANT TO THE 2015 FINANCIAL PROJECTIONS?

02:08PM    8       A.    WELL, IT HAD TO, BECAUSE ONE LINE WAS OBVIOUSLY FROM

02:08PM    9       PHARMACIES, ONE -- AS I REMEMBER IN THE FINANCIAL STATEMENTS,

02:08PM   10       ONE LINE WAS IN SOME WAY DESIGNATED AS REVENUE FROM PHARMACY --

02:08PM   11       WALGREENS PHARMACIES.

02:08PM   12       Q.    I SEE.   SO THE NUMBER OF WALGREENS LOCATIONS WOULD

02:08PM   13       DETERMINE OR HAVE AN EFFECT ON THE AMOUNT OF REVENUE THAT

02:08PM   14       THERANOS GENERATED FROM WALGREENS?

02:08PM   15       A.    PRESUMABLY, YES.

02:08PM   16       Q.    I SEE.   AND THEN FURTHER DOWN YOU WRITE ABOUT HOSPITAL

02:08PM   17       GROUPS AND REFERENCE LABS.

02:08PM   18             WHAT IS THAT A REFERENCE TO?

02:08PM   19       A.    IT WAS A REFERENCE TO MY UNDERSTANDING THAT THEY WERE

02:08PM   20       CURRENTLY WORKING WITH THREE HOSPITAL GROUPS, COLLABORATIONS

02:08PM   21       MEANT THEY WERE WORKING WITH THREE HOSPITAL GROUPS, AND

02:09PM   22       PRESUMABLY THAT MEANT AS REFERENCE LABS OR, OR -- I DON'T

02:09PM   23       REALLY KNOW EXACTLY WHAT THAT MEANT HONESTLY.

02:09PM   24       Q.    OKAY.    YOU HAD AN UNDERSTANDING, I THINK YOU SAID, THAT

02:09PM   25       THEY WERE WORKING WITH, THERANOS WAS WORKING WITH THREE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 194
                                                                               195 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5096


02:09PM    1       HOSPITAL GROUPS?

02:09PM    2       A.    THAT'S CORRECT.

02:09PM    3       Q.    BUT YOU, YOU DON'T REMEMBER EXACTLY WHAT THAT WORK

02:09PM    4       INVOLVED; IS THAT FAIR?

02:09PM    5       A.    I DON'T THINK I KNEW A LOT OF DETAIL.

02:09PM    6       Q.    OKAY.   IF YOU'LL NOW TURN TO PAGE 275 IN THIS EXHIBIT.

02:09PM    7       A.    OKAY.

02:09PM    8       Q.    AND THIS DOCUMENT IS PART OF THE BINDER AND IT'S LABELED

02:09PM    9       MEMO:    IMPLICATIONS OF THERANOS'S WORK FOR GLOBAL HEALTH,

02:09PM   10       PUBLIC POLICY, AND THOSE IN NEED.

02:09PM   11             DO YOU SEE THAT?

02:09PM   12       A.    I DO.

02:09PM   13       Q.    OKAY.   AND NOW IF YOU'LL LOOK AT THAT FIRST PARAGRAPH, IT

02:10PM   14       READS, "HEADQUARTERED IN PALO ALTO, THERANOS IS A CONSUMER

02:10PM   15       HEALTHCARE TECHNOLOGY COMPANY.       THERANOS'S CLINICAL LABORATORY

02:10PM   16       OFFERS COMPREHENSIVE LABORATORY TESTS FROM SAMPLES AS SMALL AS

02:10PM   17       A FEW DROPS OF BLOOD AT UNPRECEDENTED LOW PRICES."

02:10PM   18             IS THAT STATEMENT CONSISTENT WITH YOUR UNDERSTANDING AT

02:10PM   19       THE TIME ABOUT WHAT THERANOS DID?

02:10PM   20       A.    YES.

02:10PM   21       Q.    IF YOU'LL TURN TO THE SECOND PAGE OF THIS MEMO, WHICH IS

02:10PM   22       276, PAGE 276, AT THE TOP THERE'S A PARAGRAPH THAT BEGINS

02:10PM   23       "THERANOS."

02:10PM   24             DO YOU SEE THAT?

02:10PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 195
                                                                               196 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                            5097


02:10PM    1       Q.    IT READS, "THERANOS HAS BUILT A CERTIFIED LABORATORY

02:10PM    2       INFRASTRUCTURE POWERED BY THERANOS DEVICES THAT MAKE IT

02:10PM    3       POSSIBLE TO RUN ANY LABORATORY TEST FROM A MICRO-SAMPLE OF

02:10PM    4       BLOOD (TAKEN FROM A FINGER-STICK) OR OTHER" -- I'M SORRY, "OR

02:11PM    5       OTHER ANY OTHER FLUID (NASAL SWABS, THROAT SWABS, URINE)," IT

02:11PM    6       CONTINUES, "THERANOS'S TESTS ARE CAPABLE OF GENERATING RESULTS

02:11PM    7       IN LESS THAN AN HOUR FROM THE TIME A SAMPLE IS PROCESSED."

02:11PM    8             DO YOU SEE THAT?

02:11PM    9       A.    YES.

02:11PM   10       Q.    IN THAT FIRST SENTENCE, THERE IS SOME UNDERLINING.          IS

02:11PM   11       THAT YOUR HANDWRITING?

02:11PM   12       A.    YES, IT IS.

02:11PM   13       Q.    AND IT TALKS ABOUT THERANOS'S INFRASTRUCTURE THAT'S

02:11PM   14       POWERED BY THERANOS DEVICES.

02:11PM   15             WAS THAT YOUR UNDERSTANDING, THAT THERANOS USED THERANOS

02:11PM   16       DEVICES TO TEST BLOOD?

02:11PM   17       A.    IT WAS.

02:11PM   18       Q.    AND DID YOU KNOW WHETHER THERANOS USED DEVICES

02:11PM   19       MANUFACTURED BY THIRD PARTIES TO TEST BLOOD?

02:11PM   20       A.    I DID NOT.

02:11PM   21       Q.    YOU DID NOT KNOW THAT?

02:11PM   22       A.    I DID NOT KNOW.

02:11PM   23       Q.    IT CONTINUES, "DEVICES THAT MAKE IT POSSIBLE TO RUN ANY

02:11PM   24       LAB TEST FROM A MICRO-SAMPLE TAKEN FROM A FINGERSTICK."

02:11PM   25             IS THAT ALSO CONSISTENT WITH YOUR UNDERSTANDING AT THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 196
                                                                               197 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5098


02:11PM    1       TIME?

02:11PM    2       A.    IT IS.

02:11PM    3       Q.    THERANOS PERFORMED BLOOD TESTING THAT COULD DO ANY LAB

02:11PM    4       TEST FROM A MICRO-SAMPLE AND THAT MICRO-SAMPLE WAS TAKEN FROM A

02:12PM    5       FINGERSTICK.

02:12PM    6             IS THAT WHAT YOU UNDERSTOOD THIS TECHNOLOGY TO BE AT THE

02:12PM    7       TIME THAT YOU WERE CONSIDERING THIS INVESTMENT?

02:12PM    8       A.    YES, WITH THE EXCEPTION THAT OBVIOUSLY SOME OF THESE TYPES

02:12PM    9       OF FLUID SAMPLES WOULDN'T HAVE BEEN TAKEN BY A FINGERSTICK LIKE

02:12PM   10       A SWAB, A THROAT SWAB.      THAT'S THE ONLY THING.

02:12PM   11             BUT THE BLOOD, THE BLOOD DRAWS IN MY UNDERSTANDING WERE BY

02:12PM   12       A FINGERSTICK.

02:12PM   13       Q.    SO YOUR UNDERSTANDING WAS WHEN THEY WERE TESTING BLOOD, IT

02:12PM   14       WAS BLOOD DRAWN FROM A FINGER, BUT THEY MIGHT ALSO HAVE THE

02:12PM   15       ABILITY TO TEST --

02:12PM   16       A.    OTHER.

02:12PM   17       Q.    FORGIVE ME.

02:12PM   18             -- FLUIDS OR OTHER SAMPLES FROM OTHER PARTS OF THE BODY?

02:12PM   19       A.    THAT'S CORRECT.

02:12PM   20       Q.    THANK YOU.

02:12PM   21             IF YOU WILL NOW TURN TO PAGE 278.        THIS SECTION OF YOUR

02:12PM   22       MATERIALS LOOKS LIKE IT'S A GROUP OF POWERPOINT SLIDES.

02:12PM   23             DO YOU RECALL THAT?

02:12PM   24       A.    I DO.

02:12PM   25       Q.    AND DID YOU ALSO REVIEW THESE POWERPOINT SLIDES BEFORE YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 197
                                                                               198 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5099


02:12PM    1       MADE THE DECISION TO INVEST $6 MILLION?

02:12PM    2       A.    I DID.

02:12PM    3       Q.    THE SLIDE THAT IS NUMBERED 279, THE NEXT PAGE.

02:13PM    4       A.    YES.

02:13PM    5       Q.    MS. KRATZMANN, CAN YOU CLEAR THE SCREEN.         THANK YOU.

02:13PM    6             ON 279 THERE'S AN IMAGE OF A CHILD AND THE PHRASE

02:13PM    7       "GOODBYE, BIG BAD NEEDLE."

02:13PM    8             DO YOU SEE THAT?

02:13PM    9       A.    I DO.

02:13PM   10       Q.    MR. MOSLEY, I THINK -- THE SCREEN IS A TOUCH SCREEN AND

02:13PM   11       YOUR BINDER MIGHT BE MAKING IMAGES.

02:13PM   12       A.    OH.    SORRY ABOUT THAT.

02:13PM   13       Q.    NO PROBLEM.    THANK YOU.

02:13PM   14             WHAT DID "GOODBYE, BIG BAD NEEDLE" MEAN TO YOU?

02:13PM   15       A.    IT MEANT THAT THEY COULD DO A BLOOD DRAW WITHOUT HAVING TO

02:13PM   16       USE A LARGE NEEDLE.

02:13PM   17       Q.    AND WHERE WOULD THE BLOOD BE TAKEN USING THE LARGE NEEDLE?

02:13PM   18       DID YOU HAVE AN IDEA?

02:13PM   19       A.    IT WOULD BE TAKEN FROM A VEIN.

02:13PM   20       Q.    OKAY.    WOULD YOU TURN TO 280, 2-8-0.

02:13PM   21             ON THIS SLIDE IT SAYS THAT "THERANOS'S PROPRIETARY,

02:13PM   22       PATENTED TECHNOLOGY RUNS COMPREHENSIVE BLOOD TESTS FROM A

02:14PM   23       FINGER-STICK AND TESTS FROM MICRO-SAMPLES OF OTHER MATRICES,

02:14PM   24       AND GENERATES SIGNIFICANTLY HIGHER INTEGRITY DATA THAN

02:14PM   25       CURRENTLY POSSIBLE."



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 198
                                                                               199 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5100


02:14PM    1             DO YOU SEE THAT?

02:14PM    2       A.    I DO.

02:14PM    3       Q.    AND WAS THAT CONSISTENT WITH YOUR UNDERSTANDING AT THE

02:14PM    4       TIME THAT YOU WERE CONSIDERING MAKING AN INVESTMENT WHAT THE

02:14PM    5       THERANOS TECHNOLOGY WAS?

02:14PM    6       A.    IT WAS.

02:14PM    7       Q.    AND DO YOU UNDERSTAND THAT THERANOS HAD ITS OWN TECHNOLOGY

02:14PM    8       THAT RAN THESE COMPREHENSIVE BLOOD TESTS?

02:14PM    9       A.    I DID.

02:14PM   10       Q.    IT CONTINUES, "THERANOS IS THE WORLD'S FIRST AND ONLY

02:14PM   11       CLIA-CERTIFIED LABORATORY RUNNING ITS TESTS ON MICRO-SAMPLES,"

02:14PM   12       AND CONTINUES, "CURRENT AND PAST CLIENTS INCLUDE 10 OF THE TOP

02:14PM   13       15 MAJOR PHARMACEUTICAL COMPANIES, MIDSIZED BIO-PHARMAS,

02:14PM   14       PROMINENT RESEARCH INSTITUTIONS, HEALTH CARE PAYORS, AND U.S.

02:14PM   15       AND FOREIGN GOVERNMENT HEALTH AND MILITARY ORGANIZATIONS."

02:14PM   16             WAS THAT WORK THAT THERANOS HAD DONE WITH THESE

02:15PM   17       ORGANIZATIONS, WAS THAT IMPORTANT TO YOU?

02:15PM   18       A.    IT WAS.

02:15PM   19       Q.    WHY?

02:15PM   20       A.    OBVIOUSLY THE PHARMACEUTICAL COMPANIES ARE EXTREMELY

02:15PM   21       SOPHISTICATED AND CAPABLE OF MAKING JUDGMENTS ABOUT THE

02:15PM   22       TECHNOLOGY.

02:15PM   23       Q.    AND THE RELATIONSHIP THAT THERANOS HAD WITH THESE, WITH

02:15PM   24       THESE COMPANIES, DID THAT SAY SOMETHING TO YOU ABOUT THE

02:15PM   25       THERANOS TECHNOLOGY?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 199
                                                                               200 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5101


02:15PM    1       A.    I WOULD REGARD IT AS AN ENDORSEMENT THAT THEY HAD

02:15PM    2       CONFIDENCE IN THE TECHNOLOGY.

02:15PM    3       Q.    OKAY.   IF YOU'LL TURN NOW TO PAGE 285.

02:15PM    4             THIS SLIDE IS LABELLED VALIDATION OF THERANOS TESTS.

02:15PM    5             DO YOU SEE THAT?

02:15PM    6       A.    I DO.

02:15PM    7       Q.    IT READS, "THERANOS HAS BEEN COMPREHENSIVELY VALIDATED

02:15PM    8       OVER THE COURSE OF THE LAST SEVEN YEARS BY 10 OF THE 15 LARGEST

02:15PM    9       PHARMACEUTICAL COMPANIES, WITH HUNDREDS OF THOUSANDS OF ASSAYS

02:15PM   10       PROCESSED."

02:15PM   11             IS THIS A LITTLE BIT MORE THE POINT THAT YOU WERE JUST

02:15PM   12       MAKING TO ME ABOUT VALIDATION THROUGH THIS EXTERNAL WORK?

02:15PM   13       A.    YES.

02:15PM   14       Q.    THERE'S AN IMAGE AT THE BOTTOM, JOHNS HOPKINS MEDICINE.

02:16PM   15             DO YOU SEE THAT?

02:16PM   16       A.    I DO.

02:16PM   17       Q.    AND IT READS ABOVE THAT, "EXCERPTS FROM JOHNS HOPKINS DUE

02:16PM   18       DILIGENCE AND TECHNOLOGY VALIDATION."

02:16PM   19             WAS THAT THE WORK WITH JOHNS HOPKINS, WAS THAT IMPORTANT

02:16PM   20       TO YOU?

02:16PM   21       A.    IT WAS.

02:16PM   22       Q.    WHY?

02:16PM   23       A.    ONCE AGAIN, IT'S A VERY LARGE, VERY RESPECTED,

02:16PM   24       SOPHISTICATED HOSPITAL SYSTEM, AND THE FACT THAT THEY HAD

02:16PM   25       VALIDATED THE TECHNOLOGY WAS OBVIOUSLY IMPORTANT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 200
                                                                               201 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5102


02:16PM    1       Q.    AND YOU THOUGHT THAT JOHNS HOPKINS HAD VALIDATED THE

02:16PM    2       TECHNOLOGY?

02:16PM    3       A.    I DID.

02:16PM    4       Q.    WOULD YOU TURN NOW TO PAGE 299.

02:16PM    5             THIS SLIDE READS "SAME TESTS, A WHOLE NEW APPROACH.

02:16PM    6             "THE ACTIONABLE INFORMATION YOU NEED, 1/1,000 THE SIZE OF

02:16PM    7       A TYPICAL BLOOD DRAW."

02:16PM    8             THEN THERE ARE SOME IMAGES.

02:16PM    9             IT READS, "THERANOS RUNS ANY TEST AVAILABLE IN CENTRAL

02:16PM   10       LABORATORIES, AND PROCESSES ALL SAMPLE TYPES."

02:16PM   11             IS THAT CONSISTENT WITH YOUR UNDERSTANDING OF THE

02:17PM   12       CAPABILITIES OF THE TECHNOLOGY WHEN YOU INVESTED?

02:17PM   13       A.    YES.

02:17PM   14       Q.    AT THE BOTTOM IT READS THAT "THERANOS PROVIDES THE HIGHEST

02:17PM   15       LEVEL OF OVERSIGHT, AUTOMATION, AND STANDARDIZATION IN OUR PRE-

02:17PM   16       AND POST-ANALYTIC PROCESSES, ENSURING THE HIGHEST LEVELS OF

02:17PM   17       ACCURACY AND PRECISION."

02:17PM   18             WAS IT RELEVANT TO YOU THAT THERANOS SAID THAT IT ENSURED

02:17PM   19       THE HIGHEST LEVELS OF ACCURACY AND PRECISION?

02:17PM   20       A.    YES.

02:17PM   21       Q.    AND WHY DID THAT MATTER?

02:17PM   22       A.    WELL, IT WAS A STATEMENT THAT THEY HAD THE HIGHEST LEVEL

02:17PM   23       OF PRECISION, WHICH WAS OBVIOUSLY IMPORTANT, HIGHEST LEVEL OF

02:17PM   24       ACCURACY.

02:17PM   25       Q.    WHY?   FORGIVE ME, IT MIGHT BE OBVIOUS, BUT WHY WAS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 201
                                                                               202 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5103


02:17PM    1       ACCURACY IN BLOOD TESTING IMPORTANT TO YOU WHEN YOU WERE

02:17PM    2       CONSIDERING INVESTING?

02:17PM    3       A.    WELL, YOU KNOW, FROM AN ECONOMIC STANDPOINT, THE COMPANY

02:17PM    4       WOULD OBVIOUSLY DO A LOT BETTER IF IT HAD A HIGHLY EFFECTIVE

02:17PM    5       TEST, TECHNOLOGY WITH HIGH ACCURACY.

02:17PM    6       Q.    OKAY.   THANK YOU.

02:17PM    7             IF YOU'LL TURN TO 301, PAGE 301.        THIS SLIDES READS "A NEW

02:18PM    8       STANDARD IN QUALITY."

02:18PM    9             DO YOU SEE THAT?

02:18PM   10       A.    I DO.

02:18PM   11       Q.    AND IT SAYS THAT "BY SYSTEMATICALLY CONTROLLING AND

02:18PM   12       STANDARDIZING OUR PROCESSES, THERANOS OFFERS TESTS WITH THE

02:18PM   13       HIGHEST LEVELS OF ACCURACY."

02:18PM   14             ARE THERE -- ARE WE NOW LOOKING AT MULTIPLE INSTANCES IN

02:18PM   15       THIS SLIDE DECK WHERE YOU SEE REPRESENTATIONS ABOUT THE

02:18PM   16       ACCURACY OF THERANOS TESTS?

02:18PM   17       A.    YES.

02:18PM   18       Q.    WOULD YOU NOW TURN TO PAGE 303.       303 IS ENTITLED NEW

02:18PM   19       POSSIBILITIES IN LAB, AND ON THE LEFT SIDE IT SAYS, "ALL 1,000

02:18PM   20       PLUS CURRENTLY RUN TESTS/CPT CODES ARE AVAILABLE THROUGH

02:18PM   21       THERANOS.

02:18PM   22             "THERANOS RUNS ANY TEST AVAILABLE IN CENTRAL

02:18PM   23       LABORATORIES."

02:18PM   24             IS THAT ALSO CONSISTENT WITH YOUR UNDERSTANDING OF THE

02:19PM   25       TESTS THAT THERANOS COULD RUN IN ITS LAB?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 202
                                                                               203 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5104


02:19PM    1       A.    IT WAS.

02:19PM    2       Q.    WOULD YOU NOW TURN TO PAGE 304.

02:19PM    3             304 READS "FASTER RESULTS.       FASTER ANSWERS."

02:19PM    4             AND IT CONTINUES, "THERANOS'S MICRO-SAMPLE ANALYSIS IS

02:19PM    5       PERFORMED AT AMAZING SPEEDS, SO WE CAN REPORT RESULTS FASTER

02:19PM    6       THAN PREVIOUSLY POSSIBLE."

02:19PM    7             WHAT DID THAT MEAN TO YOU?

02:19PM    8       A.    IT JUST MEANT THAT THE RESULTS OF THE BLOOD TESTS COULD BE

02:19PM    9       RECEIVED IN A SHORTER PERIOD OF TIME.

02:19PM   10       Q.    ON THERANOS'S ANALYSIS OR THERANOS'S USE OF MICRO-SAMPLES?

02:19PM   11       A.    THAT'S CORRECT.

02:19PM   12       Q.    AND IF THERANOS WAS ACTUALLY USING CONVENTIONAL MACHINES,

02:19PM   13       THE TYPES OF MACHINES THAT OTHER LABS USED, WOULD YOU THINK IT

02:19PM   14       WOULD BE ANY FASTER, THAT THERE WOULD BE AN ADVANTAGE TO USING

02:20PM   15       THERANOS?

02:20PM   16       A.    I THOUGHT THIS MEANT THERE WAS A REAL ADVANTAGE TO USING

02:20PM   17       THERANOS MACHINES.

02:20PM   18       Q.    WHY?

02:20PM   19       A.    BECAUSE THEY WERE FASTER.

02:20PM   20       Q.    IF YOU'LL NOW TURN TO PAGE 320.

02:20PM   21             ON THIS SLIDE WE SEE RECENT PRESS, AND THERE'S AN IMAGE OF

02:20PM   22       "FORTUNE" MAGAZINE.

02:20PM   23             AND TO THE LEFT OF THAT IMAGE, A SECOND LINE READS "THIS

02:20PM   24       CEO IS OUT FOR BLOOD."

02:20PM   25             DO YOU SEE THAT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 203
                                                                               204 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5105


02:20PM    1       A.    I SEE IT.

02:20PM    2       Q.    WERE THERE INSTANCES SUCH AS THIS WHEN YOU LEARNED

02:20PM    3       INFORMATION ABOUT THERANOS NOT JUST FROM THE BINDER OF

02:20PM    4       MATERIAL, BUT FROM OTHER SOURCES?

02:20PM    5       A.    YES.

02:20PM    6       Q.    AND WAS THIS ARTICLE, THIS "FORTUNE" ARTICLE, ONE OF THOSE

02:20PM    7       INSTANCES?

02:20PM    8       A.    YES.

02:20PM    9       Q.    AND WHAT DID YOU THINK ABOUT YOUR ABILITY TO RELY ON THE

02:20PM   10       ARTICLE BY THERANOS SENDING IT TO YOU?

02:20PM   11             DO YOU UNDERSTAND?

02:20PM   12       A.    WELL, I ASSUMED -- I ASSUMED THAT THE COMPANY AGREED WITH

02:21PM   13       WHAT WAS STATED IN THE ARTICLE.

02:21PM   14       Q.    WHY DID YOU MAKE THAT ASSUMPTION?

02:21PM   15       A.    PROBABLY TWO REASONS.      ONE, I ASSUMED THAT ELIZABETH HAD

02:21PM   16       COOPERATED IN THE ARTICLE, AND MAYBE THE COMPANY HAD

02:21PM   17       COOPERATED; AND, TWO, BY SENDING IT TO ME, THE COMPANY WAS

02:21PM   18       SAYING THIS IS A GOOD DESCRIPTION OF THE COMPANY.

02:21PM   19       Q.    OKAY.   AND DO YOU RECALL WHETHER YOU THEN, IN FACT, FOUND

02:21PM   20       THE "FORTUNE" ARTICLE AND READ IT OR IF IT WAS SENT TO YOU?              DO

02:21PM   21       YOU HAVE A RECOLLECTION?

02:21PM   22       A.    I DEFINITELY READ IT.      I DON'T KNOW HOW I PULLED IT TO

02:21PM   23       READ IT, BUT I DID READ THE ARTICLE.

02:21PM   24       Q.    OKAY.   WOULD YOU NOW TURN TO PAGE 333.

02:21PM   25             ON THIS SLIDE WE SEE SIX IMAGINES, AND I'D LIKE TO DRAW



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 204
                                                                               205 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5106


02:21PM    1       YOUR ATTENTION TO THE BOTTOM MIDDLE IMAGE.

02:21PM    2             IF WE CAN ZOOM IN ON THE TEXT OF THE BOTTOM MIDDLE --

02:22PM    3       A.    OKAY.

02:22PM    4       Q.    -- IMAGE.

02:22PM    5             DO YOU SEE THAT?

02:22PM    6       A.    SURE.

02:22PM    7       Q.    IT READS, "OUR CERTIFIED LABS PERFORM PRECISE TESTS ON A

02:22PM    8       SAMPLE 1/1,000TH THE SIZE OF A TYPICAL BLOOD DRAW.           NO MORE BIG

02:22PM    9       VIALS TO FILL.     NO MORE SEARCHING FOR A GOOD VEIN."

02:22PM   10             WHAT DID THAT MEAN TO YOU?

02:22PM   11       A.    IT MEANT TO ME THAT THEY WERE ABLE TO DO THE TEST WITH A

02:22PM   12       VERY SMALL AMOUNT OF BLOOD THAT DID NOT REQUIRE FILLING UP

02:22PM   13       LARGE TUBES WITH BLOOD.

02:22PM   14       Q.    IF YOU WILL NOW TURN TO 354.

02:22PM   15             THIS SLIDE IS ABOUT AUTOMATED REFLEX TESTING.

02:22PM   16             DO YOU SEE THAT?

02:22PM   17       A.    YES.

02:22PM   18       Q.    "ORDER REFLEX TESTS DIRECTLY FROM THE THERANOS LAB ORDER

02:23PM   19       FORM.

02:23PM   20             "IMMEDIATE FOLLOW-ON TESTING."

02:23PM   21             WERE YOU FAMILIAR WITH THIS CONCEPT OF AUTOMATED REFLEX

02:23PM   22       TESTING WHEN YOU WERE DECIDING TO INVEST?

02:23PM   23       A.    I WAS.   AT SOME POINT I SORT OF CAME TO UNDERSTAND WHAT I

02:23PM   24       THOUGHT IT MEANT.

02:23PM   25       Q.    AND WHAT WAS THAT UNDERSTANDING?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 205
                                                                               206 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5107


02:23PM    1       A.    IT WAS THE FACT THAT IN REQUESTING A LAB TEST, YOU COULD

02:23PM    2       SAY IF THIS PARTICULAR TEST COMES OUT IN A PARTICULAR WAY, YOU

02:23PM    3       WOULD BE ASKING AT THE SAME TIME THAT FOLLOW-ON TESTS WOULD BE

02:23PM    4       DONE THAT WOULD BE HELPFUL IN DETERMINING THE MEANING OF THE

02:23PM    5       FIRST TEST.

02:23PM    6       Q.    AND DID YOU UNDERSTAND THAT THAT WAS SOMETHING THAT

02:23PM    7       THERANOS WAS CURRENTLY CAPABLE OF DOING?

02:23PM    8       A.    YES.

02:23PM    9       Q.    WOULD YOU TURN TO PAGE 419.

02:24PM   10             ARE YOU FAMILIAR WITH A DOCUMENT THAT IS BEGINNING ON

02:24PM   11       PAGE 419?

02:24PM   12       A.    YES.

02:24PM   13       Q.    THIS DOCUMENT HAS THE PFIZER LOGO IN THE UPPER LEFT

02:24PM   14       CORNER, AND THE THERANOS LOGO IN THE UPPER RIGHT.

02:24PM   15             DO YOU SEE THAT?

02:24PM   16       A.    I DO.

02:24PM   17       Q.    AND IT READS, "THERANOS ANGIOGENESIS STUDY REPORT, PFIZER

02:24PM   18       INC."

02:24PM   19             AND THEN IF WE ZOOM OUT, ON THE BOTTOM THERE IS SOME

02:24PM   20       HIGHLIGHTING.

02:24PM   21             WHERE DID THE HIGHLIGHTING COME FROM?

02:24PM   22       A.    IT'S MY HIGHLIGHTING.

02:24PM   23       Q.    AND DID YOU READ THIS BEFORE YOU MADE THE DECISION TO

02:24PM   24       INVEST?

02:24PM   25       A.    I DID.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 206
                                                                               207 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5108


02:24PM    1       Q.    AND LATER DID YOU WRITE A MEMO WHERE YOU SUMMARIZED YOUR

02:24PM    2       UNDERSTANDING OF THERANOS?

02:24PM    3       A.    I DID.

02:24PM    4       Q.    AND DID YOU INCLUDE SOME INFORMATION THAT YOU LEARNED FROM

02:24PM    5       THE PFIZER REPORT IN THAT MEMO?

02:24PM    6       A.    I DID.

02:24PM    7       Q.    WAS THIS PFIZER REPORT IMPORTANT TO YOU IN YOUR DECISION

02:24PM    8       TO INVEST?

02:24PM    9       A.    IT WAS.

02:24PM   10       Q.    WHY?

02:24PM   11       A.    AS I MENTIONED EARLIER, IT'S A -- PFIZER IS A VERY LARGE

02:25PM   12       PHARMACEUTICAL COMPANY THAT IS HIGHLY SOPHISTICATED AND HAS A

02:25PM   13       LARGE SCIENTIFIC STAFF, AND I BELIEVED THAT IF THEY HAD REACHED

02:25PM   14       THE CONCLUSIONS STATED IN THIS REPORT, THAT WAS A VERY GOOD

02:25PM   15       VALIDATION OF THE COMPANY.

02:25PM   16       Q.    WHO DID YOU THINK WROTE THIS REPORT?

02:25PM   17       A.    PFIZER.

02:25PM   18       Q.    WHY DID YOU THINK THAT?

02:25PM   19       A.    ONE, IT'S GOT THE PFIZER LOGO ON THE TOP LEFT OF IT, AND I

02:25PM   20       THINK THAT IS ON EVERY PAGE.

02:25PM   21             AND THERE ARE CERTAIN PARTS OF THE STUDY THAT CERTAINLY I

02:25PM   22       WOULD HAVE THOUGHT THAT PFIZER WAS THE ONLY ONE THAT WOULD HAVE

02:25PM   23       KNOWN THE INFORMATION THAT IS INCLUDED IN THE STUDY.

02:25PM   24       Q.    OKAY.    IF WE COULD ZOOM OUT ON THIS PAGE AND THEN ZOOM IN

02:25PM   25       AT THE VERY BOTTOM OF THIS DOCUMENT.        NEXT TO THE PAGE NUMBER



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 207
                                                                               208 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5109


02:26PM    1       THERE'S AN ADDRESS.

02:26PM    2             DO YOU SEE THAT?     IT IS SAYS 3200 HILLVIEW, PALO ALTO.

02:26PM    3             DO YOU SEE WHERE I AM?

02:26PM    4       A.    I SEE IT.

02:26PM    5       Q.    AND IT HAS A PHONE NUMBER AND A WEBSITE, THERANOS.COM.

02:26PM    6             DO YOU SEE THAT?

02:26PM    7       A.    I DO.

02:26PM    8       Q.    AND DO YOU KNOW WHAT IS LOCATED, OR WHAT WAS LOCATED AT

02:26PM    9       THAT ADDRESS, 3200?

02:26PM   10       A.    I DON'T KNOW FOR SURE, BUT I THINK IT WAS THERANOS'S

02:26PM   11       HEADQUARTERS AT ONE POINT.

02:26PM   12       Q.    FORGIVE ME.    AT ONE POINT?

02:26PM   13       A.    YEAH.

02:26PM   14       Q.    THIS DOCUMENT HAD THERANOS'S ADDRESS, WEBSITE, PHONE

02:26PM   15       NUMBER ON IT.     DID THAT MAKE YOU THINK THAT PFIZER DID NOT

02:26PM   16       WRITE THIS DOCUMENT?

02:26PM   17       A.    IT DID NOT.

02:26PM   18       Q.    WHY?    WHY DIDN'T -- I MEAN, YOU SAW THE THERANOS WEBSITE.

02:26PM   19       WHY DIDN'T THAT CHANGE YOUR MIND ABOUT WHO DRAFTED THE

02:26PM   20       DOCUMENT?

02:26PM   21       A.    WELL, THERE IS -- YOU GET TO THE BACK OF THE DOCUMENT AND

02:26PM   22       THERE ARE A LOT OF CONCLUSIONS ABOUT THE TECHNOLOGY, AND THEY

02:26PM   23       CERTAINLY READ AS THIRD PARTY CONCLUSIONS.

02:27PM   24       Q.    WHAT DO YOU MEAN, "THEY READ AS THIRD PARTY CONCLUSIONS"?

02:27PM   25       A.    WELL, THEY READ, TO ME, TO BE STATEMENTS EFFECTIVELY BY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 208
                                                                               209 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5110


02:27PM    1       SOMEBODY OTHER THAN THERANOS ABOUT THE TECHNOLOGY, THERANOS'S

02:27PM    2       TECHNOLOGY.

02:27PM    3       Q.    OKAY.   IF YOU'LL NOW TURN TO PAGE 510.

02:27PM    4       A.    OKAY.

02:27PM    5       Q.    WHAT ARE WE LOOKING AT HERE?

02:27PM    6       A.    A CAP TABLE.

02:27PM    7       Q.    WHAT IS A CAP TABLE?

02:28PM    8       A.    IT'S NORMALLY A TABLE SHOWING THE STOCK THAT A COMPANY HAD

02:28PM    9       ISSUED AND AT WHAT PRICE AND THE AMOUNT OF PROCEEDS THAT HAD

02:28PM   10       COME TO THE COMPANY AS A RESULT OF ISSUING THAT STOCK.

02:28PM   11       Q.    PROCEEDS THAT HAD COME TO THE COMPANY BY ISSUING THE

02:28PM   12       STOCK, WHAT DOES THAT MEAN?

02:28PM   13       A.    WELL, ISSUING MEANS REALLY A COMPANY SELLING STOCK.           SO

02:28PM   14       THIS WOULD BE AN INDICATION OF THE SHARES SOLD AT DIFFERENT

02:28PM   15       DATES FOR DIFFERENT AMOUNTS AND HOW MUCH CAME TO THE COMPANY AS

02:28PM   16       A RESULT OF THE PROCEEDS OF THOSE SALES.

02:28PM   17       Q.    OKAY.   AND THEN THE COLUMN SECOND FROM THE LEFT, PER SHARE

02:28PM   18       PRICE, WHAT DOES THAT MEAN?

02:28PM   19       A.    IT -- WHEN THEY SOLD IN THAT PARTICULAR SERIES, THE PRICE

02:28PM   20       PER SHARE THAT WAS PAID BY THE PURCHASERS OF THE STOCK.

02:28PM   21       Q.    AND WHICH SERIES DID YOU END UP PURCHASING?

02:28PM   22       A.    THE SERIES C-2.

02:28PM   23       Q.    SO DOES THAT MEAN THAT YOU PAID $17 PER SHARE?

02:29PM   24       A.    IT DOES.

02:29PM   25       Q.    THE VALUATION DATE IS 2013.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 209
                                                                               210 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5111


02:29PM    1             WHEN DID YOU INVEST, THOUGH?

02:29PM    2       A.    I THINK IT WAS AROUND THE END OF OCTOBER.

02:29PM    3       Q.    OF?

02:29PM    4       A.    2014.

02:29PM    5       Q.    IT WAS IN 2014.     THE PRICE DIDN'T CHANGE, YOU STILL GOT

02:29PM    6       THE 2013 PRICE?

02:29PM    7       A.    THAT IS CORRECT.

02:29PM    8       Q.    IF YOU'LL NOW TURN TO PAGE 512.

02:29PM    9             WE TALKED ABOUT THIS A MOMENT AGO.        YOU SAID YOU RECEIVED

02:29PM   10       SOME FINANCIAL INFORMATION FROM THE COMPANY WHEN YOU WERE

02:29PM   11       REVIEWING THE INVESTMENT OPPORTUNITY.

02:29PM   12             IS THIS SOME OF THE FINANCIAL INFORMATION THAT YOU WERE

02:29PM   13       REFERRING TO?

02:29PM   14       A.    YES.

02:29PM   15       Q.    IT'S CALLED A PROJECTED STATEMENT OF INCOME, AND IT HAS

02:29PM   16       TWO PERIODS, THE PERIOD ENDING 12/31/2014 AND THEN 12/31/2015.

02:29PM   17             DO YOU SEE THAT?

02:30PM   18       A.    I DO.

02:30PM   19       Q.    AND THIS DOCUMENT I THINK YOU SAID WAS PART OF MATERIALS

02:30PM   20       THAT MS. HOLMES SENT TO YOU WITH THAT COVER LETTER.           THAT COVER

02:30PM   21       LETTER WAS IN AUGUST OF 2014; IS THAT RIGHT?

02:30PM   22       A.    YES.

02:30PM   23       Q.    AND SO WOULD YOU HAVE BEEN REVIEWING THIS PROJECTED

02:30PM   24       STATEMENT OF INCOME ROUGHLY IN AUGUST OF 2014?

02:30PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 210
                                                                               211 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5112


02:30PM    1       Q.    AND IT PROJECTS REVENUE BY THE END OF THIS YEAR, 2014,

02:30PM    2       FROM LAB SERVICES FOR U.S. RETAIL PHARMACIES AT $42 MILLION.

02:30PM    3             DO YOU SEE THAT?

02:30PM    4       A.    YES.

02:30PM    5       Q.    AND IT INCLUDES REVENUE FROM PHYSICIANS OFFICES,

02:30PM    6       HOSPITALS, REVENUE FROM PHARMACEUTICAL SERVICES FOR A TOTAL

02:30PM    7       REVENUE OF $140 MILLION.

02:30PM    8             DO YOU SEE THAT?

02:30PM    9       A.    I DO.

02:30PM   10       Q.    WHEN YOU WERE LOOKING AT THOSE NUMBERS IN AUGUST OF 2014,

02:30PM   11       AND THE PROJECTION IS FOR THE YEAR ENDING DECEMBER 31, 2014,

02:30PM   12       DID THAT SAY ANYTHING TO YOU ABOUT THE RELIABILITY OF THESE

02:30PM   13       PROJECTIONS?

02:30PM   14       A.    IT, IT DID.    BY DEFINITION THEY COULD NOT BE WHAT I MIGHT

02:31PM   15       CALL HARD NUMBERS, OR FINAL NUMBERS, FOR THE ACTUAL REVENUE IN

02:31PM   16       THAT PARTICULAR YEAR SINCE THE YEAR HAD NOT YET BEEN COMPLETED.

02:31PM   17       Q.    OKAY.   AND HOW ABOUT THE LIKELIHOOD THAT THOSE NUMBERS

02:31PM   18       ARE, WHILE NOT HARD NUMBERS, ARE CLOSE TO ACCURATE?           DID IT SAY

02:31PM   19       ANYTHING ABOUT THAT?

02:31PM   20       A.    YES, IT WOULD HAVE PROBABLY INDICATED TO ME THAT THEY WERE

02:31PM   21       PRETTY GOOD NUMBERS BECAUSE ROUGHLY THREE QUARTERS OF THE YEAR

02:31PM   22       HAD ALREADY PASSED, AND I WOULD EXPECT THAT PART OF THE NUMBERS

02:31PM   23       TO BE BASED ON ACTUAL, AND ONLY THE BALANCE OF THE YEAR WHICH

02:31PM   24       HAD NOT YET OCCURRED TO BE BASED ON PROJECTED.

02:31PM   25       Q.    SO KNOWING THAT THESE WERE NOT YET HARD NUMBERS, WOULD IT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 211
                                                                               212 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5113


02:31PM    1       HAVE SURPRISED YOU IF THERANOS HAD VERY LITTLE REVENUE IN 2014

02:31PM    2       GIVEN THESE PROJECTIONS?

02:31PM    3       A.    IT WOULD HAVE.

02:31PM    4       Q.    WHY?

02:31PM    5       A.    BECAUSE AS I SAY, I WOULD HAVE EXPECTED THESE NUMBERS TO

02:32PM    6       BE PRETTY ACCURATE FOR THE FIRST THREE QUARTERS OF THE YEAR,

02:32PM    7       AND THREE QUARTERS OF THE YEAR HAD PASSED, AND I WOULD HAVE

02:32PM    8       EXPECTED THEM TO BE A GOOD FAITH ESTIMATE FOR THE BALANCE OF

02:32PM    9       THE YEAR BASED ON THE FIRST THREE QUARTERS OF THE YEAR.

02:32PM   10       Q.    OKAY.   AND NOW LET'S TURN TO THE 2015 NUMBERS.         LET'S HAVE

02:32PM   11       THAT SAME CONVERSATION FOR 2015 NUMBERS.

02:32PM   12             TALK TO ME ABOUT YOUR VIEW ON THE RELIABILITY OF NUMBERS

02:32PM   13       THAT ARE NOW PROJECTED OUT LET'S SAY 15 MONTHS, 16 MONTHS INTO

02:32PM   14       THE FUTURE?

02:32PM   15       A.    I WOULD HAVE CONSIDERED THEM FAR LESS RELIABLE BECAUSE NO

02:32PM   16       PART OF THAT YEAR HAD OCCURRED YET.

02:32PM   17       Q.    OKAY.   AND WHAT ABOUT THAT SAME QUESTION, IF IN 2015 THERE

02:32PM   18       WAS VERY LITTLE REVENUE, WOULD THAT HAVE SURPRISED YOU GIVEN

02:32PM   19       THE PROJECTION OF NEARLY A BILLION DOLLARS OF REVENUE?

02:32PM   20       A.    IT, IT WOULD HAVE SURPRISED ME BECAUSE THREE QUARTERS OF

02:32PM   21       2014 HAD ALREADY OCCURRED AND SO THE COMPANY WOULD HAVE SOME

02:33PM   22       VISIBILITY WITH THREE QUARTERS OF THAT YEAR HAVING OCCURRED,

02:33PM   23       SOME VISIBILITY NOT ONLY INTO THE FOURTH QUARTER OF 2014, BUT

02:33PM   24       PRESUMABLY, YOU KNOW, INTO 2015.

02:33PM   25       Q.    SO IS IT FAIR THAT SORT OF THE ACCURACY OF THE NUMBERS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 212
                                                                               213 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                           5114


02:33PM    1       DECREASES OVER TIME?      THE FURTHER OUT YOU GET, THE LESS

02:33PM    2       RELIABLE YOU VIEW THE NUMBERS TO BE?

02:33PM    3       A.    ABSOLUTELY.

02:33PM    4       Q.    BUT THERE'S STILL, IS IT FAIR TO SAY, A BALLPARK?          IF

02:33PM    5       YOU'RE IN 2014, IN AUGUST, PROJECTING NUMBERS FOR 2015, DO YOU

02:33PM    6       VIEW THE PROJECTIONS TO SORT OF BE, LET'S SAY, A FEW STANDARD

02:33PM    7       DEVIATIONS FROM A BALLPARK?

02:33PM    8       A.    YOU KNOW, I PROBABLY WOULDN'T SAY THEY WERE THAT ACCURATE.

02:33PM    9             I WOULD JUST SAY THAT THEY ARE WHAT THE COMPANY THOUGHT

02:33PM   10       THEY COULD DO FOR THAT YEAR, OR WHAT THEY WERE SAYING THEY

02:33PM   11       THOUGHT THEY COULD DO FOR THAT YEAR.

02:33PM   12       Q.    AND A MOMENT AGO YOU USED THE PHRASE A GOOD FAITH

02:33PM   13       ESTIMATE.     WHAT DID YOU MEAN BY THAT?

02:33PM   14       A.    IT WAS A JUDGMENT THAT THEY WERE BASED ON A -- THAT IF

02:34PM   15       NUMBERS WERE -- I WOULD EXPECT PROJECTIONS TO BE ARRIVED AT IN

02:34PM   16       GOOD FAITH, WHICH MEANS THAT THEY WOULD BE BASED ON THE

02:34PM   17       INFORMATION THAT WAS AVAILABLE AT THAT TIME AND A REASONABLE

02:34PM   18       AND FAIR JUDGMENT OF WHAT THAT PORTRAYED FOR THE FUTURE.

02:34PM   19       Q.    OKAY.   THANK YOU.

02:34PM   20             WOULD YOU NOW TURN TO PAGE 516.

02:34PM   21             DO YOU RECOGNIZE THIS DOCUMENT?

02:34PM   22       A.    I DO.

02:34PM   23       Q.    AND IS THIS -- I THINK EARLIER YOU REFERENCED AN ARTICLE

02:34PM   24       IN "THE WALL STREET JOURNAL" ABOUT THE LAUNCH WITH WALGREENS;

02:34PM   25       IS THAT RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 213
                                                                               214 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5115


02:34PM    1       A.    YES.

02:34PM    2       Q.    IS THAT THIS ARTICLE?

02:34PM    3       A.    YES, IT IS.

02:34PM    4       Q.    DID YOU -- DO YOU REMEMBER IF YOU READ THE ARTICLE AT THE

02:34PM    5       TIME?

02:34PM    6       A.    I DID.

02:34PM    7       Q.    AND THERE'S SOME HIGHLIGHTS IN IT.        ARE THOSE YOUR

02:34PM    8       HIGHLIGHTS?

02:34PM    9       A.    THEY ARE.

02:34PM   10       Q.    AND IF WE COULD NOW ZOOM IN THE SECOND COLUMN FURTHER

02:34PM   11       DOWN, IT'S THE SIXTH FULL PARAGRAPH IN THE SECOND COLUMN, IT

02:35PM   12       BEGINS, "THERANOS'S TECHNOLOGY ELIMINATES MULTIPLE LAB TRIPS."

02:35PM   13             DO YOU SEE THAT?

02:35PM   14       A.    JUST ONE SECOND.     IN THE SECOND COLUMN?

02:35PM   15       Q.    IN THE SECOND COLUMN.

02:35PM   16       A.    ONE, TWO, THREE, FOUR, FIVE.

02:35PM   17             YES, I DO.

02:35PM   18                    MR. SCHENK:    MS. HOLLIMAN, IF WE CAN ZOOM OUT INTO

02:35PM   19       THE SECOND COLUMN.      FURTHER DOWN, THE SIXTH FULL PARAGRAPH

02:35PM   20       DOWN, THERE'S A PARAGRAPH THAT BEGINS -- IT'S ACTUALLY THREE

02:35PM   21       PARAGRAPHS UP FROM THE BOTTOM.       MAYBE THAT'S EASIER.

02:35PM   22       Q.    IT SAYS, "THERANOS'S TECHNOLOGY ELIMINATES MULTIPLE LAB

02:35PM   23       TRIPS BECAUSE IT CAN RUN ANY COMBINATION OF TESTS, INCLUDING

02:35PM   24       SETS OF FOLLOW-ON TESTS."

02:35PM   25             DO YOU SEE THAT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 214
                                                                               215 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5116


02:35PM    1       A.    I DO.

02:35PM    2       Q.    AND WAS THAT CONSISTENT WITH YOUR UNDERSTANDING OF THE

02:35PM    3       THERANOS TECHNOLOGY WHEN YOU WERE CONSIDERING INVESTING?

02:35PM    4       A.    IT WAS.

02:35PM    5       Q.    WOULD YOU NOW TURN TO PAGE 523.

02:36PM    6             WE SEE ANOTHER IMAGE OF THE "FORTUNE" ARTICLE AT 523.

02:36PM    7             DID MS. HOLMES PROVIDE YOU WITH THIS "FORTUNE" ARTICLE

02:36PM    8       BEFORE YOU DECIDED TO INVEST?

02:36PM    9       A.    I THINK THAT IT MAY HAVE BEEN, AT LEAST THE COVER MAY HAVE

02:36PM   10       BEEN IN THE MATERIALS, BUT I DON'T KNOW FOR SURE.

02:36PM   11       Q.    OKAY.    DO YOU THINK THAT YOU READ IT BEFORE YOU DECIDED TO

02:36PM   12       INVEST?

02:36PM   13       A.    I HAD ABSOLUTELY READ IT BEFORE I INVESTED.

02:36PM   14       Q.    ALL RIGHT.    IF YOU WILL NOW TURN TO EXHIBIT 3844.

02:36PM   15             DO YOU SEE THIS DOCUMENT?

02:36PM   16       A.    IT HAS JOHNS HOPKINS AT THE TOP?

02:36PM   17       Q.    YES?

02:36PM   18       A.    YES.

02:36PM   19       Q.    WAS THIS DOCUMENT ALSO PROVIDED TO YOU WHEN YOU WERE

02:36PM   20       CONSIDERING MAKING AN INVESTMENT?

02:37PM   21       A.    IT WAS.

02:37PM   22                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 3844.

02:37PM   23                     MR. WADE:    NO OBJECTION.

02:37PM   24                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:37PM   25             (GOVERNMENT'S EXHIBIT 3844 WAS RECEIVED IN EVIDENCE.)



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 215
                                                                               216 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5117


02:37PM    1       BY MR. SCHENK:

02:37PM    2       Q.    IN THE POWER POINTS THAT WE LOOKED AT, WE SAW THE LOGOS

02:37PM    3       FROM THE JOHNS HOPKINS MEDICAL SCHOOL.

02:37PM    4             DO YOU RECALL THAT?

02:37PM    5       A.    I DO.

02:37PM    6       Q.    AND THERE WAS SOME DISCUSSION ABOUT VALIDATION WORK.

02:37PM    7             WAS THIS SOME SUPPORTING MATERIAL THAT YOU RECEIVED

02:37PM    8       REGARDING THE WORK JOHNS HOPKINS HAD DONE?

02:37PM    9       A.    IT WAS.

02:37PM   10       Q.    DO YOU KNOW WHAT JOHNS HOPKINS DID TO VALIDATE OR TO

02:37PM   11       INVESTIGATE THE THERANOS TECHNOLOGY?

02:37PM   12       A.    I THINK I WAS -- I THINK I WAS AWARE THAT THEY HAD TESTED

02:37PM   13       AT LEAST, OR HAD SEEN THE THERANOS MACHINES TESTED.

02:37PM   14       Q.    AND DO YOU REMEMBER --

02:37PM   15       A.    I SAID I THINK THEY HAD REVIEWED THE TECHNOLOGY AND SEEN

02:37PM   16       THE EQUIPMENT IN USE.

02:37PM   17       Q.    DO YOU REMEMBER WHERE YOU LEARNED THAT OR WHERE YOU GOT

02:38PM   18       THAT FROM?

02:38PM   19       A.    I DON'T KNOW.

02:38PM   20       Q.    OKAY.    WOULD YOU NOW TURN TO 4202.

02:38PM   21             IS 4202 AN EMAIL EXCHANGE BETWEEN YOU AND MS. HOLMES IN

02:38PM   22       SEPTEMBER OF 2014 REGARDING A VISIT THAT YOU TWO MIGHT HAVE?

02:38PM   23       A.    YES.

02:38PM   24                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 4202.

02:38PM   25                     MR. WADE:   NO OBJECTION.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 216
                                                                               217 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5118


02:38PM    1                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

02:38PM    2             (GOVERNMENT'S EXHIBIT 4202 WAS RECEIVED IN EVIDENCE.)

02:38PM    3       BY MR. SCHENK:

02:38PM    4       Q.    IF WE CAN START ON PAGE 2 OF THIS EXHIBIT, THE EMAIL ON

02:38PM    5       THE BOTTOM FROM YOU TO MS. HOLMES, IT'S DATED SEPTEMBER 2ND,

02:38PM    6       2014.

02:38PM    7             DO YOU SEE THAT?

02:38PM    8       A.    YES.

02:38PM    9       Q.    NOW, IN SEPTEMBER YOU'RE THANKING MS. HOLMES FOR THE

02:39PM   10       EXTENSIVE MATERIALS ON THERANOS.

02:39PM   11             IS THAT A REFERENCE TO AT LEAST SOME OF THE MATERIALS THAT

02:39PM   12       YOU AND I JUST TALKED ABOUT?

02:39PM   13       A.    YES, IT IS.

02:39PM   14       Q.    YOU "ENJOYED READING THE MATERIALS AND CAN'T TELL YOU HOW

02:39PM   15       APPRECIATIVE AND THANKFUL I AM FOR THE OPPORTUNITY TO BECOME

02:39PM   16       ONE OF YOUR SHAREHOLDERS."

02:39PM   17             WAS THAT ACCURATE?      DID YOU FEEL HONORED OR APPRECIATIVE

02:39PM   18       TO BECOME A POTENTIAL SHAREHOLDER?

02:39PM   19       A.    ABSOLUTELY.

02:39PM   20       Q.    WHY?

02:39PM   21       A.    WELL, IT'S -- THIS IS A COMPANY THAT HAD ENORMOUS

02:39PM   22       POTENTIAL TO DO GOOD THINGS FOR PEOPLE, AND IT WAS ALSO LIKELY

02:39PM   23       TO BE VERY FINANCIALLY SUCCESSFUL, SO YOU WOULD BE APPRECIATIVE

02:39PM   24       OF THAT OPPORTUNITY.

02:39PM   25       Q.    AND YOU SAID IT HAD THE OPPORTUNITY TO BE ENORMOUSLY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 217
                                                                               218 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5119


02:39PM    1       SUCCESSFUL FINANCIALLY TO DO GREAT THINGS.

02:39PM    2             WHERE DID YOU GET THAT IMPRESSION?

02:39PM    3       A.    YOU KNOW, LARGELY PROBABLY FROM ALL OF THE MATERIALS THAT

02:39PM    4       WERE INCLUDED IN THAT PACKAGE, AS WELL AS THE "FORTUNE" ARTICLE

02:40PM    5       AND SUCH.

02:40PM    6       Q.    SO THIS POTENTIAL THAT YOU'RE REFERRING TO, IS THAT AN

02:40PM    7       ASSUMPTION BASED ON THE ACCURACY OF THE MATERIALS THAT YOU

02:40PM    8       RECEIVED?

02:40PM    9       A.    YES.

02:40PM   10       Q.    YOU WROTE A SENTENCE OR TWO LATER THAT YOU PREPARED AN

02:40PM   11       OUTLINE OVER THE WEEKEND WITH YOUR THOUGHTS AND ANALYSIS WHICH

02:40PM   12       YOU'RE SENDING TO DR. KISSINGER; IS THAT RIGHT?

02:40PM   13       A.    THAT'S RIGHT.

02:40PM   14       Q.    AND WHY DID YOU PREPARE THE MEMO THAT IS REFERENCED HERE?

02:40PM   15       A.    WELL, AS I STATED EARLIER, WHEN DR. KISSINGER FIRST

02:40PM   16       BROUGHT UP THE COMPANY AND ELIZABETH TO ME, HE SAID IT WOULD BE

02:40PM   17       VERY HELPFUL TO ME IF YOU WOULD TALK TO ELIZABETH, LEARN ABOUT

02:40PM   18       THE COMPANY, AND GIVE ME YOUR THOUGHTS.

02:40PM   19             AND SO THE MEMO WAS REALLY MY HAVING GONE THROUGH THE

02:40PM   20       MATERIALS AND HAD CONVERSATIONS AND PULLING TOGETHER MY

02:40PM   21       THOUGHTS.

02:40PM   22       Q.    AND DID THE MEMO SERVE TWO PURPOSES OR JUST ONE?          WAS IT

02:40PM   23       SOMETHING THAT WAS USED ONLY FOR DR. KISSINGER, OR WAS IT ALSO

02:41PM   24       GATHERING YOUR THOUGHTS ON THE THERANOS INVESTMENT?

02:41PM   25       A.    WELL, IT WAS, IT WAS REALLY FOR DR. KISSINGER AT HIS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 218
                                                                               219 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5120


02:41PM    1       REQUEST AND I, I GUESS YOU COULD SAY THAT IT HAD A DUAL PURPOSE

02:41PM    2       OF PULLING TOGETHER MY OWN THOUGHTS ABOUT THE COMPANY.

02:41PM    3       Q.    OKAY.    AND WHEN YOU DRAFTED THIS MEMO, HAD YOU DECIDED

02:41PM    4       WHETHER TO INVEST?      HAD YOU MADE THAT DECISION?

02:41PM    5       A.    AT THAT POINT I HAD NOT.

02:41PM    6       Q.    ABOVE THIS EMAIL THAT YOU AND I ARE READING RIGHT NOW, YOU

02:41PM    7       FOLLOW UP WITH ANOTHER EMAIL SAYING THAT YOU SEE THAT YOU,

02:41PM    8       MS. HOLMES, IS GOING TO BE SPEAKING AT BYRON TROTT'S

02:41PM    9       CONFERENCE, IT LOOKS LIKE IN MAYBE TWO WEEKS, A WEEK AND A

02:41PM   10       HALF, TUESDAY, SEPTEMBER 16TH IN CHICAGO.

02:41PM   11             DO YOU SEE THAT?

02:41PM   12       A.    I DO.

02:41PM   13       Q.    DID YOU GO TO THIS CONFERENCE IN CHICAGO?

02:41PM   14       A.    I DID.

02:41PM   15       Q.    DID SHE GO?

02:41PM   16       A.    SHE DID.

02:41PM   17       Q.    AND DID YOU MEET MS. HOLMES THERE?

02:42PM   18       A.    I DID.

02:42PM   19       Q.    AND DID YOU INTRODUCE MS. HOLMES TO OTHER INDIVIDUALS THAT

02:42PM   20       YOU THOUGHT MIGHT BE INTERESTED IN THERANOS AS WELL?

02:42PM   21       A.    WE DID.    I DID MEET WITH ELIZABETH AND SOME OF THE

02:42PM   22       INDIVIDUALS THAT I THOUGHT MIGHT HAVE AN INTEREST IN LOOKING AT

02:42PM   23       THE COMPANY.

02:42PM   24       Q.    AND WHY, WHY DID YOU -- WELL, LET ME ASK, DID YOU CREATE

02:42PM   25       THIS OPPORTUNITY FOR AN INTRODUCTION OR MEETING FOR MS. HOLMES



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 219
                                                                               220 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5121


02:42PM    1       TO MEET SOME OF THESE OTHER INDIVIDUALS?

02:42PM    2       A.    I THINK I DID, YES.

02:42PM    3       Q.    AND WHY DID YOU DO THAT?

02:42PM    4       A.    WELL, BECAUSE I THOUGHT THE COMPANY HAD ENORMOUS POTENTIAL

02:42PM    5       FOR GOOD IN THE WORLD, BEING ABLE TO DO THIS KIND OF TESTING AS

02:42PM    6       DESCRIBED, AND I OBVIOUSLY HAD CLIENTS THAT, YOU KNOW, WOULD

02:42PM    7       HAVE A SIMILAR VIEW TO MINE THAT THIS WAS BOTH A GOOD

02:42PM    8       INVESTMENT OPPORTUNITY, AS WELL AS A VERY GOOD THING TO BACK

02:42PM    9       BECAUSE OF THE POTENTIAL GOOD IN THE WORLD.

02:42PM   10       Q.    WHEN YOU ARRANGED THESE MEETINGS, DID YOU TELL THESE

02:42PM   11       CLIENTS THAT YOU WERE VOUCHING FOR THE TECHNOLOGY OR FOR THE

02:43PM   12       INVESTMENT?

02:43PM   13       A.    NO.   I BASICALLY TOLD THE INDIVIDUALS I INTRODUCED THAT

02:43PM   14       ELIZABETH IS SOMEBODY THAT I HAD COME ACROSS.          I WAS IMPRESSED

02:43PM   15       WITH HER IDEA AND TECHNOLOGY, AND THIS IS SOMEBODY THAT I

02:43PM   16       THOUGHT THEY WOULD ENJOY MEETING.

02:43PM   17       Q.    IF WE COULD NOW TURN TO 4 -- WELL, I'M SORRY.

02:43PM   18             DO YOU KNOW THE NAMES OF SOME -- WHEN YOU SAY "THESE

02:43PM   19       INDIVIDUALS," CAN YOU FILL IN THAT BLANK FOR US?

02:43PM   20       A.    WELL, THERE'S A REFERENCE TO MEMBERS OF THE WALTON FAMILY;

02:43PM   21       THERE WERE ALSO MEMBERS OF THE DEVOS FAMILY; AND I BELIEVE

02:43PM   22       MEMBERS OF THE COX FAMILY.

02:43PM   23       Q.    AND THE THREE GROUPS OF PEOPLE THAT YOU JUST REFERENCED,

02:43PM   24       WERE THEY CLIENTS OF YOURS?

02:43PM   25       A.    THEY WERE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 220
                                                                               221 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5122


02:43PM    1       Q.    DO YOU RECALL IF THREE SEPARATE MEETINGS HAPPENED IN

02:43PM    2       CHICAGO, OR DID EVERYBODY GET TOGETHER?         OR TOO LONG AGO AND

02:44PM    3       YOU DON'T REMEMBER?

02:44PM    4       A.    I DON'T REALLY REMEMBER, BUT I HAVE SOME -- I BELIEVE THEY

02:44PM    5       WERE LIKELY SEPARATE.

02:44PM    6       Q.    DID YOU PARTICIPATE IN SOME OF THESE MEETINGS?

02:44PM    7       A.    I PROBABLY SAT IN ON THEM.

02:44PM    8       Q.    DID MS. HOLMES SPEAK DURING THESE MEETINGS?

02:44PM    9       A.    YES.

02:44PM   10       Q.    DID MS. HOLMES DESCRIBE THE TECHNOLOGY OR THERANOS DURING

02:44PM   11       THESE MEETINGS?

02:44PM   12       A.    YES.

02:44PM   13       Q.    DID YOU LEARN SOMETHING DURING THESE MEETINGS THAT WAS

02:44PM   14       VASTLY DIFFERENT THAN THE IMAGE THAT WE JUST TALKED ABOUT

02:44PM   15       THROUGH THESE POWERPOINT SLIDES, THROUGH THE MATERIALS THAT

02:44PM   16       WERE SENT TO YOU?

02:44PM   17       A.    NO.

02:44PM   18       Q.    WAS THE DESCRIPTION THAT YOU WERE OBSERVING CONSISTENT

02:44PM   19       WITH THE UNDERSTANDING THAT YOU AND I JUST TALKED ABOUT WITH,

02:44PM   20       FOR INSTANCE, EXHIBIT 3387?

02:44PM   21       A.    YES.

02:44PM   22       Q.    COULD WE NOW TURN TO EXHIBIT 4197?

02:44PM   23             YOUR HONOR, 4197 HAS ALREADY BEEN ADMITTED.

02:44PM   24             PERMISSION TO PUBLISH?

02:44PM   25                    THE COURT:    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 221
                                                                               222 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                            5123


02:44PM    1                     MR. SCHENK:   THANK YOU.

02:45PM    2       Q.    MR. MOSLEY, WHAT ARE WE --

02:45PM    3       A.    GIVE ME ONE SECOND IF YOU WOULD.

02:45PM    4             OKAY.

02:45PM    5       Q.    WHAT ARE WE LOOKING AT HERE?

02:45PM    6       A.    IT'S A LETTER DATED SEPTEMBER THE 2ND, 2014, FROM ME TO

02:45PM    7       DR. KISSINGER.

02:45PM    8       Q.    AND IS THERE AN ATTACHMENT?

02:45PM    9       A.    THERE IS.

02:45PM   10       Q.    LET'S TURN TO PAGE 2.

02:45PM   11             WHAT IS THE ATTACHMENT THAT BEGINS ON PAGE 2?

02:45PM   12       A.    THIS IS THE MEMO THAT I REFERRED TO EARLIER HAVING WRITTEN

02:45PM   13       FOR DR. KISSINGER WITH MY THOUGHTS AND ANALYSIS ABOUT THE --

02:45PM   14       REALLY THOUGHTS ABOUT THE COMPANY.

02:45PM   15       Q.    ABOUT THERANOS?

02:45PM   16       A.    ABOUT THERANOS.

02:45PM   17       Q.    DESCRIBE FOR THE JURY THE SOURCES OF INFORMATION.          YOU

02:45PM   18       WROTE A MEMO THAT DESCRIBED YOUR THOUGHTS ON THERANOS.

02:45PM   19             WHERE DID YOU GET THE INFORMATION THAT YOU USED TO WRITE

02:45PM   20       THIS MEMO?

02:45PM   21       A.    IT WAS A COMBINATION OF THE MATERIALS THAT YOU'VE ALREADY

02:46PM   22       ASKED ME ABOUT, THE PACKAGE THAT CAME TO ME IN AUGUST, PROBABLY

02:46PM   23       THE "FORTUNE" ARTICLE, AND THEN THE PFIZER REPORT AND THE

02:46PM   24       JOHNS HOPKINS PIECE OF PAPER.

02:46PM   25       Q.    HOW ABOUT CONVERSATIONS WITH MS. HOLMES?         DO YOU KNOW IF



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 222
                                                                               223 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5124


02:46PM    1       THAT WAS A SOURCE OF INFORMATION FOR YOU WHEN YOU WROTE THIS

02:46PM    2       MEMO?

02:46PM    3       A.     IT LIKELY WAS.    BUT I THINK IF YOU READ THIS, MOST OF THE

02:46PM    4       INFORMATION IN HERE IS DIRECTLY TRACEABLE TO THE MATERIALS.

02:46PM    5       Q.     OKAY.   WHERE WERE YOU LIVING, IN WHAT CITY, WHEN YOU WROTE

02:46PM    6       THIS MEMO?

02:46PM    7       A.     WHEN I WROTE THE MEMO I WAS LIVING IN CONNECTICUT.

02:46PM    8       Q.     DID YOU TRAVEL TO A WALGREENS IN ARIZONA AS PART OF YOUR

02:46PM    9       ANALYSIS HERE?

02:46PM   10       A.     I DID NOT.

02:46PM   11       Q.     AND HOW ABOUT A WALGREENS IN PALO ALTO?        DID YOU TRAVEL

02:46PM   12       THERE BEFORE YOU WROTE THE MEMO?

02:46PM   13       A.     I DID NOT.

02:46PM   14       Q.     I'M GOING TO ASK YOU A COUPLE OF QUESTIONS ABOUT THE

02:46PM   15       CONTENT OF THE MEMO.

02:46PM   16              ON PAGE 2 THERE'S A SECTION BELOW WHAT IS ON THE SCREEN

02:47PM   17       NOW.    NUMBER 1 IS "QUALITY OF THE TECHNOLOGY."

02:47PM   18              DO YOU SEE THAT?

02:47PM   19       A.     I DO.

02:47PM   20       Q.     YOU WRITE, "THERE IS SUBSTANTIAL DATA AND OTHER

02:47PM   21       INFORMATION ATTESTING TO THE QUALITY, PERFORMANCE, AND

02:47PM   22       RELIABILITY OF THE THERANOS TECHNOLOGY AND EQUIPMENT.           THERE

02:47PM   23       DOES NOT SEEM" -- I'M SORRY.

02:47PM   24              "THERE DOES NOT APPEAR TO BE ANY SIGN OF ANY QUESTION

02:47PM   25       ABOUT THE QUALITY, ACCURACY, OR RELIABILITY OF THERANOS'S BLOOD



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 223
                                                                               224 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5125


02:47PM    1       TESTING TECHNOLOGY.      THE INFORMATION SUPPORTING THESE

02:47PM    2       CONCLUSIONS IS SUBSTANTIAL."

02:47PM    3             DID YOU FEEL THAT WAY IN SEPTEMBER OF 2014?

02:47PM    4       A.    I DID.

02:47PM    5       Q.    AND THEN THE BULLET POINTS THAT FOLLOW, THERE ARE ABOUT A

02:47PM    6       HALF DOZEN OF THEM, ARE THEY EXAMPLES OF THE MATERIALS THAT

02:47PM    7       SUPPORT THIS CONCLUSION THAT YOU REACHED?

02:47PM    8       A.    THEY ARE.

02:47PM    9       Q.    SO THE FIRST ONE IS THAT CLIA CERTIFICATION; IS THAT

02:47PM   10       RIGHT?

02:47PM   11       A.    THAT'S CORRECT.

02:47PM   12       Q.    AND THE SECOND ONE IS INSPECTIONS BY REGULATORS, THE

02:48PM   13       NEW YORK DEPARTMENT OF HEALTH?

02:48PM   14       A.    THAT'S CORRECT.

02:48PM   15       Q.    AND THE THIRD IS THIS STATEMENT ABOUT THERANOS HAVING

02:48PM   16       WORKED WITH 10 OF THE 15 LARGEST PHARMACEUTICAL COMPANIES.

02:48PM   17             DO YOU SEE THAT?

02:48PM   18       A.    I DO.

02:48PM   19       Q.    AND THEN THERE'S A REFERENCE THERE TO WORK WITH

02:48PM   20       GLAXOSMITHKLINE?

02:48PM   21       A.    YES.

02:48PM   22       Q.    WORK WITH PFIZER?

02:48PM   23       A.    YES.

02:48PM   24       Q.    AND WORK WITH SCHERING-PLOUGH?

02:48PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 224
                                                                               225 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5126


02:48PM    1       Q.    WOULD YOU HAVE GOTTEN THAT FROM THE MATERIALS THAT YOU AND

02:48PM    2       I JUST SPENT SOME TIME LOOKING AT?

02:48PM    3       A.    I BELIEVE SO.

02:48PM    4       Q.    THE NEXT BULLET IS ABOUT WORK WITH HOSPITAL GROUPS.

02:48PM    5             DO YOU SEE THAT?

02:48PM    6       A.    I DO.

02:48PM    7       Q.    AND IT CONTINUES, THE DUE DILIGENCE, ON THE NEXT PAGE, THE

02:48PM    8       TOP OF PAGE 3, THE DUE DILIGENCE AND TECHNOLOGY REVIEW PREPARED

02:48PM    9       BY JOHNS HOPKINS, AND THEN YOU QUOTE IT.

02:48PM   10             DO YOU SEE THAT?

02:48PM   11       A.    I DO.

02:48PM   12       Q.    THE NEXT BULLET IS ABOUT WALGREENS; AND THEN THE FINAL ONE

02:48PM   13       IS "THE MOST EXTENSIVE EVIDENCE SUPPLIED REGARDING THE

02:48PM   14       RELIABILITY OF THE THERANOS TECHNOLOGY AND ITS APPLICATION IS A

02:48PM   15       STUDY REPORT PREPARED BY PFIZER BASED ON A CLINICAL CANCER

02:49PM   16       TREATMENT TRIAL."

02:49PM   17             DO YOU SEE THAT?

02:49PM   18       A.    I DO.

02:49PM   19       Q.    AND DID YOU THINK THAT AT THE TIME, THAT THE PFIZER

02:49PM   20       REPORT, AMONG ALL OF THESE INSTANCES OF PROOF, WAS THE MOST

02:49PM   21       EXTENSIVE EVIDENCE?

02:49PM   22       A.    THAT WAS MY JUDGMENT AT THE TIME.

02:49PM   23       Q.    WHY WAS THAT YOUR VIEW?

02:49PM   24       A.    WELL, IT'S A LENGTHY REPORT, IT'S MORE THAN 20 PAGES LONG,

02:49PM   25       AND IT GOES INTO A LOT OF DETAIL, AND IT OBVIOUSLY TO ME WAS A



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 225
                                                                               226 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5127


02:49PM    1       DEMONSTRATION THAT THE EQUIPMENT COULD WORK WELL IN THE FIELD

02:49PM    2       WHEN BEING OPERATED BY UNSOPHISTICATED PARTIES, AND IT COULD

02:49PM    3       PRODUCE GOOD QUALITY RESULTS AND COULD TRANSMIT THOSE RESULTS

02:49PM    4       BACK TO THE THERANOS SERVERS, COMPUTER SERVERS.

02:49PM    5       Q.    DID YOU REACH THOSE CONCLUSIONS BY READING THE PFIZER

02:49PM    6       REPORT THAT YOU WERE PROVIDED?

02:49PM    7       A.    I DID.

02:49PM    8       Q.    THE NEXT SECTION, SECTION B, IS A SUMMARY OF THE PFIZER

02:50PM    9       STUDY; IS THAT RIGHT?

02:50PM   10       A.    THAT IS CORRECT.

02:50PM   11       Q.    IN THE FIRST PARAGRAPH YOU DESCRIBE THAT THE PRIMARY TRIAL

02:50PM   12       SITE WAS WITH SOMETHING CALLED TENNESSEE ONCOLOGY.

02:50PM   13             DO YOU SEE THAT?

02:50PM   14       A.    I DO.

02:50PM   15       Q.    DID YOU, AS PART OF THIS DRAFTING OF THE MEMO, DID YOU

02:50PM   16       CONTACT TENNESSEE ONCOLOGY?

02:50PM   17       A.    I DID NOT.

02:50PM   18       Q.    WHY?

02:50PM   19       A.    I, YOU KNOW, ACCEPTED THAT -- YOU KNOW, I THOUGHT THE

02:50PM   20       REPORT HAD BEEN WRITTEN BY PFIZER, AND TO ME THAT WAS

02:50PM   21       SUFFICIENT VALIDATION OF THE CONTENTS TO THE PAPER.

02:50PM   22       Q.    FORGIVE ME.

02:50PM   23             TWO PARAGRAPHS DOWN IT BEGINS, "THE CONCLUSIONS IN THE

02:50PM   24       PFIZER STUDY REPORT ARE EXTRAORDINARILY COMPLIMENTARY AND

02:50PM   25       VALIDATE THE THERANOS TECHNOLOGY AND ITS APPLICATIONS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 226
                                                                               227 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5128


02:50PM    1             "SOME OF THE PRINCIPAL CONCLUSIONS FROM THE STUDY REPORT

02:50PM    2       ARE AS FOLLOWS."

02:50PM    3             AND THEN YOU SPEND ANOTHER ABOUT HALF DOZEN BULLETS

02:51PM    4       QUOTING CONCLUSIONS.

02:51PM    5             DID YOU THINK THAT THE CONCLUSIONS THAT YOU WERE QUOTING

02:51PM    6       WERE PFIZER'S CONCLUSIONS?

02:51PM    7       A.    I DID.

02:51PM    8       Q.    IF YOU HAD KNOWN THAT THOSE WERE THERANOS'S CONCLUSIONS,

02:51PM    9       WOULD THAT HAVE CHANGED YOUR OPINION?

02:51PM   10       A.    IT WOULD.

02:51PM   11       Q.    WHY?

02:51PM   12       A.    WELL, BECAUSE, AS I SAID, PFIZER IS A VERY LARGE

02:51PM   13       SOPHISTICATED PHARMACEUTICAL COMPANY WITH THE EXPERTISE TO

02:51PM   14       RENDER AN IMPORTANT JUDGMENT ABOUT THIS TECHNOLOGY.

02:51PM   15       Q.    IF YOU'LL TURN NOW TO PAGE 5 OF THIS DOCUMENT.

02:51PM   16             THIS IS UNDER A SECTION THAT WAS ENTITLED "THE THERANOS

02:51PM   17       BUSINESS APPROACH," AND I WANT TO ASK YOU QUESTIONS ABOUT THE

02:51PM   18       SECOND AND THIRD BULLETS.

02:51PM   19       A.    OKAY.

02:51PM   20       Q.    THE SECOND BULLET READS, "THE WORK WITH PHARMA COMPANIES

02:51PM   21       (WHICH WERE UNDOUBTEDLY REQUIRED TO SIGN CONFIDENTIALITY

02:51PM   22       AGREEMENTS) PROVIDED VALIDATION OF THE TECHNOLOGY AND

02:51PM   23       APPROACH."

02:51PM   24             WHAT DID YOU MEAN BY THAT, AND IN PARTICULAR THE

02:52PM   25       "UNDOUBTEDLY REQUIRED TO SIGN CONFIDENTIALITY AGREEMENTS"?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 227
                                                                               228 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5129


02:52PM    1       A.    I DON'T -- AT THIS MOMENT, I CAN'T TELL YOU EXACTLY WHAT I

02:52PM    2       MEANT BY THAT.

02:52PM    3       Q.    YOU DON'T RECALL?

02:52PM    4       A.    I DON'T RECALL.

02:52PM    5       Q.    OKAY.   THE NEXT BULLET, "A COMBINATION OF," AND THEN YOU

02:52PM    6       HAVE FOUR SUBPARTS.

02:52PM    7             "THE PRICING OF TESTS BY THERANOS, THE SPEED OF THE

02:52PM    8       DELIVERY OF RESULTS, THE RELIABILITY OF THE TEST RESULTS, AND

02:52PM    9       THE ABILITY TO PERFORM A VAST ARRAY OF TESTS."

02:52PM   10             THERE'S ANOTHER 4.      "THE ABILITY TO PERFORM A VAST NUMBER

02:52PM   11       OF TESTS WITH ONLY A FEW DROPS OF BLOOD REQUIRING JUST A FINGER

02:52PM   12       PRICK, WILL MAKE THERANOS'S APPROACH DISRUPTIVE AND EXTREMELY

02:52PM   13       HARD TO COUNTER BY ITS COMPETITORS."

02:52PM   14             DO YOU RECALL WHAT YOU MEANT BY THIS?

02:52PM   15       A.    EXACTLY WHAT IT SAYS, THAT I THOUGHT IT WAS -- YOU KNOW,

02:52PM   16       FOR ALL OF THE REASONS THAT ARE LISTED THERE, THAT IT WAS

02:52PM   17       EXTREMELY DISRUPTIVE AND WOULD BE HARD TO REPLICATE BY ITS

02:53PM   18       COMPETITORS.

02:53PM   19       Q.    AND IF THE -- IF SOME OF THESE ASSUMPTIONS, YOU KNOW, YOUR

02:53PM   20       ROMAN NUMERALS I THROUGH V, IF THEY WEREN'T TRUE, WOULD THAT

02:53PM   21       MAKE THE TECHNOLOGY LESS DISRUPTIVE OR EASIER TO COUNTER?

02:53PM   22       A.    YES.

02:53PM   23       Q.    SO, FOR INSTANCE, IF THE TECHNOLOGY AND THE RESULTS WERE

02:53PM   24       NOT RELIABLE, IT MIGHT BE LESS DISRUPTIVE?

02:53PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 228
                                                                               229 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5130


02:53PM    1       Q.    IF THE TECHNOLOGY DIDN'T HAVE THE ABILITY TO PERFORM A

02:53PM    2       VAST ARRAY OF TESTS, IT MIGHT BE LESS DISRUPTIVE?

02:53PM    3       A.    YES.

02:53PM    4       Q.    IT MIGHT BE EASIER TO COUNTER BY ITS COMPETITORS?

02:53PM    5       A.    YES.

02:53PM    6       Q.    IF WE CAN NOW GO TO PAGE 7.

02:53PM    7             ON PAGE 7, SECTION 4 IS "CURRENT AND PROJECTED FINANCIAL

02:53PM    8       RESULTS."

02:53PM    9             ARE YOU SUMMARIZING HERE SOME OF THE FINANCIAL INFORMATION

02:53PM   10       THAT YOU AND I HAD A CONVERSATION ABOUT A FEW MINUTES AGO?

02:54PM   11       A.    YES.

02:54PM   12       Q.    IN A YOU WRITE, "FOR CALENDAR YEAR 2014, THERANOS IS

02:54PM   13       PROJECTING $140 MILLION OF REVENUE WITH A NET LOSS OF 3

02:54PM   14       MILLION."

02:54PM   15             AND THEN YOU BREAK OUT THE REVENUE.

02:54PM   16             DID YOU GET THIS INFORMATION FROM THAT DOCUMENT THAT YOU

02:54PM   17       AND I LOOKED AT EARLIER?

02:54PM   18       A.    I DID.

02:54PM   19       Q.    AND THEN YOU DO THE SAME FOR 2015, THE PROJECTED REVENUE

02:54PM   20       AND THE BREAKOUT.

02:54PM   21             SO DID YOU ALSO GET THIS INFORMATION FROM THAT DOCUMENT

02:54PM   22       THAT YOU AND I LOOKED AT?

02:54PM   23       A.    YES, I DID.

02:54PM   24       Q.    FINALLY, IN V(B) TOWARDS THE BOTTOM OF THIS PAGE, YOU

02:54PM   25       WRITE, "ELIZABETH HOLMES OWNS ALL OF THE CLASS B COMMON SHARES,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 229
                                                                               230 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5131


02:54PM    1       WHICH REPRESENT ALMOST 50 PERCENT OF THE VALUE OF THE COMPANY.

02:54PM    2       THE CLASS B SHARES HAVE 100 VOTES PER SHARE, AS COMPARED TO THE

02:54PM    3       CLASS A SHARES THAT HAVE ONE VOTE PER SHARE."

02:54PM    4             WHAT DOES THAT MEAN?

02:54PM    5       A.    WELL, IT MEANS THAT THE CLASS B COMMON SHARES HAVE 100

02:55PM    6       TIMES THE VOTE OF THE CLASS A COMMON SHARE.

02:55PM    7       Q.    WAS THAT IMPORTANT TO YOU OR SOMETHING THAT YOU NOTICED?

02:55PM    8       A.    IT WAS.

02:55PM    9       Q.    WHY?

02:55PM   10       A.    IT MEANT THAT ELIZABETH WOULD BE ABSOLUTELY IN CONTROL OF

02:55PM   11       THE COMPANY EVEN AFTER ALL OF THE PREFERRED SHARES THAT HAD

02:55PM   12       BEEN SOLD AND THAT WERE CONVERTIBLE INTO COMMON STOCK, THEY

02:55PM   13       WERE CONVERTIBLE INTO CLASS B SHARES -- OR CONVERTIBLE INTO

02:55PM   14       CLASS A SHARES RATHER, BUT SHE WOULD STILL HAVE ABSOLUTE

02:55PM   15       CONTROL OF THE COMPANY.

02:55PM   16       Q.    AND IN YOUR MIND, WAS MS. HOLMES MAINTAINING CONTROL OF

02:55PM   17       THE COMPANY A GOOD THING?

02:55PM   18       A.    IT WAS.

02:55PM   19       Q.    WHY?

02:55PM   20       A.    WELL, SHE WAS OBVIOUSLY THE VISIONARY THAT HAD CREATED

02:55PM   21       THIS COMPANY AND DEVELOPED THE TECHNOLOGY, AND HAVING HER IN

02:55PM   22       CONTROL OF THE COMPANY WAS A GOOD THING.

02:55PM   23       Q.    AND WHEN YOU REACHED THAT OPINION OR THAT CONCLUSION, WERE

02:55PM   24       YOU RELYING ON THE ACCURACY OF THE MATERIALS THAT WERE PROVIDED

02:55PM   25       TO YOU TO REACH THAT CONCLUSION?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 230
                                                                               231 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5132


02:55PM    1       A.    YES.

02:56PM    2       Q.    EARLIER WE LOOKED AT SOME OF THE DOCUMENTS THAT TALKED

02:56PM    3       ABOUT THE PRIORITY THAT INDIVIDUALS, INDIVIDUAL SHAREHOLDERS

02:56PM    4       WOULD GET PAID BACK AND YOU DESCRIBED THAT TO ME.

02:56PM    5             DO YOU REMEMBER?

02:56PM    6       A.    I DO.

02:56PM    7       Q.    AND WAS CLASS B A LOWER PRIORITY?        WOULD THE C-1 AND C-2

02:56PM    8       GET PAID BEFORE B?

02:56PM    9       A.    YES, BECAUSE THE CLASS B SHARES ARE COMMON SHARES, AND

02:56PM   10       COMMON SHARES RECEIVE ASSETS AND LIQUIDATION ONLY AFTER ALL OF

02:56PM   11       THE PREFERRED SHARES RECEIVE THEIR STATED VALUE.

02:56PM   12       Q.    I SEE.    SO THE SHARES THAT YOU'RE REFERRING TO HERE THAT

02:56PM   13       MS. HOLMES HELD HAD A LOWER PRIORITY AT LIQUIDATION, BUT HAD

02:56PM   14       MORE VOTING POWER?

02:56PM   15       A.    THAT IS CORRECT.

02:56PM   16       Q.    GOT IT.

02:56PM   17             IF YOU'LL NOW TURN TO PAGE 9.

02:57PM   18             IN THIS SECTION YOU TALK ABOUT, "QUESTIONS, CONCERNS AND

02:57PM   19       RISKS."

02:57PM   20             THERE ARE FIVE OF THEM; IS THAT RIGHT?

02:57PM   21       A.    THAT IS CORRECT.

02:57PM   22       Q.    WAS ONE OF THE RISKS IDENTIFIED THAT THE FOUNDER WOULD NOT

02:57PM   23       BE ACCURATE IN HER DESCRIPTIONS OF THE COMPANY TO YOU?

02:57PM   24       A.    IT'S NOT ONE OF THE RISKS LISTED HERE.

02:57PM   25       Q.    WHY DIDN'T YOU WRITE THAT AS ONE OF THE RISKS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 231
                                                                               232 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5133


02:57PM    1       A.    I DIDN'T -- I REALLY DIDN'T AT THE TIME BELIEVE THAT IT

02:57PM    2       WAS A RISK.

02:57PM    3       Q.    THE, THE SECOND RISK, YOU WRITE IN THAT SECOND SENTENCE,

02:57PM    4       "IN PARTICULAR, GIVEN THAT THERANOS IS CURRENTLY IN ROUGHLY 30

02:57PM    5       WALGREENS PHARMACIES, IT WOULD BE HELPFUL TO KNOW HOW MANY

02:57PM    6       PHARMACY LOCATIONS ARE ASSUMED IN THE 2015 PROJECTIONS."

02:57PM    7             HELP ME UNDERSTAND THE QUESTION OR THE RISK THAT YOU WERE

02:57PM    8       IDENTIFYING THERE.

02:57PM    9       A.    WELL, IT WAS -- YOU KNOW, OBVIOUSLY 140 TO 990 MILLION WAS

02:57PM   10       A VERY SUBSTANTIAL, AS I SAY.

02:57PM   11             AND IN MAKING A JUDGMENT ABOUT HOW LARGE THE OPPORTUNITY

02:58PM   12       IS, IT WOULD BE HELPFUL TO KNOW HOW MANY OF THE WALGREENS WERE

02:58PM   13       EXPECTED TO HAVE THERANOS FACILITIES IN 2015 THAT WOULD GET YOU

02:58PM   14       TO THAT KIND OF REVENUE NUMBER, WHICH WOULD THEN TELL YOU

02:58PM   15       PERHAPS HOW YOU COULD EXTRAPOLATE TO WHAT THE REVENUE MIGHT BE

02:58PM   16       WHEN IT WAS FULLY ROLLED OUT IF IT WERE IN ALL OF THE

02:58PM   17       WALGREENS.

02:58PM   18       Q.    DID YOU THINK THAT ONE OF THE RISKS RELATIVE TO WALGREENS

02:58PM   19       PENETRATION WAS THAT WALGREENS MISUNDERSTOOD OR DID NOT

02:58PM   20       APPRECIATE THE THERANOS TECHNOLOGY?        DID YOU THINK THAT THAT

02:58PM   21       WAS ONE OF THE RISKS?

02:58PM   22       A.    WELL, YOU KNOW, I REALIZED THAT WALGREENS WAS TESTING IT

02:58PM   23       IN 30 PHARMACIES, AND THERE, YOU KNOW, WOULD ALWAYS BE A RISK

02:59PM   24       THAT THEY WOULD NOT ROLL IT OUT TO ALL OF THE PHARMACIES.            I

02:59PM   25       DID REALIZE THAT THAT WAS A RISK.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 232
                                                                               233 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5134


02:59PM    1       Q.    AND DID YOU HAVE FURTHER THOUGHTS ON THE REASONS WHY

02:59PM    2       WALGREENS MIGHT NOT ROLL IT OUT?        IF THEY WERE IN 30, YOU

02:59PM    3       UNDERSTOOD IT WASN'T GUARANTEED.        DID YOU HAVE A THOUGHT ON THE

02:59PM    4       KINDS OF THINGS THAT MIGHT AFFECT A ROLLOUT?

02:59PM    5       A.    AT THE TIME I HAD NO REASON TO THINK THAT WALGREENS WOULD

02:59PM    6       NOT CONTINUE WITH THE ROLLOUT.

02:59PM    7       Q.    WHY DO YOU SAY THAT?

02:59PM    8       A.    ALL OF THE INFORMATION ABOUT THE ACCURACY OF THE TEST, THE

02:59PM    9       VAST ARRAY OF THE TEST, THE PRICING OF THE TEST, THE SPEED AT

02:59PM   10       WHICH THE TEST RESULTS COULD BE DELIVERED, ALL OF THOSE MADE ME

02:59PM   11       EXPECT OR COME TO THE CONCLUSION THAT IT WAS LIKELY AT THAT

02:59PM   12       TIME THAT THEY WOULD CONTINUE TO ROLL OUT.

02:59PM   13       Q.    I SEE.   THE THINGS THAT YOU FOUND ATTRACTIVE ABOUT

02:59PM   14       THERANOS, YOU THOUGHT WALGREENS WOULD AS WELL?

02:59PM   15       A.    THAT'S CORRECT.

02:59PM   16       Q.    THE NEXT C, THE CONCERN OR QUESTION YOU RAISE IS WHY

03:00PM   17       THERANOS IS NOW WILLING TO SELL ADDITIONAL SHARES AND WISHES TO

03:00PM   18       RAISE ADDITIONAL CASH THEY COULD LIKELY BORROW.

03:00PM   19             SO YOU'RE WONDERING ABOUT THE EQUITY RAISED.         WHAT WERE

03:00PM   20       YOU GETTING AT HERE?

03:00PM   21       A.    WELL, WHEN YOU, WHEN YOU RAISE ADDITIONAL EQUITY, YOU

03:00PM   22       DILUTE THE OWNERSHIP OF ALL OF THE PEOPLE WHO INVESTED IN THE

03:00PM   23       COMPANY BEFORE THAT.

03:00PM   24             SO TYPICALLY COMPANIES ARE RELUCTANT TO RAISE MORE EQUITY

03:00PM   25       THAN THEY NEED CASH FLOW BECAUSE OF THAT POTENTIAL FOR



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 233
                                                                               234 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5135


03:00PM    1       DILUTION.

03:00PM    2       Q.    AND WHY WAS THIS LISTED AS A QUESTION OR A CONCERN OR A

03:00PM    3       RISK?

03:00PM    4       A.    IT WAS LISTED AS A QUESTION BECAUSE THE 2015 PROJECTION

03:00PM    5       NUMBER SHOWED IT MAKING A PROFIT, WHICH WOULD HAVE BEEN AN

03:00PM    6       INDICATION TO ME THAT PERHAPS IT DIDN'T NEED ADDITIONAL CAPITAL

03:00PM    7       GOING FORWARD.

03:00PM    8       Q.    I SEE.   D YOU WRITE ABOUT A FAIRLY UNUSUAL PROVISION.

03:01PM    9       IS -- WHAT IS THIS UNUSUAL PROVISION THAT YOU'RE WRITING ABOUT?

03:01PM   10       A.    IT'S THE PROVISION YOU ASKED ME ABOUT EARLIER.

03:01PM   11       Q.    THE MANDATORY REDEMPTION?

03:01PM   12       A.    WELL, THAT ALLOWED THE COMPANY TO MAKE A DECISION AND

03:01PM   13       HAVE -- ALLOWED THE BOARD TO HAVE THE FAIR MARKET VALUE OF THE

03:01PM   14       SHARES DETERMINED, AND THEN THE COMPANY COULD CHOOSE TO REDEEM

03:01PM   15       SHARES FROM ONE OR MORE SHAREHOLDERS AT THAT PRICE.

03:01PM   16       Q.    YOU LIST HERE SOME QUESTIONS.       DO YOU REMEMBER GETTING

03:01PM   17       ANSWERS TO THESE QUESTIONS BEFORE YOU DECIDED TO INVEST?

03:01PM   18       A.    I GOT ASSURANCE BEFORE I INVESTED FROM ELIZABETH THAT THIS

03:01PM   19       WOULD NOT BE EXERCISED IN MY CASE, OR IN THE CASE OF ANY OF MY

03:01PM   20       CLIENTS THAT ULTIMATELY, YOU KNOW, THROUGH THEIR OWN PROCESS

03:01PM   21       DECIDED TO INVEST.

03:01PM   22       Q.    AND BY THAT YOU'RE REFERRING TO D, THE MANDATORY

03:02PM   23       REDEMPTION?

03:02PM   24       A.    THAT IS CORRECT.

03:02PM   25       Q.    AND HOW ABOUT THE OTHER FOUR THAT YOU LIST HERE?          DO YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 234
                                                                               235 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5136


03:02PM    1       REMEMBER HAVING FOLLOW-UP CONVERSATIONS OR ADDITIONAL

03:02PM    2       OPPORTUNITIES TO GET SOME CLARIFICATION ON THESE ISSUES BEFORE

03:02PM    3       YOU INVESTED, OR DO THESE REMAIN OUTSTANDING QUESTIONS?

03:02PM    4       A.    BY THE OTHER FOUR, YOU MEAN A, B, C AND E?

03:02PM    5       Q.    YES, SIR.

03:02PM    6       A.    I DON'T REMEMBER GETTING -- YOU KNOW, I GOT ADDITIONAL

03:02PM    7       MATERIALS, BUT I DON'T REMEMBER SPECIFICALLY ON EACH ONE OF

03:02PM    8       THESE POINTS GETTING ADDITIONAL INFORMATION, I DON'T.

03:02PM    9       Q.    SO NOTWITHSTANDING THESE OUTSTANDING QUESTIONS, YOU STILL

03:02PM   10       INVESTED?

03:02PM   11       A.    I DID.

03:02PM   12       Q.    WHY?

03:02PM   13       A.    BECAUSE I THOUGHT IT WAS A VERY, VERY ATTRACTIVE

03:02PM   14       OPPORTUNITY TO SUPPORT SOMETHING THAT WAS GOING TO ACHIEVE A

03:02PM   15       VERY, VERY GOOD RESULT FOR PEOPLE.

03:02PM   16       Q.    SO YOU IDENTIFIED SOME QUESTIONS, BUT THEY WERE NOT

03:02PM   17       OBSTACLES TO ULTIMATELY INVESTING?

03:03PM   18       A.    THEY WERE NOT.

03:03PM   19       Q.    OKAY.    IF YOU WOULD NOW TURN TO EXHIBIT 5387D IN YOUR

03:03PM   20       BINDER.

03:03PM   21             YOUR HONOR, 5387D IS TEXT MESSAGES THAT WERE PREVIOUSLY

03:03PM   22       ADMITTED.     I WOULD NOW SEEK PERMISSION TO PUBLISH TWO MESSAGES

03:03PM   23       ON PAGE 16 OF THIS EXHIBIT 5387D.

03:03PM   24             THERE ARE TWO MESSAGES ON THE BOTTOM OF PAGE 16, IF THE

03:03PM   25       COURT SEES 11/20/13 AT 3:38, AND THE ONE JUST AFTER THAT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 235
                                                                               236 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5137


03:03PM    1                     THE COURT:    THANK YOU.   THESE HAVE BEEN ADMITTED,

03:03PM    2       AND THEY MAY BE PUBLISHED AGAIN.

03:03PM    3                     MR. SCHENK:   THANK YOU, YOUR HONOR.

03:03PM    4             MS. HOLLIMAN, IF WE CAN BRING UP PAGE 16 OF EXHIBIT 5387D.

03:04PM    5       AND THE TWO MESSAGES ON THE BOTTOM OF THAT PAGE, IF WE CAN

03:04PM    6       EXPAND THEM.     THANK YOU.

03:04PM    7       Q.    THE FIRST ONE MS. HOLMES WRITES ON NOVEMBER 20TH, 2013 TO

03:04PM    8       MR. BALWANI, "AM PLANNING ON INCLUDING ALL WE SENT DST,

03:04PM    9       INCLUDING THE PFIZER REPORT.       LET ME KNOW IF U DISAGREE."

03:04PM   10             SHE CONTINUES, "ALSO THE HOSPITAL LIST."

03:04PM   11             MR. MOSLEY, YOU'VE TALKED A LITTLE BIT ABOUT THE

03:04PM   12       IMPORTANCE OF THE PFIZER REPORT TO YOUR DUE DILIGENCE, OR YOUR

03:04PM   13       EXAMINATION OF THE INVESTMENT.

03:04PM   14             WHEN YOU WERE READING THE PFIZER REPORT, CAN YOU REMIND

03:04PM   15       THE JURY WHO YOU THOUGHT AUTHORED THE PFIZER REPORT?

03:04PM   16       A.    PFIZER.

03:04PM   17       Q.    WOULD YOU NOW TURN IN YOUR BINDER TO 4221, EXHIBIT 4221.

03:05PM   18       A.    OKAY.

03:05PM   19       Q.    MR. MOSLEY, IS THIS AN EMAIL EXCHANGE BETWEEN YOU AND

03:05PM   20       MS. HOLMES ABOUT A TRIP TO CALIFORNIA AND ABOUT YOUR MEMO?

03:05PM   21       A.    ARE YOU REFERRING TO THE TOP EMAIL?

03:05PM   22       Q.    THE TRIP TO CALIFORNIA APPEARS IN THE MIDDLE EMAIL ON THE

03:05PM   23       FIRST PAGE, AND THERE'S A REFERENCE TO YOUR MEMO IN THAT EMAIL

03:05PM   24       AS WELL.

03:06PM   25       A.    YES, I SEE THE EMAIL.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 236
                                                                               237 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5138


03:06PM    1                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 4221.

03:06PM    2                     MR. WADE:    NO OBJECTION.

03:06PM    3                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:06PM    4             (GOVERNMENT'S EXHIBIT 4221 WAS RECEIVED IN EVIDENCE.)

03:06PM    5       BY MR. SCHENK:

03:06PM    6       Q.    MR. MOSLEY, IF WE START ON PAGE 2, YOU WRITE TO MS. HOLMES

03:06PM    7       ON SEPTEMBER 18TH OF 2014 THAT YOU SENT THE BLANK CONFIDENTIAL

03:06PM    8       DISCLOSURE AGREEMENT TO BOTH THE COX FAMILY AND JERRY TUBERGEN

03:06PM    9       FROM THE DEVOS FAMILY.

03:06PM   10             DO YOU SEE THAT?

03:06PM   11       A.    I DO.

03:06PM   12       Q.    AND DO YOU REMEMBER WHY YOU DID THAT?

03:06PM   13       A.    BECAUSE THE -- YOU KNOW, I UNDERSTOOD THAT OBVIOUSLY ALL

03:06PM   14       OF THE -- I HAD DISCUSSED -- I HAD EXECUTED A NONDISCLOSURE

03:06PM   15       AGREEMENT, OR A CONFIDENTIAL DISCLOSURE AGREEMENT, WHICH MEANT

03:06PM   16       THAT I WAS NOT ALLOWED TO GIVE ANY OF THE INFORMATION THAT I

03:06PM   17       HAD RECEIVED TO ANYBODY ELSE WITHOUT THE CONSENT OF THE

03:07PM   18       COMPANY.

03:07PM   19             AND WHAT I WAS SAYING HERE WAS THAT BEFORE I WOULD PASS

03:07PM   20       ALONG ANY INFORMATION THAT I HAD LEARNED TO THESE INDIVIDUALS,

03:07PM   21       I WOULD FIRST GET THEM TO SIGN A CONFIDENTIAL DISCLOSURE

03:07PM   22       AGREEMENT.

03:07PM   23       Q.    I SEE.

03:07PM   24       A.    JUST CARRYING OUT MY OBLIGATIONS.

03:07PM   25       Q.    I SEE.    IF WE TURN TO PAGE 1, IN THE MIDDLE OF THE PAGE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 237
                                                                               238 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                            5139


03:07PM    1       YOU WRITE AN EMAIL TO MS. HOLMES ON SEPTEMBER 25TH.           YOU'RE

03:07PM    2       LOOKING FORWARD TO GETTING OUT TO CALIFORNIA TO SEE HER AND

03:07PM    3       MEET HER TEAM.

03:07PM    4             DID THAT EVENTUALLY HAPPEN?

03:07PM    5       A.    IT DID.

03:07PM    6       Q.    YOU TALK ABOUT AN INDIVIDUAL NAMED ANDREAS.

03:07PM    7             DO YOU SEE THAT?

03:07PM    8       A.    YES, I DO.

03:07PM    9       Q.    FROM THE STAVROS FOUNDATION?

03:07PM   10       A.    YES.

03:07PM   11       Q.    AND THEN THERE'S A REFERENCE IN THE NEXT PARAGRAPH TO

03:07PM   12       GREG PENNER.     WE SAW THAT NAME EARLIER; IS THAT RIGHT?

03:07PM   13       A.    THAT'S CORRECT.

03:07PM   14       Q.    AND THEN MR. TUBERGEN FROM THE DEVOS FAMILY, OR FROM RDV;

03:08PM   15       IS THAT RIGHT?

03:08PM   16       A.    YES.

03:08PM   17       Q.    AND THEN FINALLY, YOU SAY THAT DR. KISSINGER HAS MENTIONED

03:08PM   18       OTHER FAMILIES THAT DR. KISSINGER KNOWS AS POSSIBLE INVESTOR

03:08PM   19       CANDIDATES.     YOU REFERENCE A MEMO THAT YOU PREPARED, OR A

03:08PM   20       SUMMARY, AND DISCUSS SHARING IT.

03:08PM   21             WHAT MEMO IS THAT THAT YOU'RE REFERRING TO?

03:08PM   22       A.    I BELIEVE IT WAS THE MEMO THAT I PREPARED FOR

03:08PM   23       DR. KISSINGER.

03:08PM   24       Q.    THE ONE THAT YOU AND I JUST REVIEWED?

03:08PM   25       A.    YES, YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 238
                                                                               239 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                           5140


03:08PM    1       Q.    OKAY.   AND WHAT WAS YOUR QUESTION HERE?        WHAT WERE YOU

03:08PM    2       WONDERING?

03:08PM    3       A.    I'M NOT SURE.     WHAT LANGUAGE ARE YOU REFERRING TO?

03:08PM    4       Q.    I'LL BE MORE SPECIFIC.

03:08PM    5             YOU WRITE THAT YOU TOLD DR. KISSINGER THAT YOU WERE

03:08PM    6       COMFORTABLE SHARING THE MEMO WITH THESE OTHER FAMILIES THAT

03:08PM    7       DR. KISSINGER KNEW, BUT ONLY IF SOMETHING HAPPENED FIRST; IS

03:08PM    8       THAT RIGHT?

03:08PM    9       A.    YES.

03:08PM   10       Q.    WHY WAS --

03:08PM   11       A.    I HAD WRITTEN THE MEMO TO DR. KISSINGER FOR DR. KISSINGER,

03:09PM   12       AND I SAID I WAS OKAY IF HE WANTED TO SHOW IT WITH SOMEBODY,

03:09PM   13       BUT ONLY IF IT HAD BEEN CLEARED WITH ELIZABETH THAT THAT WAS

03:09PM   14       OKAY.

03:09PM   15       Q.    DO YOU -- FORGIVE ME.

03:09PM   16             DO YOU KNOW WHETHER THAT HAPPENED?        DO YOU REMEMBER

03:09PM   17       RECEIVING NOTICE FROM MS. HOLMES THAT YOU COULD SHARE THE MEMO?

03:09PM   18       A.    I BELIEVE I DID GET -- I WOULD NOT HAVE ULTIMATELY SAID TO

03:09PM   19       DR. KISSINGER, YOU CAN SEND IT TO SOMEBODY ELSE, WITHOUT

03:09PM   20       GETTING HER CONSENT.

03:09PM   21       Q.    OKAY.   THANK YOU.

03:09PM   22             IF YOU'LL NOW TURN TO 4284.

03:09PM   23             MR. MOSLEY, IS THIS A COUPLE OF EMAILS BETWEEN YOU AND

03:09PM   24       MS. HOLMES WHERE YOU TELL HER THAT YOU WILL INVEST AND THE

03:09PM   25       AMOUNT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 239
                                                                               240 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5141


03:09PM    1       A.    YES.

03:09PM    2                    MR. SCHENK:    YOUR HONOR, THE GOVERNMENT OFFERS 4284.

03:10PM    3                    MR. WADE:    NO OBJECTION.

03:10PM    4                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:10PM    5             (GOVERNMENT'S EXHIBIT 4284 WAS RECEIVED IN EVIDENCE.)

03:10PM    6       BY MR. SCHENK:

03:10PM    7       Q.    MR. MOSLEY, AT THE BOTTOM OF THIS EMAIL YOU -- THE BOTTOM

03:10PM    8       EMAIL, FORGIVE ME.       YOU WRITE, "ELIZABETH.

03:10PM    9             "IT WAS GOOD TO SEE YOU ON FRIDAY."

03:10PM   10             WHAT WAS THAT A REFERENCE TO?

03:10PM   11       A.    I THINK IT WAS A REFERENCE TO MY HAVING BEEN OUT AT

03:10PM   12       THERANOS IN CALIFORNIA ON FRIDAY, THE PREVIOUS FRIDAY.

03:10PM   13       Q.    SO IN OCTOBER OF 2014, DID YOU TRAVEL TO CALIFORNIA TO

03:10PM   14       MEET WITH MS. HOLMES?

03:10PM   15       A.    YES, I DID.

03:10PM   16       Q.    AND WHAT WAS THE PURPOSE OF THAT TRIP?

03:10PM   17       A.    I THINK THE PURPOSE OF THE TRIP WAS TO INTRODUCE

03:10PM   18       INDIVIDUALS AT THE STAVROS NIARCHOS FOUNDATION THAT WANTED TO

03:10PM   19       MEET WITH ELIZABETH SO THAT THEY COULD DO THEIR OWN ANALYSIS AS

03:10PM   20       TO WHETHER IT WAS SOMETHING OF INTEREST TO THEM.

03:10PM   21       Q.    AND THEN WHY DID YOU GO?      IF THE PURPOSE WAS FOR

03:11PM   22       MS. HOLMES TO MEET OTHER INDIVIDUALS, WHAT BROUGHT YOU TO

03:11PM   23       CALIFORNIA?

03:11PM   24       A.    THE FACT THAT, YOU KNOW, THEY HAD NEVER MET HER, AND

03:11PM   25       REALLY PRIMARILY TO DO THE INTRODUCTION.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 240
                                                                               241 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5142


03:11PM    1       Q.    OKAY.   DO YOU REMEMBER MS. HOLMES TALKING DURING THIS

03:11PM    2       MEETING?

03:11PM    3       A.    I DO.

03:11PM    4       Q.    AND DO YOU REMEMBER HER TALKING ABOUT THE TECHNOLOGY OR

03:11PM    5       ABOUT THERANOS?

03:11PM    6       A.    AS I REMEMBER, WE HAD A LONG CONVERSATION ABOUT THERANOS

03:11PM    7       AND THE TECHNOLOGY.

03:11PM    8       Q.    AND DURING THAT MEETING, DO YOU REMEMBER LEARNING ANYTHING

03:11PM    9       THAT WAS DIFFERENT, THAT WAS SIGNIFICANTLY DIFFERENT THAN ALL

03:11PM   10       OF THE MATERIALS YOU AND I HAVE SPENT THIS AFTERNOON REVIEWING?

03:11PM   11       DID YOU LEARN THAT THE TECHNOLOGY WAS ACTUALLY SOMETHING

03:11PM   12       DIFFERENT, OR DID SOMETHING DIFFERENT?

03:11PM   13       A.    I DID NOT.

03:11PM   14       Q.    WAS THERE -- WERE THE REPRESENTATIONS THAT YOU HEARD IN

03:11PM   15       THIS MEETING LARGELY CONSISTENT WITH YOUR UNDERSTANDING OF THE

03:11PM   16       TECHNOLOGY WHEN YOU LEFT CONNECTICUT TO GO TO THIS MEETING?

03:11PM   17       A.    IT WAS.

03:11PM   18       Q.    AT THE BOTTOM -- I'M SORRY.       CLOSE TO THE BOTTOM OF THE

03:11PM   19       EMAIL, THERE'S A PARAGRAPH THAT BEGINS, "AS WE DISCUSSED."

03:12PM   20             DO YOU SEE THAT?

03:12PM   21       A.    YES.

03:12PM   22       Q.    "AS WE DISCUSSED, I WILL SPEAK WITH DAVID ABOUT THE

03:12PM   23       CONCERN WITH THE MANDATORY REDEMPTION CLAUSE IN THE CERTIFICATE

03:12PM   24       OF INCORPORATION."

03:12PM   25             WHO IS DAVID?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 241
                                                                               242 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5143


03:12PM    1       A.    THAT WAS A REFERENCE TO DAVID BOIES.

03:12PM    2       Q.    AND DID YOU SPEAK WITH MR. BOIES?

03:12PM    3       A.    I DID.

03:12PM    4       Q.    IS THIS A REFERENCE TO THE MANDATORY REDEMPTION THAT YOU

03:12PM    5       AND I TALKED ABOUT?      YOU PUT IT AS ONE OF YOUR QUESTIONS OR

03:12PM    6       CONCERNS?

03:12PM    7       A.    IT IS.

03:12PM    8       Q.    OKAY.    AND THEN THE LAST PARAGRAPH, "PERSONALLY, I WOULD

03:12PM    9       BE DELIGHTED AND HONORED TO BE PART OF YOUR FIRST CLOSING.               MY

03:12PM   10       HOPE WOULD BE TO INVEST $6 MILLION, WHICH I WOULD PROPOSE TO

03:12PM   11       INVEST THROUGH AN LLC WHOLLY OWNED BY ME AND TRUSTS FOR MY

03:12PM   12       THREE DAUGHTERS, SO THAT IT WILL LIMIT THE NUMBER OF YOUR

03:12PM   13       SEPARATE SHAREHOLDERS RESULTING FROM MY INVESTMENT TO ONE."

03:12PM   14             YOU DECIDED ON AN INVESTMENT AMOUNT OF $6 MILLION; IS THAT

03:12PM   15       RIGHT?

03:12PM   16       A.    I DID.

03:12PM   17       Q.    HOW DID YOU PICK THAT NUMBER?       WHERE DID THAT COME FROM?

03:13PM   18       DO YOU KNOW?

03:13PM   19       A.    I DON'T REALLY REMEMBER.      YOU KNOW, JUST HAVING THOUGHT

03:13PM   20       ABOUT IT AND THOUGHT ABOUT MY PERSONAL FINANCIAL SITUATION, I

03:13PM   21       THOUGHT IT WAS SOMETHING THAT I COULD AFFORD TO INVEST.

03:13PM   22       Q.    OKAY.    ABOVE THIS EMAIL, MS. HOLMES RESPONDS TO YOU

03:13PM   23       THANKING YOU FOR THE EMAIL, AND SHE WRITES, "WE HAVE SPENT A

03:13PM   24       LOT OF TIME ON HOW WE'RE SIZING THIS TRANSACTION AND WHO WE'RE

03:13PM   25       BRINGING IN, AND I CAN HEREIN CONFIRM THE ALLOCATIONS FOR YOU,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 242
                                                                               243 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5144


03:13PM    1       ANDREAS, AND THE COX'S IN ADDITION TO THE DEVOS COMMITMENT AT

03:13PM    2       THE NUMBERS BELOW.      WE WILL FOLLOW UP TOMORROW ON PAPERWORK

03:13PM    3       THERE."

03:13PM    4             YOU WROTE THAT YOU'RE DELIGHTED AND HONORED, AND

03:13PM    5       MS. HOLMES RESPONDS THAT THEY HAVE SPENT A LOT OF TIME

03:13PM    6       DETERMINING THE ALLOCATIONS.

03:13PM    7             DID YOU FEEL GRATEFUL THAT THE $6 MILLION THAT YOU WANTED

03:13PM    8       TO INVEST WAS ACCEPTED?

03:13PM    9       A.    I DID.

03:13PM   10       Q.    WHY?

03:13PM   11       A.    WELL, AS I SAY, YOU KNOW, I THOUGHT IT WAS, YOU KNOW, VERY

03:14PM   12       EXCITING TECHNOLOGY, AND I THOUGHT IT WAS A VERY INTERESTING

03:14PM   13       COMPANY, AND I THOUGHT THAT IT WOULD BOTH BE A GOOD INVESTMENT

03:14PM   14       AND ALSO SOMETHING THAT WAS SORT OF -- NOT SORT OF -- IT WAS

03:14PM   15       SOMETHING THAT WAS GOOD FOR EVERYBODY.

03:14PM   16       Q.    WHY DO YOU SAY THAT, "GOOD FOR EVERYBODY"?

03:14PM   17       A.    WELL, IT'S GOOD FOR PEOPLE BECAUSE THEY WOULD BE ABLE TO

03:14PM   18       GET BETTER BLOOD TESTING, GET THE RESULTS QUICKER, PAY LESS FOR

03:14PM   19       THE TESTING, AND I THOUGHT IT WOULD IMPROVE MEDICAL TREATMENT.

03:14PM   20       Q.    ALL OF THESE ADVANTAGES, THAT THE RESULTS WERE QUICKER,

03:14PM   21       THE PRICE, WAS THAT BASED ON A BELIEF THAT THE INFORMATION THAT

03:14PM   22       YOU HAD BEEN PROVIDING ABOUT THERANOS WAS ACCURATE?

03:14PM   23       A.    IT WAS.

03:14PM   24       Q.    WOULD YOU TURN NOW TO 4286.

03:15PM   25             IS THIS AN EMAIL FROM MR. BALWANI TO YOU, CC'ING



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 243
                                                                               244 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5145


03:15PM    1       MS. HOLMES, INCLUDING SOME INVESTMENT DOCUMENTS?

03:15PM    2       A.    YES.

03:15PM    3                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 4286.

03:15PM    4                     MR. WADE:    THE COURT'S INDULGENCE FOR ONE MOMENT.

03:15PM    5             (PAUSE IN PROCEEDINGS.)

03:15PM    6                     MR. WADE:    NO OBJECTION.

03:15PM    7                     THE COURT:    IT'S ADMITTED AND IT MAY BE PUBLISHED.

03:15PM    8             (GOVERNMENT'S EXHIBIT 4286 WAS RECEIVED IN EVIDENCE.)

03:16PM    9       BY MR. SCHENK:

03:16PM   10       Q.    MR. MOSLEY, MR. BALWANI SENDS YOU INVESTMENT DOCUMENTS

03:16PM   11       HERE, AND IT'S OCTOBER 24TH, 2014.

03:16PM   12             DO YOU SEE THAT?

03:16PM   13       A.    I DO.

03:16PM   14       Q.    AND IF I COULD NOW DRAW YOUR ATTENTION TO PAGE 60 OF THIS

03:16PM   15       DOCUMENT.     THERE'S SOME SECTIONS IN IT THAT I WOULD LIKE TO ASK

03:16PM   16       YOU ABOUT.

03:16PM   17             FIRST, ARE YOU FAMILIAR WITH THIS DOCUMENT AS A WHOLE, THE

03:16PM   18       DOCUMENT THAT WE'RE LOOKING AT?

03:16PM   19       A.    YES, I AM.

03:16PM   20       Q.    AND WHAT IS IT GENERALLY?

03:16PM   21       A.    IT'S A STOCK PURCHASE AGREEMENT FOR C-2 SHARES.

03:16PM   22       Q.    C-2 SHARES IN THERANOS?

03:16PM   23       A.    THAT'S CORRECT.

03:16PM   24       Q.    NOW, IF ON PAGE 60 YOU'LL LOOK AT, THERE'S A SECTION THAT

03:16PM   25       I'D LIKE TO ASK YOU ABOUT, 4.3, INVESTMENT EXPERIENCE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 244
                                                                               245 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5146


03:16PM    1             DO YOU SEE THAT?

03:16PM    2       A.    YES.

03:16PM    3       Q.    AND IT TALKS ABOUT THE EXPERIENCE OF THE PURCHASER.

03:16PM    4             IS THAT YOU?

03:17PM    5       A.    IT IS.

03:17PM    6       Q.    AND WAS THIS ACCURATE WHEN YOU SIGNED IT?         IN OTHER WORDS,

03:17PM    7       DID YOU HAVE THIS RELEVANT INVESTMENT EXPERIENCE?

03:17PM    8       A.    I DID.

03:17PM    9       Q.    AND 4.4 REFERENCES THE SPECULATIVE NATURE OF THE

03:17PM   10       INVESTMENT.

03:17PM   11             IT SAYS THAT THE INVESTOR, THAT'S YOU, UNDERSTANDS AND

03:17PM   12       ACKNOWLEDGES THAT THE COMPANY HAS A LIMITED FINANCIAL AND

03:17PM   13       OPERATING HISTORY AND THAT AN INVESTMENT IN THE COMPANY IS

03:17PM   14       HIGHLY SPECULATIVE AND INVOLVES SUBSTANTIAL RISKS.

03:17PM   15             DID YOU UNDERSTAND THAT WHEN YOU INVESTED?

03:17PM   16       A.    YES, I DID.

03:17PM   17       Q.    DID YOU BELIEVE THAT ONE OF THE RISKS WAS THE INFORMATION

03:17PM   18       PROVIDED TO YOU WOULD NOT BE ACCURATE?

03:17PM   19       A.    I WAS NOT THINKING ABOUT THAT IN REFERENCE TO THIS

03:17PM   20       REFERENCE, TO THIS STATEMENT.

03:17PM   21       Q.    WHY NOT?    WHAT WERE YOU THINKING ABOUT WHEN YOU SAW THAT

03:17PM   22       THE INVESTMENT WAS SPECULATIVE?

03:17PM   23       A.    WELL, JUST RECOGNIZING THAT, YOU KNOW, IT WAS NEW

03:17PM   24       TECHNOLOGY AND SOMETHING COULD HAPPEN THAT WOULD NOT MAKE IT AS

03:17PM   25       DISRUPTIVE OR AS EFFECTIVE AS I THOUGHT IT WOULD BE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 245
                                                                               246 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5147


03:18PM    1       Q.    DID YOU UNDERSTAND THAT THOSE WERE SOME OF THE RISKS THAT

03:18PM    2       YOU WERE FACING, BUT ACCURACY MIGHT NOT BE ONE OF THE RISKS?

03:18PM    3       A.    I THOUGHT I WAS FACING THOSE RISKS.

03:18PM    4             BUT I THINK YOU'RE ASKING ME, DID I THINK RISK WAS THAT I

03:18PM    5       HAD INACCURATE INFORMATION?       NO.

03:18PM    6       Q.    YES, SIR.

03:18PM    7       A.    I DID NOT THINK THAT I HAD INACCURATE INFORMATION.

03:18PM    8       Q.    OKAY.    THAT SAME PARAGRAPH CONTINUES THAT YOU UNDERSTOOD

03:18PM    9       THAT THERE WAS THE POSSIBILITY THAT YOU WOULD SUFFER A COMPLETE

03:18PM   10       LOSS OF YOUR INVESTMENT.

03:18PM   11             DID YOU UNDERSTAND THAT WHEN YOU --

03:18PM   12       A.    I DID.

03:18PM   13       Q.    -- INVESTED?

03:18PM   14       A.    I DID.

03:18PM   15       Q.    AND THAT DIDN'T STOP YOU FROM INVESTING?

03:18PM   16       A.    IT DID NOT.

03:18PM   17       Q.    WHY DIDN'T IT?

03:18PM   18       A.    IT WAS A RISK I WAS WILLING TO TAKE BASED ON WHAT I KNEW.

03:18PM   19       Q.    WHAT DO YOU MEAN, "BASED ON WHAT YOU KNEW"?

03:18PM   20       A.    BASED ON ALL OF THE INFORMATION THAT WE HAVE GONE THROUGH

03:18PM   21       IN MY MEMORANDUM TO DR. KISSINGER WHICH SORT OF EXPLAINED MY

03:18PM   22       VIEWS OF THE COMPANY.

03:18PM   23       Q.    THE NEXT SECTION, 4.5, IS CALLED ACCESS TO DATA, AND IT

03:18PM   24       READS "THAT THE INVESTOR HAS HAD AN OPPORTUNITY TO ASK

03:19PM   25       QUESTIONS OF, AND RECEIVE ANSWERS FROM, THE OFFICERS OF THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 246
                                                                               247 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5148


03:19PM    1       COMPANY."

03:19PM    2             WAS THAT TRUE?     DID YOU HAVE AN OPPORTUNITY TO ASK

03:19PM    3       QUESTIONS?

03:19PM    4       A.    I DID.

03:19PM    5       Q.    THE QUESTIONS THAT YOU ASKED AND THE ANSWERS THAT YOU

03:19PM    6       RECEIVED, THEY DIDN'T MAKE THEIR WAY INTO THIS AGREEMENT; IS

03:19PM    7       THAT RIGHT?

03:19PM    8       A.    I'M NOT SURE WHAT YOU MEAN.

03:19PM    9       Q.    SO YOU SAID THAT YOU HAD THE OPPORTUNITY TO ASK QUESTIONS?

03:19PM   10       A.    I DID.

03:19PM   11       Q.    AND DID YOU MEMORIALIZE THE QUESTIONS AND THEN MAKE THEM

03:19PM   12       SECTIONS IN THIS AGREEMENT?

03:19PM   13       A.    I DID NOT.

03:19PM   14       Q.    SO DID YOU UNDERSTAND THAT WHILE YOU WERE SIGNING THIS

03:19PM   15       AGREEMENT, THINGS THAT LED YOU TO INVEST EXISTED OUTSIDE OF THE

03:19PM   16       AGREEMENT?

03:19PM   17       A.    I DID.

03:19PM   18       Q.    4.6 IS AN ACCREDITED INVESTOR.       WAS THAT TRUE WHEN YOU

03:19PM   19       SIGNED IT?     YOU WERE AN ACCREDITED INVESTOR?

03:19PM   20       A.    IT WAS TRUE.

03:19PM   21       Q.    AND THAT'S A TERM THAT YOU'RE FAMILIAR WITH?

03:19PM   22       A.    YES, I AM.

03:19PM   23       Q.    WOULD YOU TURN NOW TO 4303.

03:20PM   24             MR. MOSLEY, IS THIS AN EMAIL FROM YOU TO MS. HOLMES

03:20PM   25       ATTACHING SOME SIGNATURE PAGES?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 247
                                                                               248 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5149


03:20PM    1       A.    IT WAS.

03:20PM    2                    MR. SCHENK:    YOUR HONOR, THE GOVERNMENT OFFERS 4303.

03:20PM    3                    MR. WADE:    NO OBJECTION.

03:20PM    4                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:20PM    5             (GOVERNMENT'S EXHIBIT 4303 WAS RECEIVED IN EVIDENCE.)

03:20PM    6       BY MR. SCHENK:

03:20PM    7       Q.    MR. MOSLEY, IT LOOKS LIKE YOU SENT ON YOUR WHAT IS CALLED

03:20PM    8       A MASTER SIGNATURE PAGE, AS WELL AS THAT OF SOMEONE NAMED

03:20PM    9       ANDREAS; IS THAT RIGHT?

03:20PM   10       A.    THAT IS CORRECT.

03:20PM   11       Q.    WHY DID YOU SEND ANDREAS'S SIGNATURE PAGE IN ADDITION TO

03:20PM   12       YOURS?

03:20PM   13       A.    BECAUSE ANDREAS TOLD ME THAT HE HAD INDEPENDENTLY DECIDED

03:20PM   14       TO MAKE AN INVESTMENT AND ASKED ME IF I WOULD TAKE HIS

03:20PM   15       SIGNATURE PAGE AND PASS IT ALONG WITH MINE TO THE COMPANY.

03:20PM   16       Q.    DID YOU ENCOURAGE HIM TO INVEST?

03:20PM   17       A.    NO.

03:20PM   18       Q.    IF YOU'LL LOOK NOW AT PAGE 2 OF THIS DOCUMENT.

03:21PM   19             IS THAT YOUR SIGNATURE?

03:21PM   20       A.    YES, IT IS.

03:21PM   21       Q.    AND YOUR -- AT THE TIME YOUR WORK ADDRESS?

03:21PM   22       A.    THAT IS CORRECT.

03:21PM   23       Q.    AND IS THIS THE SIGNATURE PAGE TO THE DOCUMENT THAT WE

03:21PM   24       WERE JUST LOOKING AT, THE ACCREDITED INVESTOR DOCUMENT?

03:21PM   25       A.    IT IS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 248
                                                                               249 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5150


03:21PM    1       Q.    IF YOU WILL NOW TURN TO EXHIBIT 2172, WHICH WOULD BE

03:21PM    2       TOWARDS THE BEGINNING OF THAT BINDER.

03:21PM    3       A.    I HAVE IT.

03:21PM    4       Q.    MR. MOSLEY, WHAT ARE WE LOOKING AT HERE?

03:21PM    5       A.    IT IS A SIGNED PIECE OF PAPER FROM THERANOS SIGNED BY

03:22PM    6       ELIZABETH HOLMES.

03:22PM    7       Q.    AND IS THIS IN REGARDS TO THE REDEMPTION, THE MANDATORY

03:22PM    8       REDEMPTION ISSUE THAT YOU AND I HAVE SPOKEN ABOUT?

03:22PM    9       A.    IT IS.

03:22PM   10                     MR. SCHENK:   YOUR HONOR, THE GOVERNMENT OFFERS 2172.

03:22PM   11                     MR. WADE:    NO OBJECTION.

03:22PM   12                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:22PM   13             (GOVERNMENT'S EXHIBIT 2172 WAS RECEIVED IN EVIDENCE.)

03:22PM   14       BY MR. SCHENK:

03:22PM   15       Q.    IN THIS DOCUMENT, MS. HOLMES WRITES, "THIS WILL CONFIRM

03:22PM   16       WITH RESPECT TO THE SERIES C-2 PREFERRED STOCK FOR WHICH YOUR

03:22PM   17       CLIENTS ARE SUBSCRIBING AT THIS TIME, IF THE COMPANY EXERCISES

03:22PM   18       ITS RIGHT PURSUANT TO SECTION 6 OF THE STOCK'S CERTIFICATE TO

03:22PM   19       REDEEM ANY OR ALL OF SUCH SHARES, THE PRICE PER SHARE SHALL NOT

03:22PM   20       BE LESS THAN $17."

03:22PM   21             DO YOU SEE THAT?

03:22PM   22       A.    I DO.

03:22PM   23       Q.    "YOU AND YOUR CLIENTS WILL HOLD THE EXISTENCE OF THIS

03:22PM   24       LETTER AND ITS CONTENTS AS PERTAINS TO EACH OF THEM IN

03:22PM   25       CONFIDENCE."



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 249
                                                                               250 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5151


03:22PM    1             IT'S DATED OCTOBER 31ST, 2014.

03:23PM    2             WAS THAT THE DATE THAT YOU INVESTED?

03:23PM    3       A.    UM --

03:23PM    4       Q.    I CAN SHOW YOU THE DOCUMENT IF YOU DON'T --

03:23PM    5       A.    YES, YOU CAN SHOW ME THE DOCUMENT.

03:23PM    6       Q.    OKAY.   THE REFERENCE TO "YOUR CLIENTS" IN HERE, WHAT DID

03:23PM    7       YOU UNDERSTAND THAT TO MEAN?

03:23PM    8       A.    WELL, AS A -- YOU KNOW, AS A LAWYER, OBVIOUSLY YOU HAVE A

03:23PM    9       DUTY TO YOUR CLIENTS, AND I HAD INTRODUCED VARIOUS PEOPLE TO

03:23PM   10       THE COMPANY, AND THEY WERE LOOKING AT THE COMPANY.

03:23PM   11             AND I WOULD NEVER -- KNOWING THAT I HAD CLIENTS LOOKING AT

03:23PM   12       THE COMPANY AND WHO MIGHT INVEST IN THE COMPANY, I WOULD NEVER

03:23PM   13       OBTAIN SOME PROTECTION FOR MYSELF THAT I THOUGHT WAS IMPORTANT

03:23PM   14       WITHOUT INCLUDING MY CLIENTS.

03:23PM   15       Q.    YOU UNDERSTOOD THAT SOME OF YOUR CLIENTS ALSO INVESTED IN

03:23PM   16       THERANOS?

03:23PM   17       A.    I THINK AT THE TIME I THOUGHT SOME OF MY CLIENTS WOULD

03:23PM   18       INVEST.

03:23PM   19             I DON'T KNOW AT THE TIME WHETHER ANY OF THEM HAD, BUT I

03:23PM   20       THOUGHT THAT THEY WERE INTERESTED AND THEY MIGHT WELL INVEST.

03:23PM   21       Q.    OKAY.   DID YOU ENCOURAGE ANY OF YOUR CLIENTS TO INVEST?

03:24PM   22       A.    NO.

03:24PM   23       Q.    IF YOU DIDN'T ENCOURAGE THEM, WHY DID YOU GET THIS BENEFIT

03:24PM   24       OR PROTECTION FOR THEM?

03:24PM   25       A.    WELL, THE SAME THING I JUST SAID.        YOU KNOW, I WOULD FEEL



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 250
                                                                               251 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5152


03:24PM    1       LIKE I HAD NOT DONE THE RIGHT THING HAD I GOTTEN THIS

03:24PM    2       PROTECTION FOR MYSELF AND IF LATER MY CLIENTS CHOSE TO INVEST

03:24PM    3       IN THE COMPANY AND THEY DID NOT HAVE THE BENEFIT OF THE SAME

03:24PM    4       PROTECTION.

03:24PM    5             AND SO WHEN I ASKED FOR IT, I ASKED FOR IT TO INCLUDE ME,

03:24PM    6       AS WELL AS ANY OF MY CLIENTS THAT MIGHT DECIDE TO INVEST.

03:24PM    7       Q.    THANK YOU.    IF YOU'LL NOW TURN TO 4845, 4845.

03:24PM    8             YOUR HONOR, THIS HAS BEEN ADMITTED PREVIOUSLY.          PERMISSION

03:24PM    9       TO PUBLISH PAGE 23?

03:24PM   10                     THE COURT:    YES.

03:24PM   11                     MR. SCHENK:   THANK YOU.

03:25PM   12       Q.    LET ME KNOW WHEN YOU'RE THERE, MR. MOSLEY.

03:25PM   13       A.    I'M THERE.

03:25PM   14       Q.    DO YOU SEE THE DOCUMENT AT PAGE 23 OF 4845?

03:25PM   15       A.    I DO.

03:25PM   16       Q.    AND WHEN YOU MADE THE INVESTMENT IN THERANOS, DID YOU BANK

03:25PM   17       WITH JPMORGAN CHASE?

03:25PM   18       A.    I DID.

03:25PM   19       Q.    AND WHERE WERE YOU, IN WHAT STATE, WHEN YOU INITIATED THE

03:25PM   20       WIRE TRANSFER?

03:25PM   21       A.    I WAS IN MY OFFICE IN NEW YORK.

03:25PM   22       Q.    THE AMOUNT THAT WE SEE HERE IS JUST UNDER $6 MILLION.

03:26PM   23             DO YOU SEE THAT?

03:26PM   24       A.    I DO.

03:26PM   25       Q.    AND DO YOU KNOW WHAT EXPLAINS THE DISCREPANCY?          YOU WROTE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 251
                                                                               252 of
                                                                                   of 285
                                                                                      286
                   MOSLEY DIRECT BY MR. SCHENK                                          5153


03:26PM    1       AN EMAIL THAT YOU WERE GOING TO INVEST 6 MILLION, AND THIS IS

03:26PM    2       JUST UNDER THAT.

03:26PM    3       A.    THIS IS THE DOLLAR AMOUNT THAT ROUNDED OUT, AT $17 A

03:26PM    4       SHARE, TO AN EVEN NUMBER OF SHARES.

03:26PM    5       Q.    I SEE.    OKAY.

03:26PM    6             AND THE BENEFICIARY AT THE BOTTOM IS THERANOS.

03:26PM    7             DO YOU SEE THAT?

03:26PM    8       A.    I DO.

03:26PM    9       Q.    MR. MOSLEY, WHEN YOU WERE DESCRIBING YOUR CLIENTS OR

03:26PM   10       OTHERS THAT YOU KNEW WERE CONTEMPLATING AN INVESTMENT AT THE

03:26PM   11       SAME TIME AS YOU, DID YOU KNOW WHETHER MR. TROTT OR BDT WAS

03:26PM   12       CONTEMPLATING AN INVESTMENT?

03:26PM   13       A.    I DID NOT KNOW.

03:26PM   14       Q.    YOU DID NOT KNOW WHETHER THEY WERE?

03:26PM   15       A.    I DID NOT.

03:26PM   16                     MR. SCHENK:   YOUR HONOR, MAY I HAVE ONE MOMENT?

03:26PM   17                     THE COURT:    YES.

03:26PM   18             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

03:27PM   19                     MR. SCHENK:   THANK YOU, YOUR HONOR.

03:27PM   20             NO FURTHER QUESTIONS.

03:27PM   21                     THE COURT:    CROSS-EXAMINATION?

03:27PM   22                     MR. WADE:    I DO, YOUR HONOR.   MAYBE NOW WOULD BE A

03:27PM   23       GOOD TIME FOR A STANDING BREAK.

03:27PM   24                     THE COURT:    YES.   FOLKS, PLEASE STAND AND STRETCH.

03:27PM   25             (STRETCHING.)



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 252
                                                                               253 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5154


03:27PM    1                     THE COURT:    I THINK WE SAID WE WOULD GO UNTIL

03:27PM    2       4:00 O'CLOCK TODAY.        I DON'T THINK I SUGGESTED 5:00 O'CLOCK FOR

03:27PM    3       TODAY.    I THINK IT'S 4:00 O'CLOCK.

03:27PM    4                     MR. WADE:    4:00 O'CLOCK, YES.    ANOTHER 30 MINUTES I

03:27PM    5       THINK.

03:27PM    6                     THE COURT:    RIGHT.

03:27PM    7             (STRETCHING.)

03:29PM    8                                   CROSS-EXAMINATION

03:29PM    9       BY MR. WADE:

03:29PM   10       Q.    GOOD AFTERNOON, MR. MOSLEY.

03:29PM   11       A.    GOOD AFTERNOON.

03:29PM   12       Q.    MY NAME IS LANCE WADE.         I'M A LAWYER, AND I REPRESENT

03:29PM   13       MS. HOLMES.

03:29PM   14             I'M GOING TO ASK YOU A FEW QUESTIONS TODAY, AND WE'LL

03:29PM   15       PROBABLY GO INTO TOMORROW A BIT.

03:29PM   16             I'D LIKE TO START BY ASKING YOU A LITTLE MORE ABOUT YOUR

03:29PM   17       PRIOR OCCUPATION.     YOU'RE NOW A RECOVERING LAWYER; IS THAT

03:29PM   18       RIGHT?

03:29PM   19       A.    THAT IS CORRECT.

03:29PM   20       Q.    OKAY.    AND BEFORE YOU TRANSITIONED CAREERS, YOU WORKED AT

03:29PM   21       THE LAW FIRM OF CRAVATH, SWAINE & MOORE IN NEW YORK CITY?

03:29PM   22       A.    I DID.

03:29PM   23       Q.    AND IF I CAN ASK YOU TO BE IMMODEST IF I MIGHT -- I KNOW

03:29PM   24       IT MAY NOT BE HOW YOU WERE RAISED -- IS IT FAIR TO SAY THAT

03:29PM   25       CRAVATH IS ONE OF THE PREEMINENT LAW FIRMS IN THE WORLD?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 253
                                                                               254 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                              5155


03:29PM    1       A.    I BELIEVE IT IS.

03:29PM    2       Q.    IT'S BEEN AROUND FOR ABOUT 200 YEARS?

03:29PM    3       A.    THAT'S CORRECT.

03:29PM    4       Q.    ONE OF THE OLDEST LAW FIRMS IN THE UNITED STATES?

03:30PM    5       A.    THAT IS CORRECT.

03:30PM    6       Q.    AND IT REPRESENTS ITSELF AS HAVING THE MOST ACCOMPLISHED

03:30PM    7       LAWYERS ACROSS ALL PRACTICE AREAS.        IS THAT -- DO YOU THINK

03:30PM    8       THAT'S A FAIR ASSESSMENT?

03:30PM    9       A.    YOU KNOW, "MOST" IS AN EXTREME STATEMENT.         I WOULD SAY

03:30PM   10       EXTREMELY ACCOMPLISHED, YES.

03:30PM   11       Q.    AND IN PARTICULAR, YOU WORKED IN THE TRUSTS AND ESTATES

03:30PM   12       GROUP AT CRAVATH; CORRECT?

03:30PM   13       A.    I DID.

03:30PM   14       Q.    AND THAT'S A PARTICULARLY WELL REGARDED GROUP, IS IT NOT?

03:30PM   15       A.    I BELIEVE IT WAS.

03:30PM   16       Q.    AND YOU WORKED THERE FOR, WAS IT A LITTLE OVER 30 YEARS;

03:30PM   17       IS THAT RIGHT?

03:30PM   18       A.    THAT IS CORRECT.

03:30PM   19       Q.    AND DURING THAT TIME, YOU SERVICED ANY NUMBER OF PROMINENT

03:30PM   20       FAMILIES THROUGHOUT THE COUNTRY?

03:30PM   21       A.    I DID.

03:30PM   22       Q.    ON VARIOUS TRUSTS AND ESTATES MATTERS; IS THAT RIGHT?

03:30PM   23       A.    THAT'S CORRECT.

03:30PM   24       Q.    AND NOW YOU'VE, YOU'VE MOVED ON AND YOU WORK AT BDT?

03:31PM   25       A.    THAT IS CORRECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 254
                                                                               255 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5156


03:31PM    1       Q.    AND WHAT KIND OF SERVICES DO YOU PROVIDE AT BDT?

03:31PM    2       A.    I'M INVOLVED IN THE MANAGEMENT OF THE FIRM, I RUN THE

03:31PM    3       NEW YORK OFFICE.     WE ADVISE AND WORK WITH, YOU KNOW, HIGH NET

03:31PM    4       WORTH FAMILIES, AND I DO THAT TYPE OF WORK.

03:31PM    5       Q.    AND YOU'VE WORKED WITH A LOT OF VERY HIGH NET WORTH

03:31PM    6       FAMILIES IN YOUR WORK IN TRUSTS AND ESTATES PRACTICE AT

03:31PM    7       CRAVATH; IS THAT CORRECT?

03:31PM    8       A.    I DID.

03:31PM    9       Q.    AND YOU WOULD CREATE TRUSTS FOR THE FAMILIES, AMONG OTHER

03:31PM   10       THINGS?

03:31PM   11       A.    YES.

03:31PM   12       Q.    AND OCCASIONALLY REVIEW DOCUMENTS AND THE LIKE?

03:31PM   13       A.    YES.

03:31PM   14       Q.    AND YOU OCCASIONALLY WOULD INVEST YOURSELF; CORRECT?

03:31PM   15       A.    YEAH.    AS I HAD EXTRA FUNDS, I INVESTED FOR MY OWN

03:31PM   16       PERSONAL ACCOUNT, YES.

03:31PM   17       Q.    AND SO YOU HAVE SOME EXPERIENCE IN THE INVESTING WORLD

03:31PM   18       BEYOND JUST THE THERANOS INVESTMENT; IS THAT FAIR?

03:32PM   19       A.    I DO, YES.

03:32PM   20       Q.    IN FACT, THERE'S -- I BELIEVE THE ENTITY THROUGH WHICH YOU

03:32PM   21       INVESTED HERE IS CALLED MOSLEY FAMILY HOLDINGS; IS THAT

03:32PM   22       CORRECT?

03:32PM   23       A.    THAT'S CORRECT.

03:32PM   24       Q.    AND THAT'S AN ENTITY THAT YOU SET UP FOR INVESTMENT

03:32PM   25       PURPOSES; IS THAT CORRECT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 255
                                                                               256 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5157


03:32PM    1       A.    THAT IS CORRECT.

03:32PM    2       Q.    OKAY.    AND THE CLIENTS -- THERE ARE A NUMBER OF PEOPLE WHO

03:32PM    3       ARE YOUR CLIENTS WHO YOU INTERACTED WITH IN CONNECTION WITH

03:32PM    4       THERANOS; IS THAT RIGHT?

03:32PM    5       A.    YEAH.    I WOULD SAY A SMALL NUMBER OF MY CLIENTS I

03:32PM    6       INTERACTED WITH IN CONNECTION WITH THERANOS.

03:32PM    7       Q.    OKAY.    AND YOU HAVE A LOT OF CLIENTS?      YOU HAD A LOT OF

03:32PM    8       CLIENTS?

03:32PM    9       A.    I HAD A LOT OF CLIENTS.

03:32PM   10       Q.    OKAY.    AND AMONG THE PEOPLE WHO YOU INTERACTED WITH WERE

03:32PM   11       MEMBERS OF THE WALTON FAMILY; CORRECT?

03:32PM   12       A.    THAT IS CORRECT.

03:32PM   13       Q.    AND THOSE ARE HEIRS OF THE WAL-MART FORTUNE, IF YOU WILL?

03:32PM   14       A.    THEY ARE, THEY ARE DECEDENTS OF SAM WALTON.

03:33PM   15       Q.    AND THE PEOPLE WHO YOU INTERACTED THERE WERE ROB WALTON;

03:33PM   16       CORRECT?

03:33PM   17       A.    CORRECT.

03:33PM   18       Q.    AND THAT WOULD BE SAM WALTON'S SON; IS THAT RIGHT?

03:33PM   19       A.    THAT IS CORRECT.

03:33PM   20       Q.    AND AT THE TIME OF THE THERANOS INVESTMENT, HE WAS THE

03:33PM   21       CHAIRMAN OF THE BOARD OF WAL-MART; IS THAT CORRECT?

03:33PM   22       A.    YES, I BELIEVE THAT'S CORRECT.

03:33PM   23       Q.    AND YOU INTERACTED WITH GREG PENNER; CORRECT?

03:33PM   24       A.    I DID.

03:33PM   25       Q.    AND GREG PENNER AT THE TIME WAS THE VICE CHAIRMAN OF



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 256
                                                                               257 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5158


03:33PM    1       WAL-MART CORPORATION; CORRECT?

03:33PM    2       A.    I BELIEVE HE WAS.

03:33PM    3       Q.    AND HE'S NOW THE CHAIRMAN OF WAL-MART CORPORATION;

03:33PM    4       CORRECT?

03:33PM    5       A.    HE IS.

03:33PM    6       Q.    AND HE IS THE SON-IN-LAW OF ROB WALTON?

03:33PM    7       A.    THAT'S CORRECT.

03:33PM    8       Q.    SO KIND OF THE THIRD GENERATION IF YOU WILL?

03:33PM    9       A.    THIRD GENERATION STARTING WITH SAM WALTON, YES.

03:33PM   10       Q.    OKAY.    AND IN ADDITION TO THAT, YOU INTERACTED A BIT WITH

03:33PM   11       ALICE WALTON AS WELL; CORRECT?

03:33PM   12       A.    I DID.

03:33PM   13       Q.    AND ALICE WALTON IS ALSO AN HEIR OF SAM WALTON; CORRECT?

03:33PM   14       A.    SHE IS ONE OF -- SHE IS ROB WALTON'S SISTER.

03:34PM   15       Q.    OKAY.    THAT'S ONE SET OF CLIENTS WHO YOU INTERACTED WITH

03:34PM   16       ON THERANOS; CORRECT?

03:34PM   17       A.    THAT'S CORRECT.

03:34PM   18       Q.    AND DO YOU RECALL THAT THEY INVESTED COLLECTIVELY ABOUT

03:34PM   19       $150 MILLION?

03:34PM   20       A.    I BELIEVE -- YOU KNOW, I WASN'T INVOLVED IN THEIR DECISION

03:34PM   21       AS TO HOW MUCH TO INVEST, BUT I THINK -- THAT'S WHAT I BELIEVE

03:34PM   22       THEY DID INVEST.

03:34PM   23       Q.    OKAY.

03:34PM   24       A.    I CERTAINLY HAVE HEARD THAT.

03:34PM   25       Q.    OKAY.    AND YOU ALSO INTERACTED A BIT WITH THE DEVOS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 257
                                                                               258 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5159


03:34PM    1       FAMILY; CORRECT?

03:34PM    2       A.    THAT IS CORRECT.

03:34PM    3       Q.    AND YOU'VE DONE WORK FOR THE DEVOS FAMILY FOR A LONG TIME

03:34PM    4       AS WELL; CORRECT?

03:34PM    5       A.    YES.

03:34PM    6       Q.    DECADES?

03:34PM    7       A.    UH, YES.

03:34PM    8       Q.    AND THEY HAVE A FAMILY OFFICE.       ARE YOU AWARE OF THAT?

03:34PM    9       A.    THEY DO, YES.

03:34PM   10       Q.    AND THAT'S RDV CORPORATION?

03:34PM   11       A.    THAT IS CORRECT.

03:34PM   12       Q.    AND THAT IS RUN BY A GENTLEMAN NAMED JERRY TUBERGEN;

03:34PM   13       CORRECT?

03:34PM   14       A.    AT THE TIME IT WAS, YES.

03:34PM   15       Q.    AND MR. TUBERGEN WAS A PERSON WHO YOU INTERACTED WITH IN

03:34PM   16       CONNECTION WITH THERANOS; CORRECT?

03:35PM   17       A.    YES.

03:35PM   18       Q.    DID YOU INTERACT WITH ANY OF THE DEVOS FAMILY MEMBERS

03:35PM   19       THEMSELVES WITH RESPECT TO THERANOS?

03:35PM   20       A.    YOU KNOW, I MAY HAVE AT ONE POINT HAD A CONVERSATION

03:35PM   21       CASUALLY WITH ONE OR MORE OF THEM BECAUSE THEY ASKED ME ABOUT

03:35PM   22       IT, BUT PRIMARILY I INTERACTED WITH -- I JUST INTRODUCED

03:35PM   23       JERRY TUBERGEN TO ELIZABETH HOLMES AND THE COMPANY.

03:35PM   24       Q.    OKAY.   WE'LL COME BACK TO SOME OF THE SPECIFICS.

03:35PM   25       A.    SURE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 258
                                                                               259 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5160


03:35PM    1       Q.    BUT THAT WAS -- THOSE WERE CLIENTS OF YOURS; RIGHT?

03:35PM    2       A.    THE DEVOS FAMILY WERE CLIENTS OF MINE.

03:35PM    3       Q.    AND YOU'RE AWARE THAT THEY INVESTED $100 MILLION IN

03:35PM    4       THERANOS; CORRECT?

03:35PM    5       A.    YOU KNOW, I WASN'T INVOLVED, BUT I DO -- THAT IS THE

03:35PM    6       NUMBER THAT I HAVE HEARD THAT THEY INVESTED, YES.

03:35PM    7       Q.    OKAY.   AND YOU ALSO INTERACTED WITH MEMBERS OF THE COX

03:35PM    8       FAMILY IN CONNECTION WITH THERANOS AS WELL; RIGHT?

03:35PM    9       A.    YES, I ALSO INTRODUCED MEMBERS OF THE COX FAMILY TO

03:35PM   10       THERANOS.

03:35PM   11       Q.    AND, AND IS THE COX FAMILY, IS THAT THE TED TURNER FAMILY?

03:36PM   12       IS THAT --

03:36PM   13       A.    NO, IT'S NOT.

03:36PM   14       Q.    OKAY.   TELL ME WHAT THE COX FAMILY IS?

03:36PM   15       A.    THEY OWN COX CABLE, COX ENTERPRISES.

03:36PM   16       Q.    IS THAT BASED IN ATLANTA?

03:36PM   17       A.    YES, IT IS.

03:36PM   18       Q.    AND YOU INTERACTED THERE WITH ALEX TAYLOR; IS THAT

03:36PM   19       CORRECT?

03:36PM   20       A.    THAT IS CORRECT.

03:36PM   21       Q.    AND JOHN DYER?

03:36PM   22       A.    THAT IS CORRECT.

03:36PM   23       Q.    AND IS THAT A CLIENT OF YOURS?       THOSE ARE CLIENTS OF

03:36PM   24       YOURS?

03:36PM   25       A.    YES, THE COX FAMILY WERE CLIENTS OF MINE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 259
                                                                               260 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5161


03:36PM    1       Q.     OKAY.    IN ADDITION TO THAT, YOU HAD SOME DEALINGS WITH

03:36PM    2       MR. DRACOPOULOS; IS THAT RIGHT?

03:36PM    3       A.     THAT IS CORRECT.

03:36PM    4       Q.     AND HIS FIRST NAME IS ANDREAS?

03:36PM    5       A.     THAT IS CORRECT.

03:36PM    6       Q.     AND WHO IS MR. DRACOPOULOS?

03:36PM    7       A.     HE IS A RELATIVE OF THE LATE STAVROS NIARCHOS.

03:36PM    8       Q.     IS THAT THE GREEK SHIPPING MAGNATE?

03:36PM    9       A.     IT IS.

03:36PM   10       Q.     AND HE WAS A CLIENT OF YOURS FOR A PERIOD OF TIME BEFORE

03:37PM   11       YOU STARTED INTERACTING WITH THERANOS; IS THAT RIGHT?

03:37PM   12       A.     HE WAS.

03:37PM   13       Q.     AND YOU INTERACTED WITH JOHN ELKANN A BIT AS WELL, DID YOU

03:37PM   14       NOT?

03:37PM   15       A.     YES, I DID AT SOME POINT.

03:37PM   16       Q.     AND IS JOHN ELKANN A CLIENT OF YOURS?

03:37PM   17       A.     NO, HE IS NOT.

03:37PM   18       Q.     AND DO YOU KNOW HOW YOU CAME TO INTERACT WITH JOHN ELKANN

03:37PM   19       AS A RESULT OF THERANOS MATTERS?

03:37PM   20       A.     HE WAS A MEMBER OF A FAMILY THAT DR. KISSINGER HAD HAD A

03:37PM   21       LONG ASSOCIATION WITH, AND I THINK -- I DON'T REALLY KNOW, BUT

03:37PM   22       I SUSPECT THAT DR. KISSINGER MAY HAVE INTRODUCED HIM TO

03:37PM   23       ELIZABETH AND THERANOS.

03:37PM   24       Q.     OKAY.    AND IS -- AND DID DR. KISSINGER ASK YOU TO INTERACT

03:37PM   25       WITH MR. ELKANN?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 260
                                                                               261 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5162


03:37PM    1       A.    NO.

03:38PM    2       Q.    DO YOU KNOW WHO MR. ELKANN IS, WHAT HIS BACKGROUND IS?

03:38PM    3       A.    HE IS A MEMBER OF THE -- I DO KNOW THAT HE'S A MEMBER OF

03:38PM    4       THE ANGNELLI FAMILY FROM ITALY.

03:38PM    5       Q.    AND IS THAT THE FIAT RELATED FAMILY?

03:38PM    6       A.    IT IS.

03:38PM    7       Q.    OKAY.    AND, OF COURSE, YOU INTERACTED WITH DR. KISSINGER;

03:38PM    8       RIGHT?

03:38PM    9       A.    YES, I DID.

03:38PM   10       Q.    I THINK YOU SAID HE'S BEEN A CLIENT OF YOURS FOR DECADES?

03:38PM   11       A.    FOR A VERY LONG TIME.

03:38PM   12       Q.    OKAY.    AND IN ADDITION TO MR. DRACOPOULOS, IS THERE A

03:38PM   13       FOUNDATION THAT HE'S AFFILIATED WITH?

03:38PM   14       A.    YES.

03:38PM   15       Q.    AND WHAT IS THAT FOUNDATION?

03:38PM   16       A.    THE STAVROS NIARCHOS FOUNDATION.

03:38PM   17       Q.    AND YOU REPRESENTED THAT FOUNDATION AS WELL?

03:38PM   18       A.    I DID NOT.

03:38PM   19       Q.    YOU DID NOT?

03:38PM   20       A.    I DID NOT.

03:38PM   21       Q.    AND YOU'VE ALSO DONE LEGAL WORK FOR BDT; CORRECT?

03:38PM   22       A.    AT THIS POINT I DON'T THINK I HAD PERSONALLY DONE ANY WORK

03:39PM   23       FOR BDT WHATSOEVER.

03:39PM   24       Q.    OKAY.    I THINK I FAILED TO ASK WITH RESPECT TO

03:39PM   25       MR. DRACOPOULOS, YOU'RE AWARE THAT HE INVESTED $25 MILLION?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 261
                                                                               262 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5163


03:39PM    1       A.    YES.

03:39PM    2       Q.    AND ARE YOU AWARE THAT MR. ELKANN INVESTED $5 MILLION?

03:39PM    3       A.    ONLY BECAUSE SOMEBODY SAID IT AT SOME POINT.

03:39PM    4       Q.    OKAY.    AND MR. -- DR. KISSINGER, HE HAD SOME TRUSTS;

03:39PM    5       CORRECT?

03:39PM    6       A.    YES.

03:39PM    7       Q.    AND YOU'RE THE TRUSTEE OF SOME OF THOSE TRUSTS; CORRECT?

03:39PM    8       A.    I AM.

03:39PM    9       Q.    AND ONE OF HIS -- THE TRUSTS THAT YOU'RE A TRUSTEE FOR

03:39PM   10       INVESTED $3 MILLION; CORRECT?

03:39PM   11       A.    I THINK THAT'S RIGHT.

03:39PM   12       Q.    OKAY.    AND YOU'RE, OF COURSE, AWARE THAT IN CONNECTION

03:39PM   13       WITH SOME OF THESE MATTERS, YOU HAD ATTORNEY-CLIENT

03:39PM   14       COMMUNICATIONS; RIGHT?

03:39PM   15                     MR. SCHENK:   OBJECTION.    RELEVANCE.

03:40PM   16                     MR. WADE:    I JUST WANT TO SET THE FRAME SO THE

03:40PM   17       WITNESS UNDERSTANDS WHAT I'M NOT ASKING FOR WHEN I ASK

03:40PM   18       QUESTIONS.

03:40PM   19             I DON'T WANT ANY PRIVILEGED COMMUNICATIONS.         THAT'S THE

03:40PM   20       POINT.

03:40PM   21                     THE COURT:    OKAY.   MAYBE YOU SHOULD PREFACE YOUR

03:40PM   22       QUESTION LIKE THAT.

03:40PM   23                     MR. WADE:    SURE.

03:40PM   24       Q.    RECOGNIZING THAT YOU'RE A LAWYER AND YOU HAVE YOUR ETHICAL

03:40PM   25       OBLIGATIONS, I DON'T WANT TO -- WHEN I ASK YOU QUESTIONS THAT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 262
                                                                               263 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5164


03:40PM    1       RELATE TO ANY OF THESE CLIENTS, I'M NOT SEEKING ANY -- THE

03:40PM    2       CONTENTS OF ANY ATTORNEY-CLIENT COMMUNICATIONS.          OKAY?

03:40PM    3       A.    I UNDERSTAND.

03:40PM    4       Q.    OKAY.    AND IF THERE'S EVER ANY UNCERTAINTY THAT YOU HAVE

03:40PM    5       IN YOUR MIND AS TO WHETHER ANY OF THE QUESTIONS THAT I SEEK

03:40PM    6       CALL FOR SUCH INFORMATION, I ASSURE YOU IT'S NOT INTENTIONAL.

03:40PM    7       BUT LET'S BE CAUTIOUS THERE.         OKAY?

03:40PM    8       A.    I UNDERSTAND.

03:40PM    9       Q.    OKAY.

03:40PM   10                     THE COURT:    SO TO THAT REGARD, SIR, IF YOU FEEL YOU

03:40PM   11       NEED TO EXERCISE A PRIVILEGE, YOU SHOULD DO SO.

03:40PM   12                     THE WITNESS:   OKAY.    THANK YOU.

03:41PM   13       BY MR. WADE:

03:41PM   14       Q.    I BELIEVE IN YOUR DIRECT EXAMINATION YOU TESTIFIED THAT

03:41PM   15       YOU WERE ASKED BY DR. KISSINGER TO LOOK INTO THERANOS A BIT; IS

03:41PM   16       THAT RIGHT?

03:41PM   17       A.    THAT'S CORRECT.

03:41PM   18       Q.    NOW, YOU'RE AWARE THAT DR. KISSINGER WAS ON THE BOARD OF

03:41PM   19       THERANOS; RIGHT?

03:41PM   20       A.    YES.

03:41PM   21       Q.    WITHOUT REVEALING ANY PRIVILEGED COMMUNICATIONS, DO YOU

03:41PM   22       KNOW WHY IT IS THAT HE WAS ASKING YOU TO LOOK INTO THIS FROM AN

03:41PM   23       INVESTMENT STANDPOINT?

03:41PM   24                     MR. SCHENK:    SPECULATION.

03:41PM   25                     THE COURT:    SUSTAINED.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 263
                                                                               264 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5165


03:41PM    1       BY MR. WADE:

03:41PM    2       Q.    DO YOU KNOW WHY DR. KISSINGER -- DO YOU HAVE AN

03:41PM    3       UNDERSTANDING, BASED ON YOUR COMMUNICATIONS WITH DR. KISSINGER,

03:41PM    4       WHY IT WAS THAT HE WAS ASKING YOU TO DO THIS?

03:42PM    5       A.    HE SIMPLY WANTED MY VIEWS ON THE COMPANY AND -- AND ON THE

03:42PM    6       COMPANY IN GENERAL.

03:42PM    7       Q.    OKAY.    COULD I CALL YOUR ATTENTION TO EXHIBIT --

03:42PM    8             MAY I APPROACH, YOUR HONOR?

03:42PM    9                     THE COURT:   YES.

03:42PM   10       BY MR. WADE:

03:42PM   11       Q.    (HANDING.)

03:42PM   12             I'VE HANDED YOU A COUPLE MORE BINDERS.         I KNOW YOU HAVE A

03:43PM   13       GROWING COLLECTION UP THERE.

03:43PM   14       A.    I DO.

03:43PM   15       Q.    I GUESS THAT'S THE LIFE OF A LAWYER, RIGHT?

03:43PM   16             COULD I ASK YOU TO TURN YOUR ATTENTION TO EXHIBIT 4162.

03:43PM   17             DO YOU HAVE THAT DOCUMENT IN FRONT OF YOU?

03:43PM   18       A.    I DO.

03:43PM   19       Q.    AND DO YOU RECOGNIZE THIS -- THE ATTACHMENT TO THIS

03:43PM   20       LETTER?    HAVE YOU SEEN THIS LETTER BEFORE?

03:43PM   21       A.    I DON'T REMEMBER.

03:44PM   22       Q.    DO YOU RECALL THAT IN JULY OF 2014, MR. -- THE

03:44PM   23       STAVROS NIARCHOS FOUNDATION ASKED YOU TO ENGAGE WITH THERANOS

03:44PM   24       ABOUT THE POTENTIAL INVESTMENT BY THE FOUNDATION?

03:44PM   25       A.    COULD YOU RESTATE THAT?      I DIDN'T QUITE UNDERSTAND THE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 264
                                                                               265 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5166


03:44PM    1       QUESTION.

03:44PM    2       Q.    YES.    DO YOU RECALL BEING ASKED BY THE STAVROS NIARCHOS

03:44PM    3       FOUNDATION TO ENGAGE WITH THERANOS IN CONNECTION WITH A

03:44PM    4       POSSIBLE INVESTMENT BY THE FOUNDATION IN THERANOS?

03:44PM    5       A.    I DON'T REMEMBER BEING ASKED TO BE ENGAGED IN THE SENSE OF

03:45PM    6       TO REPRESENT THEM AS A LAWYER IN CONNECTION WITH IT.           IS THAT

03:45PM    7       WHAT YOU'RE ASKING?

03:45PM    8       Q.    DO YOU RECALL BEING ASKED BY THE FOUNDATION TO ENGAGE IN

03:45PM    9       ANY WAY WITH THE POTENTIAL INVESTMENT IN THERANOS?

03:45PM   10       A.    YES, I THINK THEY ASKED ME TO PARTICIPATE IN THE

03:45PM   11       INTRODUCTION TO ELIZABETH HOLMES AND TO THE COMPANY.

03:45PM   12       Q.    OKAY.    AND AT THE TIME, HAD YOU MET MS. HOLMES?

03:45PM   13       A.    ON JULY THE 14TH, I HAD NOT.

03:45PM   14       Q.    OKAY.

03:45PM   15             I'LL MOVE THE ADMISSION OF 4162.

03:45PM   16                     MR. SCHENK:   YOUR HONOR, FOUNDATION.      HEARSAY.

03:45PM   17                     THE COURT:    CAN YOU LAY A LITTLE MORE FOUNDATION ON

03:45PM   18       THIS?

03:45PM   19                     MR. WADE:    I CAN SKIP THE DOCUMENT.    I WAS JUST

03:45PM   20       DOING IT FOR THE CLARITY OF THE WITNESS.

03:45PM   21                     THE COURT:    SURE.

03:45PM   22       BY MR. WADE:

03:45PM   23       Q.    DO YOU RECALL WHAT THE FOUNDATION ASKED YOU TO DO IN JULY

03:45PM   24       OF 2014?

03:45PM   25       A.    THEY ASKED ME TO HELP INTRODUCE THEM TO ELIZABETH HOLMES



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 265
                                                                               266 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5167


03:45PM    1       AND THE COMPANY.

03:45PM    2       Q.    OKAY.   AND AT THIS POINT, THIS WAS BEFORE YOU HAD HAD ANY

03:46PM    3       OF THE INTERACTIONS RELATING TO THE KISSINGER ASSIGNMENT I

03:46PM    4       BELIEVE; ISN'T THAT RIGHT?

03:46PM    5       A.    NO.   I BELIEVE IT WAS -- YOU KNOW, I COULD BE WRONG ABOUT

03:46PM    6       THIS, BUT I BELIEVE IT WAS AFTER DR. KISSINGER HAD ASKED ME TO

03:46PM    7       BEGIN LOOKING AT THERANOS AND GIVE HIM MY VIEWS.

03:46PM    8       Q.    OKAY.   AND WAS THIS A MEETING THAT WAS FACILITATED -- OR

03:46PM    9       AN ENGAGEMENT BY YOU THAT WAS FACILITATED BY DR. KISSINGER?

03:46PM   10       A.    I'M NOT SURE WHAT YOU MEAN BY THAT.

03:46PM   11       Q.    DID DR. KISSINGER ASK YOU TO ENGAGE ON THIS?

03:46PM   12       A.    YOU KNOW, I THINK I MAY HAVE KNOWN THAT HE WANTED TO LET

03:46PM   13       SOME OF THE PEOPLE THAT HE HAD HAD A LONG ASSOCIATION WITH KNOW

03:46PM   14       ABOUT THIS OPPORTUNITY, AND I DON'T REMEMBER SPECIFICALLY, BUT

03:46PM   15       HE MIGHT WELL HAVE SAID TO ME, CAN YOU HELP ME IN TALKING TO

03:47PM   16       PEOPLE AT THE NIARCHOS FOUNDATION.

03:47PM   17       Q.    AND YOU HAD NOT DONE -- THE NIARCHOS FOUNDATION WAS NOT A

03:47PM   18       CLIENT OF YOURS AT THE TIME?

03:47PM   19       A.    I DON'T BELIEVE SO.      ANDREAS DRACOPOULOS WAS A CLIENT AND

03:47PM   20       HE WAS THE CO-CEO OF THE FOUNDATION.

03:47PM   21             I DON'T REMEMBER WHETHER I, YOU KNOW, I CERTAINLY DIDN'T

03:47PM   22       THINK OF THEM AS A CLIENT.       BUT I MIGHT WELL HAVE GIVEN HIM

03:47PM   23       ADVICE, OR SOMEBODY ELSE.       BUT I REALLY DON'T HAVE A COMPLETE

03:47PM   24       RECOLLECTION OF EVERYTHING.

03:47PM   25       Q.    OKAY.   WELL, WE'LL GO THROUGH SOME DOCUMENTS AND SEE IF WE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 266
                                                                               267 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5168


03:47PM    1       CAN REFRESH YOU.

03:47PM    2       A.    OKAY.    SURE.

03:47PM    3       Q.    THE NEXT, THE NEXT COMMUNICATION -- IF I COULD TURN YOUR

03:47PM    4       ATTENTION TO 4163, WHICH I BELIEVE IS IN EVIDENCE.

03:47PM    5                     THE CLERK:    CORRECT.

03:48PM    6                     MR. WADE:    PERMISSION TO PUBLISH?

03:48PM    7                     THE COURT:    YES.

03:48PM    8       BY MR. WADE:

03:48PM    9       Q.    AND THIS IS RIGHT AROUND THE TIME WHEN YOU'RE BEING

03:48PM   10       ENGAGED WITH -- BY DR. KISSINGER FOR THE ASSIGNMENT THAT YOU

03:48PM   11       DISCUSSED; IS THAT RIGHT?

03:48PM   12       A.    YES, IT WAS.

03:48PM   13       Q.    AND AMONG THE FIRST THINGS THAT YOU DID, YOU HAD AN

03:48PM   14       INITIAL CONVERSATION WITH MS. HOLMES; IS THAT RIGHT?

03:48PM   15       A.    THAT IS CORRECT.

03:48PM   16       Q.    AND WAS THAT A BRIEF CONVERSATION?

03:48PM   17       A.    I DON'T REMEMBER HOW LONG THE CONVERSATION WAS.

03:48PM   18       Q.    IT WAS THE FIRST ONE THAT YOU HAD HAD WITH HER; IS THAT

03:48PM   19       RIGHT?

03:48PM   20       A.    IT WAS.

03:48PM   21       Q.    OKAY.    YOU HADN'T MET HER BEFORE; IS THAT RIGHT?

03:48PM   22       A.    NO, I HAD NOT.

03:48PM   23       Q.    OKAY.    IN THE SHORT TIME, IT LOOKS LIKE WITHIN THE NEXT

03:48PM   24       DAY YOU WERE REACHING OUT TO MEMBERS OF THE WALTON FAMILY;

03:48PM   25       CORRECT?



                                          UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 267
                                                                               268 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5169


03:48PM    1       A.    I DON'T KNOW HOW MUCH TIME WAS IN BETWEEN MY CONVERSATION

03:49PM    2       WITH HER AND REACHING OUT TO GREG PENNER.         I DON'T KNOW HOW

03:49PM    3       MUCH TIME.

03:49PM    4       Q.    YOU SEE WHERE IT SAYS, "AS WE SPOKE YESTERDAY, I REACHED"?

03:49PM    5       A.    ALL RIGHT.    THEN MAYBE IT MEANS THE NEXT DAY.

03:49PM    6       Q.    OKAY.    SO YOU PRETTY QUICKLY REACHED OUT TO THE WALTON

03:49PM    7       FAMILY; CORRECT?

03:49PM    8       A.    YES.

03:49PM    9       Q.    AND MR. PENNER IS ACTUALLY -- HE RUNS A PRIVATE EQUITY

03:49PM   10       FUND AS WELL?

03:49PM   11       A.    YES, HE RUNS HIS PRIVATE INVESTMENT FIRM BY THE NAME OF

03:49PM   12       MADRONE.

03:49PM   13       Q.    AND THAT'S BASED SOMEWHERE HERE IN SILICON VALLEY?

03:49PM   14       A.    IT IS.

03:49PM   15       Q.    OKAY.    AND YOU REACHED OUT TO HIM IMMEDIATELY AND YOU WERE

03:49PM   16       WORKING TO FACILITATE PUTTING MS. HOLMES IN CONTACT WITH

03:49PM   17       MR. PENNER; CORRECT?

03:49PM   18       A.    I -- YES.

03:49PM   19       Q.    OKAY.    CAN I CALL YOUR ATTENTION TO 14129.

03:50PM   20       A.    IS THAT IN VOLUME 2?      IT IS.

03:50PM   21       Q.    I BELIEVE IT IS, YES.

03:50PM   22       A.    OKAY.

03:50PM   23       Q.    DO YOU HAVE THAT ONE IN FRONT OF YOU?

03:50PM   24       A.    I DO.

03:50PM   25       Q.    AND DO YOU SEE THAT'S A FOLLOW-UP EMAIL TO THIS CHAIN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 268
                                                                               269 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5170


03:50PM    1       ABOUT A WEEK LATER?

03:50PM    2       A.    YES.

03:50PM    3                    MR. WADE:    MOVE THE ADMISSION OF 14129.

03:50PM    4                    MR. SCHENK:    NO OBJECTION.

03:50PM    5                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:50PM    6             (DEFENDANT'S EXHIBIT 14129 WAS RECEIVED IN EVIDENCE.)

03:50PM    7       BY MR. WADE:

03:50PM    8       Q.    AND DO YOU SEE THE BOTTOM EMAIL THERE, IT'S THE SAME EMAIL

03:50PM    9       THAT WE WERE JUST LOOKING AT?

03:50PM   10       A.    THAT'S CORRECT.

03:50PM   11       Q.    AND LET'S FOCUS ON THE EMAIL UP THE CHAIN.

03:51PM   12       A.    UH-HUH.

03:51PM   13       Q.    AND DO YOU INFER FROM THIS EMAIL THAT ABOUT A WEEK HAD

03:51PM   14       PASSED AND MS. HOLMES APPEARS TO NOT HAVE FOLLOWED UP WITH

03:51PM   15       MR. PENNER?

03:51PM   16       A.    YES.

03:51PM   17       Q.    AND YOU WERE FOLLOWING UP TO CHECK IN?

03:51PM   18       A.    WELL, I POINTED OUT THAT I HADN'T RECEIVED THE MATERIALS

03:51PM   19       AND WAS LOOKING OUT FOR THEM, AND THAT GREG PENNER WAS DOING

03:51PM   20       THE SAME.

03:51PM   21       Q.    RIGHT.    YOU PROVIDED AN INTRODUCTION TO MR. PENNER, AND HE

03:51PM   22       HAD NOT GOTTEN THE BINDERS; RIGHT?

03:51PM   23       A.    THAT IS CORRECT.

03:51PM   24       Q.    AND YOU HADN'T GOTTEN THEM EITHER; IS THAT CORRECT?

03:51PM   25       A.    THAT IS CORRECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 269
                                                                               270 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5171


03:51PM    1       Q.    AND DO YOU SEE IN THAT SECOND LINE IT SAYS, "ROB WALTON

03:51PM    2       RAN INTO ONE OF YOUR BOARD MEMBERS OVER THE WEEKEND AT THE

03:51PM    3       GROVE"?

03:51PM    4       A.    YES.

03:51PM    5       Q.    AND WHAT IS THE GROVE?      DO YOU KNOW?

03:51PM    6       A.    YOU KNOW, I'M NOT -- I'M CERTAINLY BY NO MEANS AN EXPERT

03:51PM    7       ON THE GROVE, BUT I THINK IT'S A GROUP OF PEOPLE THAT GET

03:51PM    8       TOGETHER IN CALIFORNIA ON A PERIODIC BASIS.

03:51PM    9       Q.    AND IS IT MOSTLY PROMINENT FAMILIES?

03:52PM   10       A.    IT IS, PROMINENT INDIVIDUALS.

03:52PM   11       Q.    PROMINENT INDIVIDUALS, PRESIDENTS AND SENATORS AND THE

03:52PM   12       LIKE?

03:52PM   13       A.    RIGHT.

03:52PM   14       Q.    AND ARE YOU AWARE -- WITHOUT REVEALING PRIVILEGED

03:52PM   15       INFORMATION, ARE YOU AWARE OF WHO MR. WALTON SPOKE WITH AT THE

03:52PM   16       GROVE ABOUT THERANOS?

03:52PM   17       A.    NO.

03:52PM   18       Q.    OKAY.    AND IT APPEARED, AS A RESULT OF THESE INTERACTIONS,

03:52PM   19       THAT MR. WALTON AND MR. PENNER WERE EAGER TO RECEIVE

03:52PM   20       INFORMATION ABOUT THERANOS; CORRECT?

03:52PM   21       A.    THAT'S SORT OF WHAT IS IMPLIED HERE, YES.

03:52PM   22       Q.    AND GIVEN THAT YOU HAD PROVIDED THE INTRODUCTION, YOU WERE

03:52PM   23       TRYING TO ENCOURAGE THAT ALONG; IS THAT RIGHT?

03:52PM   24       A.    WELL, I OBVIOUSLY POINTED OUT THE FIRST THING WAS THAT I

03:52PM   25       HAD NOT RECEIVED THE MATERIALS, AND THEN I NOTED THAT NEITHER



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 270
                                                                               271 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5172


03:52PM    1       HAD GREG PENNER.

03:52PM    2       Q.    AND WERE YOU EAGER IN THIS PERIOD TO RECEIVE THE

03:53PM    3       MATERIALS?

03:53PM    4       A.    I WAS LOOKING FORWARD TO RECEIVING THE MATERIALS.

03:53PM    5       Q.    OKAY.    IF I CAN -- DO YOU KNOW WHEN YOU NEXT SPOKE TO

03:53PM    6       MS. HOLMES?

03:53PM    7       A.    I DON'T.

03:53PM    8       Q.    AND CAN YOU -- LET'S LOOK AT 14130.        AND I CAN JUST ASK,

03:53PM    9       DOES THIS REFRESH YOUR RECOLLECTION THAT YOU NEXT SPOKE WITH

03:53PM   10       MS. HOLMES IN MID-AUGUST OF 2014?

03:53PM   11       A.    YOU KNOW, IT'S A MESSAGE SLIP FROM CRAVATH SAYING THAT

03:53PM   12       ELIZABETH HOLMES HAD CALLED, AND IT SAYS "PLEASE CALL HER ON

03:53PM   13       MONDAY" IS WHAT I'M LOOKING AT IF I'M ON THE RIGHT -- 14130?

03:54PM   14       Q.    YEAH.

03:54PM   15             I MOVE THE ADMISSION OF 14130?

03:54PM   16                     THE COURT:    ANY OBJECTION?

03:54PM   17                     MR. SCHENK:   NO OBJECTION.

03:54PM   18                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:54PM   19             (DEFENDANT'S EXHIBIT 14130 WAS RECEIVED IN EVIDENCE.)

03:54PM   20       BY MR. WADE:

03:54PM   21       Q.    THIS IS A MESSAGE SLIP FROM YOUR SECRETARY?

03:54PM   22       A.    UM, SHE WASN'T ACTUALLY MY SECRETARY, BUT SHE WAS IN THE

03:54PM   23       SUITE THAT I WAS LOCATED.

03:54PM   24       Q.    OKAY.    SO AN ASSISTANT WHO WAS HELPING SUPPORT YOU?

03:54PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 271
                                                                               272 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5173


03:54PM    1       Q.    AND SHE WAS ASKING FOR YOU TO CALL MS. HOLMES; CORRECT?

03:54PM    2       A.    YEAH, IT APPEARS TO BE AN INDICATION THAT ELIZABETH HAD

03:54PM    3       CALLED ME AND LEFT A TELEPHONE NUMBER AND SAID PLEASE CALL ME

03:54PM    4       ON MONDAY.

03:54PM    5       Q.    AND DO YOU RECALL WHEN THE NEXT INTERACTION WAS?

03:54PM    6       A.    I DON'T SPECIFICALLY RECALL.

03:54PM    7       Q.    OKAY.    LET'S TAKE A LOOK AT 4173.

03:55PM    8       A.    I'M THERE.

03:55PM    9       Q.    AND THAT'S IN EVIDENCE.

03:55PM   10             PERMISSION TO PUBLISH, YOUR HONOR?

03:55PM   11                     THE COURT:   YES.

03:55PM   12       BY MR. WADE:

03:55PM   13       Q.    AND I THINK MR. SCHENK ASKED YOU SOME QUESTIONS ABOUT

03:55PM   14       THIS.

03:55PM   15             DO YOU RECALL?

03:55PM   16       A.    I DO.

03:55PM   17       Q.    AND THIS WAS THE COVER CORRESPONDENCE FOR THE BINDERS THAT

03:55PM   18       YOU RECEIVED; IS THAT RIGHT?

03:55PM   19       A.    I BELIEVE IT WAS.

03:55PM   20       Q.    OKAY.    AND I'M GOING TO OFFER -- I ONLY HAVE ONE COPY,

03:55PM   21       THANKFULLY, OF THIS.

03:55PM   22             YOUR HONOR, I'VE GIVEN THE GOVERNMENT NOTICE.

03:55PM   23             YOUR HONOR, I BELIEVE THIS IS JUST THE FULL BINDER SET, SO

03:55PM   24       IF HE ADMITS IT, WE'LL JUST DISPLAY IT ELECTRONICALLY TO SAVE

03:56PM   25       PAPER.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 272
                                                                               273 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5174


03:56PM    1                     THE COURT:    ALL RIGHT.

03:56PM    2             YOU HAVE A COPY OF THIS, MR. SCHENK?

03:56PM    3                     MR. SCHENK:    I HAVE AN ELECTRONIC COPY, YES.

03:56PM    4                     THE COURT:    OKAY.   THAT'S FINE.

03:56PM    5                     MR. WADE:    AND I HAVE AN ELECTRONIC COPY IF THE

03:56PM    6       COURT WOULD LIKE ONE, TOO.

03:56PM    7                     THE COURT:    THAT'S FINE.   GO AHEAD.

03:56PM    8                     MR. WADE:    MAY I APPROACH?

03:56PM    9                     THE COURT:    YES.

03:56PM   10                     MR. WADE:    (HANDING.)

03:56PM   11                     THE WITNESS:    THANK YOU.

03:56PM   12       BY MR. WADE:

03:56PM   13       Q.    NOW, I'VE HANDED YOU THREE VOLUMES OF DOCUMENTS.          I THINK

03:56PM   14       IF YOU, IF YOU LOOK AT THEM, YOU'LL NOTICE THAT THEY'RE BATES

03:56PM   15       LABELLED WITH THE MOSLEY BATES LABEL.

03:56PM   16             AND DO YOU RECOGNIZE THIS TO BE THE COMPLETE COLLECTION OF

03:56PM   17       MATERIALS THAT WAS SENT TO YOU BY?

03:57PM   18       A.    IT PROBABLY IS.       I CAN'T -- I MEAN, THAT WAS SEVEN YEARS

03:57PM   19       AGO AND I CAN'T -- BUT IT LOOKS LIKE -- IT LOOKS LIKE WHAT I

03:57PM   20       THINK I RECEIVED.

03:57PM   21       Q.    OKAY.

03:57PM   22                     MR. WADE:    MOVE THE ADMISSION OF 4173 -- I'M SORRY,

03:57PM   23       OF --

03:57PM   24                     THE COURT:    4173?

03:57PM   25                     MR. WADE:    I'M SORRY.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 273
                                                                               274 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                             5175


03:57PM    1       Q.    CAN YOU IDENTIFY THE EXHIBIT THAT I JUST -- IT'S ON THE

03:57PM    2       BINDER COVER.

03:57PM    3       A.    IT'S TX 14206.

03:57PM    4       Q.    14206.

03:57PM    5             MOVE THE ADMISSION OF 14206.

03:57PM    6                     THE COURT:    14206?   I'M SORRY, MR. SCHENK?

03:57PM    7                     MR. SCHENK:   NO OBJECTION.

03:57PM    8                     THE COURT:    14206 CONSISTS OF THREE BINDERS?

03:57PM    9                     MR. WADE:    THREE BINDERS, YES.

03:57PM   10                     THE COURT:    THANK YOU.   IT'S ADMITTED, AND YOU CAN

03:57PM   11       PUBLISH THEM AS YOU EXAMINE.

03:57PM   12             (DEFENDANT'S EXHIBIT 14206 WAS RECEIVED IN EVIDENCE.)

03:57PM   13       BY MR. WADE:

03:57PM   14       Q.    LET ME GO BACK TO THE LETTER, 4173.

03:57PM   15             NOW, THESE BINDERS WERE SENT TO YOU, AND WHEN YOU HAD

03:58PM   16       DISCUSSIONS WITH MS. HOLMES, DID YOU MAKE ANY SPECIFIC REQUESTS

03:58PM   17       FOR MATERIALS?

03:58PM   18       A.    YOU KNOW, I DON'T REMEMBER WHETHER I ASKED FOR DOCUMENTS

03:58PM   19       OR SHE -- INFORMATION, OR SHE SAID, I'VE GOT A PACKAGE OF

03:58PM   20       MATERIALS I'LL SEND YOU.       I DON'T REMEMBER.

03:58PM   21       Q.    OKAY.    IN ANY EVENT, THE DOCUMENTS CAME IN IN EARLY

03:58PM   22       AUGUST.

03:58PM   23             DO YOU RECALL THAT?      OR MID-AUGUST?    I APOLOGIZE.

03:58PM   24       A.    YOU KNOW, I HAVE GENERALLY A RECOLLECTION THAT THAT'S WHEN

03:58PM   25       THEY CAME AND IT'S CONSISTENT WITH THE LETTER.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 274
                                                                               275 of
                                                                                   of 285
                                                                                      286
                   MOSLEY CROSS BY MR. WADE                                              5176


03:58PM    1       Q.    AND IF WE LOOK AT THE LAST PARAGRAPH OF THE LETTER -- I'M

03:58PM    2       SORRY, ON THE SECOND PAGE, THE LAST FINAL PARAGRAPH.

03:58PM    3             DO YOU SEE IT SAYS, "I AM HAPPY TO PROVIDE MORE BACKGROUND

03:58PM    4       ON ANY OF THE ABOVE, OR ANY OF THE MATERIALS ENCLOSED IN THIS

03:58PM    5       PACKAGE."

03:58PM    6             DO YOU SEE THAT?

03:58PM    7       A.    I DO SEE IT.

03:58PM    8       Q.    AND SO YOU UNDERSTOOD AT THE TIME THAT YOU GOT THESE

03:58PM    9       MATERIALS THAT THERE WAS AN OPEN INVITATION FOR YOU TO GO AND

03:58PM   10       SEEK OTHER INFORMATION; RIGHT?

03:58PM   11       A.    I DID.

03:58PM   12       Q.    AND IF THERE WAS ANYTHING WITHIN THE MATERIALS THAT YOU

03:58PM   13       THOUGHT WAS UNCLEAR, THAT YOU HAD AN INVITATION TO GO BACK TO

03:59PM   14       MS. HOLMES AND ASK FOR CLARITY ON THOSE MATERIALS; RIGHT?

03:59PM   15       A.    I DID.

03:59PM   16       Q.    AND YOU WOULD HAVE FELT FREE TO DO SO AT THIS POINT; IS

03:59PM   17       THAT FAIR?

03:59PM   18       A.    I WOULD HAVE.

03:59PM   19                    MR. WADE:    OKAY.

03:59PM   20             YOUR HONOR, NOW MIGHT BE A GOOD TIME TO BREAK.          I WAS

03:59PM   21       GOING TO SHIFT, OR GO DEEPER INTO A TOPIC.

03:59PM   22                    THE COURT:    YOU'RE RESTRAINING YOUR ENTHUSIASM FOR

03:59PM   23       STARTING THE BINDERS.

03:59PM   24             (LAUGHTER.)

03:59PM   25                    MR. WADE:    I SEE THE WITNESS'S ENTHUSIASM AS WELL,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 275
                                                                               276 of
                                                                                   of 285
                                                                                      286
                                                                                        5177


03:59PM    1       YOUR HONOR.

03:59PM    2                    THE COURT:    LET'S DO THAT.    LET'S TAKE OUR EVENING

03:59PM    3       BREAK NOW, LADIES AND GENTLEMEN.        WE'LL RESUME AGAIN AT 9:00

03:59PM    4       O'CLOCK, 9:00 O'CLOCK TOMORROW MORNING, PLEASE.

03:59PM    5             LET ME REMIND YOU OF THE ADMONITION.        IT REMAINS IN PLACE.

03:59PM    6       YOU'VE BEEN DOING SO WONDERFULLY WITH IT.

03:59PM    7             PLEASE DO REFRAIN FROM COMING INTO CONTACT AS BEST YOU CAN

03:59PM    8       WITH ANY INFORMATION, ANY VERBAL INFORMATION, ANY RADIO,

03:59PM    9       TELEVISION, SOCIAL MEDIA, OR ANYTHING ELSE, INCLUDING

03:59PM   10       CONVERSATIONS, ANYTHING TO DO WITH THIS CASE.

03:59PM   11             I'LL ASK YOU TOMORROW MORNING IF YOU WERE ABLE TO, ONCE

04:00PM   12       AGAIN, SUCCESSFULLY ACCOMPLISH THAT.

04:00PM   13             HAVE A GOOD EVENING.      WE'LL SEE YOU TOMORROW.

04:00PM   14             LET ME SAY, I THINK -- I JUST WANT TO GO OVER -- MONDAY,

04:00PM   15       NOVEMBER 29TH, PLEASE RECALL WE'RE GOING TO START MONDAYS, I

04:00PM   16       THINK TWO MONDAYS FROM NOW, ON THE 29TH, I'M HOPING THAT WE CAN

04:00PM   17       BEGIN PROBABLY AROUND 10:00 O'CLOCK, I THINK, BUT WE'LL GET

04:00PM   18       MORE INFORMATION ON THAT AS WE GET CLOSER.

04:00PM   19                    THE CLERK:    TOMORROW IS 3:00.

04:00PM   20                    THE COURT:    AND TOMORROW IS 3:00 O'CLOCK, YES,

04:00PM   21       TOMORROW WE END AT 3:00 O'CLOCK.

04:00PM   22             LET ME ASK COUNSEL WHILE THE WITNESS IS HERE, IS IT LIKELY

04:00PM   23       WE'LL FINISH THIS WITNESS'S EXAMINATION TOMORROW?

04:00PM   24                    MR. WADE:    I WOULD EXPECT SO, YES, YOUR HONOR.

04:00PM   25                    THE COURT:    DO YOU AGREE WITH THAT, MR. SCHENK?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 276
                                                                               277 of
                                                                                   of 285
                                                                                      286
                                                                                          5178


04:00PM    1                    MR. SCHENK:    I DO.

04:00PM    2                    THE WITNESS:    THANK YOU.

04:00PM    3                    THE COURT:    THAT'S HELPFUL INFORMATION.

04:00PM    4             HAVE A GOOD EVENING, LADIES AND GENTLEMEN.         WE'LL SEE YOU

04:00PM    5       TOMORROW MORNING.

04:00PM    6             YOU CAN STAND DOWN, SIR.      THANK YOU.

04:01PM    7             (JURY OUT AT 4:01 P.M.)

04:01PM    8                    MR. WADE:    IF YOU WANT TO LEAVE THOSE THERE,

04:01PM    9       MR. MOSLEY, WE'LL KEEP THEM IN SAFEKEEPING.          THE COURT HAS

04:01PM   10       MARSHALS.

04:01PM   11                    THE COURT:    THEY MAY GET LOST, MR. MOSLEY.       HOPE

04:01PM   12       SPRINGS ETERNAL.

04:01PM   13             WE'LL SEE YOU TOMORROW AT 9:00 O'CLOCK.

04:01PM   14                    THE WITNESS:    THANK YOU, YOUR HONOR.

04:01PM   15                    THE COURT:    PLEASE BE SEATED, LADIES AND GENTLEMEN.

04:01PM   16             THE RECORD SHOULD REFLECT THAT THE JURY HAS LEFT FOR THE

04:01PM   17       DAY, MR. MOSLEY HAS LEFT THE COURTROOM, AND ALL COUNSEL AND

04:01PM   18       MS. HOLMES REMAIN PRESENT.

04:02PM   19             I'M GOING TO CHECK ON THE HVAC.       GOSH, IT GETS WARM HERE

04:02PM   20       IN THE AFTERNOON.     WE'LL SEE WHAT WE CAN DO TO ACCOMPLISH

04:02PM   21       RECTIFYING THAT.

04:02PM   22             I ALSO WANTED TO SHARE WITH COUNSEL, MS. KRATZMANN

04:02PM   23       RECEIVED A COMMENT FROM THE JURORS THAT THEY APPARENTLY

04:02PM   24       REQUESTED THAT -- I'M JUST GOING TO READ THIS -- IF WHEN THE

04:02PM   25       BLOWUP OF AN EXHIBIT, IF THEY CAN RAISE IT HIGHER SO TEXT IS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 277
                                                                               278 of
                                                                                   of 285
                                                                                      286
                                                                                         5179


04:02PM    1       NOT AT THE BOTTOM.

04:02PM    2             I'M SURE YOUR I.T. PEOPLE KNOW WHAT THAT MEANS.

04:02PM    3                    MR. WADE:    THANK YOU.

04:02PM    4                    THE COURT:    I'LL JUST PASS THAT ON.     THAT'S FROM THE

04:02PM    5       JURORS.

04:02PM    6                    MR. SCHENK:    THANK YOU.

04:02PM    7                    THE COURT:    ANYTHING ELSE THEN BEFORE WE LEAVE FOR

04:02PM    8       THE EVENING?

04:02PM    9             MR. SCHENK?

04:02PM   10                    MR. SCHENK:    YES.    THANK YOU, YOUR HONOR.

04:02PM   11             JUST BRIEFLY.      I KNOW WE HAVE A BUSY SCHEDULE FOR TOMORROW

04:02PM   12       MORNING'S SESSION, SOME OF THE DISCUSSIONS WE WERE HAVING TODAY

04:02PM   13       WE PUNTED, AND I THINK ONE OF THE THINGS WE WERE THINKING ABOUT

04:02PM   14       TALKING ABOUT WAS THE MOSLEY 2015 DOCUMENTS.

04:03PM   15             I ASSUME WE CAN DEAL WITH THEM NOW VERY QUICKLY.          THE

04:03PM   16       COURT HAS SEEN THE DIRECT.         MR. MOSLEY -- I DIDN'T COVER 2015

04:03PM   17       WITH HIM, AND MR. MOSLEY HIMSELF SAID THAT THE FINANCIAL

04:03PM   18       PROJECTIONS IN 2015 WERE LESS RELIABLE BECAUSE THEY WERE

04:03PM   19       FURTHER INTO THE FUTURE.

04:03PM   20             SO THE COURT WILL RECALL MR. WADE SAID THIS EVIDENCE, THE

04:03PM   21       2015 DOCUMENTS, MIGHT BE APPROPRIATE IMPEACHMENT IF THE WITNESS

04:03PM   22       DOES NOT RECALL HAVING THE OPINION THAT PROJECTIONS INTO THE

04:03PM   23       FUTURE ARE CHALLENGING.

04:03PM   24             WE ARE NOT FACED WITH THAT SITUATION, AND IT NOW SEEMS TO

04:03PM   25       ME CLEAR THAT THE COURT CAN EXCLUDE THIS TYPE OF EVIDENCE, AND



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 278
                                                                               279 of
                                                                                   of 285
                                                                                      286
                                                                                        5180


04:03PM    1       I DON'T THINK WE NEED TO TAKE TIME, MUCH MORE TODAY, OR ANY

04:03PM    2       TOMORROW.

04:03PM    3                    MR. WADE:    I NOTED THE SAME THING MR. SCHENK DID

04:03PM    4       WITH RESPECT TO THE TESTIMONY, AND I THINK WHAT I WOULD ASK IS

04:03PM    5       MAYBE JUST TO HAVE A CHANCE TO LOOK AT IT IN THE TRANSCRIPT.

04:03PM    6             I THINK, I THINK MAYBE I WOULD ASK SOME QUESTIONS AROUND

04:04PM    7       THE TOPIC, BUT IT MAY WELL BE I DON'T NEED TO PUT IN A COUPLE

04:04PM    8       OF THOSE EMAILS.

04:04PM    9             BUT I'LL LOOK BACK AT IT, AND I'LL ADVISE MR. SCHENK IF I

04:04PM   10       FEEL OTHERWISE.

04:04PM   11                    THE COURT:    OKAY.

04:04PM   12                    MR. WADE:    I DON'T NECESSARILY OTHERWISE SEE THE

04:04PM   13       EXAMINATION GOING INTO THAT TIME PERIOD, AND IF WE'RE NOT GOING

04:04PM   14       TO GO INTO THOSE COMMUNICATIONS, THEN WE MAY HAVE THE RECORD WE

04:04PM   15       NEED ON THAT.

04:04PM   16             THERE IS ONE OTHER -- THAT RELATE TO, I THINK, TWO OR

04:04PM   17       THREE OF THE EMAILS THAT MR. SCHENK HANDED UP TO THE COURT.

04:04PM   18             THERE IS ANOTHER EMAIL THAT MR. -- OR ANOTHER DOCUMENT,

04:04PM   19       EMAIL AND ATTACHMENT I THINK THAT RELATES TO TEST RESULTS THAT

04:04PM   20       MR. MOSLEY RECEIVED AT A WALGREENS, AT A THERANOS CENTER AT A

04:04PM   21       WALGREENS, WHICH WAS IN 2015.

04:04PM   22             AND I THINK THAT WOULD BE -- I DON'T THINK WE ADDRESSED

04:05PM   23       THAT THIS MORNING.       IF WE DID, I DON'T RECALL.

04:05PM   24                    THE COURT:    I DON'T RECALL DISCUSSING A TEST RESULT

04:05PM   25       FROM MR. MOSLEY.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 279
                                                                               280 of
                                                                                   of 285
                                                                                      286
                                                                                        5181


04:05PM    1                    MR. WADE:    YEAH.   I THINK THAT DOCUMENT WOULD BE

04:05PM    2       ADMISSIBLE IN THE SAME WAY THAT MANY OTHER DOCUMENTS OF PATIENT

04:05PM    3       TEST RESULTS HAVE BEEN, YOU KNOW, ADMISSIBLE IN THIS CASE.

04:05PM    4             THE GOVERNMENT HAS OFFERED MANY OF THEM, HAS SUGGESTED

04:05PM    5       THEY'RE PROBATIVE OF ACCURACY AND RELIABILITY.

04:05PM    6             AS THE COURT KNOWS, WE SUGGESTED OTHERWISE IN MOTIONS

04:05PM    7       PRACTICE AT SOME LENGTH, AND WHILE IT HAS PROBABLY LIMITED

04:05PM    8       PROBATIVE VALUE, THERE HAVE BEEN OTHER TEST RESULTS THAT HAVE

04:05PM    9       COME IN FROM OTHER WITNESSES, AND WE THINK IT'S ONLY FAIR THAT

04:05PM   10       MR. MOSLEY BE PERMITTED TO TALK ABOUT HIS WHICH WERE, AS I

04:05PM   11       UNDERSTAND IT, ACCURATE OR CONSISTENT WITH HIS OTHER TEST

04:05PM   12       RESULTS.

04:05PM   13                    THE COURT:    SO YOU INTEND TO ASK THE WITNESS, THIS

04:05PM   14       WITNESS, MR. MOSLEY, WHETHER HE WENT TO A WALGREENS, TOOK A

04:06PM   15       TEST USING THE THERANOS EQUIPMENT, FINGERSTICK, VENOUS,

04:06PM   16       WHATEVER IT IS, AND IF HE RECEIVED A TEST RESULT, AND WHAT THAT

04:06PM   17       TEST RESULT WAS?

04:06PM   18                    MR. WADE:    ESSENTIALLY.    AND THAT HE FOUND IT TO BE

04:06PM   19       CONSISTENT WITH PRIOR TEST RESULTS THAT HE'S RECEIVED.

04:06PM   20             HE RECEIVED A FINGERSTICK TEST AT WALGREENS.

04:06PM   21                    THE COURT:    IS THERE A COMPARATOR AT THE TIME PERIOD

04:06PM   22       THAT YOU WOULD COMPARE IT TO, OR --

04:06PM   23                    MR. WADE:    I BELIEVE HIS STATEMENTS ARE THAT HE SENT

04:06PM   24       THEM TO HIS DOCTOR, I THINK.       I MAY HAVE CONFUSED HIS TEST

04:06PM   25       RESULTS WITH ANOTHER WITNESS'S.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 280
                                                                               281 of
                                                                                   of 285
                                                                                      286
                                                                                        5182


04:06PM    1                    THE COURT:    OKAY.

04:06PM    2                    MR. WADE:    BUT I THINK HE SENT THEM TO HIS DOCTOR.

04:06PM    3       I THINK HE SAID IT WAS A CHOLESTEROL TEST, AND I THINK THEY

04:06PM    4       WERE BASICALLY CONSISTENT WITH OTHER CHOLESTEROL TESTS.

04:06PM    5                    THE COURT:    MR. SCHENK?

04:06PM    6                    MR. SCHENK:    THIS MORNING I HANDED UP FOUR DOCUMENTS

04:06PM    7       TO YOUR HONOR.     MR. MOSLEY AND ACTUALLY HIS DAUGHTER'S TEST

04:06PM    8       RESULTS WERE PART OF THAT STACK, SO THE COURT HAS THE DOCUMENT

04:06PM    9       THAT MR. WADE IS REFERRING TO.

04:06PM   10             I WOULD SUGGEST THAT WE WAIT AND SEE.        I MAY HAVE

04:07PM   11       RELEVANCE OBJECTIONS DEPENDING ON THE FOUNDATION THAT IS

04:07PM   12       ESTABLISHED.

04:07PM   13             I'M NOT SURE IT IS PROBATIVE OF THE ACCURACY OF THERANOS

04:07PM   14       TESTS, BUT I THINK WE NEED TO WAIT AND SEE THE QUESTIONS AND

04:07PM   15       WHAT MR. MOSLEY UNDERSTOOD WAS OCCURRING THROUGH THIS PROCESS.

04:07PM   16             I -- IT IS OF A DIFFERENT SORT THAN MY 2015 OBJECTIONS.

04:07PM   17                    THE COURT:    RIGHT.

04:07PM   18                    MR. SCHENK:    MY 2015 OBJECTIONS WERE HIS KNOWLEDGE

04:07PM   19       IN '15 WAS NOT RELEVANT FOR INVESTMENT.

04:07PM   20             THIS IS DIFFERENT AND I DON'T OBJECT ON THE SAME GROUNDS,

04:07PM   21       BUT I'D LIKE TO WAIT AND SEE THE QUESTIONS.

04:07PM   22                    THE COURT:    ALL RIGHT.    WELL, LET'S DO THAT.

04:07PM   23             LET ME JUST SAY, IN THE SPIRIT OF FULL DISCLOSURE, AFTER

04:07PM   24       YOUR DIRECT, MY QUESTION ASKING WHETHER WE WOULD FINISH WITH

04:07PM   25       THE WITNESS TOMORROW, MR. MOSLEY, WAS PREDICATED ON THE FACT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 281
                                                                               282 of
                                                                                   of 285
                                                                                      286
                                                                                          5183


04:07PM    1       THAT THERE IT SOUNDS LIKE THERE WAS NO FORAY INTO 2015, AND SO

04:07PM    2       I WAS THINKING THAT YOU PROBABLY WOULDN'T GO INTO WHAT YOU

04:07PM    3       WOULD -- WHAT WE TALKED ABOUT THIS MORNING BECAUSE THERE WAS NO

04:08PM    4       REASON TO.

04:08PM    5              BUT I APPRECIATE YOUR OBSERVATIONS.

04:08PM    6              YOU'RE GOING TO THINK ABOUT IT OVERNIGHT.        THAT'S PROBABLY

04:08PM    7       A GOOD THING.

04:08PM    8              TOMORROW I THINK WE'RE TALKING ABOUT SOME OTHER WITNESSES

04:08PM    9       THAT ARE NOT EVEN GOING TO BE TESTIFYING THIS WEEK.           SO I'D

04:08PM   10       LIKE TO -- AS I UNDERSTAND IT, I THINK.

04:08PM   11                    MR. SCHENK:    I THINK THAT BB MAY TESTIFY THIS WEEK.

04:08PM   12                    THE COURT:    OKAY.

04:08PM   13                    MR. SCHENK:    I THINK IT'S MR. PARLOFF THAT WOULD

04:08PM   14       NOT.

04:08PM   15                    THE COURT:    OKAY.   THANK YOU.   LET'S START OUR

04:08PM   16       CONVERSATION TOMORROW ON BB AND SEE WHERE WE GO WITH THAT.

04:08PM   17              I DON'T WANT TO INVEST TIME, NOT THAT PARLOFF IS NOT

04:08PM   18       IMPORTANT, BUT IT'S NOT IMPORTANT FOR THIS WEEK'S SCHEDULE, AND

04:08PM   19       I'D LIKE TO KEEP US GOING FORWARD AS BEST WE CAN.

04:08PM   20              SO LET'S DO THAT.

04:08PM   21              AND WHEN THE FOLKS CALL IN, OUR DEAR FRIENDS FROM THE EAST

04:08PM   22       COAST CALL IN, WE CAN KIND OF TELL THEM THAT THEY'RE KIND OF IN

04:08PM   23       A HOLDING PATTERN, AND LET'S SEE WHAT WE CAN GET ACCOMPLISHED

04:08PM   24       TOMORROW AT ABOUT 8:15 IF THAT WORKS.

04:08PM   25                    MR. SCHENK:    YES, YOUR HONOR.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 282
                                                                               283 of
                                                                                   of 285
                                                                                      286
                                                                                        5184


04:08PM    1                    THE COURT:    OKAY.

04:09PM    2                    MR. WADE:    THE ONLY -- THE COURT'S INDULGENCE FOR

04:09PM    3       ONE SECOND?

04:09PM    4                    THE COURT:    SURE.

04:09PM    5             (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

04:09PM    6                    MR. WADE:    THE ONE ISSUE JUST TO ADDRESS, I DON'T

04:09PM    7       KNOW WHAT THE GOVERNMENT'S SCHEDULE IS WITH RESPECT TO

04:09PM    8       MR. PARLOFF, BUT MR. CLINE HAS A COMMITMENT TO ANOTHER COURT

04:09PM    9       AND WILL NOT BE HERE ON THURSDAY.

04:09PM   10                    THE COURT:    OH, SOMETHING THAT IS MORE IMPORTANT

04:09PM   11       THAN THIS COURT, MR. WADE?

04:09PM   12                    MR. WADE:    I QUESTIONED IT EXTENSIVELY AND I WOULD

04:09PM   13       WELCOME THE CROSS-EXAMINATION OF HIM.

04:09PM   14             (LAUGHTER.)

04:09PM   15                    MR. WADE:    BUT I THINK IT WAS SET AT A TIME WHERE WE

04:09PM   16       THOUGHT WE WERE DARK.

04:09PM   17                    THE COURT:    YES.

04:09PM   18                    MR. WADE:    WE WERE DARK ON THURSDAYS.      SO HE WON'T

04:09PM   19       BE HERE.

04:09PM   20             I ONLY RAISE THAT BECAUSE I DON'T THINK HE WOULD BE IN A

04:09PM   21       POSITION TO ADDRESS IT ON THURSDAY, AND SO I JUST WANTED TO BE

04:09PM   22       CLEAR WITH THE COURT.

04:09PM   23             I DON'T KNOW WHAT THE TIMING OF THE GOVERNMENT IS WITH

04:09PM   24       THAT WITNESS.

04:09PM   25                    MR. SCHENK:    WE WERE AWARE OF MR. CLINE'S CONFLICT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 283
                                                                               284 of
                                                                                   of 285
                                                                                      286
                                                                                        5185


04:09PM    1       WE KNEW THAT DR. CULLEN WAS MR. CLINE'S WITNESS AND WE MADE

04:09PM    2       SURE SHE TESTIFIED ON A DAY THIS WEEK THAT MR. CLINE WAS

04:10PM    3       AVAILABLE.

04:10PM    4             I KNOW THAT -- I THINK WHAT MR. WADE IS GETTING AT IS, ARE

04:10PM    5       WE GOING TO DISCUSS MR. PARLOFF ON THURSDAY OR WAIT UNTIL THE

04:10PM    6       FOLLOWING WEEK, TUESDAY I THINK?

04:10PM    7                    MR. WADE:    THAT'S CORRECT.

04:10PM    8                    THE COURT:    RIGHT.   ARE WE AVAILABLE ON THE MONDAY,

04:10PM    9       ADRIANA, THE 8TH?

04:10PM   10                    THE CLERK:    WE DO HAVE A CALENDAR, YOUR HONOR, IN

04:10PM   11       THE AFTERNOON.

04:10PM   12                    THE COURT:    COULD WE TALK IN THE MORNING?

04:10PM   13                    THE CLERK:    YOU'RE AVAILABLE IN THE MORNING.

04:10PM   14                    THE COURT:    ARE YOU BACK, MR. WADE, ON THE 8TH?

04:10PM   15                    MR. WADE:    MR. CLINE WOULD BE BACK TO DEAL WITH THAT

04:10PM   16       ISSUE, YES.

04:10PM   17                    THE COURT:    OKAY.

04:10PM   18                    MR. CLINE:    THAT WOULD BE FINE.

04:10PM   19                    THE COURT:    OKAY.    SO MAYBE WE CAN DO IT THEN, I

04:10PM   20       THINK, ON A MONDAY MORNING.

04:10PM   21             MR. BOSTIC, DOES THAT WORK FOR YOU?

04:10PM   22                    MR. BOSTIC:    THAT'S CERTAINLY FINE FOR THE

04:10PM   23       GOVERNMENT, YOUR HONOR.      MR. PARLOFF WILL NOT TESTIFY BEFORE

04:10PM   24       THE 9TH.

04:10PM   25             AM I REMEMBERING CORRECTLY THAT TRIAL IS NOT IN SESSION ON



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1281 DktEntry:  36-18, Page
                                                         Filed 01/18/22   Page 284
                                                                               285 of
                                                                                   of 285
                                                                                      286
                                                                                        5186


04:10PM    1       THE 8TH?

04:10PM    2                     THE COURT:    THAT'S RIGHT.

04:10PM    3                     MR. BOSTIC:   OKAY.    THE GOVERNMENT COULD CERTAINLY

04:11PM    4       BE AVAILABLE TO ARGUE THE ISSUE ON THAT DAY, THOUGH.

04:11PM    5                     THE COURT:    IF, IF -- RIGHT.   OKAY.

04:11PM    6             THAT'S AN ALTERNATIVE, I THINK.        WE CAN JUST COME IN THE

04:11PM    7       MORNING, OR WHATEVER TIME WORKS FOR THE PARTIES THAT DAY, AND

04:11PM    8       WE CAN TALK ABOUT MR. PARLOFF.

04:11PM    9                     MR. CLINE:    THAT'S FINE, YOUR HONOR.

04:11PM   10                     THE COURT:    OKAY.    LET'S KEEP THAT AS A BACK-UP

04:11PM   11       SCHEDULE.     THANK YOU.    I APPRECIATE IT.      I APPRECIATE YOUR -- I

04:11PM   12       KNOW WE'RE NOT IN SESSION THAT DAY, BUT -- WITH THE JURY.            BUT

04:11PM   13       IF WE CAN GET SOME WORK DONE, I WOULD APPRECIATE IT.

04:11PM   14                     MR. BOSTIC:   GREAT.

04:11PM   15                     MR. WADE:    THANK YOU, YOUR HONOR.

04:11PM   16                     THE COURT:    GREAT.   THANK YOU.

04:11PM   17             I THINK THAT'S IT.      I THINK THAT'S ALL I HAVE.      THANK YOU.

04:11PM   18             OKAY.    HAVE A GOOD EVENING.

04:11PM   19                     MR. SCHENK:   THANK YOU, YOUR HONOR.

04:11PM   20                     THE CLERK:    COURT IS ADJOURNED.

04:11PM   21             (COURT ADJOURNED AT 4:11 P.M.)

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                                        UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1281 DktEntry:  36-18, Page
                                               Filed 01/18/22   Page 285
                                                                     286 of
                                                                         of 285
                                                                            286


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 3                              CERTIFICATE OF REPORTERS

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 6

 7             WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9       CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10       HEREBY CERTIFY:

11             THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   NOVEMBER 2, 2021

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                              UNITED STATES COURT REPORTERS
